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                                             In the
         United States Court of Appeals
                             for the Federal Circuit

                           BEARBOX LLC, AUSTIN STORMS,
                                                                           Plaintiffs-Appellants,
                                                v.
   LANCIUM LLC, MICHAEL T. McNAMARA, RAYMOND E. CLINE, JR.,
                                                                         Defendants-Appellees.
                            _______________________________________
                              Appeal from the United States District Court
                      for the District of Delaware, No. 1:21-cv-00534-GBW-CJB
                                  The Honorable Gregory B. Williams

                                        JOINT APPENDIX

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    COUNSEL PRESS ∙ (866) 703-9373                                 PRINTED ON RECYCLED PAPER
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LANCIUM00030842), LANCIUM00030782, LANCIUM00033215, LANCIUM00024173,

LANCIUM00029321, LANCIUM00018672. Lancium also continued to innovate its software-

controlled fast ramping (e.g., operations control), overall system design (e.g., site layouts), and

high-heat tolerance modular containers (e.g., scope changes; panel design; structural design; 2MW

module designs issued for construction; 4MW V-box iterations; miner density designs; demo box

reconfiguration plans; removal of evaporative cooler). See, e.g., LANCIUM00019208,

LANCIUM00019212,         LANCIUM00019217,             LANCIUM00019222,         LANCIUM00019227,

LANCIUM00019125,         LANCIUM00019130,             LANCIUM00019139,         LANCIUM00019143,

LANCIUM00019151,         LANCIUM00019155,             LANCIUM00018898,         LANCIUM00018904,

LANCIUM00025517,         LANCIUM00025518,             LANCIUM00025419,         LANCIUM00025420,

LANCIUM00025496          LANCIUM00019105,         LANCIUM00019109,             LANCIUM00019116,

LANCIUM00019124. Additionally, Lancium worked with stakeholders and hired a consultant to

analyze, develop, and advance the regulatory and protocol exemptions and changes that would be

necessary to integrate its fast-ramping load technology into the ERCOT power grid. See, e.g.,

LANCIUM00034586,         LANCIUM00034587,             LANCIUM00033660,         LANCIUM00033662,

LANCIUM00033672,         LANCIUM00033656,             LANCIUM00034755,         LANCIUM00033645,

LANCIUM00033648,         LANCIUM00033628,             LANCIUM00033632,         LANCIUM00033629,

LANCIUM00033617. Lancium also continued discussions with GlidePath for operation of a

third-party datacenter container at a GlidePath site served by Lancium power skids and under



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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   BEARBOX LLC and AUSTIN STORMS,            )
                                             )
                      Plaintiffs,            )
                                             )
                v.                           )      C.A. No. 21-534-MN-CJB
                                             )
   LANCIUM LLC, MICHAEL T. MCNAMARA,         )
   and RAYMOND E. CLINE, JR.,                )
                                             )
                      Defendants.            )


    DEFENDANTS LANCIUM LLC, MICHAEL T. MCNAMARA, AND RAYMOND E.
         CLINE, JR.’S OPENING BRIEF IN SUPPORT OF THEIR MOTION
     TO DISMISS COUNTS V AND VI OF THE SECOND AMENDED COMPLAINT


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  I.     INTRODUCTION

         Despite having a second bite at the apple, Plaintiffs BearBox LLC (“BearBox”) and Austin

  Storms’ (“Storms”) (collectively, “Plaintiffs”) re-pleaded conversion claim (Count V) and unjust

  enrichment claim (Count VI) both still fail as a matter of law. Indeed, Plaintiffs’ unjust enrichment

  claim is still precluded by the availability of other remedies for the alleged conduct. And Plaintiffs’

  conversion claim does not―and cannot―allege a necessary element of conversion: that Plaintiffs

  were deprived of use or possession of tangible, movable property. Accordingly, the Court should

  dismiss Counts V and VI of Plaintiffs’ Second Amended Complaint, with prejudice.

  II.    PROCEDURAL HISTORY

         On April 14, 2021, Plaintiffs filed their original Complaint against Defendants, which

  included seven counts asserting claims for: (1) correction of inventorship for U.S. Patent No.

  10,608,433 (“the ‘433 patent”) to list Austin Storms as the sole inventor; (2) an alternative claim

  for correction of inventorship for the ‘433 patent to list Storms as a co-inventor; (3) conversion;

  (4) unjust enrichment; (5) trade secret misappropriation under the federal Defend Trade Secrets

  Act; (6) trade secret misappropriation under Texas state law; and (7) negligent misrepresentation.

  See D.I. 1. On May 3, 2021, Defendants filed their Answer and Counterclaims disputing each of

  Plaintiffs’ claims and asserting several affirmative defenses and counterclaims, including that

  Plaintiffs failed to state a claim for trade secret misappropriation. See D.I. 13.

         On May 24, 2021, in lieu of answering Defendants’ Counterclaims, Plaintiffs filed an

  Amended Complaint (“First Amended Complaint”). D.I. 19. The First Amended Complaint

  withdrew Plaintiffs’ trade secret counts, but maintained Plaintiffs’ other claims. On June 28, 2021,

  Defendants filed their Motion for Judgment on the Pleadings seeking dismissal of Plaintiffs’ claims

  for conversion, unjust enrichment, and negligent misrepresentation. D.I. 32. On January 18, 2022,




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  Your Honor issued his Report and Recommendation (“R&R”) recommending granting

  Defendants’ Motion, but allowing Plaintiffs leave to attempt to re-plead their unjust enrichment

  and conversion claims. D.I. 92. On February 2, 2022, Judge Noreika adopted the R&R. D.I. 97.

  On February 16, 2022, Plaintiffs then filed their Second Amended Complaint, which not only

  attempts to re-plead conversion and unjust enrichment but also attempts to reintroduce the Trade

  Secret Counts. See D.I. 103. On March 3, 2022, Lancium filed its Motion to Strike the Trade Secret

  Misappropriation Counts in the Second Amended Complaint (“Motion to Strike,” D.I. 111).

  Briefing on the Motion to Strike is now complete and that motion is pending.

  III.   SUMMARY OF ARGUMENT

         1.      Plaintiffs’ unjust enrichment claim should be dismissed because other remedies are

  available for the alleged conduct, which precludes this claim.

         2.      To the extent Plaintiffs’ unjust enrichment claim is based on Defendants’ alleged

  use of non-confidential information, it is preempted by federal patent law and should be dismissed.

         3.      Plaintiffs’ conversion claim should be dismissed because Plaintiffs have not

  alleged―and cannot allege―that they were deprived of use or possession of tangible, movable

  property, which is a necessary element of conversion under Louisiana law.

  IV.    CONCISE STATEMENT OF THE FACTS

         On February 13, 2018, Lancium filed a patent application, for which McNamara and Cline

  are inventors, that published as WO 2019/139632 A1 (the “’632 application”). D.I. 23 at

  Counterclaims ¶¶ 9-10; D.I. 26 ¶ 10. The ’632 application is titled “Method and System for

  Dynamic Power Delivery to a Flexible Datacenter Using Unutilized Energy Sources” and explains

  that, for example, its inventions are useful for “[b]lockchain miners” because “[t]he intensive

  computational demand of blockchain applications makes the widespread adoption of blockchain




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  technology inefficient and unsustainable from an energy and environmental perspective. D.I. 23-

  1 at Cover, ¶¶ 19-20.

          In May 2019, more than 14 months after filing the ’632 application, McNamara attended

  an industry conference where he met Storms. D.I. 103, ¶¶ 33-34; D.I. 23, at Answer ¶ 32. Plaintiffs

  allege that Storms then told McNamara about “BearBox’s technology” that purportedly “generally

  relates to an energy-efficient cryptocurrency mining system and related methods that reduce the

  inefficiency and environmental impact of energy-intensive mining operations by better utilizing

  available energy resources to increase the stability of the energy grid, minimize a mining

  operation’s impact on peak-demand, and also alleviate energy oversupply and undersupply

  conditions.” D.I. 103, ¶ 2. Storms alleges that he communicated with McNamara about “BearBox’s

  technology” through “conversations, emails, and text messages,” including a conversation at a

  dinner (D.I. 103, ¶ 33) and alleges that “Storms last communicated with McNamara on May 9,

  2019.” D.I. 103, ¶ 36.

          Months later, in October 2019, Lancium filed a provisional patent application that matured

  into U.S. Patent No. 10,608,433 (the “’433 patent”) for which McNamara and Cline are also the

  named inventors. See D.I. 103-1 at 1. In August 2020, Lancium filed a patent infringement suit

  against a company called Layer1 Technologies, Inc. (“Layer1”) asserting infringement of the ’433

  patent. D.I. 103, ¶ 52; D.I. 23 Answer ¶ 44. Plaintiffs acknowledge that they became aware of the

  Layer1 lawsuit “on or about August 17, 2020” but did not contact Lancium at this time or make

  any claim to have invented the patented technology. D.I. 103, ¶ 54. Then, around March 8, 2021,

  Plaintiffs read a press release announcing that “Layer 1 has licensed Lancium’s intellectual

  property and Lancium will provide Smart ResponseTM software and services to Layer1.” D.I. 103,

  ¶ 57.




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         A few weeks later, on April 14, 2021, Plaintiffs initiated this lawsuit alleging Storms should

  have been listed as an inventor on the ’433 patent. D.I. 1. Plaintiffs’ Second Amended Complaint,

  the operative complaint, alleges that “[t]his is an action seeking correction of the named inventors

  of a United States patent under 35 U.S.C. § 256,” and “[a]s such, this action arises under the laws

  of the United States.” D.I. 103, ¶ 13. Likewise, Plaintiffs’ claims for correction of inventorship

  assert that “[t]hrough omission, inadvertence, and/or error Storms was not listed as an inventor on

  the ’433 patent and the currently listed inventors on the ’433 patent were improperly listed.” Id.,

  ¶ 60. Count I further asserts that “Storms is the sole inventor of the subject matter claimed in the

  ’433 Patent,” and Count II asserts that “[i]n the alternative, Storms is a joint inventor of the subject

  matter claims in the ’433 Patent and should be added to the individuals currently named as

  inventors on the ’433 Patent.” D.I. 103, ¶¶ 59, 63. Additional allegations that Defendants

  McNamara and Cline were wrongly identified as the inventors of the ’433 patent are found

  throughout the Second Amended Complaint. See, e.g., D.I. 103, ¶¶ 1, 5, 7, 46, 48, 53.

         Plaintiffs’ original claims for conversion and unjust enrichment were likewise based on the

  allegedly incorrect inventorship of the ’433 patent. As such, the Court concluded that these claims

  were preempted by federal patent law. See D.I. 92, at 7, 9; see also D.I. 97. Plaintiffs have re-

  pleaded these claims, which are now based on Defendants’ alleged use of “BearBox’s technology,

  including system designs, documents, data, and know-how” to “modify their Smart ResponseTM

  software.” See D.I. 103, ¶¶ 85, 87, 92, 96.

  V.     ARGUMENT

         A.      Legal Standards

         “When presented with a motion to dismiss for failure to state a claim pursuant to Rule

  12(b)(6), district courts conduct a two-part analysis. First, the Court separates the factual and legal

  elements of a claim, accepting all of the complaint’s well-pleaded facts as true, but disregarding


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  any legal conclusions. Second, the Court determines whether the facts alleged in the complaint are

  sufficient to show a . . . plausible claim for relief.” Eaton Corp. v. Geisenberger, 486 F. Supp. 3d

  770 (D. Del. 2020), aff’d in part, vacated in part on other grounds, remanded sub nom. Siemens

  USA Holdings Inc v. Geisenberger, 17 F. 4th 393 (3d Cir. 2021) (internal citations omitted).

         A legally sufficient complaint must establish more than a “sheer possibility” that Plaintiffs’

  claim is true. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). It need not contain detailed factual

  allegations, but it must go beyond labels, legal conclusions, or formulaic recitations of the elements

  of a cause of action. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “Where a complaint

  pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line

  between possibility and plausibility of entitlement to relief.’” Iqbal, 556 U.S. at, 678 (quoting

  Twombly, 550 U.S. at 557). If there are insufficient factual allegations to raise a right to relief

  above the speculative level, the claim must be dismissed. Twombly, 550 U.S. at 555.

         B.      Plaintiffs’ State Law Claims Should Be Dismissed Because They Fail As A
                 Matter Of Law

         As with their First Amended Complaint, Plaintiffs’ Second Amended Complaint does not

  specify under which state’s law Plaintiffs assert their claims for conversion and unjust enrichment.

  See D.I. 103. However, Plaintiffs have affirmatively asserted a claim for trade secret

  misappropriation under Louisiana law. See id. at Count IV (“Trade Secret Misappropriation Under

  Louisiana Civil Practice and Remedies Code, Title 51, Section 13-A”). In addition, as the Court

  noted in its Report and Recommendation on Defendants’ previous Motion for Judgment on the

  Pleadings, “both parties agree[d] that Louisiana law applies to the state law claims at issue here,”

  which included claims for conversion and unjust enrichment. D.I. 92 at 5 n.4.

          Moreover, under the “most significant relationship” test applied in Delaware to resolve

  conflict of laws issues, Louisiana law applies to the extent a conflict of laws exists. Pennsylvania



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  Emp., Benefit Tr. Fund v. Zeneca, Inc., 710 F. Supp. 2d 458, 466 (D. Del. 2010) (Delaware applies

  the “most significant relationship” test for conflicts of law); see also Bavarian Nordic A/S v.

  Acambis Inc., 486 F. Supp. 2d 354, 361 (D. Del. 2007). This is because both BearBox and Storms

  are located in Louisiana, D.I. 103, ¶¶ 8-9, and any harm they allegedly suffered also would have

  occurred in Louisiana.1 See Selective Ins. Co. v. Phila. Indem. Ins. Co., No. N17C-08-325, 2018

  WL 2215885, at *3 (Del. Super. Ct. May 15, 2018) (“[T]he Delaware Supreme Court held ‘the

  law of the state where the injury occurred should apply unless, with respect to the particular issue,

  some other state has a more significant relationship … .” (quoting State Farm Mut. Auto. Ins. Co.

  v. Patterson, 7 A.3d 454, 457 (Del. 2010)); see also Abbott Lab. v. NutraMax Prod., Inc., 844 F.

  Supp. 443, 446 (N.D. Ill. 1994) (“The place of injury usually defines the locus of a cause of action”

  involving intellectual property, “and the damage to intellectual property rights is usually realized

  where the owner of the protected rights suffers the damage”); Jeffers v. Kerzner Int’l Hotels Ltd.,

  319 F. Supp. 3d 1267, 1271 (S.D. Fla. 2018) (“Generally, in tort cases, the location where the

  injury occurred is the decisive consideration in determining the applicable choice of law.”).

  Accordingly, Louisiana law governs Plaintiffs’ unjust enrichment and conversion claims.

         But as set forth below, Plaintiffs’ unjust enrichment and conversion claims each fail as a

  matter of law and should be dismissed with prejudice.2




  1
    Moreover, no other state has a more significant relationship to Plaintiffs’ claims as Defendants
  are located in both Texas and California, see D.I. 23, ¶¶ 8-10, and there is no single state where
  the alleged conduct causing Plaintiffs’ purported injury occurred or where any relationship
  between the parties is centered. Pennsylvania Emp., Benefit Tr. Fund, 710 F. Supp. 2d at 467-68.
  2
    As set forth in Defendants’ Letter to the Honorable Christopher J. Burke (D.I. 112) and their
  reply letter (D.I. 114) in support of the Motion to Strike the Trade Secret Misappropriation Counts
  in the Second Amended Complaint (D.I. 111), Plaintiffs trade secret claims should also be stricken.


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                 1.      Plaintiffs’ Unjust Enrichment Claim Fails As a Matter of Law Because
                         Other Remedies Are Available For the Alleged Conduct

         Despite Plaintiffs’ attempt to re-plead their unjust enrichment claim, this claim fails as a

  matter of law because it is still based on the same conduct as their other claims. One of the elements

  of unjust enrichment under Louisiana law is that “there must be no other remedy at law available

  to plaintiff.” Baker v. Maclay Properties Co., 94-1529 (La. 1/17/95), 648 So. 2d 888, 897.

  Accordingly, the Supreme Court of Louisiana has explained that “the remedy of unjust enrichment

  is subsidiary in nature, and shall not be available if the law provides another remedy. The unjust

  enrichment remedy is only applicable to fill a gap in the law where no express remedy is provided.”

  Walters v. MedSouth Rec. Mgmt., LLC, 2010-0353 (La. 6/4/10), 38 So. 3d 243, 244 (internal

  quotations and citations omitted).

         Significantly, the court in Walters made clear that the relevant inquiry is not whether a

  plaintiff can actually prevail on an alternative claim, but rather whether there is a “gap in the law”

  such that no other legal framework governs the conduct alleged. Thus, it is “of no moment that

  plaintiff’s tort claims have been held to be prescribed. The mere fact that a plaintiff does not

  successfully pursue another available remedy does not give the plaintiff the right to recover under

  the theory of unjust enrichment.” Id. “In other words, even though a plaintiff may not succeed

  when it pursues its other available remedies, there is no cause of action in unjust enrichment if

  such a remedy exists.” Shaw v. Restoration Hardware, Inc., No. 21-1540, 2022 WL 343458, at *6

  (E.D. La. Feb. 4, 2022) (granting motion to dismiss unjust enrichment claim); see also Zaveri v.

  Condor Petroleum Corp., 27 F. Supp. 3d 695, 701–02 (W.D. La. 2014) (“As correctly held by

  Judge Feldman of the Eastern District, under Louisiana law, an unjust enrichment claim is a

  ‘subsidiary’ claim, not an alternative claim, which cannot be pursued when Louisiana law affords

  any other legal remedy.”) (citing JP Mack Indus. LLC v. Mosaic Fertilizer, LLC, 970 F. Supp. 2d



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  516, 521 (E.D. La. 2013) (“[T]he availability of another remedy bars a plaintiff’s claim for unjust

  enrichment, regardless of whether the plaintiff prevails in his pursuit of those other remedies.”));

  Constance v. Austral Oil Expl. Co., No. 2:12-CV-1252, 2013 WL 6578178, at *9 (W.D. La. Dec.

  13, 2013) (“Unjust enrichment is a specific cause of action that may not be asserted against a

  defendant as a mere catchall or safety net in the event that a plaintiff fails to succeed on the merits

  of his or her other claims.”).

          Indeed, unjust enrichment is considered “a remedy of last resort under Louisiana law.”

  Zaveri, 27 F. Supp. 3d at 702 (W.D. La. 2014) (internal quotations omitted). Thus, as the Fifth

  Circuit held in Ferrara Fire Apparatus, Inc. v. JLG Indus., Inc., “[t]he important question is

  whether another remedy is available, not whether the party seeking a remedy will be successful.”

  581 Fed. App’x 440, 443–44 (5th Cir. 2014) (applying Louisiana law). Moreover, unjust

  enrichment may not be asserted against a defendant “as a mere catchall or safety net in the event

  that a plaintiff fails to succeed on the merits of his or her other claims.” Id. (citation omitted).

          Here, Plaintiffs unjust enrichment claim is clearly based on the same alleged conduct as its

  conversion and trade secret misappropriation claims: the alleged use of “BearBox’s technology”

  to improperly modify Lancium’s Smart ResponseTM software. Indeed, Plaintiffs’ unjust

  enrichment claim alleges that they “conferred a benefit on Defendants by providing them valuable

  technology, specifically BearBox’s technology, including system designs, documents, data, and

  know-how” and “Defendants used Plaintiffs’ system designs, documents, data, and know-how to

  modify their Smart ResponseTM software to function as BearBox’s technology did, [and] [a]s a

  result, Defendants are deriving an unjust benefit from exploiting BearBox’s property.” D.I. 103,

  ¶¶ 92, 96. This is the same basis as their conversion claim, which alleges that “Defendants

  intentionally and willfully assumed dominion and control over BearBox’s technology, including




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  system designs, documents, data, and know-how and improperly used it to modify their Smart

  ResponseTM software.” D.I. 103, ¶ 87. Plaintiffs’ conversion claim additionally alleges that

  “[d]espite providing Defendants with system designs, documents, data, and know-how that

  allowed Defendants to modify their Smart ResponseTM software, and corresponding system

  designs, Defendants have not compensated or recognized Plaintiffs for the use of BearBox’s

  technology,” which “constitute[s] an improper and unauthorized use of Plaintiffs’ property.” D.I.

  103, ¶ 89.

          Likewise, Plaintiffs’ trade secret misappropriation claims allege that “Defendants

  misappropriated Plaintiffs’ trade secrets when they used BearBox technology, without Plaintiffs’

  authorization, in at least its Smart Response™ software.” D.I. 103, ¶¶ 72, 81. And Plaintiffs’ trade

  secret misappropriation claims even allege that they have been harmed by “financial loss for any

  unjust enrichment caused by the misappropriation of the trade secrets.” D.I. 103, ¶¶ 73, 82

  (emphasis added).

          Because there are other remedies available to address Defendants’ allegedly wrongful

  conduct (e.g., conversion and trade secret misappropriation), unjust enrichment is not an available

  claim, regardless of whether Plaintiffs can successfully proceed on its other claims. See Walters v.

  MedSouth Rec. Mgmt., LLC, 2010-0352 (La. 6/4/10), 38 So. 3d 241, 242. Shaw v. Restoration

  Hardware, Inc., No. CV 21-1540, 2022 WL 343458 (E.D. La. Feb. 4, 2022). In Shaw, the court

  explained that the plaintiffs’ unjust enrichment claim was based on “[t]he same alleged conduct

  [that] is the basis of plaintiffs’ other claims in this litigation.” Id. at *6. As such, the court held that

  “plaintiffs cannot succeed in proving the fifth element of the unjust enrichment claim: absence of

  another remedy” and therefore dismissed the unjust enrichment claim. Id. The court further

  explained that even though the plaintiffs’ other claims that were based on the same conduct also




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  failed as a matter of law and were dismissed, “the failure on those claims would not lead to

  recovery under an unjust enrichment theory.” Id.

         Thus, because here BearBox’s unjust enrichment claim is based on the same conduct as its

  conversion and trade secret claims, the unjust enrichment claim (Count VI) should be dismissed

  with prejudice.

                 2.      To The Extent Plaintiffs’ Unjust Enrichment Claim Is Premised On The
                         Use of Non-Confidential Information, It Is Preempted By Federal Patent
                         Law

         It is well-established that “[f]ederal law preempts state law that offers patent-like protection

  to discoveries unprotected under federal patent law.” Ultra-Precision Mfg., Ltd v. Ford Motor Co.,

  411 F.3d 1369, 1377-78 (Fed. Cir. 2005) (noting that “Federal Circuit law governs whether federal

  patent law preempts a state law claim”) (internal quotations and citation omitted). The Supreme

  Court has also noted that “[a] state law that substantially interferes with the enjoyment of an

  unpatented utilitarian or design conception which has been freely disclosed by its author to the

  public at large impermissibly contravenes the ultimate goal of public disclosure and use which is

  the centerpiece of federal patent policy.” Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S.

  141, 156-57 (1989). Thus, “[a]bsent secrecy, state law cannot create a collateral set of rights

  available as an adjunct or expansion to patent rights.” Ultra- Precision, 411 F.3d at 1379 (quoting

  Waner v. Ford Motor Co., 331 F.3d 851, 856 (Fed. Cir. 2003)).

         Here, as addressed above, Plaintiffs’ unjust enrichment claim is premised upon

  Defendants’ alleged use of “BearBox’s technology” to modify their Smart ResponseTM

  software―the same conduct that forms the basis of Plaintiffs’ conversion and trade secret

  misappropriation claims. However, although Plaintiffs’ conversion and trade secret

  misappropriation claims are explicitly limited to Defendants’ alleged use of “confidential”




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  information (see, e.g., D.I. 103, ¶¶ 68-72, 77-81, 88), Plaintiffs’ unjust enrichment claim is silent

  regarding whether “BearBox’s technology” at-issue was confidential. See D.I. 103, ¶¶ 91-101.

  Nonetheless, to the extent Plaintiffs base their unjust enrichment claim on Defendants’ alleged use

  of non-confidential technology or information (or attempt to distinguish their unjust enrichment

  claims from their conversion and trade secret misappropriation claims on this basis), the claim is

  preempted by federal patent law. Under federal patent law, an idea is considered publicly available

  if “given to a member of the public without restriction.” See Pronova Biopharma Norge AS v. Teva

  Pharms. USA, Inc., 549 F. App'x 934, 940 (Fed. Cir. 2013); see also Bonito Boats, 489 U.S. at 149

  (under the one year statutory bar of federal patent law’s 35 U.S.C. § 102, “[o]nce an inventor has

  decided to lift the veil of secrecy from his work, he must choose the protection of a federal patent

  or the dedication of his idea to the public at large”). Thus, if Plaintiffs are permitted to pursue non-

  patent claims for use of an idea or technology that was publicly known, the Court would be

  allowing Plaintiffs to encroach impermissibly on the exclusive domain of federal patent law.

         Indeed, the Federal Circuit, which “governs whether federal patent law preempts a state

  law claim,” has repeatedly held similar unjust enrichment claims based on the use of non-

  confidential information to be preempted. For example, in Ultra-Precision, the court held

  plaintiff’s unjust enrichment claim, which was premised upon the defendant’s “using,

  manufacturing, and selling vehicles equipped with [Ultra-Precision’s] technology” was preempted

  because the idea/technology was not kept confidential and was therefore “free for all the world to

  enjoy.” Id. at 1380-82. Additionally, in Waner the court affirmed dismissal of the plaintiff’s unjust

  enrichment claim premised upon the use of his non-confidential idea because such “ideas can only

  be protected under intellectual property law by the patent system.” Waner, 331 F.3d at 856–57.

  Accordingly, to the extent Plaintiffs’ unjust enrichment claim is premised upon the alleged use of




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  non-confidential technology, information, or ideas, this claim is preempted and should be

  dismissed with prejudice.

                 3.     Plaintiffs’ Conversion Claim Fails Because They Were Not Deprived Of
                        Tangible Property

         Plaintiffs’ conversion claim fails as a matter of law because their allegations do not―and

  cannot―state a claim for conversion. Under Louisiana law, “[a] conversion is an act in derogation

  of the plaintiff’s possessory rights and any wrongful exercise or assumption of authority over

  another’s goods, depriving him of the possession, permanently or for an indefinite time.” Quealy

  v. Paine, Webber, Jackson & Curtis, Inc., 475 So. 2d 756, 760 (La. 1985) (emphasis added); see

  also Bihm v. Deca Sys., Inc., 2016-0356 (La. App. 1 Cir. 8/8/17), 226 So. 3d 466, 478 (citing

  Quealy, 475 So. 2d at 760). Thus, conversion “is grounded on the unlawful interference with the

  ownership or possession of a movable.” CamSoft Data Systems, Inc. v. Southern Electronics

  Supply, Inc., 2019 CA 0731, 2019 WL 2865359, at *2 (La. Ct. App. July 2, 2019), writ denied,

  282 So. 3d 1071 (La. 2019).

         Here, Plaintiffs’ conversion claim fails because Plaintiffs were not deprived, and do not

  allege that they were deprived, of ownership or possession of any tangible, movable property. As

  an initial matter, the only things that Plaintiffs allege that Defendants converted were “BearBox’s

  technology, including system designs, documents, data, and know-how.” D.I. 103, ¶ 87. Moreover,

  Plaintiffs only allege that they provided Defendants with information about “BearBox’s

  technology” via “conversations, emails, and text messages.” See, e.g., id., ¶¶ 33-34. Importantly,

  Plaintiffs do not allege that Defendants converted any paper or hard copy documents, and they do

  not allege that they were ever deprived of copies of or access to the allegedly converted “system

  designs, documents, data, and know-how.” See id., ¶¶ 84-90. Indeed, they do not allege that

  Defendants took or converted the only copies of their “system designs, documents, data, and know-



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  how.” Id. They make no allegation that they were deprived of ownership or possession of their

  “system designs, documents, data, and know-how.” Id. Nor could they because in order to email

  or text message any information to Defendants, Plaintiffs must have had their own copies. Thus,

  Plaintiffs fail to allege a cause of action for conversion.

         CamSoft is instructive. 2019 WL 2865359, at *2-3. Similar to this case, in CamSoft, the

  plaintiff alleged the defendants were liable for conversion based on the alleged “ongoing use of

  CamSoft’s confidential technical and business information” that included “device compilations,

  software code, know-how, networking designs, installation process, business methods, marketing

  plans, pricing information, and strategic wireless network integrator business plans.” Id. The

  CamSoft court, however, granted summary judgment on the conversion claim for two reasons.

  One, the claim was based on “immovable, intangible information.” Id. at *3. Two, despite the

  defendants’ alleged use of CamSoft’s information, “CamSoft was not deprived of its confidential

  business information,” and “a conversion requires a deprivation of possession.” Id. This same

  reasoning applies here because Plaintiffs have not alleged―and cannot allege―that they were

  deprived of their allegedly converted technology or information because they retained copies of

  this information. Indeed, just as in CamSoft, Plaintiffs do not allege that “their business information

  was taken from them in physical form or that they no longer had the use of their confidential

  information.” Id. at 3 n.3.

         Accordingly, the Court should dismiss Plaintiffs’ conversion claim (Count V) with

  prejudice.

  VI.    CONCLUSION

         For the reasons stated above, the Court should dismiss Count V (conversion) and Count VI

  (unjust enrichment) in the Second Amended Complaint, with prejudice.




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  Dated: March 16, 2022                BARNES & THORNBURG LLP

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                                              U.S. District Court

                                             District of Delaware

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Case Name:           BearBox LLC et al v. Lancium LLC et al
Case Number:         1:21-cv-00534-MN-CJB
Filer:
Document Number: 143(No document attached)


Docket Text:
REPORT AND RECOMMENDATION: The Court, having reviewed Defendants' motion seeking
dismissal, pursuant to Fed. R. Civ. P 12(b)(6), of Plaintiffs' Count V (conversion) and Count VI
(unjust enrichment) in the operative Second Amended Complaint ("Motion"), (D.I. 120), the
briefing related thereto, (D.I. 121; D.I. 128; D.I. 133), and having heard argument on May 23,
2022, hereby recommends as follows: (1) With regard to Count V, the Court recommends that
the Motion be DENIED. Defendants' argument is that Plaintiffs' conversion claim must fail as a
matter of law because under Louisiana law (which both sides agree applies to these claims)
there can be no conversion of electronic files (the type of documents allegedly converted in
Count V) where the owner retains a copy of those files (as Plaintiffs acknowledge it did), since
in such a case, the owner is not completely deprived of the property at issue. (D.I. 133 at 2-6)
This is a difficult issue, and Defendants do cite to some Louisiana state court precedent that
provides some support for their position. See CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc.,
2019 CA 0731, 2019 CW 0514, 2019 WL 2865359, at *2-3 & n. 3 (La. Ct. App. July 2, 2019)
(concluding that a claim for conversion could not stand because "a conversion requires a
deprivation of possession" and the plaintiff retained a copy of the allegedly converted
electronic materials at issue); but see Mabile v. BP, p.l.c., CIVIL ACTION NO. 11-1783, 2016 WL
5231839, at *1, *23 (E.D. La. Sept. 22, 2016) (permitting a conversion claim under Louisiana law
that was premised on the defendant's obtaining of the plaintiff's schematic, where the plaintiff
e-mailed a digital copy of the schematic but also retained a copy); cf. Total Safety, U.S., Inc. v.
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   BEARBOX LLC and AUSTIN STORMS,

                        Plaintiffs,

         v.
                                          C.A. No. 21-534-MN
   LANCIUM LLC, MICHAEL T.
   MCNAMARA, and RAYMOND E. CLINE,
   JR.,

                        Defendants.


    DEFENDANTS’ OBJECTIONS TO THE REPORT AND RECOMMENDATION (D.I.
    143) REGARDING DEFENDANTS’ MOTION TO DISMISS COUNTS V AND VI OF
                    THE SECOND AMENDED COMPLAINT


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  I.     INTRODUCTION

         Pursuant to Federal Rule of Civil Procedure 72(b)(2), Defendants object to the portion of

  the Report and Recommendation of Magistrate Judge Burke (D.I. 143, the “R&R”) on Defendants’

  Motion To Dismiss Counts V and VI of the Second Amended Complaint (D.I. 120, the “Motion

  to Dismiss”), recommending that the Motion to Dismiss be denied as to Count V (Plaintiffs’ claim

  for conversion). Plaintiffs’ conversion clam is premised on the alleged conversion of electronic

  documents that Plaintiffs provided to Defendants, but for which they retained copies. Thus,

  Plaintiffs were not deprived of the allegedly converted property. Under applicable Louisiana law,

  however, conversion requires that the owner of property be deprived of possession of that property.

  Although the R&R acknowledges that “[t]his is a difficult issue,” it mistakenly recommends

  against granting the Motion to Dismiss as to Plaintiffs’ claim for conversion based on a

  misunderstanding that such a claim can arise if Defendants interfered with Plaintiffs’ “ownership”

  of the allegedly converted property even if Plaintiffs were not deprived of possession of the

  property. But this is incorrect. Deprivation of possession is a necessary element of a claim for

  conversion under Louisiana law. Accordingly, the Court should grant Defendants’ Motion to

  Dismiss in its entirety and dismiss Plaintiffs’ claims for conversion and unjust enrichment.

  II.    BACKGROUND

         Defendant Lancium LLC (“Lancium”) is a technology company that since its founding in

  2017 has been a leading innovator in the field of flexible datacenters to perform blockchain hashing

  operations, such as mining for cryptocurrency, with little to no energy costs using clean and

  renewable energy that would otherwise be wasted. D.I. 23 at 20. Lancium’s technology and

  intellectual property, including its Smart ResponseTM software, enables more renewable energy on




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  the nation’s power grid, and Lancium’s innovations have led to numerous pending and issued

  patents on its technology. D.I. 23 at 23.

         Plaintiff Austin Storms’ only interaction with any of Defendants occurred in May 2019,

  when Mr. Storms met Defendant Michael McNamara and they attended a group dinner, along with

  several other people, after a one-day industry conference. In the days that followed, Mr. Storms

  and Mr. McNamara exchanged a handful of text messages and Mr. Storms sent Mr. McNamara a

  single email. See D.I. 103 at ¶¶ 32-36; see also D.I. 23 at Exhibits C and D (the exchanged text

  messages and email). Based on these interactions, Plaintiffs have asserted a series of meritless and

  legally flawed claims against Defendants seeking damages for the alleged improper use of

  information Mr. Storms allegedly provided to Defendants. See D.I. 19 (First Amended Complaint

  dropping Plaintiffs’ originally pled trade secret misappropriation claims); D.I. 97 (dismissing

  Plaintiffs’ conversion and unjust claims pled in the First Amended Complaint); 4/22/22 Minute

  Entry (striking the trade secret misappropriation claims pled in the Second Amended Complaint).

  Plaintiffs’ currently pled conversion claim (aside from its unjust enrichment claim, which the R&R

  recommends dismissing) is the last of these claims, but it is equally meritless and legally flawed.1

           Plaintiffs’ operative Second Amended Complaint (“SAC,” D.I. 103) alleges that

  Defendants converted “BearBox’s technology, including system designs, documents, data, and

  know-how, and improperly used it to modify their Smart ResponseTM software … .” D.I. 103 at

  ¶ 87. Importantly, however, Plaintiffs only allege that they provided Defendants with information

  about “BearBox’s technology” via “conversations, emails, and text messages.” See, e.g., id., ¶¶




  1
    If the Court grants Defendants’ Motion to Dismiss in its entirety, Plaintiffs’ only remaining
  claims will be their claims regarding the allegedly incorrect inventorship of U.S. Patent No.
  10,608,433 (i.e., Counts I and II of the Second Amended Complaint, D.I. 103), but these claims
  do not seek monetary damages.

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  33-34. Plaintiffs do not allege that Defendants converted any paper or hard copy documents, and

  they do not allege that they were ever deprived of copies of or access to the allegedly converted

  “system designs, documents, data, and know-how.” See id., ¶¶ 84-90. Plaintiffs also do not and

  cannot allege that Defendants took or converted the only copies of their “system designs,

  documents, data, and know- how.” Id. They make no allegation that they were deprived of

  possession of their “system designs, documents, data, and know-how.” Id.

            Defendants moved to dismiss Plaintiffs’ claim for conversion because under Louisiana law

  conversion requires that the owner of the allegedly converted property be deprived of that

  property.2 See D.I. 121 at 12-13; D.I. 133 at 1-6. Indeed, as set forth in Defendants’ opening brief

  in support of the Motion to Dismiss, under Louisiana law, “[a] conversion consists of an act in

  derogation of the plaintiff’s possessory rights, and any wrongful exercise or assumption of

  authority over another’s goods, depriving him of the possession, permanently or for an indefinite

  time, is a conversion.” Quealy v. Paine, Webber, Jackson & Curtis, Inc., 475 So.2d 756, 760 (La.

  1985)3; see also Bihm v. Deca Sys., Inc., 2016-0356 (La. App. 1 Cir. 8/8/17), 226 So.3d 466, 478

  (citing Quealy, 475 So.2d at 760). Despite recognizing that “[t]his is a difficult issue,” the R&R

  recommends denying the portion of Defendants’ Motion to Dismiss regarding the claim for

  conversion. D.I. 143. Defendants object to that recommendation.

  III.      ARGUMENT

         A. Legal Standards

            “For reports and recommendations issued regarding dispositive motions, Rule 72(b)(3) of

  the Federal Rules of Civil Procedure instructs that ‘a party may serve and file specific written


  2
    The R&R correctly notes that Louisiana law applies to Plaintiffs’ conversion claim and “both
  sides agree” on this point. See D.I. 143.
  3
      All emphases added unless otherwise noted.

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  objections to the proposed findings and recommendations’ ‘[w]ithin 14 days’ and ‘[t]he district

  judge must determine de novo any part of the magistrate judge’s disposition that has been properly

  objected to.’” Speakman v. Williams, No. 18-1252-MN, 2019 WL 4751939, at *2 (D. Del. Sept.

  30, 2019) (quoting Fed. R. Civ. P. 72); see also 28 U.S.C. § 636(b)(1); Brown v. Astrue, 649 F.3d

  193, 195 (3d Cir. 2011).

     B. Plaintiffs’ Conversion Claim Should Be Dismissed Because Conversion Under
        Louisiana Law Requires That The Plaintiff Be Deprived Of Its Property And There
        Is No Dispute That Plaintiffs Were Not Deprived Of The Allegedly Converted
        Property

         Count V of Plaintiffs’ SAC asserts a claim for conversion under Louisiana law based on

  Defendants allegedly converting Plaintiffs’ electronic files. This claim fails as a matter of law,

  however, because conversion under Louisiana law requires that the owner be deprived of its

  property. Here, Plaintiffs only allege that they provided the allegedly converted files via email or

  text message, and as such, Plaintiffs could not have been deprived of the allegedly converted. This

  is because in order to email or text message any information to Defendants, Plaintiffs must have

  had their own copies. D.I. 103 at ¶¶ 33-34. Indeed, the R&R recognizes that “Plaintiffs

  acknowledge [they] did” retain copies of the allegedly converted property. See D.I. 143.

  Nonetheless, the R&R recommends that the Motion to Dismiss be denied as to Plaintiffs’

  conversion claim because although “[t]his is a difficult issue, and Defendants do cite some

  Louisiana state court precedent that provides some support for their position,” it concludes that

  “regardless of whether Defendants are correct on that point,” conversion can occur “when a

  defendant unlawfully interferes with the plaintiffs ‘ownership’ of a movable” and “Plaintiffs’

  conversion claim can be read to allege that this is what occurred here.” D.I. 143. The R&R,

  however, is incorrect and conversion under Louisiana law requires that the owner of property be

  deprived of possession of that property in order for a claim for conversion to arise. In other words,



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  deprivation of possession is a necessary element of a conversion claim.

         As an initial matter, there is more than “some support” for the requirement that a property

  owner be deprived of possession of its property in order for a conversion claim to arise. Indeed,

  the Louisiana Supreme Court has explained that “[t]he gist of a conversion has been declared to

  be not the acquisition of the property by the wrongdoer, but the wrongful deprivation of a person

  of property to the possession of which he is entitled.” Importsales, Inc. v. Lindeman, 231 La. 663,

  668, 92 So.2d 574, 575–76 (1957) (citations omitted). The Louisiana Supreme Court has also

  repeatedly noted the deprivation requirement for conversion when addressing conversion claims.

  See Dual Drilling Co. v. Mills Equip, Invs., Inc., 721 So.2d 853, 857 (La. 1998) (explaining that

  the cause of action of conversion “is available to an owner dispossessed as a result of an offense

  or quasi-offense or, in other words, a ‘tort’”); Quealy, 475 So.2d at 760 (“A conversion consists

  of an act in derogation of the plaintiff’s possessory rights, and any wrongful exercise or assumption

  of authority over another’s goods, depriving him of the possession, permanently or for an

  indefinite time, is a conversion.”); Edward Levy Metals, Inc. v. New Orleans Public Belt R.R., 148

  So.2d 580, 582 (La. 1963) (“It is well settled under concepts of conversion forming the basis for

  any tort action herein, that it is not the erroneous accumulation of the property by the wrongdoer

  which gives rise to delictual responsibility, but the wrongful deprivation of a person of property

  to the possession of which he is entitled once the possessor has knowledge that the property is

  under his control.”). Intermediate appellate courts in Louisiana have also recently emphasized the

  deprivation requirement. See, e.g. Bihm v. Deca Sys., Inc., 2016-0356 (La. App. 1 Cir. 8/8/17), 226

  So.3d 466, 478 (“A conversion is an act in derogation of the plaintiff's possessory rights and any

  wrongful exercise or assumption of authority over another’s goods, depriving him of the

  possession, permanently or for an indefinite time.”); Glod v. Baker, 998 So.2d 308, 317 (La. App.




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  3d Cir. 2008) (citing Angelo and Son, Inc. v. Rapides Bank & Trust Co., 95–992 (La.App. 3 Cir.

  4/10/96), 671 So.2d 1283, writs denied, 96–1173, 96–1204 (La. 6/21/96), 675 So.2d 1083) (same).

  Thus, it is well-established by controlling authority that conversion under Louisiana law requires

  a deprivation of possession, which Plaintiffs do not and cannot allege.

         Although the Louisiana Supreme Court has not addressed a case where, as here, the

  conversion claim was based on the alleged conversion of electronic documents where the owner

  retained a copy, this situation has been addressed by the Court of Appeal of Louisiana for the First

  Circuit in CamSoft Data Sys., Inc. v. S. Elecs. Supply, Inc., 2019 CA 0731, 2019 WL 2865359 (La.

  Ct. App. July 2, 2019), writ denied, 282 So.3d 1071 (La. 2019).4 Indeed, CamSoft addressed a

  nearly identical situation where the conversion claim was based on the alleged “ongoing use of

  CamSoft’s confidential technical and business information” that included “device compilations,

  software code, know-how, networking designs, installation process, business methods, marketing

  plans, pricing information, and strategic wireless network integrator business plans.” 2019 WL

  2865359, at *2-3. The CamSoft court, however, found that there could be no conversion because

  the claim was based on use of electronic files and “immovable, intangible information” and

  “CamSoft was not deprived of this information” but “a conversion requires a deprivation of

  possession.” Id. at *3. Furthermore, the CamSoft plaintiff sought to appeal this decision to the

  Louisiana Supreme Court arguing that “[t]he First Circuit erred in holding as a matter of law that

  there can be no deprivation for purposes of conversion unless the subject property is completely

  removed by the plaintiff’s possession and use” because in Louisiana “the law of conversion seeks

  to address the defendant’s repudiation of plaintiff’s ownership rights to the subject property.” See



  4
    Where a state’s highest court has not spoken, a federal court applying state law has a duty to
  decide a case as it believes the state’s highest court would have done. Valley Forge Ins. Co. v.
  Jefferson, 628 F. Supp. 502, 510 (D. Del. 1986).

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  Exhibit 2 (CamSoft plaintiff’s application for writ of certiorari) at 5-8 (emphasis in original). But

  the Supreme Court denied the application for writ of certiorari. CamSoft Data Sys., Inc. v. S. Elecs.

  Supply, Inc., 282 So.3d 1071 (La. 2019). Thus, beyond providing “some support” for Defendants’

  Motion to Dismiss, CamSoft establishes that Plaintiffs’ conversion claim fails as a matter of law

  because they were not deprived of possession of the allegedly converted property.

         Although the R&R cites Mabile v. BP, P.L.C., No. 11-1783, 2016 WL 5231839, at *1, *23

  (E.D. La. Sept. 22, 2016) and Total Safety, U.S., Inc. v. Code Red Safety & Rental, LLC, No. 19-

  12953, 2019 WL 5964971, at *1, *4-5 (E.D. La. Nov. 13, 2019) as contrary authority to CamSoft,

  both of these cases are federal district court decisions that are not controlling authority. See D.I.

  143. In addition, Mabile was decided before CamSoft and thus did not have the benefit of its

  guidance on Louisiana law. Furthermore, Total Safety is inapposite because it did not address the

  deprivation requirement for a conversion claim. See 2019 WL 5964971, at *4-5. Rather, Total

  Safety only held that a conversion claim was not preempted by the Louisiana Uniform Trade

  Secrets Act.5 Id.

         The R&R cites to CamSoft in support of its conclusion that interference with “ownership”

  is an independent basis that can give rise to a conversion claim, but CamSoft does not support this

  conclusion. See D.I. 143. Rather, CamSoft is explicit that “conversion requires a deprivation of

  possession.” 2019 WL 2865359, at *3. Moreover, similar to Plaintiffs’ claims here, the CamSoft

  plaintiffs’ conversion claim was based on the alleged “use of CamSoft’s confidential technical and




  5
    Total Safety was also raised by Plaintiffs for the first time during the hearing on the Motion to
  Dismiss. See Ex. 1 (5/23/22 Hr’g Tr.) at 27:18-23; see also D.I. 128 (Plaintiffs’ opposition to
  Motion to Dismiss). Although the R&R cites to Total Safety, when counsel pointed out that Total
  Safety was not raised in the parties’ briefing and was not appropriate authority to raise for the first
  time during oral argument, Magistrate Judge Burke responded that “I agree.” See Ex. 1 at 29:2-17.

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  business information.” Id. at *2. Thus, the conclusion that such use can give rise to a claim for

  conversion where there is no deprivation of possession is directly contrary to CamSoft’s holding.

         The R&R also cites to Plaintiffs’ opposition to the Motion to Dismiss in support of its

  conclusion that interference with ownership can give rise to a claim for conversion where there is

  no deprivation of possession. See D.I. 143. But as set forth in Defendants’ reply brief, Plaintiffs’

  case law is all distinguishable, does not support this proposition, is not controlling, and/or predates

  CamSoft. See D.I. 133 at 2-5.

         The Fifth Circuit has also made clear that interference with ownership is not an independent

  basis for a conversion claim under Louisiana law. In Chrysler Credit Corp. v. Perry Chrysler

  Plymouth, Inc., where the plaintiff asserted a claim for conversion of funds, the Fifth Circuit

  explained that “to prevail against [defendant], [plaintiff] must prove that (1) it owned funds

  misused by him; (2) the misuse was inconsistent with its rights of ownership; and (3) the misuse

  constituted a wrongful taking of the funds.” 783 F.2d 480, 484 (5th Cir. 1986); see also Tri-state

  Bancshares, Inc. v. Scott, No. CV 15-2053, 2016 WL 4098604, at *4 (W.D. La. July 28, 2016)

  (quoting Chrysler Credit and explaining that “[t]he Fifth Circuit articulates three elements to be

  proven by the plaintiff for the tortious conversion of funds under Louisiana law.”). In other words,

  interference with ownership rights is an additional requirement for a conversion claim beyond the

  requirement for a “taking” (i.e., a deprivation of possession). And here, Plaintiffs have not and

  cannot allege that they were deprived of the allegedly converted property. See D.I. 143. As such,

  the R&R’s recommendation that dismissal of Plaintiffs’ conversion claim be denied because

  interference with “ownership” is an alternative basis for such a claim is legally flawed. Plaintiffs’

  the conversion claim fails as a matter of law because they were not deprived of possession of the

  allegedly converted property.




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  IV.    CONCLUSION

         For the reasons stated above, the R&R’s conclusion that interference with ownership is an

  independent basis for a conversion claim is mistaken. The Court should sustain Defendants’

  objections to the R&R and grant Defendants’ Motion to Dismiss in its entirety.


  Dated: June 9, 2022                                BARNES & THORNBURG LLP

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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   BEARBOX LLC and AUSTIN STORMS,

                         Plaintiffs,

          v.
                                                      C.A. No. 21-534-MN
   LANCIUM LLC, MICHAEL T.
   MCNAMARA, and RAYMOND E. CLINE,
   JR.,

                         Defendants.


   CERTIFICATION PURSUANT TO DISTRICT OF DELAWARE STANDING ORDER
              FOR OBJECTIONS FILED UNDER FED. R. CIV. P. 72

         Defendants Lancium LLC, Michael T. McNamara and Raymond E. Cline (“Defendants”)

  hereby certify that the foregoing objections do not raise any legal or factual arguments that were

  not previously raised before Magistrate Judge Burke.


  Dated: June 9, 2022                                   BARNES & THORNBURG LLP

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                         EXHIBIT 1




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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE



         BEARBOX LLC, et al.,           )
                                        )
                   Plaintiffs,          )   C.A. No. 21-534-MN-CJB
                                        )
         v.                             )
                                        )
         LANCIUM LLC, et al.,           )
                                        )
                    Defendants.         )




                           Monday, May 23, 2022
                           1:00 p.m.




         BEFORE: THE HONORABLE CHRISTOPHER J. BURKE
               United States District Court Judge




         APPEARANCES:



                    ASHBY & GEDDES
                    BY: ANDREW MAYO, ESQ.

                            -and-

                    MARSHALL, GERSTEIN & BORUN
                    BY: JOHN LABBE, ESQ.
                    BY: BENJAMIN HORTON, ESQ.

                                       Counsel for the Plaintiff


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   1     APPEARANCES CONTINUED:

   2
                    BARNES & THORNBURG
   3                BY: CHAD STOVER, ESQ.
                    BY: ADAM KAUFMANN, ESQ.
   4                BY: MARK NELSON, ESQ.

   5                                   Counsel for the Defendant

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   1                          THE COURT:      Good afternoon,

   2        everyone.      It's Judge Burke here.          Can everyone

   3        hear me okay?

   4                          COUNSEL:     Yes, Your Honor.

   5                          THE COURT:      All right.      I know our

   6        court reporter is with us and we thank our court

   7        reporter for their service and let's go on the

   8        record in light of that and as we do let me just

   9        say a few things for the record.              The first is

  10        that we're here this afternoon by way of

  11        teleconference in the matter of BearBox LLC, et

  12        al, versus Lancium LLC, et al.             It's civil

  13        action number 21-534-MN-CJB here in our court.

  14        And we're here for a teleconference to hear

  15        brief argument on the pending motion to dismiss

  16        filed by the defendant's side.

  17                          Before we go further, let's have

  18        counsel for each side identify themselves for

  19        the record.      We'll start first with counsel for

  20        the plaintiff's side and we'll begin there with

  21        Delaware counsel.

  22                          MR. MAYO:      Good afternoon, Your

  23        Honor.     This is Andrew Mayo from Ashby & Geddes

  24        on behalf of the plaintiff, BearBox and Austin


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   1        Storms.     I am joined this afternoon by my

   2        co-counsel from Marshall, Gerstein & Borun, you

   3        have Benjamin Horton and John Labbe on the line.

   4                          THE COURT:      All right.      And Mr.

   5        Mayo, who will be addressing the issues today?

   6                          MR. MAYO:      Mr. Horton, Your Honor.

   7                          THE COURT:      Okay.    Great.     And

   8        similarly, we'll ask defendant's to identify

   9        themselves, again beginning with Delaware

  10        counsel and to let us know who will be

  11        addressing the issues for their side.

  12                          MR. STOVER:       Good afternoon, Your

  13        Honor.     Chad Stover from Barnes & Thornburg for

  14        defendants and with me are my partners Adam

  15        Kaufmann and Mark Nelson and Mr. Kaufmann will

  16        be addressing the Court this afternoon on this

  17        motion.

  18                          THE COURT:      Okay.    Thank you.

  19        Thanks to all.       All right.       Counsel, as you

  20        know, the motion to dismiss implicates two

  21        claims that are in the current iteration of the

  22        operative complaint.         One is a conversion claim

  23        and then the second is the unjust enrichment

  24        claim.     There is one argument for dismissal of


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   1        the conversion claim and for the unjust

   2        enrichment claim, there are a few different

   3        arguments.      There, the arguments are related to

   4        the fifth element of the claim on the one hand

   5        and they will relate to the federal preemption

   6        argument on the other.          Why don't we first deal

   7        with the arguments about the conversion claim

   8        and after we hear argument on that, we can move

   9        on to the unjust enrichment claim.                On that

  10        front, let me then turn first to defendant's

  11        counsel and, Mr. Kaufmann, I'll turn to you and

  12        I'll just have a few questions and I'll

  13        certainly let you add anything else that you

  14        wish to add from your briefing if it's not

  15        something we get into via my questions.

  16                          And so with regard to the

  17        conversion issue, you know, a lot of this comes

  18        down to your argument that when it comes to

  19        Louisiana law, what has to be pleaded and

  20        established is that in some way what's alleged

  21        here is an instance of a party depriving the

  22        owner of possession of information or the

  23        ability to use the property or the information.

  24        And here your basic assertion is that the


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   1        complaint doesn't plead that because the

   2        information at issue was transferred

   3        electronically and it's clear from the

   4        allegations that the plaintiff retained a copy

   5        of it and so the plaintiff never lost -- was

   6        never deprived of possession of the information

   7        or the ability to use it.

   8                          Have I set out the gist of your

   9        argument at least by way of kind of framing it?

  10                          MR. KAUFMANN:       Yes, Your Honor, I

  11        think you have.        I guess maybe one point of

  12        clarification I would make is you're correct

  13        that the primary basis for our claim is that

  14        there's been no alleged deprivation of the

  15        converted property.         I will say I think there's

  16        two aspects to the allegation of what the

  17        converted property is.          The second amended

  18        complaint refers to conversion of some actual

  19        electronic documents, but also know-how is one

  20        of the things that is allegedly converted.                 And

  21        to the extent that know-how is not tied to

  22        physical things, physical documents or

  23        electronic documents, our position is that would

  24        also be, you know, not the proper subject matter


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   1        of a conversion claim because it's intangible.

   2        Know-how divorced from any physical document is

   3        intangible and can't be converted and then of

   4        course for the electronic documents, there was

   5        no deprivation and so there can also been no

   6        conversion.

   7                          THE COURT:      I don't remember this

   8        know-how issue coming up from the briefing.                 My

   9        memory of the briefing, what the parties were

  10        arguing about there, it seemed to be understood

  11        that yes, the information that is alleged to

  12        have been converted was information that was

  13        sent electronically and obtained electronically

  14        and that presumably stored electronically at

  15        defendant's side.        Did the parties get into

  16        this -- do you disagree?            Did the parties talk

  17        about what you were just talking about now in

  18        the briefs?

  19                          MR. KAUFMANN:       Well, Your Honor,

  20        I'd just point out that in our brief the way the

  21        claim has been alleged refers to know-how as

  22        we've noted in our briefing as well.               But you're

  23        correct, I don't believe there's any dispute

  24        that what was converted was electronic


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   1        documents.

   2                          THE COURT:      Okay.    And then I

   3        guess, you know, there was some back and forth

   4        about whether under the Louisiana law electronic

   5        information or documents can be the type of

   6        property that could be converted.              And at some

   7        point I guess certainly about the time of the

   8        reply brief you acknowledged, yes, that's true,

   9        we're not saying on the defendant's side that

  10        electronic information can't be converted.                 And

  11        I guess my question there to you was, in your

  12        view is the only way that electronic information

  13        can be converted is if a party either literally

  14        kind of takes the electronic information

  15        physically, you know, say, for example, like in

  16        one of the cases is information on a hard drive,

  17        and takes that hard drive and takes it away from

  18        the plaintiff or if the defendant's side, you

  19        know, deletes or gets rid of the electronic

  20        information?       Put differently, in your view, is

  21        there any way that you can convert electronic

  22        information simply by receiving it, you know,

  23        via like an e-mail or a text or something like

  24        that?


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    1                         MR. KAUFMANN:        Well, Your Honor, I

    2       think that the conversion does require a

    3       deprivation of the property and so just by

    4       receiving a copy of electronic documents via

    5       e-mail or some other electronic conveyance, no,

    6       I don't believe there is a way that that could

    7       be converted as long as the owner of that

    8       property retained a copy of it.              I think you

    9       correctly summarized that instances of

  10        conversion of electronic documents could occur

  11        in instances like where the documents are stored

  12        on a physical hard drive and the hard drive is

  13        taken or, yeah, the files were withheld from the

  14        owner, I believe is one of the cases.                What was

  15        discussed in the briefing dealt with a situation

  16        where a party developed software that was, you

  17        know, stored on a computer hard drive and then

  18        didn't turn it over to the party that had paid

  19        for it.

  20                          THE COURT:       Right.    Like if two

  21        parties entered into a contract and the

  22        defendant is supposed to develop and create

  23        software for the plaintiff, but the allegation

  24        is defendant never gave this software to the


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    1       plaintiff, you know, that's if you have

    2       electronic information or software that can be

    3       properly said to be alleged to be converted, but

    4       you would say it's an example where the entirety

    5       of that information is in the defendant's

    6       possession?

    7                         MR. KAUFMANN:        Correct.

    8                         THE COURT:       Okay.    And then I

    9       guess just thinking about it, how come there

  10        can't be a deprivation of property regarding

  11        electronic documents when an owner or plaintiff

  12        retains a copy?        Isn't it -- couldn't it be said

  13        that the owner is deprived of sole possession of

  14        the electronic documents in that situation, even

  15        if they're not deprived of total possession of

  16        the information?

  17                          MR. KAUFMANN:        No, Your Honor, I

  18        don't believe there could be.              You know, the

  19        only, I think, potential scenario I could see

  20        where there could be a deprivation where the

  21        owner of the files retained a copy could be in

  22        the scenario where the information was the basis

  23        of a patent.       But as Your Honor knows, the

  24        original conversion claim in this case was based


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    1       on that, that Lancium converted BearBox's

    2       property by patenting it.            And Your Honor, you

    3       know, correctly found that that claim was not

    4       viable and dismissed that claim.              And so now the

    5       basis of this conversion claim is something

    6       different than that.          Right?     I mean, the

    7       allegations are no longer that the property was

    8       converted into a patent whereby Lancium would

    9       have the ability to prevent, you know, someone

  10        else from using their patented technology.                 As

  11        long as BearBox had a copy of their electronic

  12        files, they can do whatever they want with it.

  13        And again, that property, the basis of the

  14        conversion claim is something different than

  15        what is the subject matter of the patent that

  16        their enrichment claims relate to.

  17                          THE COURT:       I think what you're

  18        saying is, tell me if I'm wrong, but under the

  19        Louisiana law when it comes to conversion, there

  20        isn't the idea -- you can't have a scenario

  21        where, you know, there's a piece of property,

  22        say electronic information, or any kind of

  23        property really, and the plaintiff holds onto

  24        one copy of it, but the defendant gets another


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    1       copy of it and the plaintiff can claim that the

    2       defendant converted their property.               Isn't that

    3       right?     Isn't that -- isn't that, from what

    4       you're arguing, you can't have a conversion

    5       claim under Louisiana law in your view if each

    6       side keeps a copy, if each side ends up with a

    7       copy of the allegedly converted electronic

    8       material, is that right?

    9                         MR. KAUFMANN:        I think that is

  10        correct, Your Honor.          And that, you know, I

  11        think what the CamSoft case found, you know,

  12        explicitly, that, you know, they quoted the

  13        Louisiana supreme court Binn case, cited to the

  14        Binn, says that a conversion requires a case of

  15        possession.       And, for example, in CamSosft there

  16        was no deprivation because the owner of the

  17        property retained copies of their information

  18        and so there could not be a conversion.

  19                          THE COURT:       And then last question

  20        for you that I had, the Louisiana law, as both

  21        sides note, lists out the seven kind of possible

  22        examples of conversion.           And in describing what

  23        those things are, again, you say that they each

  24        involve depriving the owner of possession or the


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    1       ability to use its property.             I guess my

    2       question is how is that true with example number

    3       seven, which is referred to as ownership is

    4       asserted over the channel.            Can't you have a

    5       scenario where you have a conversion claim where

    6       a party claims that they own certain property

    7       but nevertheless, it physically remains -- also

    8       remains in the hands of the plaintiff?

    9                         MR. KAUFMANN:        Well, Your Honor, I

  10        don't believe you could have that scenario where

  11        there would be a situation other than, you know,

  12        the scenario I mentioned before, where the --

  13        you know, we're talking about the subject of a

  14        patent.      You know, the Louisiana supreme court

  15        has been clear that, you know, the basis of a

  16        conversion claim, in the Import Sales case the

  17        supreme court was explicit that the gist of a

  18        conversion has been declared not to be the

  19        acquisition of the property by the wrong does,

  20        but the wrongful deprivation of a person of the

  21        property to the possession to which he is

  22        entitled.      And the only way to assert ownership

  23        over property that would deprive the owner of

  24        that ownership would be to have physical


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    1       possession of it, unless there was some legal

    2       mechanism to preclude them from using that

    3       property.      And I think the only legal mechanism

    4       that could be would be a patent.              And Your Honor

    5       has already found that that can't be the basis

    6       of a conversion claim.

    7                         THE COURT:       Taking it out of the

    8       electronic information context, though, let's

    9       say think about just a physical item, like a

  10        car.     Let's say a plaintiff on its property has

  11        a car and a defendant says, hey, that's my car.

  12        I don't have the physical car, but I think

  13        that's my car.        And the defendant maybe goes and

  14        files some type of legal claim in Louisiana

  15        trying to convince somebody that the car is the

  16        defendant's, but the plaintiff says, that's

  17        totally false, this is my car.             The defendant is

  18        asserting ownership of this physical thing that

  19        I still possess, but I think defendant's

  20        converted it or maybe defendant is successful

  21        with their legal challenge if they converted it.

  22        Can't you have -- in the physical realm, can't

  23        you have a physical conversion claim where you

  24        assert ownership of something even though the


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    1       thing is still in the possession of the

    2       plaintiff?

    3                         MR. KAUFMANN:        Well, I don't think

    4       in that scenario that could be a conversion,

    5       because if there was a legal claim that was

    6       filed, you know, asserted against ownership of

    7       the claim and it was successful, then, you know,

    8       then the claimant prevailed and there would be

    9       no wrongful taking or you know, and if they --

  10        if they were unsuccessful, then there was no

  11        interference with the property either.                So

  12        there, Your Honor, I don't believe there's any

  13        mechanism.       I guess the one example of depriving

  14        the property owner of ownership would be in a

  15        situation like what we discussed earlier where,

  16        you know, developing the software and not

  17        turning it over to the owner could be an example

  18        of interfering with ownership, but there there's

  19        still a deprivation.

  20                          THE COURT:       Okay.    Mr. Kaufmann,

  21        is there anything more you want to say about

  22        this conversion issue before I turn to your

  23        colleague on the other side?

  24                          MR. KAUFMANN:        Your honor, the


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    1       only final point I would make on that is I think

    2       the CamSoft case is wholly precedent here and

    3       dealt with this issue, you know, nearly

    4       identical issue and concluded that there could

    5       be no conversion of electronic documents where

    6       there is no deprivation of the property owner.

    7       And under CamSoft, I think BearBox's claim

    8       necessarily fails for identical reasoning that

    9       there is simply no deprivation here because

  10        BearBox at all times retained a copy of the

  11        allegedly converted property and the ability to

  12        use it.

  13                          THE COURT:       Okay.    All right.

  14        Thank you.       Let me turn to plaintiff's counsel.

  15        And Mr. Horton I know is going to take this

  16        issue.     And Mr. Horton, I'll start out where the

  17        defendant's side left off.            If they say hey,

  18        look, we have a Louisiana state court case that

  19        we think pretty clearly addresses this issue

  20        and, you know, of course no case is a hundred

  21        percent the same facts, but basically pretty

  22        clearly says that, you know, when it comes to

  23        electronic information, you know, can electronic

  24        information be converted?            Yeah, but what we


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    1       would have to see is someone physically taking

    2       possession of that electronic information of the

    3       plaintiff's and depriving them of it.                And if

    4       you simply had a scenario where the electronic

    5       information was transmitted from a plaintiff to

    6       a defendant, but the plaintiff kept a copy,

    7       defendant says that CamSoft kind of indicates

    8       that that wouldn't cut it.            In your brief you

    9       cited some cases in support of your conversion

  10        claim, but do you have a Louisiana state court

  11        case that's about a conversion claim that really

  12        strongly supports your position?

  13                          MR. HORTON:        Yes, Your Honor.

  14        Well, first, if I could address quickly the

  15        CamSoft decision.

  16                          THE COURT:       Sure.

  17                          MR. HORTON:        The CamSoft decision

  18        was a summary judgment decision, Your Honor.

  19        And what the court found was there wasn't

  20        sufficient evidence and denied summary judgment

  21        on that basis.        It did not contemplate the

  22        pleading standard for conversion under Louisiana

  23        law, which is what we're talking about here in

  24        the instant motion, Your Honor.


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    1                         The other thing I'd say about

    2       CamSoft is the CamSoft court also held that

    3       software was not protectable under Louisiana

    4       conversion law, which is something that has been

    5       rejected by the Louisiana supreme court and

    6       Lancium itself acknowledges is incorrect in its

    7       reply brief.       And so if we're debating the

    8       correctness or applicability of CamSoft, I think

    9       both of those points are important and worth

  10        noting.      In terms of --

  11                          THE COURT:       I guess, Mr. Horton,

  12        just to stop you briefly on the first point, you

  13        said it in your brief to, but of course it's

  14        correct that CamSoft's summary judgment decision

  15        you say wasn't addressing the pleading standard,

  16        but what it was addressing, plaintiff says was

  17        addressing what the law requires as to these

  18        claims.      You know, all the time we have

  19        instances where like in a summary judgment

  20        scenario you have to take a look at like what is

  21        required for this claim, you know, whether to

  22        plead or prove it.         And, you know, you can get a

  23        lot of level information from courts about what

  24        does a claim require and what just doesn't cut


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    1       it.    In a summary judgment decision that can be

    2       useful for a motion to dismiss.              I guess if

    3       everything I'm saying is correct and I think it

    4       is, how come, you know, you may disagree with

    5       CamSoft for other reasons, but why is it the

    6       fact that the summary judgment decision is

    7       irrelevant here?

    8                         MR. HORTON:        I think some of the

    9       facts that the CamSoft court relied on was lack

  10        of evidence on certain things.             And so, Your

  11        Honor, to the extent, your point is well taken

  12        that a summary judgment opinion can inform, you

  13        know, what might be required under a pleading

  14        standard, but here the Court's discussion of

  15        those issues was focused on what the plaintiff

  16        did not do in terms of introducing evidence and

  17        sort of roundabout reached its conclusion on

  18        that basis.       So I'm just suggesting that I think

  19        that's an important context that we have for

  20        CamSoft.      And the other important point is, you

  21        know, the fact that there was another very wrong

  22        portion of the decision that I think Lancium's

  23        own positions are inconsistent with CamSoft and

  24        so we should note that.


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    1                         THE COURT:       Okay.    All right.      And

    2       then back to the question about, you know, the

    3       case law that you cite.           Do you have a Louisiana

    4       state court case regarding conversion that you

    5       think is pretty applicable on the facts?

    6                         MR. HORTON:        Well, I think first,

    7       Your Honor, I would go to the Louisiana supreme

    8       court decision in their discussion as to what

    9       constitutes conversion.           We've been talking

  10        about the Dual Drilling case, the Dilio case

  11        where the supreme court lace out the seven acts

  12        that would constitute conversion.              I think Your

  13        Honor is exactly right in pointing to, for

  14        example, the seventh action where the Louisiana

  15        supreme court I think very intentionally chooses

  16        the word ownership, you know, for instance,

  17        separate from possession to illustrate that

  18        concept.      I also think it's important to note

  19        that act number four, possession of, withheld

  20        from the owner or possessor.             That's exactly the

  21        one act of conversion that I think Lancium is

  22        trying to expand or I guess consolidate all acts

  23        of conversion into, just number four, when the

  24        others are much broader, including number one,


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    1       Your Honor, where it says possession is acquired

    2       in an unauthorized manner.

    3                         THE COURT:       Just to jump in.        You

    4       know, when I read the seven examples, you know,

    5       I saw it in your brief that you were trying to

    6       say like, well, four is an example of when you

    7       physically take something from another person,

    8       you know, and they don't have it anymore, but

    9       look at all these others.            But when I read them,

  10        I don't know, it seems like all or almost all of

  11        them are meant to be talking about examples of

  12        just that.       You know, like number one,

  13        possession is acquired in an unauthorized

  14        manner.      Well, I acquired possession, I took the

  15        thing, you don't have it anymore.              Number two,

  16        the channel is removed from one place to

  17        another, with the idea that you're going to

  18        exercise control over it.            I took the thing.        I

  19        have it.      You don't have it anymore.           Number

  20        three possession of the channel is transferred

  21        without authority.         It's transferred, now I've

  22        got it.      You don't have it anymore.           You know

  23        what I mean?       So I don't understand why -- why

  24        is fourth only one of the possible conversion


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    1       scenarios that deals with the physical obtaining

    2       of an item without the other side having it?

    3                         MR. HORTON:        I think, Your Honor,

    4       the fact that it is explicit I think is

    5       acknowledgement that each of those other

    6       scenarios could have a situation where there's a

    7       dual possession or a partial possession.                   And so

    8       the fact that it is laid out explicitly, I

    9       think, acknowledges that those other

  10        possibilities exist.          For example, number six,

  11        the channel was used improperly.              Well, that

  12        doesn't say who is possessing the channel at the

  13        time, just that it's being used improperly.

  14        Your Honor had the example about a car where

  15        someone is making the argument that that's my

  16        car.     The plaintiff says no, it isn't.              I can

  17        imagine other scenarios where someone is trying

  18        to take out a loan as collateral on someone

  19        else's house.        They say it's their house.             Well,

  20        the plaintiff at all times had possession of

  21        their house.       So there's all kinds of these

  22        examples that we think up and I think the

  23        Louisiana supreme court was explicit when

  24        articulating number four and saying that that


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    1       alone is an act, but it's not necessarily

    2       required for any of the others.              And I think

    3       it's also important, Your Honor, to look at, you

    4       know, what the supreme court says when it

    5       summarizes those seven acts.             You know, I think

    6       in defendant's brief they used the word

    7       deprivation in an argument today.              Deprivation

    8       is the word that's used, but the full quote from

    9       the Louisiana supreme court is conversion

  10        consists of an act of deprivation of the

  11        plaintiff's possessory rights, comma, and

  12        deprivation is impairment or interference.                 But

  13        it goes on to say and any wrongful exercise of

  14        assumption of authority over another's goods

  15        depriving him of a possession permanently or an

  16        indefinite time is a conversion.              What you've

  17        got there, Your Honor, is sort of that first

  18        statement of an act of deprivation as a

  19        conversion and them where it gives an example of

  20        a conversion.        And I think that's more

  21        consistent with how the supreme court has laid

  22        out these seven types of conversion, an act of

  23        deprivation, interference with the plaintiff's

  24        possessory rights and I think that it makes


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    1       sense that in the electronic context an

    2       interference with the plaintiff's possessory

    3       rights would be interference or elimination of

    4       exclusive possession of electronic information,

    5       right?     It seems to flow that it would be

    6       actionable or should be actionable under

    7       conversion if a defendant has, for example,

    8       taken a customer list or a schematic on how to

    9       build a product and then used that information

  10        to compete unfairly with the plaintiff who

  11        possessed those things and still would possess

  12        those things, you know, unlawfully taking

  13        profits and sales away from that plaintiff.                  I

  14        think that's exactly the type of act where

  15        there's dual possession that would be actionable

  16        under conversion.         And in fact, there are

  17        decisions that we've cited to in the briefing

  18        that contemplate exactly that.             The Mayville

  19        decision, Your Honor, and explicit when it talks

  20        about copied the schematic and used it to

  21        compete unfairly and illegally with the

  22        plaintiff.

  23                          THE COURT:       Do you think in

  24        Mayville it's clear from the case that the owner


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    1       retained a copy of the information?

    2                         MR. HORTON:        I do, Your Honor.

    3                         THE COURT:       Okay.    And then in

    4       terms of the -- just one more question about the

    5       way the supreme court explains the tort.                  I

    6       talked about number seven with the other side.

    7       Are you asserting -- are you saying in your

    8       complaint that in some way the defendants

    9       asserted ownership over the channel, which I

  10        guess here is the electronic information that

  11        passed between -- from plaintiff's side to

  12        defendant's side?         And if you are, in what way

  13        did they assert ownership of it?

  14                          MR. HORTON:        I think we are, Your

  15        Honor.     I think there's -- I think we

  16        articulated in the briefing there's at least

  17        four acts under Louisiana supreme court law that

  18        we pled as actionable.           Ownership I think is one

  19        of them and that would be in the way in which

  20        the defendants have taken the electronic

  21        information and asserted ownership in terms of

  22        modifying their business practices, soliciting

  23        and obtaining investments in their business

  24        based on their ability to practice the methods


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    1       and really making money off of it, Your Honor.

    2       They've asserted ownership over the information

    3       that way.

    4                         And if I could direct the court to

    5       a specific cite from Mayville to answer that

    6       question, Your Honor.          It's to page 1 actually

    7       of the decision.         And the quote is, the

    8       plaintiff left a schematic drawing with the

    9       defendant and later e-mailed a digital copy of

  10        the drawing.       So that case actually contemplates

  11        exactly what we are a talking about here,

  12        e-mails the schematic and of course necessarily

  13        retaining a copy.

  14                          THE COURT:       Okay.    And I guess

  15        lastly and more broadly, you know, how can it be

  16        said that the defendant impaired the plaintiff's

  17        possessory rights to the electronic information

  18        if in the end the plaintiff still possessed the

  19        electronic information?           Is the answer that,

  20        well, the definition of conversion is broader

  21        than impairing possessory rights or is the

  22        answer, well, they impaired our possessory

  23        rights because we no longer had sole possession

  24        of the information?


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    1                         MR. HORTON:        Yeah, I think that's

    2       one important articulation, Your Honor.                   By

    3       impairment by impairing the exclusive possession

    4       of that information, going back to the example I

    5       gave of a competitor acquiring a schematic.                     Now

    6       both competitors have the schematic, but

    7       previously the second competitor didn't have it,

    8       now they have it, they're making a competing

    9       product and now the market is split in purchases

  10        of that product where otherwise it wouldn't have

  11        that.

  12                          THE COURT:       Okay.    Anything

  13        further you wanted to add, Mr. Kaufmann on this

  14        conversion issue?         Apologize.       Mr. Kaufmann,

  15        before I turn to you, I should give Mr. Horton a

  16        chance to tell me if he had anything else.                     Mr.

  17        Horton, did you have anything else before I turn

  18        back to Mr. Kaufmann?

  19                          MR. HORTON:        There are other

  20        decisions, Your Honor, that contemplate dual

  21        possession of electronic information that I'd be

  22        happy to draw the Court's attention to.                   One is

  23        called Total Safety.          It's 2019 WL 5964971.             And

  24        of course they also cited Buena Vista is another


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    1       case that's in the briefing, Your Honor.                  I

    2       think that was defendant's took issue with that

    3       in the reply brief saying that the allegations

    4       actually were that the electronic information

    5       was copied but then the original version was

    6       deleted.      But that's actually not what happened

    7       in Buena Vista.        The conversion allegation was

    8       that information was copied put in archive and

    9       then a separate allegation of conversion was

  10        that different information was deleted from the

  11        plaintiff's server, so I wanted to make that

  12        clarification for the Court.

  13                          THE COURT:       I think you're talking

  14        about Euro Veritas, am I right?

  15                          MR. HORTON:        I'm sorry, yes.

  16                          THE COURT:       Okay.    Got it.       Let me

  17        go back to Mr. Kaufmann.             Anything you want to

  18        say by way of brief rebuttal on the conversion

  19        issue?

  20                          MR. KAUFMANN:        Yes, Your Honor.

  21        One, I'd point out that the Mayville case

  22        predates CamSoft by three years maybe.                It was a

  23        2016 decision, CamSoft was from 2019.                And of

  24        course Mayville was an Eastern District of


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    1       Louisiana case which is not controlling

    2       authority where of course CamSoft is.                 And Your

    3       Honor, the total safety case Mr. Horton just

    4       mentioned I don't believe is cited in the

    5       briefing, so I don't believe that's an

    6       appropriate authority to assert for the first

    7       time in this argument.

    8                         THE COURT:       I agree.       If there are

    9       cases that the parties find after they submitted

  10        the briefing that they think are particularly

  11        helpful, we have a way to do that which is to

  12        file another supplemental brief if it's

  13        something that, that's new.            And if it's not,

  14        you know, there should at least be a way to try

  15        to give the other side a fair chance to respond

  16        to it if they haven't heard it before, so I

  17        understand your point there.

  18                          Okay.     Let's move on to the unjust

  19        enrichment issue.         And again, I'll turn to

  20        defendant's side first.           And I guess, Mr.

  21        Kaufmann, there there are two arguments you're

  22        making, if I'm seeing it correctly, as to why

  23        this claim should be dismissed.              One is that the

  24        plaintiff can't satisfy the fifth element, that


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    1       there be no other adequate remedy in law and the

    2       second is the preemption claim.              If you are

    3       correct on either one of them, you prevail, am I

    4       right about that?

    5                         MR. KAUFMANN:        Yes, Your Honor.

    6       Although actually I believe the first point that

    7       BearBox can't establish the fifth element

    8       applies no matter what.           The preemption issue is

    9       really just to -- we included that to address I

  10        think a potential argument or an ambiguity that

  11        I don't believe BearBox has actually asserted,

  12        which is if they were to assert that their

  13        unjust enrichment claim was based on

  14        non-confidential information, the briefing

  15        doesn't state that, doesn't make that assertion.

  16                          THE COURT:       The presumption

  17        affirmative defense only relates to the extent

  18        that the claim is meant to refer to

  19        non-confidential information that was passed

  20        along and I think right now you're saying you

  21        don't actually think that's what the plaintiff

  22        is alleging, but just in case they are, if they

  23        were, you would have a preemption argument?

  24                          MR. KAUFMANN:        That's correct.


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    1                         THE COURT:       Okay.    I guess on the

    2       preemption issue, just briefly since we're

    3       talking about it, how come this -- you know, and

    4       the briefing basically, just for the record the

    5       briefing basically kind of is a dispute about

    6       whether federal circuit law permits an unjust

    7       enrichment claim outside of the alleged, you

    8       know, enrichment with regard to confidential

    9       information that may have been shared in a quasi

  10        contract way.        And I think you acknowledge that

  11        federal circuit has said that, look, there can

  12        be some circumstances if a plaintiff is alleging

  13        that the defendant was unjustly enriched, even

  14        in the patent world when it comes to information

  15        that was provided based on the promise of

  16        confidentiality, there can be ways in which that

  17        kind of a claim can survive.             But you say

  18        otherwise in a circumstance like this where

  19        we're dealing with a case of this nature, if

  20        it's non-confidential information that's

  21        transferred, federal circuit law just would not

  22        let you make an unjust enrichment claim.                  Is

  23        that right??

  24                          MR. KAUFMANN:        That's correct,


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    1       Your Honor.       There may be scenarios where an

    2       unjust enrichment claim could be based on

    3       confidential information, but not -- there can

    4       not be a situation where a conversion claim or

    5       I'm sorry, an unjust enrichment claim is based

    6       on use of non-confidential information, that

    7       wouldn't be preempted.

    8                         THE COURT:       And how come this

    9       confidential/non-confidential distinction didn't

  10        come up the last time when we were having the

  11        motion to dismiss arguments about this kind of a

  12        claim?

  13                          MR. KAUFMANN:        Well, Your Honor,

  14        because I think the nature of the allegations

  15        were just different previously.              In the first

  16        amended complaint the allegations were that the

  17        patent, you know, what was patented was

  18        BearBox's technology and that the unjust

  19        enrichment was the incorporation of that

  20        technology into the patent.            And that is -- a

  21        claim of that nature is preempted separately

  22        from the confidentiality issue.              The claim is

  23        directly tied to whether the patent is the, is

  24        the basis of the unjust enrichment.


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    1                         THE COURT:       Okay.    I mean, going

    2       back and re-reading the briefing and the

    3       decision last time, it seems like the issue

    4       there just really solely turned on, you know,

    5       was the allegation in the complaint, one, as to

    6       this unjust enrichment claim, that it turned on

    7       an assertion of inventorship and if it was, in

    8       my decision I highlighted a bunch of paragraphs

    9       where it seems like that's exactly what the

  10        plaintiff was saying, saying in my unjust

  11        enrichment claim, it's all about the real

  12        inventor.      They're not.       And if so, that

  13        implicated defense's preemption.              Isn't that

  14        what was going on last time?             And I guess, if it

  15        was or if it wasn't.          Okay.    Go ahead.

  16                          MR. KAUFMANN:        And the preemption

  17        issue there was federal patent law governs

  18        inventorship and so that was the basis of the

  19        preemption of the prior alleged claim.

  20                          THE COURT:       Okay.    But maybe the

  21        alleged thing is slightly differently now and so

  22        we're getting a different argument for a motion

  23        to dismiss the claim on preemption grounds, is

  24        that right?


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    1                         MR. KAUFMANN:        That's correct.

    2                         THE COURT:       Okay.    And then you

    3       also pointed -- on the preemption issue, you

    4       pointed to the third circuit case Warinski and I

    5       know you distinguish it in in part by saying you

    6       don't think the case dealt with whether the

    7       information at issue was allegedly confidential

    8       or not.      But otherwise, do you think the case

    9       just got it wrong?         Do you think that the third

  10        circuit just kind of misinterpreted federal

  11        circuit precedence?

  12                          MR. KAUFMANN:        Your Honor, I think

  13        they did.      In fact, the Warinski case doesn't

  14        even mention the Walter's case that dealt

  15        with -- I'm sorry, not the Walter's case, the

  16        federal circuit precedent on preemption.                  Ultra

  17        Precision.

  18                          THE COURT:       Okay.    And then just

  19        on the other issue, which would I guess be

  20        entirely dispositive of the claim no matter what

  21        confidential or non-confidential information is

  22        at issue, there's no -- you know, dispute really

  23        turns on like a case like Walters where the

  24        supreme court has made it clear that, that when


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    1       it comes to this development, if there is an

    2       adequate remedy at law, even one that the

    3       plaintiff ultimately is successful on, you can't

    4       make an unjust enrichment claim.              And I guess,

    5       is the way that, you know, that there is an

    6       adequate remedy of law otherwise that the

    7       plaintiff pleads such a remedy in a complaint?

    8       Is that how you know that one exists or are

    9       there other ways that you would know?

  10                          MR. KAUFMANN:        Well, Your Honor, I

  11        think there are potentially other ways that you

  12        could know.       I suppose you could, even if there

  13        was an unpled claim, the allegations in the

  14        complaint satisfied the elements of an unpled

  15        claim, that could be a situation again where the

  16        unjust enrichment claim couldn't proceed.

  17        Although, you know, here the trade secret claims

  18        that were stricken, you know, again, are based

  19        on the same conduct as the unjust enrichment

  20        claim.     And, in fact, the trade secret claim

  21        pled unjust enrichment as alleged harm from the

  22        trade secret misappropriation.             And so, you

  23        know, those claims are clearly based on the same

  24        conduct and the same with the conversion claim.


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    1       And, Your Honor, courts that have dealt with

    2       this issue like the Shaw case have found that,

    3       you know, it's not whether -- even if the claim

    4       fails as a matter of law, you know, the Shaw

    5       case found that two other claims based on the

    6       same conduct should also be dismissed as a

    7       matter of law, but the allegation of those

    8       claims based on the same conduct as the unjust

    9       enrichment still precluded the unjust enrichment

  10        claim.

  11                          THE COURT:       And just to parse

  12        that, you know, like what it means to have an

  13        alternative remedy at law.            Let's say I had a

  14        complaint and there was like five claims and the

  15        last of which was unjust enrichment and they

  16        were all about the same conduct.              You know,

  17        like, number one was breach of contract, number

  18        two was conversion, three, four, whatever, and

  19        then five is unjust enrichment and the defendant

  20        moves to dismiss -- and they're all under

  21        Louisiana law -- and defendant moves to dismiss

  22        all five and the Court looks at them and says,

  23        you know what, not one is dismissed.               The

  24        plaintiff can't make out a plausible claim.


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    1       Count two, dismissed as well.             Plaintiff just

    2       simply cannot make out a plausible claim.                 Same

    3       with count three, same with count four and then

    4       you get to count five and you ask yourself, does

    5       the plaintiff have a, you know, an alternative

    6       remedy at law?        Well, from the one hand the

    7       plaintiff pleaded that they did.              You know, they

    8       pleaded four other claims based on the same

    9       basic conduct, but that the Court that's

  10        deciding whether they do just got through saying

  11        they don't.       You know, they -- like the court

  12        looked at it and plaintiff can't make out a

  13        claim under count one, breach of contract or

  14        count two conversion.          If you have a scenario

  15        like that, how can it be said that there is an

  16        adequate remedy at law if the Court says, as to

  17        all the other things the plaintiff tried, no.

  18                          MR. KAUFMANN:        Well, Your Honor,

  19        that's the guidance that the Louisiana supreme

  20        court has given and that's the scenario that the

  21        Court found in Shaw.          Although here, I think we

  22        don't even need to get to that question, because

  23        the trade secret claim, you know, as Your Honor

  24        knows, those claims were not dismissed because


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    1       they failed to plead an adequate trade secret

    2       claim.     They were stricken because they were

    3       untimely, so there's not an issue of whether

    4       other claims could be pled that set forth a

    5       viable claim.        And in fact, in their briefing on

    6       the motion to strike I believe BearBox was

    7       adamant that they had adequately alleged the

    8       elements of a trade secret claim and so because,

    9       you know, that claim could have been available

  10        to them, we don't -- we don't even need to get

  11        to the issue of, you know, if the conversion

  12        claim is stricken could that -- is there still a

  13        claim they could have availed themselves of.

  14        There is and it was the trade secret claims, at

  15        least.

  16                          THE COURT:       Okay.    Anything

  17        further you want to say on this unjust

  18        enrichment issue, Mr. Kaufmann?

  19                          MR. KAUFMANN:        No, Your Honor.

  20                          THE COURT:       Okay.    Let me then

  21        turn to Mr. Horton on plaintiff's side with

  22        these issues and why don't we start with the

  23        fifth element issue.          There I guess, you know,

  24        why doesn't Walter's just settle the issue?                  The


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    1       supreme court case from Louisiana supreme court.

    2       The other side says it pretty clearly, in their

    3       view, says that, look, if you plead another type

    4       of claim based on the same basic content as an

    5       unjust enrichment claim, even if that other

    6       claim gets dismissed, you had an alternative

    7       essential remedy.         And so you can't plead the

    8       fifth element.        And the defendant would say,

    9       heck, even in the recent case, federal cases

  10        recognize that too like Andretti or Cytogel

  11        Pharma.      How comes Walters doesn't just settle

  12        the issue?

  13                          MR. HORTON:        Yes, Your Honor.        I

  14        think we recognize in the briefing there seems

  15        to be a split in authority here.              We recognize

  16        the Walters decision, but there are decisions

  17        subsequent to Walters and the Hall case

  18        addresses Walters and distinguishes it.                   And the

  19        split seems to be, Your Honor, federal court

  20        versus state court and we think that makes sense

  21        here because in federal court, now federal rule

  22        civil procedure 8 which allows for pleading in

  23        the alternative.         And so we think because we're

  24        in federal court with this case that the split


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    1       in authority should give, allow the unjust

    2       enrichment claim to go forward.

    3                         THE COURT:       I guess just to stop

    4       you there, Mr. Horton.           You mentioned Hall as

    5       distinguishing Walters, but the way it

    6       distinguished Walters, not even sure this is a

    7       correct reading of Walters, but the way it

    8       distinguished it was by saying well, Walters was

    9       only talking about a scenario where the

  10        alternative relief was a tort claim.               And then

  11        it went on to talk about how that wasn't the

  12        case in Hall.        Here, even if the way that Hall

  13        was distinguishing Walters wouldn't help you,

  14        right, because you've got alternative tort

  15        claims that you're pleading, isn't that right?

  16                          MR. HORTON:        That was said in the

  17        Hall case, Your Honor, that's correct.                The Hall

  18        case also went on to say that the liberality of

  19        rule 8 should be recognized and the Hall case

  20        cites to the Richard versus Wal-mart case which

  21        again relies on rule 8 which allows for pleading

  22        in the alternative in federal court.

  23                          THE COURT:       And on the rule 8

  24        issue a number of cases that you cite reference


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    1       rule 8.      But I mean, you know, there are cases

    2       that the other side points to that say, and I'm

    3       not sure why this is wrong, whether rule 8 or

    4       rule 9 is a matter of federal procedure allows a

    5       party to plead in the alternative, that doesn't

    6       have much to do with what's the substance of the

    7       elements of the claim under state law.                And if

    8       the substance of an element of the claim was

    9       that you can't have another form of potential

  10        relief, it wouldn't matter what rule 8 or 9 lets

  11        you do because the actual substantive claim

  12        wouldn't permit a scenario like this.                How does

  13        rule 8 or 9 get you out of this problem?

  14                          MR. HORTON:        Yeah, so I think,

  15        Your Honor, you alluded to this earlier, which

  16        is to say that, you know, how do you know which

  17        cause of action is going to provide for the

  18        remedy the plaintiff seeks until you know?                 And

  19        at the pleading stage we don't know.                And so I

  20        think, you know, for conversion I think we feel

  21        that the remedy is a disgorgement of the

  22        defendants ill gotten gains and we think we're

  23        entitled to that under conversion.                But if it

  24        turns out that that's not right, then unjust


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             Case: 23-1922 Document 146-2
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    1       enrichment is meant to plug a gap in the law in

    2       terms of remedies in what the plaintiff might

    3       recover.      And so until we know that for sure, I

    4       think our positions is that unjust enrichment

    5       should stay in the case to continue to plug that

    6       potential gap, until we know for certain whether

    7       there's a gap or not.          And I think that's what

    8       rule 8 contemplates in the federal procedure

    9       context.

  10                          THE COURT:       All right.      And with

  11        regard to the preemption issue, I guess one

  12        question I have for you is the other side is

  13        only making that argument to the extent that

  14        your unjust enrichment claim is even alleged to

  15        implicate information that is non-confidential.

  16        You could tell me that the answer to that is no,

  17        actually no, the whole claim is about

  18        information that is asserted to have been

  19        confidential on the plaintiff's side.                Is that

  20        what's going on or does your unjust enrichment

  21        claim also implicate some information that

  22        wasn't confidential?

  23                          MR. HORTON:        Well, Your Honor, I

  24        think the claim certainly does contemplate


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    1       information that is confidential.              I think we've

    2       said that in the pleading.            I think we said that

    3       in the briefing.         At the pleading stage I would

    4       be hesitant to make a representation whether

    5       it's all constitutes confidential or not.                 And I

    6       don't think the Court needs to reach that

    7       conclusion, because the Rosinski case is on

    8       point and it doesn't contemplate confidentiality

    9       at all, it's simply saying that in order to

  10        avoid preemption you simply just cannot seek a

  11        patent-like remedy based on patent infringement.

  12        And we don't have that here.             We're not seeking

  13        patent infringement damages.             We don't even have

  14        a patent.      I think we're contending that we

  15        should have the patent, but we don't yet.                 And

  16        in Warinski the facts are even less favorable to

  17        the plaintiff there because there the plaintiff

  18        did have the patent and the third circuit said

  19        as long as you're not asking for patent

  20        infringement damages then unjust enrichment

  21        cannot and will not be preempted.              So I think

  22        that's really the only issue that the Court

  23        needs to address.

  24                          THE COURT:       And so I guess you're


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    1       saying -- is what you are saying to me, yes,

    2       Judge, you should understand the unjust

    3       enrichment claim to be alleging the unjust

    4       enrichment of the defendants with regard to both

    5       confidential and non-confidential information,

    6       is that right?

    7                         MR. HORTON:        I guess what I'm

    8       saying, Your Honor, is I think the Court's

    9       decision doesn't need to parse things that

  10        finely.      It can simply be a decision based on

  11        the fact that the plaintiff is not seeking at

  12        like remedies under unjust enrichment and on

  13        that basis cannot be preempted by patent law.

  14                          THE COURT:       I'm asking partly from

  15        an efficiency perspective because if you told me

  16        the only thing you're alleging was used and

  17        generated unjust enrichment was confidential

  18        information, then, you know, I don't have to

  19        make a decision on a whole big part of the

  20        briefing here.        But if you're telling me the

  21        opposite, then I might, so that's why I'm

  22        asking.

  23                          MR. HORTON:        Understood, Your

  24        Honor.


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    1                         THE COURT:       So humor me, which one

    2       is it?

    3                         MR. HORTON:        Fair enough, Your

    4       Honor.     Confidential information.

    5                         THE COURT:       So only confidential

    6       information is being alleged to have been used

    7       in a way that unjustly enriched the other side?

    8                         MR. HORTON:        I think the pleading

    9       is broader than that, Your Honor, but that's the

  10        claim I see going forward, is unjust enrichment

  11        based on confidential information.

  12                          THE COURT:       Okay.    All right.

  13        Anything further you wanted to add, Mr. Horton?

  14                          MR. HORTON:        No, Your Honor.

  15                          THE COURT:       Okay.    All right.      Mr.

  16        Kaufmann, anything more you want to say about

  17        the unjust enrichment issue?

  18                          MR. KAUFMANN:        Your Honor, I'd

  19        just reiterate the point Your Honor noted that

  20        controlling precedent here, Walters in the

  21        Louisiana supreme court and the fifth circuit

  22        precedent have established that unjust

  23        enrichment can not be pled in the alternative.

  24        Here, rule 8, federal rule 8 does not save the


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    1       claim as you noted.          It is a substantive element

    2       of the claim that there can be no other remedy

    3       at law and here BearBox's own allegations show

    4       that there was other claims they could have

    5       availed themselves of and so here the unjust

    6       enrichment claim just can't be sustained.

    7                         THE COURT:       Okay.    All right.

    8       Thanks, counsel.         Appreciate your arguments.

    9       I'll take a short time to think about it and

  10        then I'll intend to issue a short report and

  11        recommendation in the very near future so that

  12        the parties will have an answer here.

  13        Appreciate everyone's time today.              Wish everyone

  14        continued health and safety.             Unless there's

  15        anything further, we can end our teleconference

  16        today and go off the record.             Take care,

  17        everybody.

  18                          (End at 1:58 p.m.)

  19

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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 BEARBOX LLC and AUSTIN STORMS,                  )
                                                 )
                       Plaintiffs,               )
                                                 )
       v.                                        )    C.A. No. 21-534-MN-CJB
                                                 )
 LANCIUM LLC, MICHAEL T.                         )
 MCNAMARA, and RAYMOND E. CLINE,                 )    FILED UNDER SEAL
 JR.                                             )
                                                 )
                       Defendants.               )


               DEFENDANTS’ OPENING BRIEF IN SUPPORT OF THEIR
                     MOTION FOR SUMMARY JUDGMENT

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2                  Reply Report of Frank McCamant, dated May 19, 2022
3                  Expert Report of Dr. Stan McClellan, dated April 5, 2022
4                  Reply Expert Report of Dr. Stan McClellan, dated May 20, 2022
5                  Excerpts from Deposition Transcript of Stanley A. McClellan
6                  Excerpts from Ercot Market Mechanisms Report prepared by Shams
                   Siddiqi, Ph.D., dated May 6, 2022
7                  Excerpts from Deposition Transcript of Austin Storms
8                  Confidentiality Agreement between BearBox, LLC and Glidepath
                   Development LLC dated December 10, 2018, produced by BearBox in this
                   case with Bates numbers BB10000736 – BB10000741
9                  Email from Austin Storms to Todd @buysellads attaching files, produced
                   by BearBox in this case with Bates numbers BB00000911 – BB00000923
10                 Email from Austin Storms to Michael McNamara attaching BearBox’s
                   Product Details Summary, produced by BearBox in this case with Bates
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11                 BearBox tweets, produced by BearBox in this case with Bates numers
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12                 WO 2019/139632 Patent Application, produced by Lancium in this case
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13                 U.S. Patent No. 11,016,456, produced by Lancium in this case with Bates
                   numbers LANCIUM00013636 – LANCIUM00013658
14                 Email from Michael McNamara to Eric Kutscha, Jon Cohen and Raymond
                   Cline attaching BearBox product details summary, produced by Lancium in
                   this case with Bates numbers LANCIUM00014645
15                 Excerpts from the File History of U.S. Patent 10,608,433, produced by
                   BearBox in this case with Bates numbers BB00000319 - BB00000667
16                 Excerpts from a Text message report between Austin Storms and Ben Hakes
                   dated between 12/5/2018 – 4/28/2021, produced by BearBox in this case
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17                 U.S. Patent No. 10,608,433
18                 Text message report between Austin Storms and Michael McNamara dated
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            Defendants’ First Set of Interrogatories (Nos. 1-9), dated November 9, 2021
21          Excerpts from Defendants’ Second Set of Supplemental Response to
            Plaintiffs’ Interrogatory No. 3, dated December 23, 2021
22          Excerpts from Hearing Transcript re: Motion to Strike and Discovery
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23          Excerpts from Plaintiff’s Objections and Responses to Defendants’ First Set
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I.     INTRODUCTION

       Plaintiffs Austin Storms (“Storms”) and BearBox LLC (“BearBox”) have three remaining

claims against Defendants Lancium LLC (“Lancium”), Michael T. McNamara (“McNamara”),

and Raymond E. Cline, Jr. (“Cline”). First, Plaintiffs assert a claim that Storms is the sole inventor

of U.S. Patent No. 10,608,433 (the “’433 patent”) (Count I of the Second Amended Complaint).

Second, in the alternative, Plaintiffs assert a claim that Storms is a joint inventor of the ‘433 patent

(Count II). Third, Plaintiffs assert a claim for conversion of so-called “BearBox technology”

(Count V). All of these claims are based on information allegedly provided by Storms to

McNamara via their only three communications: (1) a May 3, 2019 conversation at a group dinner

attended by several other competitors following a cryptocurrency mining summit; (2) a series of

text messages from May 3-9, 2019 following the dinner; and (3) a single email that Storms sent

McNamara on May 9, 2019. Based on these extremely limited communications, and despite

Defendants’ years of innovation and investment in research and development, Plaintiffs allege that

Defendants wrongly filed a patent on Storms’ alleged invention more than five months after

Storms and McNamara last communicated. Likewise, Plaintiffs seek millions of dollars in

damages for Defendants’ alleged conversion of a small amount of allegedly confidential

information in one attachment to Storms’ email by purportedly using that information to modify

Defendants’ Smart ResponseTM software that is used to control datacenters.

       Plaintiffs’ claims, however, all fail as a matter of law. Indeed, Plaintiffs’ inventorship

claims are based on a fundamentally incorrect interpretation of two key claim terms found in every

claim of the ‘433 patent. Plaintiffs rely on this misinterpretation to assert that Storms’ “BearBox

technology” discloses the inventions of the ‘433 patent even though these technologies are not

only different, they are inconsistent. Plaintiffs’ sole inventorship claim thus fails as a matter of law

because there is no evidence, much less clear and convincing evidence that could meet their heavy


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burden, that Storms conceived of or communicated the inventions of the ‘433 patent, as properly

construed, to Defendants. Likewise, regarding Plaintiffs’ joint inventorship claims, they cannot

prove, much less by clear and convincing evidence, that Storms made a significant contribution to

the ‘433 patent. In addition, the limited communications between Storms and McNamara cannot,

as a matter of law, establish that Storms and McNamara collaborated on the inventions of the ‘433

patent, as is required for a joint inventorship claim. Furthermore, Plaintiffs’ conversion claim is

barred by the applicable one-year statute of limitations and is preempted by federal patent law

because it is based on the alleged use of information that, as a matter of law, is not confidential.

Accordingly, the Court should grant summary judgment for Defendants on all three of Plaintiffs’

remaining claims.

II.    FACTUAL BACKGROUND

       A.      Lancium and Its Technology

       Lancium is a technology company founded in 2017, to, among other things, create software

and intellectual property solutions that enable more renewable energy on the nation’s power grid,

and Lancium began to do so immediately. For example, in February 2018, Lancium, including

McNamara and Cline, filed a patent application titled “Method and System for Dynamic Power

Delivery To a Flexible Datacenter Using Unutilized Energy Sources,” that published as

International Publication No. WO 2019/139632A1 (the “’632 application”) and later issued as U.S.

Patent No. 11,016,456. SOF ¶¶6-9; Ex. 12; Ex. 13. Lancium’s technology, as explained in the ‘632

patent, permits a “flexible data center” to “ramp-up to a fully online status, ramp-down to a fully

offline status, or dynamically reduce power consumption,” where “the flexible datacenter may

perform computational operations, such as blockchain hashing operations” (e.g., Bitcoin mining)

“with little to no energy costs, using clean and renewable energy that would otherwise be wasted.”

Ex. 12 at [0022].


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       Lancium continued to innovate and by the end of 2018 had filed numerous other patent

applications that led to numerous patents such as U.S. Patent No. 10,873,211 (filed September 13.

2018) titled “Systems and Methods for Dynamic Power Routing with Behind-the-Meter Energy

Storage,” U.S. Patent No. 10,444,818 (filed October 30, 2018) titled “Methods and Systems for

Distributed Power Control of Flexible Datacenters,” and U.S. Patent No. 10,367,353 (filed October

30, 2018) and “Managing Queue Distribution between Critical Datacenter and Flexible

Datacenter.” D.I. 28 ¶ 24.

       B.      United States Patent No. 10,608,433

       Through 2019, Lancium continued to innovate and invest in research and development,

eventually leading to the filing of U.S. Provisional Patent Application No. 62/927,119 on October

28, 2019 (SOF ¶1; Ex. 21 at 32-33 and documents cited therein) and the follow-on U.S.

Nonprovisional Patent Application No. 16/702,931 on December 4, 2019, which issued as the ’433

patent, titled “Methods and Systems for Adjusting Power Consumption Based on A Fixed-

Duration Power Option Agreement.” SOF ¶¶2-4; Ex. 17.

       The technology of the ‘433 patent at issue in this case relates to systems and methods for

adjusting the amount of power available on the electrical grid. As depicted in its Figure 1, of which

an excerpted version is shown below, an electrical grid typically includes: (i) power generation

stations (e.g., nuclear power plants 102a) that produce electricity, (ii) transmission lines 104 that

carry the power from the generation stations to demand centers (i.e., consumers), and (iii)

distribution networks 106 that carry power to individual consumers. Ex. 17 at 1:26-4:8. To

maintain stability on the grid, the grid operator strives to maintain a balance between the amount

of power entering the grid (via generators) and the amount of grid power used by loads (e.g.,

customers in the distribution segment 106). Ex. 17 at 4:9-13.




                                                 3
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       In an effort to maintain this balance, grid operators, such as Independent Service

Organizations (“ISOs”) have various tools at their disposal, some of which are called ancillary

services. Ancillary services are programs that give ISOs some amount of control over the amount

of power being consumed by loads on the grid in real time in order to balance the amount of power

being consumed with the amount of power available.1 In order to provide this ability, specially

qualified loads can bid into the “day-ahead” ancillary services market2 where the loads offer a

specific minimum amount of load (i.e., power in megawatts (MW)) that they commit to use during

specific hourly periods the following day (i.e., the “operating day”). If the offer is accepted (i.e.,

“awarded”) by the ISO, the ISO will pay the load for guaranteeing that the load will use the

committed minimum amount of power during each specific hourly period the next day while

simultaneously providing the ISO with the option to reduce (i.e., “curtail”) that power use in real


1
  See, e.g., Ex. 1 at 18 (“ERCOT needs system capacity for two reasons: first for energy dispatch
to meet real time system demand, and second as a reserve available to respond to large and small
operational fluctuations. This reserve capacity is what is used for Ancillary Services…”)
2
 See, e.g., Ex. 1 at 24 (“Qualified LRs ... may provide operating reserves in the ERCOT AS
markets.”)


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time that next day by up to the committed amount, in order to balance generation and consumption

of power on the grid.3 The load is obligated to use at least the committed minimum power amount;4

otherwise, the ISO could not exercise its option in real time to reduce load on the network up to

the committed power amount. Plaintiffs do not dispute how ancillary service programs work.5

         C.      Austin Storms and BearBox

         Austin Storms and his company BearBox, in late 2018 and early 2019, sought to develop

cryptocurrency mining technology. D.I. 103 at ¶ 29. In particular, Plaintiffs worked to develop a

portable container called a “BearBox” that contained cryptocurrency miners (i.e., computers that

can perform cryptocurrency mining operations). Ex. 7 at 45:2-17. BearBox, however, only ever

built one BearBox, which it eventually sold for no profit. Ex. 7 at 45:18-23; 48:6-7.

         D.      Storms’ Communications with McNamara

         On May 3, 2019, Storms attended the Fidelity FCAT Mining Summit in Boston where he

explained he was “[g]onna poke around and figure out if anyone else is doing what we’re working

on.” Ex. 16 at BB10003996. At the conference, Storms met McNamara and the two went to a

group dinner attended by approximately six others, including competitors in the Bitcoin mining

field. SOF ¶¶10-11; D.I. 41 at ¶¶ 38, 40-41; D.I. 28 at ¶¶ 38, 40-41. Storms and McNamara’s

conversation at the dinner occurred in front of these other attendees, and this was their only oral



3
 Ex. 6 at 17 (“Awarded Ancillary Service Offers, specifying … MW … and price, for each hour
of the awarded offer.”); Ex. 1 at 24 (“Load Resources that are scheduled or selected in the ERCOT
Day-Ahead AS Markets are eligible to receive a capacity payment regardless of whether they are
actually curtailed.”)
4
    Ex. 6 at 14 (“Ancillary Service (AS) awards are physically binding.”)
5
 Dr. Siddiqi describes ancillary service market operation in significant detail in his expert report;
Plaintiff’s ISO market expert Mr. McCamant states that Dr. Siddiqi’s “report is an accurate account
of how the ERCOT market functions,” and does not dispute the factual operation of the ancillary
service market. Ex. 2 at 5.


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communication. SOF ¶¶11, 14; D.I. 41 at ¶ 43; D.I. 28 at ¶ 43; Ex. 23 at 9. Shortly thereafter,

Storms wrote to an individual, Ben Hakes, with whom he had been working and explained that:

“The guys at Lancium are doing what we are trying to do exactly, but they don’t have a container

builder or software team yet. Mike’s pretty interested in my solution.”6 Ex. 16 at BB10004001.7

         Following the dinner, from May 3 to May 9, 2019, Storms and McNamara exchanged a

handful of text messages, which mostly involved McNamara’s request for specifications on the

BearBox container. SOF ¶12; Ex. 18. And on May 9, 2019, Storms emailed McNamara a

specification sheet for his BearBox as well as a handful of other documents. See SOF ¶13; Ex. 10.

This was the last communication between Storms and any of Defendants. SOF ¶13; D.I. 103 at ¶

36.

         Following receipt of Storms’ email, McNamara forwarded it to a few others at Lancium on

May 9, 2019, explaining that “[w]e met this guy at the fidelity conference. … His box seems very

expensive though.” Ex. 14. There were no responses to McNamara’s email.

         In addition, none of the attachments to Storms’ email were marked as confidential and

Storms has testified that three of the attachments were publicly available product specification

sheets. SOF ¶16; Ex. 7 at 213:5-214:5; Ex. 10. The fourth attachment contains the BearBox product

specification sheet as well as a drawing titled “BearBox Automatic Miner Management System

Version 1.0” that Storms also posted on BearBox’s public Twitter account. SOF ¶¶19-20;

Compare Ex. 10 at BB00000092, with Ex. 11 at BB00000718. Plaintiffs also do not assert that this

attachment is confidential. SOF ¶18; Ex. 7 at 217:13-23. The only reference to confidentiality in


6
    All emphases added unless otherwise noted.
7
 Storms also stated “[T]hey want my logic for curtailing miners on DA and RTMB LMP – all
over dinner Friday night and several bottles of wine, they told me they were looking into Digital
Shovel, but their Schneider Electric/Siemens engineer was worried about 480/277v because of
potential liability….” Ex. 16 at BB10004002.


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the email or its attachments was a boilerplate “confidentiality notice” at the bottom of email stating

that “[t]his email communication may contain private, confidential, or legally privileged

information intended for the sole use of the designated and/or duly authorized recipient(s).” SOF

¶16; Ex. 7 at 217:6-12; Ex. 10 at BB00000090. Moreover, Storms did not have a confidentiality

or nondisclosure agreement with McNamara or any of Defendants although he did have such

agreements with other third parties. See, e.g., Ex. 7 at 70:4-6, 124:7-13; Ex. 8.

        Plaintiffs learned of the ‘433 patent and Defendants allegedly wrongful use of BearBox’s

technology on August 17, 2020 when Storms saw a press release about a lawsuit Lancium filed

for infringement of the ‘433 patent. SOF ¶22; D.I. 103 at ¶¶ 52-54. Nonetheless, and despite the

fact that Storms never sought to file a patent on his alleged invention, Plaintiffs waited until April

14, 2021 to file this lawsuit. Ex. 7 at 290:7-16. Indeed, Plaintiffs did not file this lawsuit until after

a press release was issued announcing the settlement of the earlier infringement suit regarding the

‘433 patent and that the defendant in that lawsuit licensed Lancium’s intellectual property. D.I.

103 at ¶¶ 56-57.

        E.      Procedural History

        Plaintiffs’ claims in this case have continually changed since the original Complaint was

filed on April 14, 2021. D.I. 1. Plaintiffs’ originally asserted claims, inter alia, for trade secret

misappropriation, but a little over a month later withdrew these claims and filed an Amended

Complaint. See D.I. 19. Defendants then moved for judgment on the pleadings regarding Plaintiffs’

claims for conversion, unjust enrichment, and negligent misrepresentation, which the Court

granted dismissing Plaintiffs’ conversion and unjust enrichment claims without prejudice as

preempted by federal patent law and dismissing the negligent misrepresentation claim with

prejudice. D.I. 92; D.I. 97. Two days before the close of fact discovery, Plaintiffs then filed the

Second Amended Complaint asserting new, different conversion and unjust enrichment claims and


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re-asserting claims for trade secret misappropriation. D.I. 89 (order adopting stipulated, amended

scheduling order); D.I. 103 (Second Amended Complaint). The Court, however, granted

Defendants’ motion to strike the re-asserted trade secret claims. See 4/25/22 Minute Entry.

Magistrate Judge Burke has also recommended granting Defendants’ motion to dismiss the new

unjust enrichment claim, and Plaintiffs have not objected to this recommendation.8 D.I. 143.

       Accordingly, Plaintiffs have three remaining claims: First, Plaintiffs’ claim that Storms

should be substituted as the sole inventor of the ’433 patent (Count I). Second, Plaintiffs’

alternative claim that Storms should be found to be a joint inventor of the ’433 patent (Count II).

Third, Plaintiffs’ claim that Defendants converted certain technology relating to energy arbitrage

that Storms purports to have provided to McNamara (Count V). D.I. 103. As explained herein,

summary judgment is appropriate because each of these claims fail as a matter of law.

III.   LEGAL STANDARD

       The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). To defeat a motion for summary judgment, the nonmoving party must “do more than

simply show that there is some metaphysical doubt as the material facts.” Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). A factual dispute is only genuine where “the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The “mere existence of some alleged factual

dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment.” Id.

IV.    ARGUMENT


8
 Defendants also have pending objections to Magistrate Judge Burke’s recommendation to deny
Defendants’ motion to dismiss Plaintiffs’ new conversion claim. D.I. 146.


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       A.      Plaintiffs’ Sole Inventorship Claim Fails As A Matter Of Law Because There
               Is No Evidence Austin Storms Conceived Of The Inventions Claimed In The
               ‘433 Patent Or Communicated The Inventions To Defendants.

       The ‘433 patent invented systems and methods that can be used to adjust power

consumption of computing systems (e.g., cryptocurrency or Bitcoin miners) that can be used, inter

alia, to participate in ancillary services programs. Although Plaintiffs have previously avoided

specifically explaining how they claim Storms’ so-called “BearBox technology” encompasses and

relates to the claimed technology of the ‘433 patent, during expert discovery it became clear that

Plaintiffs’ inventorship claims are premised on a fundamentally incorrect interpretation of two key

claim terms appearing in every claim of the ‘433 patent: (1) “power option agreement”; and (2)

“minimum power threshold.” This is significant because resolution of Plaintiffs’ inventorship

claims requires proper construction of these claim terms, and there is simply no evidence that

Storms conceived of, much less communicated, the inventions of the ‘433 patent as properly

construed. Thus, summary judgment denying Storms claim of sole inventorship of the ‘433 patent

should be granted.

                1.     Applicable Legal Principles

                      a.      Inventorship

       Inventorship is a question of law premised on underlying questions of fact. Eli Lilly and

Co. v. Arandigm Corp., 376 F.3d 1352, 1362 (Fed. Cir. 2004). Patent issuance creates a

presumption that the named inventors are the true and only inventors, and that people not named

are not to be inventors. Scott v. Zimmer, Inc., 889 F. Supp. 2d 657, 662 (D. Del. 2012). A person

seeking to add himself/herself as an inventor, therefore, “must meet the heavy burden of proving

[his/her] case by clear and convincing evidence.” Id.; Eli Lilly, 376 F.3d at 1358. Inventorship,

therefore, is often decided as a matter of law, including at summary judgment. See, e.g., Symantec

Corp. v. Computer Associates Intern., Inc., 522 F.3d 1279, 1295-96 (Fed. Cir. 2008) (affirming


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summary judgment of no inventorship); Univ. of Utah v. Max-Planck-Gesellschaft Zur

Foerderung Der Wissenschaften E.V., 851 F.3d 1317 (Fed. Cir. 2017) (same); Wagner v. Simpson

Performance Prod., Inc., Civ. No. 5:18-CV-00123-KDB-DCK, 2021 WL 411144, at *2

(W.D.N.C. Feb. 5, 2021), aff'd sub nom. Wagner v. Ashline, No. 2021-1715, 2021 WL 5353889

(Fed. Cir. Nov. 17, 2021) (granting summary judgment of no inventorship because Plaintiff failed

to provide sufficient evidence to corroborate its claim of co-inventorship); Eli Lilly, 376 F.3d at

1364 (reversing jury’s verdict that unnamed inventor was a joint inventor because the evidence

was insufficient to meet the clear and convincing standard).

       The inventorship analysis first requires construction of each disputed claim to determine

the subject matter encompassed. Gemstar-TV Guide Int’l, Inc. v. Int’l Trade Comm’n, 383 F.3d

1352, 1381-82 (Fed. Cir. 2004). Then, “[t]o state a claim for complete substitution of inventors

under Section 256,” a plaintiff must establish that “(1) the erroneously omitted inventor conceived

the invention claimed in the patent and (2) the named inventor on the patent did not conceive the

invention.” Iceotope Grp. Ltd. v. LiquidCool Sols., Inc., No. 20-CV-2644, 2022 WL 204923, at *2

(D. Minn. Jan. 24, 2022) (emphasis in original) (citing to CODA Dev. S.R.O. v. Goodyear Tire &

Rubber Co., 916 F.3d 1350, 1358 (Fed. Cir. 2019)).

       Ultimately, conception is the touchstone of inventorship. Gemstar, 383 F.3d at 1381.

Conception is “the formation in the mind of the inventor of a definite and permanent idea of the

complete and operative invention.” Id. Conception is complete when one of ordinary skill in the

art could construct the apparatus, perform the process, or make the composition without unduly

extensive research or experimentation. Trovan Ltd. v. Sokymat SA, Irori, 299 F.3d 1292, 1302

(Fed. Cir. 2002). A would-be inventor’s contribution must have been to the conception of the

claims, not something outside the claims. Scott, 889 F. Supp. 2d, at 662.




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       A would-be inventor’s proof of conception, however, must be more than simply his/her

testimony. “To prove [his or her] contribution, the purported inventor must provide corroborating

evidence of any asserted contributions to the conception.” Acromed, 253 F.3d at 1379 (internal

citations and quotations omitted); see also Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456,

1461 (Fed. Cir. 1998). Indeed, a would-be inventor’s testimony regarding their own inventorship

claim is “regarded with skepticism.” Scott, 889 F. Supp. 2d at 664. Would-be inventors, therefore,

must supply evidence to corroborate their testimony. Symantec, 552 F.3d at 1295. The sufficiency

of the corroborating evidence is evaluated under a rule of reason analysis, which requires that an

evaluation of all pertinent evidence be made so that a sound determination of the credibility of the

alleged inventor’s story may be reached. Id.; Gemstar, 383 F.3d at 1382.

                       b.      Claim Construction

       “When the parties raise an actual dispute regarding the proper scope of these claims, the

court, not the jury, must resolve that dispute.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,

521 F.3d 1351, 1360 (Fed. Cir. 2008). A district court “may engage in claim construction during

various phases of litigation” and is “well within its power to clarify, supplement, and even alter its

construction” of disputed terms “in its summary judgment order.” Level Sleep LLC v. Sleep No.

Corp., No. 2020-1718, 2021 WL 2934816, at *3 (Fed. Cir. July 13, 2021).

       “Words of a claim are generally given their ordinary and customary meaning, which is the

meaning a term would have to a person of ordinary skill in the art after reviewing the intrinsic

record at the time of the invention.” O2 Micro, 521 F.3d at 1360 (citing Philips v. AWH Corp., 415

F.3d 1303, 1312-13 (Fed. Cir. 2005)). “A determination that a claim term ‘needs no construction’

or has the ‘plain and ordinary meaning’ may be inadequate when a term has more than one

‘ordinary’ meaning or when reliance on a term’s ‘ordinary’ meaning does not resolve the parties’

dispute.” Id. at 1361. “To determine the meaning of the claims, courts start by considering the


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intrinsic evidence,” which “includes the claims themselves, the specification, and the prosecution

history.” Philips, 415 F.3d at 1312-1314. “[C]laims ‘must be read in view of the specification, of

which they are a part.’” Id. “[T]he specification ‘is always highly relevant to the claim construction

analysis. Usually, it is dispositive; it is the single best guide to the meaning of a disputed term.’”

Id. Expert testimony may aid a court in understanding the underlying technology and determining

the particular meaning of a term in the pertinent field, but an expert’s conclusory, unsupported

assertions as to a term’s definition are entirely unhelpful to a court. Phillips, 415 F.3d at 1317

(emphasis in original).

                2.        There Is No Evidence That Austin Storms Communicated The
                          Inventions Of The ‘433 Patent To Defendants.

                       a.      Proper Claim Construction of “Power Option Agreement”

 Claim Term                        Defendants’ Construction          Plaintiffs’ Construction

 “power option agreement” an agreement between a Plain and ordinary meaning
 (‘433 patent, independent power entity associated with
 claims 1, 17, & 20)       the delivery of power to a load
                           and the load, wherein the load
                           provides the power entity with
                           the option to reduce the
                           amount of power delivered to
                           the load up to an agreed
                           amount of power during an
                           agreed upon time interval such
                           that the load must use at least
                           the amount of power subject
                           to the option during the time
                           interval

       On October 15, 2021, the parties indicated to the Court that they did not seek claim

construction at that time and would advise, or seek construction, if developments suggested

otherwise. See D.I. 61; D.I. 63. During expert discovery it has become apparent that Plaintiffs seek

to ignore the clear meaning of “power option agreement” as established by the intrinsic evidence,

and instead assert a purported “plain and ordinary” meaning that they contort to support their


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inventorship claims. The intrinsically-supported clear meaning of power option agreement is: “an

agreement between a power entity associated with the delivery of power to a load and the load,

wherein the load provides the power entity with the option to reduce the amount of power delivered

to the load up to an agreed amount of power during an agreed upon time interval such that the load

must use at least the amount of power subject to the option during the time interval.” However,

Plaintiffs improperly depart from the intrinsic evidence and instead use a purported “plain and

ordinary” meaning under which their expert, Dr. Stanley McClellan, describes the power option

agreement as “an agreement [by the load] to purchase a certain amount of power at a certain time

at a certain price.” Ex. 3 at ¶ 49; Ex. 5 (McClellan Dep. Tr.) at 90:2-13. Dr. McClellan further

contends that the “option” is the load “buying power ahead of time,” which the load can then

decide to use the power or not. Ex. 5 at 157:1-18. Plaintiffs’ interpretation of “power option

agreement” is fundamentally inconsistent with the patent specification, which specifically

describes and provides examples related to the term. As such, construction of this term is needed

because “[a] determination a claim term ‘needs no construction’ or has the ‘plain and ordinary

meaning’ may be inadequate when a term has more than one ‘ordinary’ meaning or when reliance

on a term’s ‘ordinary’ meaning does not resolve the parties’ dispute.” O2 Micro, 521 F.3d at 1361.

       It is well-established that “claims must be read in view of the specification, of which they

are a part” and “the specification is always highly relevant to the claim construction analysis.

Usually it is dispositive; it is the single best guide to the meaning of a disputed term.” Phillips,

415 F.3d at 1315 (internal quotations omitted). Here, the specification is dispositive and explains

in great detail that a “power option agreement” is an agreement between a power entity (such as a

grid operator) and a load (such as a datacenter) that gives the power entity the option to reduce the




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amount of power delivered to the load, up to an agreed amount during an agreed time interval.9

Indeed, the ‘433 patent explains that:

       “In general, a power option agreement is an agreement between a power entity 1140
       associated with the delivery of power to a load (e.g., a grid operator, power
       generation station, or local control station) and the load (e.g., the datacenters 1102-
       1106). As part of the power option agreement, the load (e.g., load operator,
       contracting agent for the load, semi-automated control system associated with the
       load, and/or automated control system associated with the load) provides the power
       entity 1140 with the right, but not obligation, to reduce the amount of power
       delivered (e.g., grid power) to the load up to an agreed amount of power during an
       agreed upon time interval.” Ex. 17 at 43:46-57.

The specification further explains that the power option agreement gives the power entity this

optionality as a tool to balance the supply and demand for power on the grid:

       “The power option agreement may be used by the power entity 1140 to reserve the
       right to reduce the amount of grid power delivered to the load during a set time
       frame (e.g., the next 24 hours). For instance, the power entity 1140 may exercise a
       predefined power option to reduce the amount of grid power delivered to the load
       during a time when the grid power may be better redirected to other loads coupled
       to the power grid. As such, the power entity 1140 may exercise power option
       agreements to balance loads coupled to the power grid.” Ex. 17 at 44:3-12.

The ‘433 patent even gives an example of how a power option agreement could work:

       “To illustrate an example, a power option agreement may specify that a load (e.g.,
       the datacenters 1102-1106) is required to use at least 10 MW or more at all times
       during the next 12 hours. … In order to comply with the agreement, the load must
       subsequently operate using 10 MW or more power at all times during the next 12
       hours. This way, the load can accommodate a situation where the power entity 1140
       exercises the option. Particularly, exercising the option may trigger the load to
       reduce the amount of power it consumes by an amount up to 10 MW at any point
       during the 12 hour interval. By establishing this power option agreement, the power
       entity 1140 can manipulate the amount of power consumed at the load during the
       next 12 hours by up to 10 MW if power needs to be redirected to another load or a
       reduction in power consumption is needed for other reasons.” Ex. 17 at 44:17-35.

Furthermore, the ‘433 patent explains that a load may enter into a power option agreement and



9
 The prosecution history does not alter the meaning of “power option agreement” as established
by the specification because the ‘433 patent issued without any rejections by the examiner. See
SOF ¶5; Ex. 15 at BB0000553-62 (1/27/20 Notice of Allowance)


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give the power entity the ability to exercise the option in return for monetary consideration from

the power entity, such as payment from the power entity or a reduced price for power. Ex. 17 at

43:65-44:2.

       The meaning of the term that Plaintiffs apply is flatly inconsistent with the meaning

established by the ‘433 patent’s specification. As an initial matter, although Plaintiffs’ expert, Dr.

McClellan, purported to apply the “plain and ordinary meaning” of the term to his inventorship

analysis, he asserts that a system that “calculated profitability at distinct time intervals”

demonstrates conception of claim elements including this term, even though that has nothing do

with a “power option agreement” as described by the ‘433 patent. Ex. 3 at ¶¶ 49, 62. And Dr.

McClellan confirmed his misinterpretation of the claim at his deposition. Indeed, Dr. McClellan

testified that he interpreted “power option agreement” to mean “essentially a contract to buy power

at a certain price. It’s like a wholesale purchase. I’m going to buy X number of units at X price.”

Ex. 5 at 83:5-10. Dr. McClellan further testified that his understanding of the “plain and ordinary

meaning” of the term is “opting to purchase power ahead of time at a certain rate and then I’m

going to pay for that power, and then when it comes for that time I’m going to pay for that power

whether I use it or not.” Ex. 5 at 157:1-18. He then gave the example of “I’m going to pay for that

power, that’s the option. When it comes time, I’m going to pay for that whether I use it or not. I

don’t have to use it. I can screw in that light bulb and turn off the switch, and I’m still paying for

that minimum power.” Ex. 5 at 157:1-18. Thus, Plaintiffs and their expert misinterpret “power

option agreement” as an agreement that gives the purchaser (i.e., the load) the option to use power

rather than an agreement that requires the load to use a certain amount of power and gives a power

entity the option to reduce the amount of power used by the load.

       Based on the clear guidance the specification of the ‘433 patent provides to a person of




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ordinary skill in the art regarding the meaning of “power option agreement,” the Court should

resolve the parties’ dispute and construe this term using Defendants’ proposed construction.

                          b.   Proper Claim Construction of “Minimum Power Threshold”

 Claim Term                       Defendants’ Construction          Plaintiffs’ Construction

 “minimum power threshold” a minimum amount of power Plain and ordinary meaning
 (‘433 patent, claims 1, 17, & a load must use during an
 20)                           associated time interval

       As with “power option agreement,” Plaintiffs purport to apply the “plain and ordinary”

meaning of the term “minimum power threshold” but ignore the guidance the specification

provides for the meaning of this term. Based on the meaning established by the intrinsic evidence,

the Court should construe “minimum power threshold” to mean “a minimum amount of power a

load must use during an associated time interval.”

       The claim construction analysis “must begin and remain centered on the language of the

claims themselves, for it is that language the patentee chose to use to ‘particularly point[] out and

distinctly claim[] the subject matter which the patentee regards as his invention.’” Interactive Gift

Express, Inc. v. Compuserve, Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001) (quoting 35 U.S.C. §

112). Here, the claim language itself supports Defendants’ proposed construction. Exemplary

claim 1 is instructive:

       1. A system comprising:
          a set of computing systems, wherein the set of computing systems is
              configured to perform computational operations using power from a
              power grid;
          a control system configured to:
              monitor a set of conditions;
              receive power option data based, at least in part, on a power option
                  agreement, wherein the power option data specify: (i) a set of
                  minimum power thresholds, and (ii) a set of time intervals, wherein
                  each minimum power threshold in the set of minimum power
                  thresholds is associated with a time interval in the set of time
                  intervals;



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               responsive to receiving the power option data, determine a performance
                   strategy for the set of computing systems based on a combination of at
                   least a portion of the power option data and at least one condition in
                   the set of conditions, wherein the performance strategy comprises a
                   power consumption target for the set of computing systems for each
                   time interval in the set of time intervals, wherein each power
                   consumption target is equal to or greater than the minimum power
                   threshold associated with each time interval; and
               provide instructions to the set of computing systems to perform one or
                   more computational operations based on the performance strategy.

Ex. 17 at 59:2-28. Thus, consistent with Defendants’ proposed construction, the claim language

generally sets forth a system where a load―pursuant to a power option agreement and data

received under that agreement―determines a performance strategy for a set of computing systems

in order to ensure that they use at least a minimum amount of power during specified time intervals

(i.e., minimum power thresholds).

       The specification, which “is always highly relevant to the claim construction analysis” and

“is the single best guide to the meaning of a disputed term,” also supports Defendants’

construction. Phillips, 415 F.3d at 1315. For example, the specification explains that in order to

provide a power entity with the option contemplated by a power option agreement―i.e., “the right,

but not obligation, to reduce the amount of power delivered (e.g., grid power) to the load”―“the

load needs to be using at least the amount of power subject to the option (e.g., a minimum power

threshold).” Ex. 17 at 43:50-60. The ‘433 patent further explains that:

       “To illustrate an example, a power option agreement may specify that a load (e.g.,
       the datacenters 1102-1106) is required to use at least 10 MW or more at all times
       during the next 12 hours. Thus, the minimum power threshold according to the
       power option agreement is 10 MW and this minimum threshold extends across the
       time interval for the next 12 hours. In order to comply with the agreement, the load
       must subsequently operate using 10 MW or more power at all times during the next
       12 hours.” Ex. 17 at 44:17-25; see also id. at 44:26-35.

       The ‘433 patent also provides an example in Figure 12, which depicts a graph line 1206

indicating “the set of time intervals associated with minimum power thresholds” where “time 1202



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increases along the X-axis and minimum power thresholds 1204 increase along the Y-axis of the

graph 1200.” Ex. 17 at 50:56-59; 50:66-51:5; see also 50:53-56; 51:8-52:11.




In relation to Figure 12, the ‘433 patent further explains that:

       “To further illustrate, an initial minimum power threshold 1206A is shown
       associated with the time interval starting at hour 0 and extending to hour 8. In
       particular, the minimum power threshold 1206A is set at 5 MW during this time
       interval. Thus based on the power option data shown in FIG. 12, the loads must be
       able to operate at a target power consumption level that is equal to or greater than
       the 5 MW minimum power threshold 1206A at all times during the time interval
       extending from hour 0 to hour 8, in order to be able to satisfy the power option if it
       is exercised for that time interval. Similarly, the power entity could reduce the
       power consumed by loads by any amount up to 5 MW at any point during the time
       interval from hour 0 to hour 8 in accordance with the power option agreement. For
       instance, the power entity could exercise its option at any point during this time
       interval to reduce the power consumed by the loads by 3 MW as a way to load
       balance the power grid.”

Ex. 17 at 51:24-40; see also id. at 51:8-23; 51:41-52:11.

       Plaintiffs and their expert, Dr. McClellan purport to apply the “plain and ordinary meaning

of “minimum power threshold,” but Dr. McClellan made clear at his deposition that his

interpretation of “minimum power threshold” is not based on how the term is used in the ‘433

patent. Ex. 3 at ¶ 49. In particular, Dr. McClellan testified that:

       Q. What specifically is a minimum power threshold?
       A. That’s the amount of power that you’re contracted to consume.


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       Q. And by consume you don’t mean use, correct?
       A. I may not use it, but I’m going to consume it. I’m purchasing it. Whether I use
          it or whether I sell it, that’s a completely separate issue. I’m agreeing to
          purchase it at that threshold.

Ex. 5 at 82:18-85:1. As a further example of his interpretation of the term, Dr. McClellan also

testified that “[w]ell, if I purchase one kilowatt at $1, I’m going to pay that $1 whether I use that

kilowatt or not,” thus “[t]he power threshold is the kilowatt.” Ex. 5 at 87:16-88:17. Dr. McClellan,

however, also testified that he was not sure whether or not there was actually a requirement to use

the amount of power set by a minimum power threshold. Rather than being a requirement

established by the ‘433 patent, however, he testified that “[f]undamentally it’s a business

question.” Ex. 5 at 90:14-91:21; see also id. at 87:2-15. Dr. McClellan also asserted that “this is a

question for McCamant”―another of Plaintiffs’ experts, Mr. Frank McCamant. Ex. 5 at 91:22-

92:24; see also id.at 155:13-156:11. But Mr. McCamant did not offer any opinions regarding claim

construction or the meaning of “minimum power threshold.” See generally Ex. 1; Ex. 2

(McCamant Reply Report). As such, Plaintiffs’ and their experts’ interpretation of this claim term

is somewhat unclear, but nonetheless is not based on the intrinsic record.

       It is thus apparent that Plaintiffs at the very least to take an ambiguous position on whether

a “minimum power threshold” sets an amount of power a load must actually use. Accordingly, and

based on the meaning established by the intrinsic evidence, the Court should resolve the parties’

dispute and construe “minimum power threshold” to mean “a minimum amount of power a load

must use during an associated time interval.”



                       c.      None of the documents Storms sent to Lancium disclose the
                               claimed inventions of the ‘433 patent.

       To prevail on their claim that Storms is the sole true inventor of the ‘433 patent, Plaintiffs



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must prove by clear and convincing evidence that Storms “is the sole inventor of each of the claims

of the patent” and that “any contribution by defendant[s] to the conception of each and every claim

was insignificant.” See, e.g., Imprenta Servs., Inc. v. Karll, No. 220CV06177GWPVCX, 2021 WL

4555333, at *6 (C.D. Cal. July 13, 2021). Moreover, it is axiomatic that because Plaintiffs seek to

have Storms substituted as the sole inventor of a patent filed by Defendants, they must also

prove―again by clear and convincing evidence―that they communicated the inventions of the

‘433 patent to Defendants. See Weaver v. Houchin, 467 Fed. App’x 878, 880 (Fed. Cir. 2012);

Wagner v. Ashline, No. 2021-1715, 2021 WL 5353889, at *4 (Fed. Cir. Nov. 17, 2021).

       As a matter of law, however, Plaintiffs cannot meet this “heavy burden” because there is

no evidence that Storms conceived of the properly construed inventions of the ‘433 patent, much

less that he communicated these inventions to Defendants.10

       The only written communications between Storms and any of Defendants were a handful

of text messages exchanged from May 3-9, 2019 and a single email that Storms sent to McNamara

on May 9, 2019. SOF ¶14; Ex. 20; see also D.I. 103 at ¶¶ 34-36. Plaintiffs cannot establish that

any of these written communications demonstrate, by clear and convincing evidence, possession

of the inventions of the ‘433 patent by Storms or conveyance of the claimed inventions to

Defendants. For example, because Plaintiffs rely on a misinterpretation of “power option

agreement” and “minimum power threshold” they cannot establish that Storms’ communications

show possession or communication of a system that can:

            x   “receive power option data based, at least in part, on a power option agreement,
                wherein the power option data specify: (i) a set of minimum power thresholds, and
                (ii) a set of time intervals, wherein each minimum power threshold in the set of

10
  Likewise, Plaintiffs cannot prove that McNamara and Cline―the ’433 patent’s named inventors
―did not provide a significant contribution to conception of any claim. Indeed, Plaintiffs’ expert,
Dr. McClellan does not offer any opinions or analysis that McNamara and Cline did not provide a
significant contribution to any of the claims. See, e.g., Ex. 3 at ¶ 14 (summary of opinions).


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               minimum power thresholds is associated with a time interval in the set of time
               intervals”; or

           x   “responsive to receiving the power option data, determine a performance strategy
               for the set of computing systems based on a combination of at least a portion of
               the power option data and at least one condition in the set of conditions, wherein
               the performance strategy comprises a power consumption target for the set of
               computing systems for each time interval in the set of time intervals, wherein each
               power consumption target is equal to or greater than the minimum power threshold
               associated with each time interval”

as required by independent claim 1 of the ‘433 patent―or the similar requirements of the other

two independent claims (claims 17 and 20). Indeed, Plaintiffs’ expert, Dr. McClellan provides no

explanation how of the written communications and documents Storms sent to McNamara disclose

or convey the properly construed requirements of the claims. See generally Ex. 3 (McClellan

Opening Report); Ex. 4 (McClellan Reply Report).

       Fundamentally, the alleged “invention” that Storms purportedly conceived of and

communicated to Defendants does not pertain to the claimed inventions of the ‘433 patent. Rather,

as Dr. McClellan asserts, it pertains to “a system that utilizes a set of Bitcoin miners under the

direction of a control system” that based on certain information “periodically determinine[s]

mining profitability” and then “may either instruct some or all of the miners to mine Bitcoin or

sell power to the grid (power arbitrage).” Ex. 3 at ¶ 9. Dr. McClellan thus relies on his

misinterpretation of “power option agreement” and “minimum power threshold” to mistakenly

conclude that Storms’ written communications with McNamara demonstrate the above claim

requirements because these communications show a system that “calculated profitability at distinct

time intervals, each with an associated power threshold, such as comparing mining profitability

based on, inter alia, current power usage and energy price conditions on the one hand with

profitability based, inter alia, on expected future power usage and energy price conditions” and

then “determin[es] performance strategies … to determine, for example, whether to mine Bitcoin”



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based on whether that is the most profitable use of purchased power. Ex. 3 at ¶¶ 188-189; see also

id. at ¶¶ 62, 66. But the claim elements―and indeed the claimed inventions―have no requirements

relating to profitability calculations.

        Furthermore, the claims set forth requirements that a load (e.g., a Bitcoin mining operation)

must use the amount of power set by the minimum power thresholds regardless of profitability,

which is the opposite of the system contemplated by Storms’ communications. Indeed, when asked

whether the system described in Storms’ communications “contemplate[s] a performance strategy

where X amount of power must be utilized by the miners, they must mine and use X amount of

power, regardless of whether or not it’s profitable for the miners to do so?”, Dr. McClellan testified

that “[t]he simulation kind of ignores” what he called a “nonsensical case … because it’s focusing

on ways to make positive dollars … .” Ex. 5 at 238:7-23.

        Thus, for the reasons above, Plaintiffs cannot establish that any written communications

between Storms and Defendants demonstrate conception of the inventions of the ‘433 patent by

Storms or communication of the inventions to Defendants.

                        d.      There is no corroboration that Storms verbally communicated
                                the claimed inventions to Defendants.

        Plaintiffs also cannot prove by clear and convincing evidence that Storms orally

communicated the inventions of the ‘433 patent, as properly construed, to Defendants, including

McNamara, because they have no evidence to corroborate any such assertion. See Ethicon, 135

F.3d at 1461.

        As an initial matter, even Plaintiffs’ expert, Dr. McClellan testified that “I think it’s

unlikely that an enormous amount of pertinent information was communicated at the dinner”

where Storms and McNamara spoke in person because for “dinners like that there’s not normally

an enormous amount of information that’s passed back and forth.” Ex. 5 at 186:24-187:20.



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Moreover, as set forth above, because none of the written communications that Storms had with

Defendants disclose the claimed inventions of the ‘433 patent, these communications cannot

corroborate that Storms communicated the inventions of the ‘433 patent to Defendants.

       Wagner v. Ashline is instructive on this point. No. 2021-1715, 2021 WL 5353889 (Fed.

Cir. Nov. 17, 2021). In Wagner, the Federal Circuit affirmed summary judgment of no inventorship

by a purported inventor, concluding that purported corroborating evidence of a discussion between

the purported inventor and the named inventor “corroborate[d] only the undisputed fact that [the

named inventor] and [the purported inventor] met and that they discussed” other topics, but “[i]t

does not corroborate [the purported inventor]’s testimony in support of her claim of joint

inventorship.” 2021 WL 5353889, at *5. In other words, the Federal Circuit concluded that in

order for an unnamed inventor’s testimony to meet the clear and convincing evidence of proving

an inventorship claim, there must be evidence that corroborates what was actually communicated

between the purported inventor and the named inventor(s).

       Here, as a matter of law, Plaintiffs cannot prove by clear and convincing evidence that

Storms orally communicated the claimed inventions of the ‘433 patent to Defendants because they

have no corroborating evidence of what was actually communicated. Plaintiffs have not deposed

or offered testimony from any other attendees of the dinner where Storms and McNamara spoke,

and McNamara certainly does not corroborate Storms’ claim. In addition, as set forth above, none

of the written communications between Storms and McNamara corroborate that Storms possessed

or communicated the inventions of the ‘433 patent as properly construed.

       In addition, evidence in the case demonstrates that Storms did not conceive of the

inventions of the ‘433 patent, much less communicate these inventions to Defendants. Indeed, two

days after meeting McNamara, Storms texted another person he was working with, Ben Hakes,




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and admitted “[t]he guys at Lancium are doing what we are trying to do exactly … . See Ex. 16 at

BB10004001.

       Thus, for the reasons above, Storms’ oral communications with Defendants do not establish

conception or communication of the claimed inventions of the ‘433 patent, because as a matter of

law, Storms has no clear and convincing evidence corroborating any such communication.

Likewise, Plaintiffs cannot establish that the written communications between Storms and

Defendants establish conception or communication of the claimed inventions. Accordingly,

summary judgment should be granted on Plaintiffs’ Count I that Storms is not the sole inventor of

the ‘433 patent.

       B.      Plaintiffs’ Joint Inventorship Claim Fails As A Matter Of Law Because
               Plaintiffs Cannot Meet Their Burden Of Proving Collaboration.

                   1.   Applicable Legal Principles

       The law regarding claims for correction of inventorship under 35 U.S.C. § 256 is generally

the same whether the claim is for complete substitution of inventors or addition of unnamed joint

inventors. However, for joint inventorship claims, the alleged contribution of the purported co-

inventor is compared with the subject matter of the properly construed claims to determine whether

the alleged inventor contributed in some “significant manner” to the conception of the claimed

invention. Gemstar, 383 F.3d at 1381. To meet this standard, the would-be co-inventor must

demonstrate that she/he made a contribution that “is not insignificant in quality, when that

contribution is measured against the dimension of the full invention,” as opposed to merely

explaining well-known concepts and/or the state of the art to the real inventors. Acromed Corp. v.

Sofamor Danek Group, Inc., 253 F.3d 1371, 1379 (Fed. Cir. 2001) (reversing a jury verdict of

invalidity for improper inventorship due to insufficiency of evidence).

       A would-be co-inventor must also demonstrate some element of joint behavior, such as



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                                           Appx2641
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collaboration or working under common direction. See, e.g., Kimberly-Clark Corp. v. Procter &

Gamble Distributing Co., Inc., 973 F.3d 911, 917 (Fed. Cir. 1992). Stated differently, “a joint

invention is ‘a product of a collaboration between two or more persons working together to solve

the problem addressed.’” Rubin v. Gen. Hosp. Corp., No. 09-10040-DJC, 2011 WL 1625024, at

*6 (D. Mass. Apr. 28, 2011) (quoting Kimberly-Clark, 973 F.2d at 917).

                2.     Plaintiffs Cannot Prove By Clear And Convincing Evidence That
                       Storms Collaborated With Messrs. McNamara and Cline On The
                       Claimed Inventions

       Plaintiffs’ joint inventorship claim fails because the claim is not supported by clear and

convincing evidence that there was “joint behavior” or “collaboration” between putative inventor

Storms and named inventors McNamara and Cline as to the ’433 patent’s claimed inventions. The

only communications―and thus potential collaboration―between Storms and any of Defendants

were: (1) a conversation during a group dinner on May 3, 2019; (2) a series of text messages

following the dinner sent from May 3 to May 9, 2019; and (3) an email that Storms sent McNamara

on May 9, 2019. See SOF ¶14; D.I. 103 at ¶¶ 32-36; D.I. 41 at ¶¶ 38, 40-41, 43, 46-50; D.I. 28 at

¶¶ 38, 40-41, 43, 46-50, Exs. C-D. But these communications, as a matter of law, cannot establish

the required collaboration.

        University of Utah v. Max-Planck-Gesellschaft Zur Foerderung Der Wissenschaften E.V.,

is instructive. 851 F.3d 1317 (Fed. Cir. 2017). In University of Utah, the putative inventor, Dr.

Bass, wrote a “mini-review” of research of others relating to RNA interference (“RNAi”) and

included her “own hypotheses about enzymatic processes that may be responsible for the RNAi

activity reported in” prior work by another, Dr. Tuschl. Id. at 1320. “It [was] undisputed that Dr.

Tuschl read Dr. Bass’ mini-review, recognized her hypothesis … and tested that hypothesis.” Id.

In addition, “Dr. Bass and Dr. Tuschl met for dinner during a conference and discussed Dr.

Tuschl’s research in relation to Dr. Bass’ hypothesis.” Id. at 1321. And based on Dr. Tuschl’s test


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results that confirmed Dr. Bass’ hypothesis, Dr. Tuschl and his colleagues filed and received a

patent on their discovery. Id. at 1320. Based on these facts, the plaintiff filed suit seeking to add

Dr. Bass as a joint inventor on the patent-at-issue, but the district court granted summary judgment

against this claim reasoning that “there was no evidence to support a finding of collaboration

between Dr. Bass and the [named] inventors.” Id. at 1321. This was because the court found that

Dr. Bass’ mini-review paper “was already in the public domain by the time the [named] inventors

relied on it” so it “could not, on its own, support a finding of collaboration,” and the single

discussion between Dr. Bass and Dr. Tuschl “at an academic conference could not constitute the

collaboration needed to establish joint inventorship.” Id. The Federal Circuit also did not dispute

the district court’s reasoning. Id.

        The basis of Plaintiffs’ joint inventorship claim here is analogous to University of Utah and

also warrants summary judgment based on the lack of collaboration. As an initial matter, just as

the dinner conversation in University of Utah did not demonstrate collaboration, neither does

Storms and McNamara’s dinner conversation here. Indeed, although the dinner conversation in

University of Utah occurred while the named inventors’ work on the patent-at-issue was ongoing,

the dinner conversation between Storms and McNamara was the first communication they had.

Moreover, Plaintiffs admit that Storms’ conversation with McNamara occurred in front of other of

the approximately eight attendees at the May 3, 2019 dinner, which included competitors in the

Bitcoin mining field. SOF ¶11; D.I. 41 at ¶¶ 38, 40-41, 43; D.I. 28 at ¶¶ 38, 40-41, 43. Thus, this

dinner provides even less support for collaboration than the dinner in University of Utah.

        Turning to the handful of text messages between Storms and McNamara, these messages

plainly do not disclose any elements of the ‘433 patent claims, and thus do not show collaboration

on the inventions of the ‘433 patent. See D.I. 41 at ¶¶ 46-48; D.I. 28 at ¶¶ 46-48, Ex. C. Moreover,




                                                 26
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Plaintiffs do not contend otherwise. Indeed, Plaintiffs’ expert Dr. McClellan does not point to any

of these text messages in support of his opinions that Storms is an unnamed inventor of the ‘433

patent. See generally Ex. 3 at Sections VII-VIII.

       In addition, the email that Storms sent to McNamara cannot establish collaboration for

several reasons. First, one of the five attachments to the email included a drawing titled “BearBox

Automatic Miner Management System Version 1.0” that Storms also posted on BearBox’s Twitter

account on June 24, 2019―more than three months before the provisional application leading to

the ‘433 patent was filed on October 28, 2019. SOF ¶¶1, 3, 19-20; Compare Ex. 10 at

BB00000092, with Ex. 11 at BB00000718. Storms testified that this Twitter account, which had

its first tweet on November 1, 2018, was “public for maybe two years or so.” See Ex. 7 at 247:8-

248:21; Ex. 11 at BB00000718. Thus, this drawing was publicly available before the filing of the

‘433 patent. See SOF ¶¶19-20. Plaintiffs, including through their expert Dr. McClellan, assert that

this publicly available drawing discloses numerous claim elements of the ‘433 patent. See, e.g.,

Ex. 3 at ¶¶ 185, 186, 188, 190, 192, 196, 200, 230, 237, 241, 244, 248, 250, 262. But just as in

University of Utah, this publicly available document cannot support a finding of collaboration.

University of Utah, 851 F.3d at 1321.

       Second, Storms admitted that three of the other five email attachments were publicly

available product specification sheets. Ex. 7 at 213:5-214:5; Ex. 10; see also SOF ¶18. Thus, these

documents also cannot support a finding of collaboration because they only disclose information

about the state of the art in the field.11 See Acromed, 253 F.3d at 1379; University of Utah, 851

F.3d at 1321.




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   Plaintiffs also cannot establish that these documents disclose a significant contribution to the
claimed inventions.


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       Third, although Storms testified that the only allegedly confidential information in the

email was in the fifth attachment, an Excel spreadsheet, this document also cannot support a

finding of collaboration. As an initial matter, this document contains much of the same information

as the publicly available drawing, and Dr. McClellan cites the documents as both disclosing many

of the same claim elements. See, e.g., Ex. 3 at ¶¶ 190, 196, 200, 230, 237, 241, 244, 248, 250.

Moreover, Plaintiffs’ only basis for asserting that the Excel file is confidential is a boilerplate

“confidentiality notice” at the bottom of Storms’ cover email―the Excel file itself contains no

confidentiality marking―stating that “[t]his email communication may contain private,

confidential, or legally privileged information intended for the sole use of the designated and/or

duly authorized recipient(s).” SOF ¶16; Ex. 10 at BB00000090. Storms did not have a

confidentiality or nondisclosure agreement with McNamara or any of Defendants. And Plaintiffs

admit that “Storms last communicated with McNamara on May 9, 2019 via e-mail, and after

sending that message, Storms did not hear from McNamara again.” SOF ¶13; D.I. 103 at ¶ 36.

Thus, Storms did not, and could not, have asked McNamara to treat the Excel file as confidential

after emailing it to him.

       Storms also sent the information he claims to be confidential to others. Specifically, Storms

emailed similar spreadsheets to an individual named Todd Garland. Ex. 7 at 186:17-189:12, 214:6-

12 Ex. 9. These spreadsheets include the same column headers and categories of information as

the spreadsheet sent to Mr. McNamara only from different times. Compare Ex. 9 at BB10000912,

with Ex. 10 at BB00000097. Storms admitted that he did not have a nondisclosure agreement with

Garland or Garland’s company, and Garland did not give his word to keep it confidential. Ex. 7 at

71:18-23; 188:1-189:2. Moreover, as with his email to McNamara, Plaintiffs’ only basis for

asserting that this email was confidential is the boilerplate confidentiality notice that Storms




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included on all of his emails. Ex. 7 at 72:4-9; 188:18-21.

       But courts have found that “[a] boilerplate confidentiality statement” in an email “does not

constitute a reasonable measure to keep secrecy―especially when [it] use[s] the phrase ‘may

contain information that is … confidential.’” Acad. of Allergy & Asthma in Primary Care v. Quest

Diagnostics, Inc, No. 5:17-CV-1295-RCL, 2022 WL 980791, at *10 (W.D. Tex. Mar. 31, 2022)

(dismissing trade secret claim); Sortiumusa LLC v. Hunger, No. 3:11-cv-1656, 2013 WL

11730655, at *11-12 (N.D. Tex. Mar. 31, 2013) (dismissing trade secret claims and finding that a

“confidentiality statement” at the bottom of an email stating it “may contain information that is

confidential or otherwise protected from disclosure … bears no relevance, as a matter of law, as

to whether [plaintiff] took appropriate steps to safeguard its alleged trade secrets” (emphasis in

original)). And under federal patent law, an idea is considered publicly available if “given to a

member of the public without restriction.” See Pronova Biopharma Norge AS v. Teva Pharms.

USA, Inc., 549 F. App’x 934, 940 (Fed. Cir. 2013). Thus, Storms’ Excel file was also publicly

disclosed and cannot support a finding of collaboration.

       Rubin v. General Hosp. Corp., is also instructive. 523 Fed. Appx. 719 (Fed. Cir. 2013). In

Rubin, a group of researchers (the Rubin group), authored a paper identifying two specific gene

mutations that caused the disease Familial Dysautonomia (FD), and contrary to their request the

abstract of this paper was sent to another group of researchers (the Gusella group), who were also

working on identifying the cause of FD. Id. at 721. When the Gusella group filed a patent claiming

a diagnostic method for FD using these gene mutations, the Rubin group sought to be added as

joint inventors. Id. at 722. The Federal Circuit, however, affirmed summary judgment of no joint

inventorship, concluding that “the nature of this communication of information, do[es] not support

joint invention.” Id. at 723. Just as in Rubin, Storms’ transmission of documents to McNamara,




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with no further discussion or communication, cannot support a finding of collaboration or support

a claim of joint inventorship.

       Thus, summary judgment should be granted in Defendants’ favor on Plaintiffs’ joint

inventorship claims (Count II).

                3.      Plaintiffs Cannot Prove By Clear And Convincing Evidence That
                        Storms Made A Significant Contribution To The ‘433 Patent.

       To be named as a joint inventor of a patent, one must “contribute in some significant

manner to the conception of the invention.” Gemstar, 383 F.3d at 1381. And “[t]he general rule is

that a party alleging misjoinder or non-joinder of inventors must meet the heavy burden of proving

its case by clear and convincing evidence.” Eli Lilly, 376 F.3d at 1358. Here, as set forth above in

Section IV.A.2, Plaintiffs premise their inventorship claims on misinterpretations and

misconstructions of two key claim terms of the ‘433 patent. Indeed, Plaintiffs’ experts offer no

analysis or opinions supporting any significant contribution by Storms to the claims of the ‘433

patent as properly construed. Thus, Plaintiffs have not met and cannot meet their “heavy burden”

of proving a significant contribution to the claims of the ‘433 patent. Accordingly, summary

judgment should be granted to Defendants on Plaintiffs’ joint inventorship claim (Count II).

       C.      Plaintiffs’ Conversion Claim Is Prescribed By The One Year Statute Of
               Limitations.

       Plaintiffs’ conversion claim (Count V) is premised on Defendants’ alleged conversion of a

power arbitrage method disclosed in the documents that Storms emailed to McNamara. But

Plaintiffs’ own allegations in this case demonstrate that they knew or should have known of

Defendants’ alleged use of their purported power arbitrage method more than one year before

bringing this claim. Therefore, summary judgment should be granted for Defendants on Plaintiffs’

conversion claim because this claim is prescribed by Louisiana’s applicable one-year statute of

limitations.


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       It is well-established that under Louisiana law, “[a] conversion action sounds in tort and is

subject to a one-year liberative prescriptive period” under Louisiana Civil Code Article 3492.12

Bihm v. Deca Systems, Inc., 226 So.3d 466, 480 (La. 2017); see also Jefferson v. Crowell, 956

So.2d 746, 749 (La. App. 2d Cir. 2007). In addition, “[a] prescriptive period will begin to run even

if the injured party does not have actual knowledge of facts that would entitle him to bring a suit

as long as there is constructive knowledge of same. Prescription commences upon whatever notice

is enough to excite attention and put the party on guard or call for inquiry.” Bihm, 226 So.2d at

480 (internal citations omitted). In other words, “[t]he prescriptive period commences on the date

the aggrieved party has actual or constructive knowledge of the facts that would entitle him to

bring suit.” Jefferson, 956 So.2d at 749.

       Here, Plaintiffs’ conversion claim is based on Defendants’ alleged use of Plaintiffs’ so-

called “power arbitrage” method, which Dr. McClellan explains is “a system that utilizes a set of

Bitcoin miners under the direction of a control system” that will “periodically determine mining

profitability” and “may either instruct some or all of the miners to mine Bitcoin or sell power back

to the grid (power arbitrage).”13 Ex. 3 at ¶ 9. This conversion claim was also first pled in Plaintiffs’

Second Amended Complaint, which was filed on February 16, 202214 after the Court dismissed



12
  The Court has previously found that Louisiana law applies to Plaintiffs’ conversion claim and
that “both sides agree” on this point. See D.I. 143.
13
   Dr. McClellan’s opening report explicitly states that “[i]n my opinion, Lancium is using
BearBox’s power arbitrage trade secrets,” and his reply report―issued after the Court struck
Plaintiffs’ trade secret misappropriation claims―clarifies that “[m]y opinions, in this report and
my opening report, are not dependent on whether the cause of action in this lawsuit is trade secret
misappropriation, which I understand is no longer at issue in this case, or conversion.” See Ex. 3
at ¶ 302; Ex. 4 at ¶ 215
14
  See D.I. 103-3 at 20-22 (providing a comparison of Plaintiffs’ newly pled conversion claim
against the previously pled conversion claim).



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Plaintiffs’ original conversion claim as preempted by federal patent law.15 Plaintiffs further admit

in the Second Amended Complaint that they “became aware of Defendants’ wrongful use of

BearBox’s technology on or about August 17, 2020, when they learned about the Layer1 Lawsuit”

(i.e., Lancium LLC v. Layer1 Technologies, Inc., Case No. 6:20-cv-739 (W.D. Texas) “through a

press release dated August 14, 2020.” D.I. 103 at ¶ 54; see also id. ¶ 52. And the publicly available

complaint in the Layer1 Lawsuit explains that Lancium’s technology allows “computationally

intensive activities requiring significant amounts of electricity such as Bitcoin mining” to “ceas[e]

(or reduc[e]) Bitcoin mining operations” during “times of high-priced electricity” and thereby

“receive[] the difference in value of the real time electricity versus the data center’s pre-existing

power purchase agreement price.” See Ex. 19 (Layer1 Lawsuit complaint) at ¶ 10; see also ¶¶ 8-

9, 11. In other words, the complaint in the Layer1 Lawsuit explains that Lancium’s technology can

do what Plaintiffs now allege is their purported power arbitrage method, by ceasing Bitcoin mining

operations and selling the power that would otherwise be used to mine Bitcoin, when doing so is

more profitable.

          Thus, through their knowledge of the Layer1 Lawsuit and their knowledge of the

information Storms provided to McNamara, by August 17, 2020 Plaintiffs had actual knowledge,

or at the very least constructive knowledge, of facts that would have enabled them to bring the

present claim. And because Plaintiffs had this knowledge well over a year before they pled their

conversion claim on February 16, 2022, this claim is prescribed by the statute of limitations.

          Moreover, Plaintiffs’ currently pled conversion claim does not “relate back” to the filing

of the original complaint in this case because it does not “arise[] out of the conduct, transaction,

or occurrence set forth or attempted to be set forth in the original pleading.” See Hammons v. City



15
     See D.I. 92 at 12 (recommending dismissal); D.I. 97 (adopting recommendation of D.I. 92).


                                                 32
                                             Appx2649
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of Tallulah, 708 So.2d 502, 504 (La.App. 2d Cir. 1998) (finding conversion claim did not relate

back to original complaint). As pled, Plaintiffs’ current conversion claim is based upon

Defendants’ allegedly using “Bearbox’s technology” to “modify their Smart ResponseTM

software.” D.I. 103 at ¶ 87. This is entirely different than the claim pled in their original Complaint,

which did not assert any claims based on Lancium’s Smart ResponseTM software or the alleged

use of Plaintiffs’ power arbitrage method. Rather, all of the claims of the original Complaint (and

the First Amended Complaint) were based on Lancium’s alleged patenting of Plaintiffs’ invention.

See generally D.I. 1; D.I. 19. Indeed, at the hearing on Defendants’ motion to strike the trade secret

claims in the Second Amended Complaint, Magistrate Judge Burke explained that:

       “Like a key issue here is defendants say that plaintiffs were basically talking about
       the types of arbitrage methods that are referred to in the second amended complaint
       back in the original complaint. And the plaintiff is saying, No, we weren’t. No, no,
       we were talking about something else. … But I’m still struggling to understand
       what it was you were talking about in the first complaint.”

In response to this, Plaintiffs’ counsel made clear that “[f]irst of all, it had nothing to do with

energy value arbitrage methods” Ex. 22 at 22:16-23:21. And when the Court followed up,

Plaintiffs’ counsel confirmed “it didn’t have anything to do with arbitrage methods at all.” Ex. 22

at 24:1-3. As such, Plaintiffs’ conversion claim does not arise out of the same conduct pled in the

original Complaint, and thus does not “relate back” to the original Complaint.

       Accordingly, summary judgment should be granted that Plaintiffs’ conversion claim

(Count V) is prescribed by the applicable one-year statute of limitations.

       D.      Plaintiffs’ Conversion Claim Is Preempted By Federal Patent Law

       Plaintiffs’ conversion claim is based upon Defendants’ use of information in documents

that, as a matter of law, was not confidential. But because Plaintiffs’ claim seeks to restrict the use

of non-confidential information, it conflicts with federal patent law. Accordingly, the Court should

grant summary judgment that Plaintiffs’ conversion claim is preempted by federal patent law.


                                                  33
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       It is well-established that “[f]ederal law preempts state law that offers patent-like protection

to discoveries unprotected under federal patent law.” Ultra-Precision Mfg., Ltd v. Ford Motor Co.,

411 F.3d 1369, 1377-78 (Fed. Cir. 2005) (noting that “Federal Circuit law governs whether federal

patent law preempts a state law claim”) (internal quotations and citation omitted). The Supreme

Court has also explained that “[a] state law that substantially interferes with the enjoyment of an

unpatented utilitarian or design conception which has been freely disclosed by its author to the

public at large impermissibly contravenes the ultimate goal of public disclosure and use which is

the centerpiece of federal patent policy.” Bonito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U.S.

141, 156-57 (1989). Thus, “[a]bsent secrecy, state law cannot create a collateral set of rights

available as an adjunct or expansion to patent rights.” Ultra- Precision, 411 F.3d at 1379 (quoting

Waner v. Ford Motor Co., 331 F.3d 851, 856 (Fed. Cir. 2003)). Moreover, under federal patent

law, an idea is considered publicly available if “given to a member of the public without

restriction.” See Pronova Biopharma Norge AS v. Teva Pharms. USA, Inc., 549 F. App’x 934, 940

(Fed. Cir. 2013); see also Bonito Boats, 489 U.S. at 149 (under 35 U.S.C. § 102, “[o]nce an

inventor has decided to lift the veil of secrecy from his work, he must choose the protection of a

federal patent or the dedication of his idea to the public at large”).

       Plaintiffs’ Second Amended Complaint alleges that Defendants are liable for conversion

because:

        “[w]ithout Plaintiffs’ consent, Defendants intentionally and willfully assumed
       dominion and control over BearBox’s technology, including system designs,
       documents, data, and know-how, and improperly used it to modify their Smart
       ResponseTM software, and corresponding system designs, to function as reflected
       in BearBox’s system designs, documents, data, and know-how … .”

D.I. 103 at ¶ 87. Under Louisiana law, however, a claim for conversion applies only to “goods” or

“chattel.” See Quealy v. Paine, Webber, Jackson & Curtis, Inc., 475 So.2d 756, 760 (La. 1985);




                                                  34
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Dual Drilling Co. v. Mills Equip. Invs., Inc., 721 So. 2d 853, 857 (La. 1998); Dorsey v. Money

Mack Music, Inc., 304 F. Supp. 2d 858, 866 (E.D. La. 2003) (“[T]he torts of conversion and

trespass relate to interference with tangible rather than intangible property.”); Brand Coupon

Network, LLC v. Catalina Mktg. Corp., No. 11-00556, 2014 WL 6674034, at *6 (M.D. La. Nov.

24, 2014) (“[C]onversion requires unlawful interference with chattel.”) (emphasis in original).

And chattel “is deemed ‘corporeal movable’ property.” BASF Agrochemical Prods. v. Unkel, No.

05-1478, 2006 WL 3533133, at *7 (W.D. La. Dec. 7, 2006). Thus, Plaintiffs’ conversion claim is

premised on the “conversion” of information contained in electronic files that Storms emailed to

McNamara in a single email sent on May 9, 2019.16 Ex. 7 at 113:24-114:6; 212:7-10; see also D.I.

103 at ¶ 36.

       As set forth above in Section IV.B.2, although the email that Storms sent to McNamara

had several attachments, Plaintiffs only contend that one of the attachments, an Excel file,

contained confidential information. SOF ¶17. And as also set forth above in Section IV.B.2, the

only basis for Plaintiffs’ assertion that this Excel file is confidential―the “confidentiality notice”

at the bottom of the cover email, which states only that “that “[t]his email communication may

contain private, confidential . . . information” (SOF ¶16; Ex. 10 at BB00000090)―does not, as a

matter of law, make it confidential. See, e.g., Acad. of Allergy & Asthma, 2022 WL 980791, at

*10; Sortiumusa, 2013 WL 11730655, at *11-12 Thus, Plaintiffs cannot establish that the allegedly

converted information was confidential.

       The Federal Circuit has also repeatedly found state law claims based on the use of non-



16
   To the extent Plaintiffs’ conversion claim is premised on Defendants’ alleged conversion of
intangible “system designs, … data, and know-how” that are not contained in a physical, tangible
property, the Court should grant summary judgment in Defendants’ favor because the claim does
not satisfy the elements of conversion and fails as a matter of law. See, e.g., Quealy, 475 So.2d at
760; Dorsey 304 F. Supp. 2d at 866.


                                                 35
                                            Appx2652
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confidential information to be preempted. For example, in Ultra-Precision, the court held

plaintiff’s unjust enrichment claim, which was premised upon the defendant’s “using,

manufacturing, and selling vehicles equipped with [Ultra-Precision’s] technology” was preempted

because the idea/technology was not kept confidential and was therefore “free for all the world to

enjoy.” Id. at 1380-82. Additionally, in Waner the Federal Circuit affirmed dismissal of the

plaintiff’s unjust enrichment claim premised upon the use of his non-confidential idea because

such “ideas can only be protected under intellectual property law by the patent system.” Waner,

331 F.3d at 856–57.

       Therefore, because Plaintiffs’ conversion claim is based on the alleged use of information

that as a matter of law was not confidential, the Court should grant summary judgment that

Plaintiffs’ conversion claim (Count V) is preempted by federal patent law.

V.     CONCLUSION

       For at least the foregoing reasons, Plaintiff’s claims for correction of inventorship (Counts

I and II) and for conversion (Count V) fail as a matter of law. Accordingly, summary judgment

should be granted for Defendants on all three claims.




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Dated: June 15, 2022                      BARNES & THORNBURG LLP

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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

BEARBOX LLC and AUSTIN STORMS,                     )
                                                   )
                      Plaintiffs,                  )
                                                   )
       v.                                          )   C.A. No. 21-534-MN
                                                   )
LANCIUM LLC, MICHAEL T.                            )
MCNAMARA, and RAYMOND E. CLINE,                    )
JR.                                                )
                                                   )
                      Defendants.                  )

                                CERTIFICATE OF SERVICE

       I certify that on June 15, 2022, I caused a sealed copy of Defendants’ Opening Brief in

Support of their Motion for Summary Judgment and to Exclude Certain Portions of the

Opinions of Plaintiffs’ Technical Expert to be served on the following counsel of record by via

FileShare.

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                                      2

                                  Appx2656
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communications Mr. Storms had with Mr. McNamara. D.I. 28 at ¶ 38; D.I. 41 at ¶ 38; D.I. 103 at

¶¶ 35-36.

       15.      Austin Storms has never had any oral communications with Raymond Cline. Ex.

23 at 10-11.

       16.      The May 9, 2019 email that Austin Storms sent Michael McNamara includes a

“Confidentiality Notice” that states “This email communication may contain private, confidential,

or legally privileged information intended for the sole use of the designated and/or duly authorized

recipient(s).” D.I. 28 at ¶¶ 48-49, Ex. D; D.I. 41 at ¶¶ 48-49. None of the attachments to this email

include any confidentiality marking or designation. D.I. 28 at ¶¶ 48-49, Ex. D; D.I. 41 at ¶¶ 48-49.

       17.      The documents produced by Plaintiffs with Bates numbers BB00000090-

BB00000097, are the May 9, 2019 email and its attachments that Austin Storms sent to Michael

McNamara. Ex. 10

       18.      Plaintiffs Austin Storms and BearBox LLC do not assert that the May 9, 2019 email

(BB00000090) or its attachments marked as BB00000091-BB00000096 are confidential. Ex. 7 at

217:13-23.

       19.      The drawing titled “BearBox Automatic Miner Management System Version 1.0”

in the document marked as BB00000092 was posted on the BearBox Twitter account on June 24,

2019. Ex. 10 at BB00000092; Ex. 11 at BB00000718.

       20.      The BearBox Twitter account was publicly viewable on June 24, 2019. Ex. 7 at

247:8-248:21.

IV.    BEARBOX

       21.      BearBox only built one BearBox container, which it sold for no profit. Ex. 7 at

45:18-23; 48:6-7.




                                                 4
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Basic market operations
As shown in Figure 5, ERCOT Market Operations consist of a Day-Ahead Market and an Operating
Day or Real Time Market. In the ERCOT market, ERCOT controls the dispatch of Resources via
QSEs. The QSE is the only entity that interacts with ERCOT on behalf of Generation Resources and
the LSEs for operations and wholesale settlement. These are discussed in more detail in the
following sections.

                                    Figure 5 ERCOT Market Operations




Day Ahead Market (DAM)
The Day-Ahead Market (DAM) is a voluntary, financially-binding forward energy market. The
DAM matches willing buyers and sellers. It provides a platform to hedge congestion costs in the
day-ahead of the Operating Day, and instruments to mitigate the risk of price volatility in Real-
Time9. Electric transmission networks can become congested when power flows reach the limit
on a transmission line. The market resolves and prices such congestion results by incurring costs
to alter generation in different locations10. Purchases in the DAM at a fixed price point can serve


9
 https://www.ercot.com/mktinfo/dam
10
  2020 STATE OF THE MARKET REPORT FOR THE ERCOT ELECTRICITY MARKETS, Potomac Economics, Independent
Market Monitor for ERCOT, May 2021


CONFIDENTIAL MATERIAL                                                                            13


                                             Appx2681
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                                                            Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                          U.S. Patent No. 10,608,433


       [6]      Multiple methods were used to analyze the relevant technologies and items of

development, including document review and source code review.

       [7]      My source code review involved analyzing the structure and design of the Bearbox

technologies, including identifying architectural and functional elements of the Bearbox product

suite which contain technologies, protocols, and architectures or which exhibit functions,

behaviors, or structures that may infringe on corresponding aspects of the subject patent(s).

       [8]      Certain source code has been produced as printouts with Bates labeling. I reserve

the right to rely on all such printouts. I understand that certain relevant source code from

Defendants has not been produced. I reserve the right to supplement my opinions in the event that

additional source code is produced. My analysis yielded a number of observations, including

without limitation the following example high-level points. In the following, [n] denotes a claim

number of the subject patent, and “text” denotes some verbiage copied from the referenced claim

language.

       [9]      I understand that Bearbox and Austin Storms developed a system that utilizes a set

of Bitcoin miners under the direction of a control system that uses (1) various API calls to retrieve

relevant information (such as real-time and day-ahead energy prices), (2) custom PDU logic and

fan control to provide fine grain load control for the miners, and (3) custom logic to process the

information and periodically determine mining profitability. Based on conditions, the system may

either instruct some or all of the miners to mine Bitcoin or sell power to the grid (power arbitrage).

       [10]     I understand that Lancium also uses and/or sells Bitcoin mining related and power

arbitrage features under a product named Smart Response™. I understand that Lancium’s Smart

Response™ system acts as a “Controllable Load Resource” data center which alternately mines

Bitcoin or sells energy to the grid based on conditions such as energy prices, Bitcoin pricing and

hashtag rates, and the like.

       [11]     I am a salaried employee of Texas State University and I am being compensated in

addition to my normal salary for my professional services in this case by either The Barr Group or

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                                               Appx2722
                Case: 23-1922      Document: 26-2          Page: 145    Filed: 11/20/2023


                                                             Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                           U.S. Patent No. 10,608,433


patent coverage under the doctrine of equivalents that would be so broad as to include the same

features that were disclaimed to distinguish the invention from the prior art during the prosecution

of the patent

V.     THE ’433 PATENT
       [43]       United States Patent No. 10,608,433 titled “METHODS AND SYSTEMS FOR

ADJUSTING POWER CONSUMPTION BASED ON A FIXED - DURATION POWER

OPTION AGREEMENT,” was filed on December 4, 2019 and issued on March 31, 2020.

       A.1.       Overview of the '433 Patent

       [44]       In general, the '433 Patent discloses example embodiments which enable a

computing system to adjust power consumption based on a power option agreement, and using

some combinations of power thresholds, time intervals, and monitored conditions. The '433 Patent

provides an overview of this aspect of the disclosure:
                 Examples relate to adjusting load power consumption based on a
                 power option agreement. A computing system may receive power
                 option data that is based on a power option agreement and specify
                 minimum power thresholds associated with time intervals . The
                 computing system may determine a performance strategy for a load
                 (e.g., set of computing systems) based on a combination of the power
                 option data and one or more monitored conditions. The performance
                 strategy may specify a power consumption target for the load for each
                 time interval such that each power consumption target is equal to or
                 greater than the minimum power threshold associated with each time
                 interval. The computing system may provide instructions the set of
                 computing systems to perform one or more computational operations
                 based on the performance strategy.

                                    ’433 patent, 1:6-25.

       A.2.       Level of Ordinary Skill in the Art

       [45]       I also have been asked to evaluate the level of ordinary skill in the art for the

purpose of reading and understanding the '433 patent. In order to make this assessment, I

considered the level of education and experience of persons of ordinary skill in the art at the time


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                                               Appx2733
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                                                                Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                              U.S. Patent No. 10,608,433


of the filing of the '433 patent. I understand that the filing date of the '433 patent is December 4,

2019.

           [46]     In my opinion, at the time of the filing of the '433 patent, one of ordinary skill in

the art should have a degree in electrical engineering, computer science, or a similar field and one

to two years of experience in the field of software or an equivalent level of experience.

           [47]     My qualifications and experience exceed those of a person having ordinary skill in

the art.

           A.3.     Claim Construction of Certain Terms in the '433 patent

           [48]     I understand that the determination of whether there is infringement involves a two-

step analysis. The first step in an infringement analysis is to determine or construe the meaning of

the terms of the asserted claims. The second step in an infringement analysis is to apply or compare

each of the asserted claims, as construed, to the accused products or to the use of the accused

products.

           [49]     I understand that claim terms by default are construed by their plain and ordinary

meanings to a person of ordinary skill in the art. For purposes of my analysis, I have applied the

plain and ordinary meaning of the claim terms. I reserve the right to supplement my report should

Lancium use a different construction, if the Court provides a construction, or the like.

VI.        OVERVIEW OF THE LANCIUM’S SMART RESPONSE SYSTEM
           [50]     I understand that Lancium uses and/or sells Bitcoin mining related and power

arbitrage services under the product name Smart Response™. I understand that Lancium’s Smart

Response™ system acts as a “Controllable Load Resource” data center which alternately mines

Bitcoin or sells energy to the grid based on conditions such as energy prices, Bitcoin pricing and

hashtag rates, and the like, as explained in more detail below.




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                                                  Appx2734
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                                                                     Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                   U.S. Patent No. 10,608,433


wherein the power option data specify: (i) a set of minimum power thresholds, and (ii) a set of

time intervals, wherein each minimum power threshold in the set of minimum power thresholds is

associated with a time interval in the set of time intervals.

        [62]      The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

1 at least because the Bearbox systems calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price conditions. For example, the Bearbox system used

multiple time intervals, including the day-ahead hourly intervals and real-time 5-minute intervals,

each of which included an associated minimum power threshold used in periodically determining

performance strategies (i.e. every five minutes). The Bearbox system also included custom PDU

software capable of providing fine grain load control (i.e. the ability to turn on some but not all of

the miners) and also was configured to work modularly with a variety of different miners that had
different power requirements.3

        [63]      To the extent this feature is found not to be explicitly described in the Bearbox

disclosure, it is my opinion that merely ordinary skill would have been required to modify the

existing system to explicitly incorporate this feature. For example, the involvement of and

communication with a QSE in connection with power option agreements (and the data associated

with power option agreements) was well-known, conventional feature in the art at the time of the
invention.4

        [64]      I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to receiving power option data

in which minimum power thresholds at various time intervals are used to determine a performance



3
  Ex. 5, Deposition of Austin Storms, dated February 23, 2022, pp. 99-100, 290.
4
  I discussed these issues and facts with Frank McCamant by telephone on April 1, 2022, and I understand that his
report explains these concepts in additional detail. I reserve the right to supplement my report based on any
additional information that may be included in his report.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                     Appx2739
                  Case: 23-1922          Document: 26-2     Page: 148       Filed: 11/20/2023


                                                                 Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                               U.S. Patent No. 10,608,433


           [65]     Bearbox conceived of and developed technology that includes a system that,

responsive to receiving the power option data, determine a performance strategy for the set of

computing systems based on a combination of at least a portion of the power option data and at

least one condition in the set of conditions, wherein the performance strategy comprises a power

consumption target for the set of computing systems for each time interval in the set of time

intervals, wherein each power consumption target is equal to or greater than the minimum power

threshold associated with each time interval.

           [66]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

1 at least because the Bearbox system calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the

ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 5

           [67]     I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to determining a performance

strategy based on the power option data and monitored conditions. Non-exhaustive examples are

listed below with reference to the current claim language. A detailed analysis of each module is

provided in the Appendix.

               1. arb_main_AEC.py - Processes marginal power price data to determine
                  profitability of Bitcoin mining based on several parameters, and controls power to
                  mining systems based on outcomes.



5
    Ex.5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                      Appx2741
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                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433

           2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
              information
           3. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           4. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           5. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
              shutdown, etc)
           6. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
              kilowatt-hour.
           7. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
              local market price (LMP)
           8. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
              power thresholds and manages mining system based on resulting performance
              strategy.
           9. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
              Power Pool marketplace
           10. test_profit.py - Simulates a mining operation’s profitability
           11. test_test_test.py - Simulates a mining operation’s profitability.

               Claim 1(e): “provide instructions to the set of computing systems to perform
                  one or more computational operations based on the performance
                  strategy”

       [68]     Bearbox conceived of and developed technology that includes a system comprising

providing instructions to the set of computing systems to perform one or more computational

operations based on the performance strategy.

       [69]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

1 at least because the Bearbox system instructed miners in accordance with the determined

performance strategy, such as enabling certain miners to mine Bitcoin. The Bearbox system also

included custom PDU software capable of providing fine grain load control (i.e. the ability to turn




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RESTRICTED HIGHLYCONFIDENTIAL                                                                   22

                                             Appx2742
              Case: 23-1922       Document: 26-2       Page: 150       Filed: 11/20/2023


                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433


examples are listed below with reference to the current claim language. A detailed analysis of each

module is provided in the Appendix.

           1. arb_main_AEC.py - Processes marginal power price data to determine
              profitability of Bitcoin mining based on several parameters, and controls power to
              mining systems based on outcomes.
           2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
              information
           3. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
              shutdown, etc)
           4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
              kilowatt-hour.
           5. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
              power thresholds and manages mining system based on resulting performance
              strategy.

       A.2.v. Claim 5

       [87]     Claim 5 is reproduced below:

               The system of claim 4, wherein the performance strategy further comprises:

               at least one power consumption target that is greater than a minimum power
                   threshold when the price of power from the power grid is below a
                   threshold price during the time interval associated with the minimum
                   power threshold.

       [88]     It is my opinion that Bearbox was in possession of each claim element of claim 5

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.
       [89]     Bearbox conceived of and developed technology that includes a performance

strategy that further comprises: at least one power consumption target that is greater than a

minimum power threshold when the price of power from the power grid is below a threshold price

during the time interval associated with the minimum power threshold.

       [90]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

5 at least because the Bearbox system calculated profitability at distinct time intervals, each with
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLYCONFIDENTIAL                                                                    28

                                             Appx2748
                  Case: 23-1922          Document: 26-2      Page: 151       Filed: 11/20/2023


                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the

ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 7

           [91]     I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to a performance strategy

further comprises: at least one power consumption target that is greater than a minimum power

threshold when the price of power from the power grid is below a threshold price during the time

interval associated with the minimum power threshold. Non-exhaustive examples are listed below

with reference to the current claim language.

               1. arb_main_AEC.py - Processes marginal power price data to determine
                  profitability of Bitcoin mining based on several parameters, and controls power to
                  mining systems based on outcomes.
               2. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               3. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
                  kilowatt-hour.
               5. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
                  local market price (LMP)
               6. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
                  power thresholds and manages mining system based on resulting performance
                  strategy.



7
    Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                       Appx2749
              Case: 23-1922       Document: 26-2       Page: 152       Filed: 11/20/2023


                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433

           7. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
              Power Pool marketplace
           8. test_profit.py - Simulates a mining operation’s profitability
           9. test_test_test.py - Simulates a mining operation’s profitability.

       A.2.vi. Claim 6

       [92]     Claim 6 is reproduced below:

               The system of claim 1, wherein the control system is further configured to:

               receive subsequent power option data based, at least in part, on the power
                  option agreement,

               wherein the subsequent power option data specify to decrease one or more
                 minimum power thresholds of the set of minimum power thresholds.

       [93]     It is my opinion that Bearbox was in possession of each claim element of claim 6

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.

       [94]     Bearbox conceived of and developed technology wherein the control system was

further capable of receiving subsequent power option data based, at least in part, on the power

option agreement, wherein the subsequent power option data specify to decrease one or more

minimum power thresholds of the set of minimum power thresholds.

       [95]     The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

6 at least because the Bearbox system calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current
power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the



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                                             Appx2750
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                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 8

           [96]     I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to receiving power option data

based on a power option agreement in which minimum power thresholds at various time intervals.

Non-exhaustive examples are listed below with reference to the current claim language. A detailed

analysis of each module is provided in the Appendix.

               1. arb_main_AEC.py - Processes marginal power price data to determine
                  profitability of Bitcoin mining based on several parameters, and controls power to
                  mining systems based on outcomes.
               2. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               3. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
                  marginal power price (LMP)
               4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
                  kilowatt-hour.
               5. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
                  local market price (LMP)
               6. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
                  power thresholds and manages mining system based on resulting performance
                  strategy.
               7. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
                  Power Pool marketplace

           A.2.vii. Claim 7

           [97]     Claim 7 is reproduced below:

                    The system of claim 6, wherein the control system is further configured to:

                    responsive to receiving the subsequent power option data, modify the
                       performance strategy for the set of computing systems based on a
                       combination of at least the portion of the subsequent power option data
                       and at least one condition in the set of conditions,

8
    Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                       Appx2751
                 Case: 23-1922         Document: 26-2         Page: 154        Filed: 11/20/2023


                                                                   Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                 U.S. Patent No. 10,608,433


modified performance strategy. Non-exhaustive examples are listed below with reference to the

current claim language. A detailed analysis of each module is provided in the Appendix.

                1. arb_main_AEC.py - Processes marginal power price data to determine
                   profitability of Bitcoin mining based on several parameters, and controls power to
                   mining systems based on outcomes.
                2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
                   information
                3. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
                   shutdown, etc)
                4. test_profit.py - Simulates a mining operation’s profitability
                5. test_test_test.py - Simulates a mining operation’s profitability.

          A.2.ix. Claim 9

          [106] Claim 9 is reproduced below:

                   The system of claim 1, wherein the control system is a remote master control
                      system positioned remotely from the set of computing systems.

          [107] It is my opinion that Bearbox was in possession of each claim element of claim 9

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.

          [108] Bearbox conceived of and developed technology wherein the control system is a
remote master control system positioned remotely from the set of computing systems.

          [1]       The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

9 at least because the Bearbox system included individually addressable miners in communication

with a control system over IP-based networking protocols. This feature was supported by

Bearbox’s networking capabilities, which included an Ethernet interface, a 48-port switch and on-
site WAN or satellite interfaces9 and custom PDU software capable of providing fine grain load




9
    See e.g. Ex. 4, May 9, 2019 email from A. Storms to M. McNamara, at BB00000090.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                    Appx2754
                 Case: 23-1922           Document: 26-2      Page: 155       Filed: 11/20/2023


                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


control (i.e. the ability to turn on some but not all of the miners) and also was configured to work
modularly with a variety of different miners that had different power requirements. 10

           [109] To the extent this feature is found not to be explicitly described in the Bearbox

disclosure, it is my opinion that merely ordinary skill would have been required to modify the

existing system to explicitly incorporate this feature. For example, using IP-based protocols for

communications between control systems physically remote from the resources under their control

has been a conventional feature of computing systems for decades.

           [110] I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to remote master control

system positioned remotely from the set of computing systems. Non-exhaustive examples are

listed below with reference to the current claim language. A detailed analysis of each module is

provided in the Appendix.

                1. arb_main_AEC.py - Processes marginal power price data to determine
                   profitability of Bitcoin mining based on several parameters, and controls power to
                   mining systems based on outcomes.
                2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
                   information
                3. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
                   marginal power price (LMP)
                4. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
                   marginal power price (LMP)
                5. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
                   shutdown, etc)
                6. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
                   kilowatt-hour.
                7. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
                   local market price (LMP)




10
     Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                       Appx2755
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                                                                  Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                U.S. Patent No. 10,608,433


           [129] It is my opinion that Bearbox was in possession of each claim element of claim 14

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.

           [130] Bearbox conceived of and developed technology that includes a system that

determines the performance strategy for the set of computing systems such that the performance

strategy comprises: a first power consumption target for the set of computing systems for the first

time interval, wherein the first power consumption target is equal to or greater than the first

minimum power threshold; and a second power consumption target for the set of computing

systems for the second time interval, wherein the second power consumption target is equal to or

greater than the second minimum power thresholds. For example, the Bearbox system calculated

profitability could use dynamic power thresholds at multiple time intervals, such as current and

day-ahead time intervals.

           [131] The systems conceived of and/or developed by Bearbox satisfy this aspect of claim

14 at least because the Bearbox system calculated profitability at distinct time intervals, each with

an associated power threshold, such as comparing mining profitability based on, inter alia, current

power usage and energy price conditions on the one hand with profitability based, inter alia, on

expected future power usage and energy price condition. Each time interval included an associated

minimum power threshold used in periodically determining performance strategies, such as, inter

alia, whether to mine Bitcoin based on variables such as Bitcoin price and hashrate. The Bearbox

system also included custom PDU software capable of providing fine grain load control (i.e. the

ability to turn on some but not all of the miners) and also was configured to work modularly with
a variety of different miners that had different power requirements. 12

           [132] I list below certain exemplary modules and files that I considered pertinent to my

analysis and opinions. The noted modules perform functions related to determining the

performance strategy for the set of computing systems such that the performance strategy


12
     Ex. 5, Deposition of Austin Storms, pp. 99-100, 290.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                       Appx2761
              Case: 23-1922       Document: 26-2       Page: 157       Filed: 11/20/2023


                                                           Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                         U.S. Patent No. 10,608,433


comprises: a first power consumption target for the set of computing systems for the first time

interval, wherein the first power consumption target is equal to or greater than the first minimum

power threshold; and a second power consumption target for the set of computing systems for the

second time interval, wherein the second power consumption target is equal to or greater than the

second minimum power thresholds. Non-exhaustive examples are listed below with reference to

the current claim language. A detailed analysis of each module is provided in the Appendix.

           1. arb_main_AEC.py - Processes marginal power price data to determine
              profitability of Bitcoin mining based on several parameters, and controls power to
              mining systems based on outcomes.
           2. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           3. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
              marginal power price (LMP)
           4. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
              kilowatt-hour.
           5. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
              local market price (LMP)
           6. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
              power thresholds and manages mining system based on resulting performance
              strategy.
           7. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
              Power Pool marketplace

       A.2.xv. Claim 15

       [133] Claim 15 is reproduced below:

               The system of claim 1, wherein a total duration of the set of time intervals
                  corresponds to a twenty-four hour period.

       [134] It is my opinion that Bearbox was in possession of each claim element of claim 15

of the of the ’433 patent. The sub-sections below provide additional detail concerning the basis for

my opinion.



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RESTRICTED HIGHLYCONFIDENTIAL                                                                    42

                                             Appx2762
               Case: 23-1922           Document: 26-2        Page: 158     Filed: 11/20/2023


                                                                Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                              U.S. Patent No. 10,608,433

                 software in a large like super structure build. It’s not specific to the
                 housing in which the machines run.
        Q.       Did you tell Mr. McNamara that?
        A.       Yes.
        Q.       What -- tell me everything you remember talking to either Mr.
                 McNamara or his CFO.
        A.       Yeah, so I talked with them about like their current physical
                 infrastructure and what they were looking at from an electrical
                 standpoint. I talked with them about … their electrical engineer they
                 said on staff who didn’t like the Digital Shovel electrical distribution
                 and why I thought it was a bad idea as well. I talked to them about
                 physical characteristics of my BearBox units and why I thought that
                 they were different than other offerings in the market, and I talked
                 with them about … some of the software that I was working on to
                 offer flexibility for those units and … their load and how they …
                 could be controlled and how you could really maximize the
                 profitability depending on the setup.
        Q.       Anything else?
        A.       There’s … a lot that goes into that and some of the ideas around kind
                 of … how the development took place … from the physical side of
                 the power distribution units to me writing the software and
                 understanding how electricity moves through the market.16

        [172] I understand that Mr. Storms also described the physical characteristics of his
BearBox and control software that Mr. Storms believed provided fine grain load control over the
mining machines within the build (i.e. the ability to turn on or off a subset of miners).17 As Mr.
Storms explained, dependent on variables such as power pricing, one could determine a strategy
for how many machines to use mining, the break-even costs and the opportunity costs of those
machines and how to calculate those values.18 In Mr. Storms’ words, his system could be used to
“maximize profitability” by determining when it’s most profitable to utilize the power to mine
Bitcoin or to sell the power back to the grid, in both the day-ahead and real-time markets.19
        [173] Mr. Storms testified that his discussions with Mr. McNamara and Lancium’s CFO
were “[e]xtremely specific”:

                 I shared with them how to design database tables for a miner
                 management system that could effectively pull in individual data from
                 individual miners that were mapped to PDUs[20] and relays within the

16
   Ex. 5, Deposition of Austin Storms, pp. 95-97.
17
   Ex. 5, Deposition of Austin Storms, pp. 99-100.
18
   Ex. 5, Deposition of Austin Storms, pp. 100-101.
19
   Ex. 5, Deposition of Austin Storms, pp. 104-105.
20
   I understand a PDU refers to a Power Distribution Unit.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLYCONFIDENTIAL                                                                        54

                                                     Appx2774
                 Case: 23-1922     Document: 26-2       Page: 159       Filed: 11/20/2023


                                                            Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                          U.S. Patent No. 10,608,433


to the grid (depicted with green dollar signs in the middle of the diagram). The diagram indicates

that the system may periodically (such as every 5-minutes, hourly, or the like) re-evaluate the

monitored conditions and implement a performance strategy based on those conditions.
          [178] In addition, Bearbox also provided a comma-separated value (.CSV) file25 that

described various monitored conditions, including Bitcoin price, Bitcoin block height, real time

LMP day ahead LMP, an estimated network hash rate and a network difficulty. This proprietary

.CSV file also described and/or explained how to determine a generated mining revenue figure to

be expect from using power to mine Bitcoin, a real time LMP revenue figure based on selling

energy to the grid at the current real time energy price, a day ahead LMP revenue figure based on

selling energy to the grid in the future at the day ahead energy price, and a realized revenue figure

that represented the most profitable of the three other revenue figures. In some instances, the most

profitable option was to mine Bitcoin (see, e.g., row 2 and cells H2 and L2), while in other

instances, the most profitable option was to sell energy to the grid (see, e.g., row 7 and cells K7

and L7).

          A.2. My Opinions Concerning Whether the Information Provided by Bearbox to
             Lancium Disclosed The Inventions Claimed in the ’433 Patent

          [179] In my opinion, the information provided by Bearbox to Lancium would have

enabled a person of ordinary skill the art to make and use the invention recited in claims 1-20,

either by its explicit description or because it was described in such detail that only ordinary skill

was required to modify the information to arrive at the claimed inventions.

          A.3.     The Claims of the ’433 Patent

          [180] I understand claims 1, 17 and 20 are the only Asserted Claims written in

independent form.

          A.3.i. Claim 1

          [181] Claim 1 is reproduced below:


25
     Ex. 4, BB00000097.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                                   Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                                 U.S. Patent No. 10,608,433

               Q. In the context you're talking about, who sells the power back to the
                  grid?
               A. Variety of different options there. It could be the generator sells the
                  power back. It could be the mining facility sells the power back. It
                  could be a different market participant depending on the ISO.
               Q. And what we've just been discussing, is that part of what you maintain
                  you talked to Mr. McNamara about regarding how load can be
                  controlled to maximize profitability?
               A. Yes
               Q. So anything else other than what we just -- so how -- in your memory,
                  how specific were you with your discussions with Mr. McNamara and
                  his CFO?
               A. Extremely specific.
               Q. What do you mean by that?
               A. I -- I shared with them how to design database tables for a miner
                  management system that could effectively pull in individual data from
                  individual miners that were mapped to PDUs and relays within the
                  build to determine what the break-even cost is there, and then the
                  power distribution unit and control system could at the same time
                  toggle relays on or off or send a command to the miner to, you know,
                  power on or power off or stop mining or change the mode which it's
                  operating depending upon the power and price and things of that
                  nature.
               Q. And you did -- you did all of this over dinner?
               A. Yeah. Almost like huddled up at the end of the table, yeah.
               Q. Did anybody else hear these conversations?
               A. Not to my knowledge, no.64

           A.3.     Lancium is using Bearbox’s power arbitrage trade secrets

           [302] In my opinion, Lancium is using Bearbox’s power arbitrage trade secrets.

           [303] It is my understanding that, in an email dated Fri, 16 Aug 2019, Mr. McNamara

wrote the following: “As of today, we have a fixed price power contract with Calpine at Thomas

Road for ATC power at~$34/MWh. This is cool. We now have two revenue sources: Bitcoin
mining and selling power back to grid.”65 Based on this statement, I understand that this was the

first such instance of Lancium engaging in power arbitrage of this nature.


64
     Ex. 5, Deposition of Austin Storms, pp. 104-106.
65
     Ex. 10, PX041, LANCIUM00033064.
SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                        Appx2810
         Case: 23-1922   Document: 26-2     Page: 161    Filed: 11/20/2023



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  BEARBOX LLC AND AUSTIN               §
  STORMS,                              §
           Plaintiffs,                 §
                                       §
  v.                                   §
                                       §    CIVIL ACTION 1:21-cv-00534-MN-CJB
  LANCIUM LLC, MICHAEL T.              §
  MCNAMARA,                            §
                                       §
  AND RAYMOND E. CLINE, JR.,           §
           Defendants.



                  Reply Expert Report of Dr. Stan McClellan


                                May 20, 2022


          (SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
                 RESTRICTED HIGHLY CONFIDENTIAL)




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RESTRICTED HIGHLYCONFIDENTIAL


                                   Appx2827
              Case: 23-1922       Document: 26-2        Page: 162      Filed: 11/20/2023

                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
               provide instructions to the set of computing systems to perform one or more
                  computational operations based on the performance strategy.

       [22]     It is my opinion that McNamara and Cline were not in possession of each claim

element of claim 1 of the of the ’433 patent at least as of May 1, 2019. The sub-sections below

provide additional detail concerning the basis for my opinion.

               Claim 1(b): “a control system configured to: monitor a set of conditions;”

       [23]     In paragraph 114, Dr. Ehsani alleges that ’632 Application teaches cryptocurrency

prices as an economic consideration. I disagree. While the ’632 Application does mention

cryptocurrency mining as a possible use of its computing systems, it nowhere describes monitoring

cryptocurrency prices.

               Claim 1(c): “receive power option data based, at least in part, on a power
                  option agreement, wherein the power option data specify: (i) a set of
                  minimum power thresholds, and (ii) a set of time intervals, wherein each
                  minimum power threshold in the set of minimum power thresholds is
                  associated with a time interval in the set of time intervals”

       [24]     In paragraph 116, Dr. Ehsani refers to Lancium’s supposed “flash of insight” in

which Cline and McNamara conceived of this aspect of claim 1. I note that this supposed “flash

of insight” occurred August 27, 2019, nearly four months after Lancium received Storms

information. I also note that this “flash of insight” appears to simply be repeating what MP2

representatives had told Lancium a few hours earlier that day. Ex. 6, LANCIUM00033240.

       [25]     As I explained in my Initial Report, the systems conceived of and/or developed by

Bearbox and communicated to Lancium satisfy this aspect of claim 1 at least because the Bearbox

systems calculated profitability at distinct time intervals, each with an associated power threshold,

such as comparing mining profitability based on, inter alia, current power usage and energy price

conditions on the one hand with profitability based, inter alia, on expected future power usage and

energy price conditions. For example, the Bearbox system used multiple time intervals, including

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                                              Appx2840
               Case: 23-1922          Document: 26-2           Page: 163         Filed: 11/20/2023

                                                                Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                              U.S. Patent No. 10,608,433
the day-ahead hourly intervals and real-time 5-minute intervals, each of which included an

associated minimum power threshold used in periodically determining performance strategies (i.e.

every five minutes). The Bearbox system also included custom PDU software capable of

providing fine grain load control (i.e. the ability to turn on some but not all of the miners) and also

was configured to work modularly with a variety of different miners that had different power

requirements.1

        [26]     In my opinion, the Lancium system did not consider multiple time intervals with

associated power thresholds, as exemplified by the Lancium system described in the ’632

Application (described above), until after its communications with Storms.

        [27]     In addition, I also explained that, to the extent this feature is found not to be

explicitly described in the Bearbox disclosure, it is my opinion that merely ordinary skill would

have been required to explicitly incorporate this feature. For example, the involvement of and

communication with a QSE in connection with power option agreements (and the data associated

with power option agreements) was well-known, conventional feature in the art at the time of the

invention.2 Dr. Ehsani appears to agree with me to the extent he states that McNamara and Cline

were familiar with these well-known principles.

                 Claim 1(d): responsive to receiving the power option data, determine a
                    performance strategy for the set of computing systems based on a
                    combination of at least a portion of the power option data and at least one
                    condition in the set of conditions, wherein the performance strategy
                    comprises a power consumption target for the set of computing systems
                    for each time interval in the set of time intervals, wherein each power
                    consumption target is equal to or greater than the minimum power
                    threshold associated with each time interval”



1
  Ex. 7, Deposition of Austin Storms, dated February 23, 2022, pp. 99-100, 290.
2
  I discussed these issues and facts with Frank McCamant by telephone on April 1, 2022, and I have now since
reviewed his report and my opinions have not changed. I reserve the right to supplement my report based on any
additional information that may be included in his supplemental report.

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                                                    Appx2841
              Case: 23-1922       Document: 26-2        Page: 164       Filed: 11/20/2023

                                                         Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                       U.S. Patent No. 10,608,433
       [77]      In my experience writing code and simulations, a system designer will typically

make many assumptions about real-world variables in order to test other aspects of the system. For

example, in simulating a process that utilizes energy, one may assume an endless supply of power

so that other aspects, such as logic simulating a real-time profitability determination and the like,

can be tested more specifically. As the software is eventually released into a real-world application,

those assumed variables may be updated in the software to account for the real-world environment

in which the software operates. Based on my experience writing software, it is my opinion that a

POSA would understand that Mr. Storms’ simulation assumed an unlimited amount of power to

test his profitability determination algorithm, and that (1) any real-world system will necessarily

need to account for power availability and (2) replacing Mr. Storms’ assumed power availability

with data from an ISO or QSE was a well-known, conventional capability that would have required

merely ordinary skill to implement.

       [78]      While Dr. Ehsani eventually discusses the profitability spreadsheet in paragraphs

185-187, he again oversimplifies the document, implying that a POSA would not be ability to

decipher the process embodied in the spreadsheet. For example, Dr. Ehsani alleges that “The so-

called .CSV file is nothing more than a hard-coded Excel spreadsheet—meaning that it shows

values only. The document contains no source code, no mathematical formulas, no explicit logic,

no methodology, and, other than the respective column headings, the document contains no

description of any of the values or where those values came from.” Yet, Cline contradicts this

implication, as he had no issues deciphering the methodology embodied in the spreadsheet:

       Q. And Column L, it says, "Realized revenue."
          Do you see that?
       A. Yes.
       Q. Do you know what that means?

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RESTRICTED HIGHLYCONFIDENTIAL                                                                      24
                                              Appx2856
              Case: 23-1922       Document: 26-2        Page: 165       Filed: 11/20/2023

                                                         Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                       U.S. Patent No. 10,608,433
again conflates minute details of the simulation Storm built with the full breadth of the capabilities

of which the system both described in the various documents and embodied in the simulation serve

as proof of concept. A POSA would understand that are a finite number of sources of power (e.g.

grid power and behind-the-meter power), and that any of these limited sources would predictably

provide the power required to operate the system.

       [83]     In paragraph 196, Dr. Ehsani’s mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline

               Claim 1(b): “a control system configured to: monitor a set of conditions;”

       [84]     In paragraph 198, Dr. Ehsani’s mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline.

               Claim 1(c): “receive power option data based, at least in part, on a power
                  option agreement, wherein the power option data specify: (i) a set of
                  minimum power thresholds, and (ii) a set of time intervals, wherein each
                  minimum power threshold in the set of minimum power thresholds is
                  associated with a time interval in the set of time intervals”

       [85]     In paragraph 195, Dr. Ehsani alleges that because Bearbox’s system diagram shows

behind the meter power, “There is no indication of grid connection or grid power.” Dr. Ehsani

again conflates minute details of the simulation Storm built with the full breadth of the capabilities

of which the system both described in the various documents and embodied in the simulation serve

as proof of concept. A POSA would understand that are a finite number of sources of power (e.g.

grid power and behind-the-meter power), and that any of these limited sources would predictably

provide the power required to operate the system.

       [86]     In paragraph 200, Dr. Ehsani alleges that I fundamentally misunderstand the claim.

I disagree as the plain and ordinary meaning of the language supports the positions set forth in my




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                                              Appx2858
               Case: 23-1922       Document: 26-2       Page: 166      Filed: 11/20/2023

                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
Initial Report. Additionally, and as noted above, the Lancium system did not consider multiple

time intervals with associated power thresholds until after its communications with Storms.

       [87]      In paragraph 201, Dr. Ehsani again conflates minute details of the simulation Storm

built with the full breadth of the capabilities of which the system both described in the various

documents and embodied in the simulation serve as proof of concept

       [88]      In paragraph 202, Dr. Ehsani’ criticizes Mr. Storm’s for not meeting ERCOT CLR

requirements, but I note that the claim does not recite ERCOT CLR certification.

       [89]      In paragraph 203, Dr. Ehsani’s mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline.

                Claim 1(d): responsive to receiving the power option data, determine a
                   performance strategy for the set of computing systems based on a
                   combination of at least a portion of the power option data and at least one
                   condition in the set of conditions, wherein the performance strategy
                   comprises a power consumption target for the set of computing systems
                   for each time interval in the set of time intervals, wherein each power
                   consumption target is equal to or greater than the minimum power
                   threshold associated with each time interval”

       [90]      In paragraph 205, Dr. Ehsani restates his arguments relating to power option

agreements and the data associated therewith. I disagree with this statement for the reasons set

forth above.

       [91]      In paragraph 206, Dr. Ehsani criticizes Storms for acknowledging that certain

aspects of the invention, such as Bitcoin mining, retrieving energy price and availability data, are

conventional aspects of the art. I disagree that this acknowledgement by Storms implies a lack of

contribution. All inventions utilize and build-upon well-known, conventional technologies.

       [92]      In paragraphs 206 and 207, Dr. Ehsani mischaracterizes well-known principles and

features of the art as supposed contributions by McNamara and/or Cline. I also disagree with his

analysis for the reasons I disagree with his analysis in paragraph 117 of his report.

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                                              Appx2859
              Case: 23-1922       Document: 26-2        Page: 167      Filed: 11/20/2023

                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
       [249] In paragraph 112, Mr. Baer states “None of the 11 identified source code files

determine a performance strategy comprising a power consumption target for any time intervals

where the power consumption target is equal to or greater than a minimum power threshold for a

specific time interval and that is received by the system.” I disagree for the reasons stated in my

Initial Report. In addition, as noted above, in paragraph 104, Mr. Baer acknowledges that the

system operates on a five minute interval. As a result, when a decision is made to turn on a miner(s)

by the Bearbox software, the system operates at the energy level reflected in the kW_load variable

for a 5-minute interval.

               Claim 1(e): “provide instructions to the set of computing systems to perform
                  one or more computational operations based on the performance
                  strategy”

       [250] In paragraphs 113 and 114, Mr. Baer indicates that his analysis of this limitation

is limited to the source code only, and not the entirety of the evidence supporting Storms’

conception.

       [251] In paragraph 115, Mr. Baer restates his arguments relating to element 1(d), which

I disagree with for the reasons states above.

       [252] In paragraph 116, Mr. Baer restates his arguments set forth in paragraph 102. I

disagree with his analysis for the reasons set forth above in my response to paragraph 102.

       [253] In paragraph 117, Mr. Baer misleadingly cites Mr. Storms testimony in conflating

minute details of the simulation Storm built with the full breadth of the capabilities of which the

system both described in the various documents and embodied in the simulation serve as proof of

concept. Mr. Storms actual testimony stated that he did conceive of the relevant functionality:

       Q. Had you written code that would tell the
         miners that they must maintain five megawatts of load and
         could not drop below that regardless of what the price of
         power was?

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                                                Appx2899
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                                                        Bearbox v. Lancium. (1:21-cv-00534-MN)
                                                                      U.S. Patent No. 10,608,433
         A. Yeah, so the system's definitely capable of
         doing that. I would say that the miners themselves
         aren't instructed to maintain a certain amount of load.
         The total build is, right.
       Q. But had you written -- had you written code
         to ensure that the total build would, in fact, maintain
          that amount of load?
       A. Yeah, I definitely -- I conceived of that at
         the time as it relates to, you know, buying power from
         various entities, and the system's capable of doing that
         because of how I architected it…


Ex. 7, Storms Dep. at 171:12-172:2

       [254] In addition, as noted above, in paragraph 104, Mr. Baer acknowledges that the

system operates on a five minute interval. As a result, when a decision is made to turn on a miner(s)

by the Bearbox software, the system operates at the energy level reflected in the kW_load variable

for a 5-minute interval.

       [255] In paragraph 119, Mr. Baer again conflates minute details of the simulation Storm

built with the full breadth of the capabilities of which the system both described in the various

documents and embodied in the simulation serve as proof of concept in alleging that the Bearbox

source code did not allow for turning individual miners on and/or off. I disagree for the reasons

stated above.

       [256] In paragraph 120, Mr. Baer states “to the extent turning all relays of connected

PDUs on or off together (and thus turning all connected computers, such as Bitcoin miners on or

off together) could be considered a “performance strategy” it is not a performance strategy as that

term is used in the claims of the ‘433 patent and is not a performance strategy to maintain a power

consumption target that is equal to or greater than a specified minimum power threshold for a

specific time period.” Mr. Baer again conflates minute details of the simulation Storm built with

the full breadth of the capabilities of which the system both described in the various documents


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                                              Appx2900
     Case: 23-1922                 Document: 26-2                 Page: 169        Filed: 11/20/2023

                                                        Page 70                                                          Page 72
 1         Q. Was it a nondisclosure agreement or was it             1   them were confidential?
 2    something else?                                                2       A. Yes.
 3         A. I believe it was a nondisclosure agreement.            3       Q. Why? What's the basis?
 4         Q. Did you have a nondisclosure agreement with            4       A. The basis for that confidentiality is the
 5    GlidePath?                                                     5   footer I include in the e-mails and the understanding
 6         A. I believe so.                                          6   between two parties.
 7         Q. Do you know at that time was GlidePath also            7       Q. So that footer is included on all your
 8    working with a company called BuySellAds?                      8   e-mails, isn't it?
 9         A. I don't believe they were.                             9       A. Yes.
10         Q. Did you ever work with BuySellAds?                    10       Q. So other than the footer on the e-mail did
11         A. Yes.                                                  11   you have any other basis for believing your
12         Q. What -- what -- what was the nature of your           12   communications with the BuySellAd guys at this time were
13    relationship with BuySellAds?                                 13   confidential?
14         A. I was a contractor.                                   14       A. Other -- other than the -- I guess the verbal
15         Q. When was that?                                        15   understanding that those communications were confidential
16         A. In late 2019 through I guess like mid 2020.           16   and the e-mail footer, no.
17    It was -- it was part of the -- it was the original           17       Q. Maybe -- maybe I missed something, but I
18    entity that Great American Mining spun out of.                18   thought you said that at this time you hadn't talked to
19         Q. Okay. Prior to actually becoming a                    19   them, that it was just e-mail communication?
20    consultant for them did you have communications with          20       A. I met Todd who's the CEO of BuySellAds
21    them?                                                         21   briefly at the Fidelity summit, but that was the only
22         A. I believe so, yes.                                    22   conversation I'd had with him at the time.
23         Q. What did those communications relate to?              23       Q. Had you said anything to him before then?
24         A. They related to certain things surrounding            24       A. I don't believe so.


                                                        Page 71                                                          Page 73
 1    the BearBox technology.                                        1        Q. What did you and Todd talk about at the
 2        Q. What -- what specific things do you remember            2   Fidelity conference?
 3    that those communications related to?                          3        A. We -- we talked about BearBox containers.
 4        A. I -- I don't remember specific things. I                4        Q. What did you tell him about them?
 5    imagine some high level -- high level descriptions of          5        A. Bunch of different ways I thought they could
 6    what the BearBox technology was, what it could be used         6   be utilized for, you know, stranded, essentially stranded
 7    for and -- and the like.                                       7   energy assets and -- and monetizing those.
 8        Q. Do you think you had specific conversations             8        Q. And what's Todd's last name?
 9    with them but you just don't remember or do you think the      9        A. Garland.
10    conversations were high level?                                10        Q. Garland. When did you speak to Todd about
11        A. I don't believe I had any conversations with           11   that?
12    them.                                                         12        A. It was during the day at the conference when
13        Q. I mean e-mail as well. I don't just mean               13   I met him.
14    conversations.                                                14        Q. How long did you talk to him?
15        A. Oh, no, yeah, I -- I don't recall. There               15        A. Maybe 15 minutes.
16    could have been some specifics, but, again, I'd have to       16        Q. Did he tell you at that time he was going to
17    review some of that stuff.                                    17   keep the information confidential?
18        Q. Did you have a nondisclosure agreement with            18        A. I don't recall.
19    the BuySellAd guys when you were having the -- having the     19        Q. Did you ask him to?
20    e-mail exchanges with them that at least right now were       20        A. I don't -- I don't think at that time -- the
21    characterized as a high level?                                21   answer's no.
22        A. I don't believe that I had a nondisclosure             22        Q. So was the Fidelity conference -- was it a
23    agreement with them at the time.                              23   one-day conference or was it longer?
24        Q. Did you understand your conversations with             24        A. I believe it was a one-day summit.


                                                                                         19 (Pages 70 to 73)
                                                     Appx2939
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                                                    Page 186                                                      Page 188
 1        Q. What makes it confidential?                          1      Q. Was there an NDA at this time in place
 2        A. That it wasn't published non-confidential.           2   between you and he?
 3    I'm not sure I understand the question.                     3      A. There was not.
 4        Q. Well, I just -- just wondering, you know, if         4      Q. Was there an NDA between GlidePath and Mr.
 5    there's something specific about it that you believe        5   Garland?
 6    makes it confidential?                                      6      A. I don't believe so.
 7        A. I would say it's -- it's confidential because        7      Q. Then why are you sending it to him?
 8    it wasn't published in an open source forum. It's           8      A. Because this was information that I -- I did
 9    something that resided in my machine.                       9   myself.
10        Q. What is Github, G-I-T-H-U-B?                        10      Q. Okay.
11        A. It's a version control mechanism.                   11      A. Yeah, none of the information in these
12        Q. For software?                                       12   spreadsheets was provided to me by GlidePath, and I had
13        A. Correct.                                            13   the same information for, you know, every other pricing
14        Q. Is Github public or private?                        14   node.
15        A. It can be either.                                   15      Q. You just chose to use GlidePath nodes?
16        Q. Can be either.                                      16      A. Yep. Those are the ones that I had the most
17            I'll mark Exhibit 51. So the Todd at               17   complete modeling set for.
18    todd@buysellads, is that Todd Garland?                     18      Q. Okay. Did you have any agreement with Mr.
19        A. Correct.                                            19   Garland to keep this confidential?
20        Q. And why are you sending Todd Garland this           20      A. Nothing besides his word and the
21    information?                                               21   confidentiality notice at the bottom of this e-mail.
22        A. Which information?                                  22      Q. Did he give you his word he was going to keep
23        Q. The information in the attachment.                  23   it confidential?
24        A. This is information to verify some of the           24      A. Not explicitly.


                                                    Page 187                                                      Page 189
 1    calculations around what the BearBox system could           1       Q. So no?
 2    potentially do.                                             2       A. No would be the correct answer there, yeah.
 3        Q. And why are you sending it to Todd Garland?          3       Q. So I'm trying to figure out if this -- if the
 4        A. Oh, so I sent it to Todd Garland because they        4   columns on the data here, the headings are basically the
 5    were interested in pursuing cheap power and something       5   same headings as the previous headings on the
 6    that I believe I communicated to him at the Fidelity        6   spreadsheets you sent out to Mr. Hakes. The version I
 7    summit was that I had a way to do that via BearBox.         7   have here is kind of crunched together. Yours might be
 8        Q. So this is a follow-up from that summit?             8   horizontal. It might be better.
 9        A. Um-hum.                                              9       A. Yeah, there are -- there are a few
10        Q. And what is Exelon on this data?                    10   differences. I reorganized some of the columns to make
11        A. Exelon is the specific pricing nodes within         11   it flow better, but the columns and the data are the
12    the -- within the Southwest Power Pool.                    12   same.
13        Q. And this is for the GlidePath wind farm, the        13       Q. Okay. I hand you what I'll mark as Exhibit
14    Exelon sites?                                              14   52. So this looks like a further follow-up to your
15        A. Yes.                                                15   conversation with Mr. Garland?
16        Q. How do I tell the difference between Exelon 4       16       A. Yes.
17    data, Exelon 2, Exelon 7?                                  17       Q. And why are you sending him this information?
18        A. They're different CSV files.                        18       A. Because he wasn't -- he wasn't educated
19        Q. How do I tell that from this spreadsheet?           19   enough in the Bitcoin mining and power space to
20        A. You can't tell it from the printouts. You           20   understand how some of these -- some of these
21    would have to tell it from the file itself.                21   calculations in this Excel spreadsheet were done.
22        Q. Okay. Do you consider the information sent          22       Q. And so let's talk about the upper black box
23    to Mr. Garland to be confidential?                         23   code here first.
24        A. I do.                                               24       A. Um-hum.


                                                                                48 (Pages 186 to 189)
                                                     Appx2945
     Case: 23-1922                      Document: 26-2           Page: 171          Filed: 11/20/2023

                                                    Page 190                                                            Page 192
 1          Q. So that's Python code for calculating                1   settlement locations to prove that it is more profitable
 2    get_breakeven_usdollar_perkilowatthour?                       2   to mine Bitcoin than sell the power to the grid most of
 3          A. Yes.                                                 3   the time.
 4          Q. And what -- this is part of your Python code,        4      Q. And so the modeling that you're doing here is
 5    I take it?                                                    5   basically using the price information of power and
 6          A. It is.                                               6   calculating whether it's cheaper to mine -- whether the
 7          Q. Is this, again, this code that was running on        7   cost of power is above the cost of mining or below the
 8    your model on the system in your apartment or is              8   cost of mining or is it more complex than that?
 9    this -- was running somewhere else?                           9      A. Ask the question one more time.
10          A. Correct, in my apartment.                           10      Q. Yeah, let me see if I can phrase it better.
11          Q. Okay. What -- what specific code is -- code         11          So when you're calculating -- I'll just ask
12    file is this running in, do you remember, is this part       12   it off the data here. When you're calculating the data
13    of?                                                          13   in the columns here, what is the -- what is the column
14          A. There's -- there's a bunch of different code        14   that you're looking at to determine whether it's more
15    files that this snipet runs in.                              15   profitable to mine or to not mine?
16          Q. And which -- can you identify them for me?          16      A. The comparison would be between the day-ahead
17          A. Exelon 10_11, all those Exelon files, the           17   LMP revenue column, the real-time LMP revenue column and
18    Dennis Logic, new gen, basically anywhere that you would     18   the mining revenue column.
19    have to calculate a break-even U.S. dollar cost per          19      Q. And so if the mining revenue column is
20    kilowatt hour for a miner.                                   20   greater, it makes more sense to mine?
21          Q. Okay. And then what's the -- what's the             21      A. Correct, and that -- and that should
22    second box down here represent?                              22   represent itself in the realized revenue column.
23          A. It was a terrible attempt by me to give a           23      Q. And if it's cheaper not to mine, then that
24    fully amortized cost for five minutes -- five-minute         24   would be represented in the day-ahead LMP and the


                                                    Page 191                                                            Page 193
 1    revenue. I'm not an accountant. It wasn't -- it didn't        1   real-time LMP columns?
 2    work well.                                                    2       A. If it's cheaper not to mine. Can you ask
 3          Q. Okay. So I noticed Ben Hakes isn't included          3   that one more time?
 4    on this. Why is Mr. Hakes not included in these e-mails?      4       Q. Well, so if I understand correctly, if it's
 5          A. I didn't have any reason to include Ben in           5   more profitable to mine, it's reflected in the mining
 6    these e-mails.                                                6   revenue column?
 7          Q. I hand you one more here. This is                    7       A. Well, the mining revenue column is always
 8    Defendants' Exhibit 53. So can you tell me what Exhibit       8   reflecting the mining revenue given the power.
 9    53 is?                                                        9       Q. Yeah, I'm sorry. So if -- if it's more
10          A. It's an e-mail from me to the GlidePath guys        10   profitable to mine, you compare -- you compare the mining
11    and Ben Hakes.                                               11   revenue column with what columns to make that
12          Q. And why are you sending this to the GlidePath       12   determination?
13    guys and Ben Hakes?                                          13       A. The day-ahead LMP rev and the real-time LMP
14          A. Because I told them I was going to the              14   rev.
15    conference/summit and that I would give them an update       15       Q. And so if the mining revenue's greater, it's
16    based on information that I learned at the summit.           16   more profitable to mine?
17          Q. Is this -- is this -- I haven't gone through        17       A. Correct.
18    it and done a complete comparison, but is this basically     18       Q. And if the mining revenue is less, then it
19    the same type of data that you sent to Mr. Garland at        19   doesn't make sense to mine?
20    BuySellAds the day -- on the 3rd?                            20       A. Correct.
21          A. Yes, it does look similar.                          21       Q. And then in the context of where the mining
22          Q. What -- what's the purpose of sending this to       22   revenue column is less, what did your model contemplate
23    GlidePath?                                                   23   doing at that point?
24          A. To send them the modeling data and these            24       A. The model contemplates selling that amount of


                                                                                    49 (Pages 190 to 193)
                                                     Appx2946
     Case: 23-1922                   Document: 26-2                Page: 172          Filed: 11/20/2023

                                                        Page 246                                                         Page 248
 1          A. Yeah, interested is like so many varying               1   account in totality was to communicate to the general
 2    levels, right.                                                  2   public what I was working on.
 3          Q. So what -- what did they say to you about --           3         Q. Okay. So it was available to the general
 4    after you got -- after your conversation -- well, what          4   public and then it was not, is that -- am I understanding
 5    did you tell them?                                              5   you correctly?
 6          A. I told like how -- how my system worked. I             6         A. You are, yes.
 7    told them how I communicated it to McNamara and the             7         Q. Okay. And if you look at the first page,
 8    Lancium CFO at the dinner. I told them that I had e-mail        8   Page 717, it says: "Casually pitch the idea of using
 9    correspondence going back and forth and text message            9   Bitcoin mining as load as a service to a PM at Entergy
10    correspondence as well and that I believe that what they       10   over the last year." Do you see that?
11    were suing or getting sued for by Lancium was something        11         A. Yeah.
12    that I taught McNamara and told him how to do in great         12         Q. Who is that?
13    detail.                                                        13         A. I don't remember his name. I met him at a
14          Q. What did they respond?                                14   Mardi Gras event -- at a young life event at the -- it
15          A. I guess they didn't really respond. They              15   might be Avenue Pub. I want to say Charles Avenue. I
16    just asked for me to send them a few things.                   16   know he's a PM for Entergy but that's about it.
17          Q. And you sent them those things?                       17         Q. Okay. And so the stuff on this Twitter was
18          A. Yeah.                                                 18   public for a long time; is that fair, and then it was
19          Q. Was it one conversation or more than one              19   not?
20    conversation?                                                  20         A. Yeah, it was -- it was public for maybe two
21          A. Just one conversation.                                21   years or so.
22          Q. Let me mark this as Exhibit 67. And is this           22         Q. Okay. So let me mark Exhibit 69 which is
23    what you sent them, Exhibit 67?                                23   BEARBOX1 through 43. So maybe just to save time here I
24          A. Yes, it appears so.                                   24   would -- just trying to figure out sort of what all of


                                                        Page 247                                                         Page 249
 1          Q. And you're aware -- after this -- they                 1   these different pictures are. There's pictures of
 2    received this information do you know what they did with        2   different things, and maybe if we just go one at a time
 3    it?                                                             3   by Bates number and you just tell me quickly what it's a
 4          A. I don't know what they did with it.                    4   picture of, and then I'll stop and ask you questions if
 5          Q. And you're aware they ultimately settled the           5   something else comes up.
 6    case with Lancium, aren't you?                                  6          A. Sounds good.
 7          A. I'm aware of the settlement, yes, sir.                 7          Q. Okay. So let's start with Page 1.
 8          Q. I'll mark Defendants' Exhibit 68. Can you              8          A. Page 1 is a picture of a single miner running
 9    just identify Exhibit 68?                                       9   in my apartment that's connected to a 120-volt circuit to
10          A. Exhibit 68 is a printout of the BearBox               10   the wall. There's an early relay controller called a
11    Twitter account.                                               11   Sanesmart 16 channel. There's a 25 amp solid state
12          Q. And that's -- these tweets are created by             12   relay, the white part on the stool. Then there's a large
13    you?                                                           13   white box on the stool that is an AC to DC inverter that
14          A. Yes.                                                  14   applies voltage to a coil.
15          Q. What's the purpose of this Twitter account?           15          Q. Can you tell sort of what the date is in this
16          A. To communicate things that BearBox as a               16   picture just from looking at it roughly or not?
17    company was working on and have presence within Twitter.       17          A. I can't. I think we produced metadata with
18          Q. Just to the general public?                           18   these picture.
19          A. Yeah, at the time it was locked but previous          19          Q. Yeah. I'm just trying to figure out where in
20    to that it was not.                                            20   the process of creating the model in your apartment this
21          Q. You say "at the time it was locked."                  21   is.
22          A. At the time of this printout the Twitter              22          A. Oh, this is really early. That's -- that's
23    account was in private mode, so it wouldn't have been to       23   the first relay controller and solid state relay that I
24    the general public, but the purpose of the Twitter             24   bought. The solid state relay got like super hot with


                                                                                     63 (Pages 246 to 249)
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         A would-be inventor’s proof of conception, however, must be more than simply his/her

  testimony. “To prove [his or her] contribution, the purported inventor must provide corroborating

  evidence of any asserted contributions to the conception.” Acromed, 253 F.3d at 1379 (internal

  citations and quotations omitted); see also Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456,

  1461 (Fed. Cir. 1998). Indeed, a would-be inventor’s testimony regarding their own inventorship

  claim is “regarded with skepticism.” Scott, 889 F. Supp. 2d at 664. Would-be inventors, therefore,

  must supply evidence to corroborate their testimony. Symantec, 552 F.3d at 1295. The sufficiency

  of the corroborating evidence is evaluated under a rule of reason analysis, which requires that an

  evaluation of all pertinent evidence be made so that a sound determination of the credibility of the

  alleged inventor’s story may be reached. Id.; Gemstar, 383 F.3d at 1382.

                         b.      Claim Construction

         “When the parties raise an actual dispute regarding the proper scope of these claims, the

  court, not the jury, must resolve that dispute.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,

  521 F.3d 1351, 1360 (Fed. Cir. 2008). A district court “may engage in claim construction during

  various phases of litigation” and is “well within its power to clarify, supplement, and even alter its

  construction” of disputed terms “in its summary judgment order.” Level Sleep LLC v. Sleep No.

  Corp., No. 2020-1718, 2021 WL 2934816, at *3 (Fed. Cir. July 13, 2021).

         “Words of a claim are generally given their ordinary and customary meaning, which is the

  meaning a term would have to a person of ordinary skill in the art after reviewing the intrinsic

  record at the time of the invention.” O2 Micro, 521 F.3d at 1360 (citing Philips v. AWH Corp., 415

  F.3d 1303, 1312-13 (Fed. Cir. 2005)). “A determination that a claim term ‘needs no construction’

  or has the ‘plain and ordinary meaning’ may be inadequate when a term has more than one

  ‘ordinary’ meaning or when reliance on a term’s ‘ordinary’ meaning does not resolve the parties’

  dispute.” Id. at 1361. “To determine the meaning of the claims, courts start by considering the


                                                   11
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(e.g. “load-only”) to be designated a CLR, the CLR designation had been available within ERCOT

for nearly twenty years. Ex. S, at 31.

         The CLR designation would allow Lancium’s Bitcoin mining datacenters, once registered, to

operate as Storms’ BearBox system and sell options to turn off its miners under certain conditions,

and also sell power back to the grid. Id. at 24-28. During these commercialization efforts, Lancium

realized operating its Bitcoin miners as Storms’ BearBox system, with a CLR designation, would be

incredibly profitable, but even more so if there was no other Bitcoin miners doing it. SSF ¶ 11; Ex.

R, LANCIUM00033139 (“More importantly, when we bid into this [CLR] category we will be the

only bidder, and therefore our award level should not be diminished”); Ex. Y, at

LANCIUM00031222 (“first and only” CLR “therefore our revenue … would go up”); Ex. H, Cline

Dep. at 166. A few days later, Lancium filed an application for the ’433 Patent.

                   4.     Lancium filed the ’433 patent to monopolize Storms’ portions of the
                          system that Storms communicated to it

         About two months after first commercializing some of Storms’ BearBox system features,

Lancium filed a provisional patent application that would eventually support the ’433 Patent. D.I.

151 Ex. 17, ’433 Patent at cover page. In general, the ’433 Patent discloses example embodiments

which enable a computing system to adjust power consumption based on a power option agreement,

and using some combinations of power thresholds, time intervals, and monitored conditions. The

’433 Patent provides an overview of this aspect of the disclosure:

                   Examples relate to adjusting load power consumption based on a
                   power option agreement. A computing system may receive power
                   option data that is based on a power option agreement and specify
                   minimum power thresholds associated with time intervals. The
                   computing system may determine a performance strategy for a load
                   (e.g., set of computing systems) based on a combination of the power
                   option data and one or more monitored conditions. The performance
                   strategy may specify a power consumption target for the load for
                   each time interval such that each power consumption target is equal
                   to or greater than the minimum power threshold associated with each

{01821807;v1 }                                    12


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applies this very same analysis in his expert reports. In fact, in Defendants’ expert’s rebuttal report,

Dr. Mark Ehsani, in offering his criticisms of Dr. McClellan’s opinions, performs no claim

construction of his own, and says nothing of McClellan’s application of the “plain and ordinary

meaning of the claim terms.” Ex. J, Ehsani Report at ¶ 43.

       Second, the Court should reject Lancium’s proposed constructions of the terms “power option

agreement” and “minimum power threshold” because they clash with the plain language of the claims

and the intrinsic record.5

                       a.      Power Option Agreement

       Defendants proposed construction for “power option agreement” is inconsistent with the

term’s plain and ordinary meaning because the phrase, “such that the load must use at least the

amount of power subject to the option during the time interval” is internally inconsistent with the

plain language of the claim and not supported by the specification.

       Lancium’s proposed definition is internally inconsistent because it does not allow for

scenarios in which the option is exercised by a power entity. Specifically, if the power entity “reduces

the amount of power delivered to the load” during a time interval, that power is no longer accessible

to the load, and it is impossible for the load to continuing using the diverted power. Yet under

Lancium’s proposed construction, the load still “must” use that power for the duration of the time

interval. In other words, Lancium’s proposal requires the system to use power it is not receiving.

       Lancium’s proposed definition is also inconsistent with the remaining language of the claim,

inviting confusion. The terms Lancium cherry-picked for construction are set forth within a larger

limitation recited in claim 1, specifically that the system “receive power option data based, at least

in part, on a power option agreement, wherein the power option data specify: (i) a set of minimum


5
  Even if the Court does adopt Lancium’s proposed constructions for these two terms, it would not
affect Plaintiffs’ experts’ opinions, or impact Plaintiffs’ ability to meet its burdens of proof.
{01821807;v1 }                                    17


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technique to show the Bitcoin emanating from the box of miners (highlighted in orange) and the

various functionality of his software (highlighted in purple). Because the generator business model

is to generate, sell and deliver power to the grid, a POSA would have understood (1) the generator

already had both the functional capacity and compliance with existing regulatory/administrative

requirements to do so, and (2) that this disclosure reflects the generator curtailing power delivered to

the Bearbox in order to perform the sellback operation. As Dr. McClellan explained:

         Q: But what is the entity selling the power back?
         A: The thing that's not doing the bitcoin mining.
         Q: So the generator?
         A: Yeah, that's selling the power that you've contracted to provide. That's passing the power
            through to the market rather than using it to mine bitcoin. That's the markup on the pass
            through. This data here [the .CSV file provided to Lancium] is just -- this lays out the
            whole scheme. It's great.

Ex. U, McClellan Dep. at 215:4-12; see also, Ex. U, McClellan Dep. at 67:2-68:16, 164:11-166:12.

At a minimum, the documents communicated to Lancium raise a material question of fact. SSF ¶ 5.

                         a.      Storms’ system as described in the documents he communicated
                                 to Lancium meets Lancium’s constructions even if there were not
                                 corrected.

         When the generator performs sell back as shown in the documentation, Storms’ BearBox

system literally meets each aspect of these limitations, even if Lancium’s proposed construction were

not modified. Specifically, Storms’ BearBox system involved “an agreement between a power entity

associated with the delivery of power to a load [the generator/generation assets] and the load

[BearBox], wherein the load [BearBox] provides the power entity [the generator/generation assets]

with the option to reduce the amount of power delivered to the load up to an agreed amount of power

[full curtailment of “minimum power threshold”] during an agreed upon time interval [during a 5-

minute interval when sell-back is appropriate], such that the load must use at least the amount of

power subject to the option during the time interval [mine Bitcoin when energy is not being curtailed

by the generator].” Storms’ BearBox system also used, at least in one implementation, 30.94kW of

{01821807;v1 }                                   23


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power as “a minimum amount of power a load must use during an associated time interval.” In other

words, when the generator sells back power to the grid, it fully curtails the delivery to Storms that

otherwise would have been used to mine Bitcoin—precisely the subject matter Lancium alleges is

recited in the claim. Stated yet another way, the Storms documents describe a “minimum power

threshold” of 30.94 kW that is always used by Storms for mining unless the delivery of power is

curtailed by the generator in accordance with a “power option agreement” between those two entities.

                         b.      Lancium misrepresents both the underlying evidence and the
                                 requirements of the claims.

         Lancium contends, without citation, that Dr. McClellan does not explain how the materials

Storms provided “to McNamara disclose or convey the properly construed requirements of the

claims.” D.I. 149 at 21. This argument ignores 27 pages of Dr. McClellan’s analysis in his initial

report alone showing how the information Storms communicated to Lancium disclosed each and

every limitation recited in the claims of the ’433 Patent. D.I. 151 Ex. 3, McClellan Report at 53-80.

         Lancium also is wrong when it argues “the claims set forth requirements that a load (e.g., a

Bitcoin mining operation) must use the amount of power set by the minimum power thresholds

regardless of profitability.” First, as noted above, Storms’ system meets this element even under

Lancium’s construction. Second, Lancium is wrong as no claim requires mining occur “regardless of

profitability,” as even Lancium acknowledges. D.I. 149 at 22 (“the claim elements … have no

requirements relating to profitability”). Lastly, as noted above, the ’433 Patent contemplates having

a “minimum power threshold” of zero for an interval or even the full duration of a power option

agreement, so whether Storms’ system stopped all mining is not dispositive of whether it evidenced

Storms’ conception or would have communicated that subject matter to a POSA. D.I. 151 Ex. 17,

’433 Patent at 54:13-21.

         For at least these reasons, there are genuine issues of fact that preclude summary judgment


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regarding Storms’ possession of the claimed invention. SSF ¶ 3, 4.

                   3.     Storms communicated the subject matter claimed by the terms “power
                          option agreement” and “minimum power threshold” even if he did not
                          use those words when communicating with Defendants

         As discussed above, some of the same evidence that establishes possession of the invention

by Storms—the Product details and .CSV file—was also communicated directly to Lancium. Thus,

the same issues of fact that preclude summary judgment on the issue of possession also preclude

summary judgment as to whether Storms communicated those inventions to Lancium. SSF ¶ 5.

         In addition, Storms verbally told Mr. McNamara that, in such situations, the selling of power

could be performed by a variety of market entities:

         A:         . . . And then utilizing, you know, different configurations and kind of some of the
                   break-even calculations around the machines within your build determine when it's
                   most profitable to effectively mine Bitcoin at that location or utilize the power and
                   sell it back to the grid but in both the day-ahead and real-time markets.
         Q.        In the context you're talking about, who sells the power back to the grid?
         A.        Variety of different options there. It could be the generator sells the power
                   back. It could be the mining facility sells the power back. It could be a different
                   market participant depending on the ISO.
         Q.        And what we've just been discussing, is that part of what you maintain you talked to
                   Mr. McNamara about regarding how load can be controlled to maximize
                   profitability?
         A.        Yes.

Ex. E, Storms Dep. at 104:22-105:15 (emphasis added). Conversely, McNamara’s memory of this

conversation is “vague.” Ex. F, McNamara Dep. at 133-135.

         As explained above, in such a scenario, Storms system literally meets each aspect of

Lancium’s proposed construction. SSF ¶ 3, 4, 5. Storms additional testimony, as supported by the

documentary evidence discussed above, raises an additional question of fact to be resolved by the

jury. Nexus, 2020 WL 6940505 at *13.




{01821807;v1 }                                     25


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also found that the original conversion claim, “by its wording, is dependent on a determination of

patent inventorship,” and on that basis alone found preemption. D.I. 92 at 5.7 The Court recognized

that a BearBox amendment could fix the issue. D.I. 92 at 12 (“it is not clear that allowing the

opportunity to amend would be a futile act”). Notably, whether or not the converted property was

confidential was not part of the Court’s analysis, nor should it have been. Dileo v. Horn, 15-684 (La.

App. 5 Cir. 3/16/16), 189 So. 3d 1189, 1198 (“Conversion is committed when one wrongfully does

any act of dominion over the property of another in denial of or inconsistent with the owner's rights.”).

The Court’s decision also clarified that “conversion claims that are based on non-patent-ownership

theory of conversion are generally not preempted by federal patent law.” D.I. 92 at 5, n.5 (emphasis

added).

          In its SAC, then, BearBox explained that its conversion claim is based on the theft of material

that is not included in the ’433 Patent, and therefore does not seek “patent-like” relief, or turn on

questions of patent inventorship or ownership, which the Court properly concluded would not be

preempted by patent law. See, e.g., D.I. 103 ¶ 46 (“Not all aspects of BearBox’s technology that was

stolen and used by Defendants was described and claimed in the ’433 Patent.”). As a result, when

Lancium filed yet another motion to dismiss, this time directed to the SAC, including BearBox’s

conversion claim, it did not ask the court to consider preemption again. D.I. 121.

          Lancium’s argument that Louisiana conversion can only be premised on the theft of

documents describing confidential information is wrong. If the “ideas and materials allegedly

provided to [the defendant] are not found in [a] patent … nothing in federal patent law now stands in

the way of [the plaintiff] pursuing his state law claims.” Wawrzynski v. H.J. Heinz Co., 728 F.3d



7
  Plaintiffs did not object to the Report and Recommendation, and Your Honor adopted it on
February 2, 2022. Plaintiffs subsequently filed their Second Amended Complaint on February 16,
2022.
{01821807;v1 }                                   34


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         14.       Admitted for purposes of this motion.

         15.       Admitted for purposes of this motion.

         16.       Disputed. Defendants state as an undisputed fact that “none of the attachments to

[Storms’ May 9, 2019 email] include any confidentiality marking or designation.” The

“CONFIDENTIALITY NOTICE” at the bottom of that email, however, states that the email may

contain “private, confidential, or legally privileged information,” which necessarily includes

attachments contained in the email. The “CONFIDENTIALITY NOTICE” also directs any

unintended recipients of the email to “permanently delete all copies of this email including all

attachments,” further evidencing the understanding that the CONFIDENTIALITY NOTICE applies

not only to the email, but to attachments in the email. Ex. L (LANCIUM00014645).

         17.       Admitted for purposes of this motion.

         18.       Disputed. While Plaintiffs do not assert that certain attachments to the May 9, 2019

email, alone, are confidential, the May 9, 2019 email (BB00000090) in its entirety, and by virtue of

its attachment (BB00000097), is confidential. Storms Tr. at 217:20-23 (“Q: So what, if anything, in

this e-mail then do you consider confidential. A: The confidential information in this email would be

the attached Excel spreadsheet.”). Ex. B.

         19.       Admitted for purposes of this motion.

         20.       Admitted for purposes of this motion.

         21.       Disputed as incomplete. Although BearBox built and sold one container to Great

American Mining, that container did not include the systems and methods at issue in this case. Storms

Tr. 46:2-9. In addition to Mr. Storms’ testimony, the nature of the BearBox container sold to Great

American Mining was explained to Defendants in written discovery responses at least as early as

November 22, 2021:



{01821791;v1 }                                     3


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                                                       Page 82                                                           Page 84
 1        A. Kind of all -- all of the above. You know,         1     it easier to manage mining facilities?
 2   I -- I developed a "product" with the BearBox containers   2          A. It's -- it's -- as an object-oriented
 3   and felt confident at the time that I could develop        3     programming language, it's decently easy to learn, and
 4   software solutions for a variety of different types of     4     there's a ton of API integrations that are easy to
 5   deployments.                                               5     implement from the perspective of Python as opposed to
 6        Q. What about as a miner, what were you doing         6     other languages.
 7   there as a miner?                                          7          Q. Anything else?
 8        A. I was -- I was trying to -- to learn more          8          A. It's -- it's my favorite language, so I guess
 9   about a few different things, specifically some of         9     that's kind of my bias towards it, yeah.
10   Steve's flare gas initiatives, some of the microbtu       10          Q. So you said you talked to Mr. McNamara at the
11   specifications and kind of looking at and feeling the     11     dinner. What did you talk to him about? Not at the
12   unit as opposed to just looking at pictures on line,      12     dinner, at the happy hour. What did you talk to him
13   understanding kind of some of the speakers who were I     13     about?
14   guess announced prior to and what they were talking about 14          A. Talked to him about the BearBox container
15   and learning more about the industry and what other       15     builds and this idea about, you know, utilizing excess
16   people were doing.                                        16     wind and renewable energy in Texas.
17        Q. So is this -- the people attending this, are      17          Q. Did you talk to him about anything else?
18   there -- competitors in the mining industry. There's      18          A. Not to my recollection.
19   finance, money people. There's -- is that fair?           19          Q. Did you talk to him at a high level or
20        A. Yeah, I wouldn't really categorize people as      20     specifics level?
21   like competitors in the mining industry. The industry's   21          A. High level.
22   still -- at the time was so young but that -- I guess     22          Q. Did you understand what you told Mr. McNamara
23   that's a fair -- fair consideration.                      23     at that time to be confidential?
24        Q. Yeah, because I mean if two entities are          24          A. I don't think I communicated anything to him
                                                       Page 83                                                           Page 85
 1   mining, the way I understand it, you're all trying to        1   at the time that I would have considered to be
 2   solve the next equation and whoever gets it first gets       2   confidential.
 3   the Bitcoin; isn't that right?                               3        Q. What did you talk to Mr. Peltan about?
 4       A. That's -- that's a high level understanding           4        A. I talked to Jesse about their Huddle Ranch
 5   of how it works, yes.                                        5   project and I guess how they were looking at the
 6       Q. That's an overly simplistic but correct               6   development of that -- that substation and then about his
 7   description; is that fair?                                   7   presentation that he gave at the summit.
 8       A. Yes.                                                  8        Q. Did you talk to him about anything else?
 9       Q. So who -- Quinn Lawler was a Bitcoin miner?           9        A. I talked to him about building custom power
10       A. He -- he was at the time.                            10   distribution units.
11       Q. Okay. And what did you and Mr. Lawler talk           11        Q. About BearBox doing it or you doing it on
12   about? We started on that before and went in a different    12   behalf of BearBox?
13   direction.                                                  13        A. Yeah, designing and building custom power
14       A. Yeah. We talked about a GPU farm that he --          14   distribution units because the industry wasn't -- there
15   he was managing in Upstate New York and kind of his         15   wasn't anything off the shelf at the time for some of the
16   experience that led him to managing that farm.              16   specifications.
17       Q. What did -- what did you say to him?                 17        Q. Did you go into any specifics?
18       A. I told him he should learn Python, you know,         18        A. Went into specifics around the -- how the
19   because he was a former Wall Street like hedge fund guy     19   branch circuits were designed and why I started building
20   but didn't really have the experience to manage a large     20   them in the first place.
21   scale GPU mining facility, and using Python he could --     21        Q. Did Mr. Peltan understand what you were
22   he could manage it a little bit -- a little bit better      22   telling him was confidential?
23   than physically doing things.                               23        A. At the time I -- I wasn't -- I didn't
24       Q. So what -- what is it about Python that makes        24   communicate anything to Jesse that was confidential to

                                                                                                        22 (Pages 82 - 85)
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                                                                 Page 94                                                                    Page 96
 1       Q. So if I understand your position, you --                        1        Q. Did you tell Mr. McNamara that?
 2   well, let's -- so who did you talk to at the dinner?                   2        A. Yes.
 3       A. I talked with Michael McNamara and his CFO.                     3        Q. What -- tell me everything you remember
 4       Q. Did you talk to anybody else?                                   4   talking to either Mr. McNamara or his CFO.
 5       A. Maybe like very briefly.                                        5        A. Yeah, so I talked with them about like their
 6       Q. Did you talk to Mr. Lawler who was on your                      6   current physical infrastructure and what they were
 7   other side?                                                            7   looking at from an electrical standpoint. I talked with
 8       A. I probably did at some point.                                   8   them about their -- their electrical engineer they said
 9       Q. Did you talk to anybody else?                                   9   on staff who didn't like the Digital Shovel electrical
10       A. I probably talked with -- with Jamie and Rich                  10   distribution and why I thought it was a bad idea as well.
11   at some point as well.                                                11   I talked to them about physical characteristics of my
12       Q. Anybody else?                                                  12   BearBox units and why I thought that they were different
13       A. No. The table was so long. I couldn't --                       13   than other offerings in the market, and I talked with
14   you can't really see or talk past that.                               14   them about the -- some of the software that I was working
15       Q. So sort of the people on your end of the                       15   on to offer flexibility for those units and the -- their
16   table you talked with?                                                16   load and how they, you know, could be controlled and how
17       A. Yeah.                                                          17   you could really maximize the profitability depending on
18       Q. And across from you?                                           18   the setup.
19       A. Yeah.                                                          19        Q. Anything else?
20       Q. How long was the dinner?                                       20        A. There's -- there's a lot that goes into that
21       A. Probably an hour to two hours.                                 21   and some of the ideas around kind of how -- how the
22       Q. So what did you talk to Mr. Godwin about?                      22   development took place from the -- from the physical side
23       A. At the dinner?                                                 23   of the power distribution units to me writing the
24       Q. Yeah.                                                          24   software and understanding how electricity moves through
                                                                 Page 95                                                                    Page 97
 1       A.    Nothing -- nothing in particular.                            1   the market.
 2       Q.    What about -- I'm trying to remember who else                2          Q.   Anything else?
 3   you said you spoke with. What did you talk with them                   3          A.   I wouldn't say anything else outside of like
 4   about outside of the Lancium folks?                                    4   some like specifications around -- around those things.
 5       A.    Again -- again, nothing in particular.                       5          Q.   Did you show Mr. McNamara or his CEO or CFO I
 6   There's general small talk, if you will. I think Quinn                 6   should say any documents or, you know, pictures on your
 7   and I probably continued some of the conversation around               7   phone or anything like that during -- during the dinner?
 8   what I was telling him he needed to learn for the GPU                  8          A.   I think I may have showed them like an
 9   farm, but the vast majority of the conversation that took              9   outdoor picture of the BearBox container but outside of
10   place at the dinner was between me and Michael McNamara               10   that, no.
11   and his CFO.                                                          11          Q.   So you said -- what did -- so what did
12       Q.    And what did you talk to Mr. McNamara and his               12   Mr. McNamara talk to you about?
13   CFO about?                                                            13          A.   So at a high level, he just talked about that
14       A.    What I was working on at BearBox, what I                    14   they were looking for ways to utilize excess wind energy
15   developed and kind of my vision on how you could build                15   for some of their -- at the time it was their data
16   out something like this to -- to really utilize renewable             16   center-type builds around high throughput computing like
17   energy.                                                               17   machine learning algorithms and neural networks and how
18       Q.    When you say "something like this," what do                 18   he thought that the power costs for the wind energy would
19   you mean?                                                             19   make hosting those type of data center arrangements
20       A.    Something like the -- the BearBox containers.               20   profitable.
21   They're -- you know, building containers is great, but                21          Q.   Did you talk to him about Bitcoin mining at
22   you could utilize the same -- the same type of software               22   all?
23   in a large like super structure build. It's not specific              23          A.   I did, yeah.
24   to the housing in which the machines run.                             24          Q.   So we started this with current physically --

                                                                                                                            25 (Pages 94 - 97)
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                                                     Page 98                                                                   Page 100
 1   current physical installation and that's -- Mr. McNamara   1   him about software. What did you talk to him about
 2   talked to you about that, his current installation?        2   software?
 3       A. They talked about some of the designs that          3       A. Yeah, so I talked to him about how I thought
 4   they were looking at and so did his CFO and how they had 4     that my software would be able to utilize certain --
 5   some I guess issues with the safety of certain voltages    5   certain variables to achieve what I considered to be like
 6   in the electrical distribution system that some of the     6   fine grain load control over -- over the mining machines
 7   manufacturers were -- were deciding to use, and I          7   within the build depending on a bunch of different
 8   explained to them how -- how mine were different.          8   things.
 9   Outside of that nothing really in particular about         9       Q. And what -- what did you understand fine
10   their -- their I guess physical characteristics or their, 10   grain load control -- what did you mean by fine grain
11   you know, mining efforts, if you will.                    11   load control?
12       Q. So you also said he talked to you about            12       A. So fine grain load control at least from my
13   Digital Shovel. What is Digital Shovel?                   13   understanding at the time was the ability to turn on or
14       A. Digital Shovel is a company owned by a guy         14   off machines within a build, mining machines within a
15   named -- I can't remember his name. They -- they -- they 15    build. Rather than turn it all on or all off you have
16   manufacture Bitcoin mining containers, and I think at the 16   some flexibility within there.
17   time they were doing GPU mining containers as well, but 17         Q. Anything else?
18   they weren't -- they weren't like shipping containers     18       A. No, that's pretty much -- that's what fine
19   that were modified. They were built from scratch, and I   19   grain load control means.
20   had some hesitations about the units.                     20       Q. So did you talk about anything else about the
21       Q. And so your BearBox unit that you have at          21   software?
22   this time --                                              22       A. Yeah, so we talked about how I was building
23       A. Um-hum.                                            23   out different integrations for -- for power entities and
24       Q. -- that's basically a modified shipping            24   how you could utilize those integrations and things like
                                                     Page 99                                                                   Page 101
 1   container --                                              1    power pricing to determine like what -- what your
 2       A. Yes.                                               2    strategy was for how many machines you wanted on, how
 3       Q. -- to ship, you know, stuff on large ships         3    many machines you wanted mining, the break-even costs and
 4   that go back and forth between the U.S. and other         4    opportunity costs of those machines and how to calculate
 5   countries?                                                5    that.
 6       A. Yes.                                               6             MR. NELSON: Can I get you to read his answer
 7       Q. So you get those containers and then build         7    back?
 8   them out?                                                 8                        (Requested portion of the
 9       A. Yes.                                               9                        record read.)
10       Q. So did Mr. McNamara talk to you about             10    BY MR. NELSON:
11   anything else?                                           11        Q.    So you said you were building out different
12       A. Not that I can recall, no.                        12    integrations for power entities. Which power entities
13       Q. You said you talked to him about physical         13    were you building out integrations for at that time?
14   characteristics of the BearBox. What did you talk to him 14        A.    A couple of different types. As a -- as a
15   about that?                                              15    power generator like of the wind facility or solar
16       A. Things like air flow, how -- how I designed       16    facility and being able to understand kind of what their
17   the intakes and exhaust, how I designed the electrical   17    pricing mechanisms were or other variable constraints,
18   service and distribution, some of the benefits to doing  18    some marketplace data from independent system operators
19   that, like I said earlier, like the power distribution   19    like ERCOT or MISO or the Selvis (phonetic) Power Pool
20   units, right, and how they were modular so you wouldn't 20     and how to -- how to actually take down that information
21   have to change out everything when new mining machines 21      in a way that was usable for the mining facility.
22   came out. Yeah, that's pretty much all the physical      22        Q.    So this isn't -- you haven't been hired by
23   characteristics.                                         23    power entities to do this. This is just you're talking
24       Q. You said you talked about -- you talked to        24    about sort of what you were working on when you were

                                                                                                            26 (Pages 98 - 101)
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                                                    Page 102                                                       Page 104
 1   doing software modeling, is that what -- is that -- I      1       Q. What do you maintain that you discussed with
 2   guess I'm confused. Were you actually hired by power       2   Mr. McNamara and/or his CFO that wasn't part of what you
 3   entities to do this?                                       3   just described as part of the GlidePath project?
 4        A. No, I wasn't -- I wasn't hired by any power        4       A. Sure. So different -- different
 5   entities at the time.                                      5   configurations and setups for that. You don't -- you
 6        Q. Okay.                                              6   don't necessarily have to be like a behind the meter load
 7        A. Yeah.                                              7   in order to utilize a strategy like that to determine
 8        Q. So when you say "integration for power             8   wind power pricing makes sense when it doesn't or other,
 9   entities," you're talking sort of generic wind farm,       9   you know, other grid directives that might come through.
10   solar, that sort of stuff?                                10       Q. So did you -- did you talk about any
11        A. Yeah, really like generic -- I guess generic      11   specifics? Had you already modeled that stuff at that
12   integrations for the data that you would need in order to 12   point?
13   maximize the -- the economic potential of that energy as 13        A. I modeled some of it. I modeled all of the
14   it relates to, you know, mining Bitcoin or not mining     14   settlement locations at that point, yeah.
15   Bitcoin and where the energy goes and how it's priced.    15       Q. When you say "modeled all of the settlement
16        Q. And where -- where did you obtain the             16   locations," what do you mean?
17   information that you maintain you were discussing with    17       A. So you can essentially take down the power
18   him?                                                      18   price at each settlement location within a grid.
19        A. I'm sorry. Can you clarify?                       19       Q. That's publicly available; right?
20        Q. Yeah, I'll try. That's probably a bad             20       A. Publicly available data.
21   question.                                                 21       Q. Yeah.
22        A. Yeah.                                             22       A. Yep. And then utilizing, you know, different
23        Q. So, you know, you're talking about                23   configurations and kind of some of the break-even
24   discussions that you under -- that you remember happened 24    calculations around the machines within your build
                                                    Page 103                                                       Page 105
 1   with Mr. McNamara and his CFO.                             1   determine when it's most profitable to effectively mine
 2       A. Um-hum.                                             2   Bitcoin at that location or utilize the power and sell it
 3       Q. And what I'm trying to find out is so the           3   back to the grid but in both the day-ahead and real-time
 4   information that you're talking about here, what is that   4   markets.
 5   based on.                                                  5       Q. In the context you're talking about, who
 6       A. That information's based on software that I         6   sells the power back to the grid?
 7   wrote and databases that I created and modeling            7       A. Variety of different options there. It could
 8   information that I created.                                8   be the generator sells the power back. It could be the
 9       Q. And is that in connection with working with         9   mining facility sells the power back. It could be a
10   Ben Hakes and the GlidePath project and the Exelon stuff? 10   different market participant depending on the ISO.
11       A. Part of it was but part of it wasn't. You          11       Q. And what we've just been discussing, is that
12   know, reasonably I think there -- there was a lot of data 12   part of what you maintain you talked to Mr. McNamara
13   that I was modeling at the time for a ton of different    13   about regarding how load can be controlled to maximize
14   locations and different setups.                           14   profitability?
15       Q. So what part of it was based on the code that      15       A. Yes.
16   you had written in connection with Mr. Hakes and          16       Q. So anything else other than what we just --
17   GlidePath?                                                17   so how -- in your memory, how specific were you with your
18       A. I guess like one of -- one of the setups or        18   discussions with Mr. McNamara and his CFO?
19   different configurations where you could utilize a mining 19       A. Extremely specific.
20   container in a behind the meter setup that looked at both 20       Q. What do you mean by that?
21   the day-ahead and real-time pricing for that settlement   21       A. I -- I shared with them how to design
22   location on the grid and then determine what the strategy 22   database tables for a miner management system that could
23   was to take down the wind power to mine or to use it to   23   effectively pull in individual data from individual
24   sell back to the grid.                                    24   miners that were mapped to PDUs and relays within the

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                                                     Page 106                                                         Page 108
 1   build to determine what the break-even cost is there, and  1    you know, maintain the maximum economic outcome from
 2   then the power distribution unit and control system could  2    renewable energy.
 3   at the same time toggle relays on or off or send a         3        Q. Were they -- were they talking to other
 4   command to the miner to, you know, power on or power off 4      people?
 5   or stop mining or change the mode which it's operating     5        A. No.
 6   depending upon the power and price and things of that      6        Q. They were just talking to you the whole time?
 7   nature.                                                    7        A. Yeah. Maybe like, again, maybe some passing
 8        Q. And you did -- you did all of this over            8    conversations like I had with, you know, Quinn or Rich or
 9   dinner?                                                    9    Jamie but nothing -- nothing in depth.
10        A. Yeah. Almost like huddled up at the end of        10        Q. Do you remember how -- how many glasses of
11   the table, yeah.                                          11    wine, if any, they had during the dinner?
12        Q. Did anybody else hear these conversations?        12        A. No, I don't.
13        A. Not to my knowledge, no.                          13        Q. Did you have more than one glass of wine
14        Q. Did Mr. McNamara or his CFO, to your              14    during the dinner?
15   knowledge, have an understanding of what they told you 15           A. I might have had two, but that's -- that's
16   was confidential?                                         16    typically my rule.
17        A. They didn't really share anything with me         17        Q. Was this -- what was the general atmosphere
18   that I would -- I would think that they believed would be 18    like? Was it everybody was kind of celebrating, you go
19   confidential.                                             19    out to a conference, you're meeting each other, having
20        Q. So you don't know one way or the other?           20    some drinks, having a good steak?
21        A. Yeah, I don't know what they consider to be       21        A. Yeah, I'd say that's a decent description of
22   confidential.                                             22    it.
23        Q. And from my understanding of this case, you       23        Q. What -- if I understand you correctly, you
24   believe that what you shared with them was confidential; 24     picked up the check?
                                                     Page 107                                                         Page 109
 1   is that right?                                              1       A. A portion of the check, yeah.
 2        A. Yes.                                                2       Q. Okay. Why did -- why did you choose to pick
 3        Q. Did you tell them that?                             3   up a portion of the check?
 4        A. I think it's -- it's understood in that             4       A. It's something that I've kind of always done.
 5   conversation and the -- the -- I guess how it takes         5       Q. Who picked up -- who else picked up the
 6   place. I don't remember if I specifically told them to      6   check?
 7   not tell anybody about this or -- or to keep it             7       A. I'm not sure who picked up the check for like
 8   confidential and between us.                                8   the rest of the table. I remember -- I remember I picked
 9        Q. Well, I understand that you may feel it --          9   up the check for like kind of our section, but I don't
10   you may feel it's understood. Do you have any              10   know who picked up the check for other chunks of the
11   recollection of telling Mr. McNamara or his CFO that it    11   table.
12   was confidential?                                          12       Q. By your section, you mean who?
13        A. I imagine that I did because of the detail in      13       A. I think I picked up the check for me,
14   which I went in, but I can't say either yes or no that I   14   McNamara's CFO, McNamara, and then I remember P.J.
15   remember me saying don't tell anyone about this and this   15   McAvity telling me thank you for paying for dinner.
16   is confidential information.                               16       Q. So what happened after dinner?
17        Q. So what happened next at the dinner?               17       A. After dinner some -- some people went out to
18        A. That was pretty much the conclusion of the         18   a bar. Some people went back to their hotels. I went
19   dinner. I mean for the majority of the dinner I -- I       19   out to a bar with Jesse Peltan, this Australian guy who I
20   talked and McNamara and his CFO just kind of listened.     20   can't remember his name but he was kind of crazy. And
21   Again, like you said, maybe I was in sales mode at the     21   who else was there? I think -- I think that was it.
22   time, but that was -- the majority of the dinner was me    22       Q. And what did you and Mr. Peltan talk about at
23   going into specifications around how this worked not in    23   the -- afterwards at the bar?
24   theory but in practice and how it could be utilized to,    24       A. Well, we had talked about different

                                                                                                    28 (Pages 106 - 109)
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From:                               Stover, Chad <Chad.Stover@btlaw.com>
Sent:                               Wednesday, June 23, 2021 3:09 PM
To:                                 Benjamin T. Horton; John R. Labbe
Cc:                                 Nelson, Mark; Chelsea M. Murray; Mayo, Andrew C.; Ray Ricordati
Subject:                            RE: BearBox and Storms v. Lancium - Rule 26(f) discovery conference
Attachments:                        Bearbox v. Lancium - Draft Scheduling Order 6-22-21-c-c.docx; Judge Noreika
                                    letter.docx


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Ben,

Thanksforprovidingthisandmakingthesechanges.Intheattachedversion,ImadeafewminorchangesthatIhope
won’tbecontroversial.Here’sasummary:

    Ͳ PushedthetrialdatebackaboutamonthbecauseofaconflictonourendwithAugust2022.Ialsopushedback
        thedispositivemotiondeadlineandpretrialconferenceabitgiventhattherewasmoretimeinscheduleafter
        movingthetrialdate.
    Ͳ IchangedtherebuttalexpertreportdeadlinefromFeb.18toFeb22,2022
    Ͳ IchangedtheRFAsto50andexcludedRFArelatedsolelytoauthenticityfromthislimit.
    Ͳ Iaddedanoteaboutdepositionlocations.Weexpectwecanagreetotakedepositionsnearwherethe
        witnesseslive/work.

Onthecoverletter,pleaseseetheattacheddraft.Wereservetherighttomodifyourportioninresponsetothe
argumentsyouadd.I’mhappytoputthisonmyletterheadafterreceivingyourportion.

Thanks,
Chad

Chad S.C.Stover|Partner
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Wilmington,DE




From:BenjaminT.Horton<bhorton@marshallip.com>
Sent:Tuesday,June22,20215:36PM
To:Stover,Chad<Chad.Stover@btlaw.com>;JohnR.Labbe<jlabbe@marshallip.com>
Cc:Nelson,Mark<mnelson@btlaw.com>;ChelseaM.Murray<cmurray@marshallip.com>;Mayo,AndrewC.
<AMayo@ashbygeddes.com>;RayRicordati<rricordati@marshallip.com>
Subject:[EXTERNAL]RE:BearBoxandStormsv.LanciumͲRule26(f)discoveryconference

HiChad,

Iattacharevisedproposedschedule,consistentwithourcallthismorning.Forclarity,weacceptedallpreviousedits,
andnewchangesarenowinredline.Asyourequested,wemovedupthetrialdatebytwomonthstoAugust2022.We
reconfiguredafewoftheintermediatedeadlines,butmaintainedthespacingthatweallagreeisappropriate.Asyou
suggested,weremovedtheclaimconstructiondates,leavingonlytheAugust27,2021deadline,apromisetoinformthe
                                                               1


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Courtoftheparties’decisionand,ifMarkmanisnecessary,thatthepartieswillproposeaclaimconstructionschedule
fortheCourt’sconsideration.

WelefttheRFAlimitat25,butwewillagreethatthelimitdoesnotapplytoauthenticationRFAs.Ifthatdoesn’t
addressyourrequesttoincreasethelimitto50RFAs,letmeknowandwecanworksomethingout.

Thisshouldaddressallissueswiththisproposal.WelookforwardtoyourconfirmationthatDefendantswillraise
bifurcationwithJudgeNoreikabycoverletterand,ifso,thatwewillreceiveyourportionofthatletterthefirsthalfof
tomorrow.

Bestregards,
Ben


From:Stover,Chad<Chad.Stover@btlaw.com>
Sent:Monday,June21,20215:02PM
To:JohnR.Labbe<jlabbe@marshallip.com>;BenjaminT.Horton<bhorton@marshallip.com>
Cc:Nelson,Mark<mnelson@btlaw.com>;ChelseaM.Murray<cmurray@marshallip.com>;Mayo,AndrewC.
<AMayo@ashbygeddes.com>;RayRicordati<rricordati@marshallip.com>
Subject:RE:BearBoxandStormsv.LanciumͲRule26(f)discoveryconference

External - This email is from an external email address outside the firm.

John,

Todaygotawayfromme.NoonETtomorrowworks.I’lllookforwardtospeakingwithyouthen.

Thanks,
Chad

Chad S.C.Stover|Partner
Direct:(302)300Ͳ3474|Mobile:(302)766Ͳ2932
Wilmington,DE




From:JohnR.Labbe<jlabbe@marshallip.com>
Sent:Monday,June21,20213:04PM
To:Stover,Chad<Chad.Stover@btlaw.com>;BenjaminT.Horton<bhorton@marshallip.com>
Cc:Nelson,Mark<mnelson@btlaw.com>;ChelseaM.Murray<cmurray@marshallip.com>;Mayo,AndrewC.
<AMayo@ashbygeddes.com>;RayRicordati<rricordati@marshallip.com>
Subject:[EXTERNAL]Re:BearBoxandStormsv.LanciumͲRule26(f)discoveryconference

Chad,

Benisn'tavailablethisafternoon,butIcouldtalkateither4:30or5:00ET.We'realsoavailableatnoonET
tomorrowandothertimestomorrow,aswell,ifnecessary.

Pleaseletusknowwhenyouwouldprefertotalk.

John
                                                                2

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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                  )
 BEARBOX LLC and AUSTIN STORMS,
                                                  )
                 Plaintiffs,                      )
                                                  )
         v.                                       ) C.A. No. 21-534-MN
                                                  )
 LANCIUM LLC, MICHAEL T.                          )
 MCNAMARA, and RAYMOND E.                         )
 CLINE, JR.,                                      )
                                                  )
                 Defendants.                      )

                   SCHEDULING ORDER [NON-PATENT; JURY TRIAL]

        This day of     ___________, the Court having conducted an initial Rule 16(b) scheduling

conference pursuant to Local Rule 16.1(b), and the parties having determined after discussion that

the matter cannot be resolved at this juncture by settlement, voluntary mediation, or binding

arbitration;

        IT IS ORDERED that:

        1.      Rule 26(a)(1) Initial Disclosures and E-Discovery Default Standard.

        Unless otherwise agreed to by the parties, the parties shall make their initial disclosures

pursuant to Federal Rule of Civil Procedure 26(a)(1) within five (5) days of the date the Court

entered this Order. If they have not already done so, the parties are to review the Court’s Default

Standard for Discovery, Including Discovery of Electronically Stored Information (“ESI”), which

is posted at http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery)

and is incorporated herein by reference.

        2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before November 1, 2021.




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Unless otherwise ordered by the Court, any motion to join a party or motion to amend the pleadings

shall be made pursuant to the procedures set forth in Paragraphs 7(g) and 8.

       3.      Application to Court for Protective Order. Should counsel find it will be necessary

to apply to the Court for a protective order specifying terms and conditions for the disclosure of

confidential information, counsel should confer and attempt to reach an agreement on a proposed

form of order and submit it to the Court within ten (10) days from the date the Court enters this

Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel must

follow the provisions of Paragraph 7(g) below.

       Any proposed protective order must include the following paragraph:

       Other Proceedings. By entering this order and limiting the disclosure of information
       in this case, the Court does not intend to preclude another court from finding that
       information may be relevant and subject to disclosure in another case. Any person
       or party subject to this order who becomes subject to a motion to disclose another
       party’s information designated “confidential” [the parties should list any other level
       of designation, such as “highly confidential,” which may be provided for in the
       protective order] pursuant to this order shall promptly notify that party of the
       motion so that the party may have an opportunity to appear and be heard on whether
       that information should be disclosed.

       4.      Papers Filed Under Seal. In accordance with section G of the Revised

Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version

of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed

document.

       5.      Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of

all briefs and any other document filed in support of any briefs (i.e., appendices, exhibits,

declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

copies shall be double-sided.




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       6.      ADR Process. This matter is referred to a magistrate judge to explore the possibility

of alternative dispute resolution.

       7.      Discovery. Unless otherwise ordered by the Court or agreed to by parties, the

limitations on discovery set forth in the Federal Rules shall be strictly observed.

               (a)        Fact Discovery Cut Off. All fact discovery in this case shall be initiated so

that it will be completed on or before December 14, 2021.

               (b)        Document Production. Document production shall be substantially

complete by October 8, 2021.

               (c)        Requests for Admission. A maximum of fifty (50) requests for admission

are permitted for each side. For clarity, this limit does not apply to requests for admission related

solely to authenticity.

               (d)        Interrogatories.

                          i.     A maximum of twenty-five (25) interrogatories, including

contention interrogatories, are permitted for each side.

                          ii.    The Court encourages the parties to serve and respond to contention

interrogatories early in the case. In the absence of agreement among the parties, contention

interrogatories, if filed, shall first be addressed by the party with the burden of proof. The adequacy

of all interrogatory answers shall be judged by the level of detail each party provides (i.e., the

more detail a party provides, the more detail a party shall receive).

               (e)        Depositions.

                          i.     Limitation on Hours for Deposition Discovery. Each side is limited

to a total of thirty (30) hours of taking testimony by deposition upon oral examination.




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                       ii.     Location of Depositions. Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this district court must ordinarily be

required, upon request, to submit to a deposition at a place designated within this district.

Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

action in this Court for the purpose of this provision.

               (f)     Disclosure of Expert Testimony.

                       i.      Expert Reports. For the party who has the initial burden of proof on

the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

testimony is due on or before January 18, 2022. The supplemental disclosure to contradict or rebut

evidence on the same matter identified by another party is due on or before February 18, 2022.

Reply expert reports from the party with the initial burden of proof are due on or before March 8,

2022. No other expert reports will be permitted without either the consent of all parties or leave of

the Court. Along with the submissions of the expert reports, the parties shall advise of the dates

and times of their experts’ availability for deposition.

                       ii.     Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

shall be made by motion no later than the deadline for dispositive motions set forth herein, unless

otherwise ordered by the Court.

                       iii.    Expert Discovery Cut Off. All expert discovery in this case shall be

initiated so that it will be completed on or before April 13, 2022.

               (g)     Discovery Matters and Disputes Relating to Protective Orders.



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                       i.       Any discovery motion filed without first complying with the

following procedures will be denied without prejudice to renew pursuant to these procedures.

                       ii.      Should counsel find, after a reasonable effort pursuant to Local Rule

7.1.1 that they are unable to resolve a discovery matter or a dispute relating to a protective order,

the parties involved in the discovery matter or protective order dispute shall contact the Court’s

Judicial Administrator to schedule an argument.

                       iii.     On a date to be set by separate order, generally not less than four (4)

days prior to the conference, the party seeking relief shall file with the Court a letter, not to exceed

three (3) pages, outlining the issues in dispute and its position on those issues. On a date to be set

by separate order, but generally not less than three (3) days prior to the conference, any party

opposing the application for relief may file a letter, not to exceed three (3) pages, outlining that

party’s reasons for its opposition.

                       iv.      The parties shall provide to the Court two (2) courtesy copies of its

discovery letter and any other document filed in support of any letter (i.e., appendices, exhibits,

declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

copies shall be double-sided.

                       v.       Should the Court find further briefing necessary upon conclusion of

the conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute

prior to the conference and will, in that event, cancel the conference.

       8.      Claim Construction. The parties have determined that claim construction may be

necessary in this case. By August 27, 2021, the parties shall determine whether or not claim

construction is necessary and further notify the Court of their decision, and if claim construction

is necessary, the parties will propose a claim construction schedule for the Court’s consideration.



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       9.      Motions to Amend / Motions to Strike.

               (a)     Any motion to amend (including a motion for leave to amend) a pleading

or any motion to strike any pleading or other document shall be made pursuant to the discovery

dispute procedure set forth in Paragraph 7(g) above.

               (b)     Any such motion shall attach the proposed amended pleading as well as a

“redline” comparison to the prior pleading or attach the document to be stricken.

       10.     Case Dispositive Motions.

               (a)     All case dispositive motions, an opening brief, and affidavits, if any, in

support of the motion shall be served and filed on or before June 13, 2022. Briefing will be

presented pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 may be

filed more than ten (10) days before the above date without leave of the Court.

               (b)     Concise Statement of Facts Requirement. Any motion for summary

judgment shall be accompanied by a separate concise statement, not to exceed six (6) pages, which

details each material fact which the moving party contends is essential for the Court’s resolution

of the summary judgment motion (not the entire case) and as to which the moving party contends

there is no genuine issue to be tried. Each fact shall be set forth in a separate numbered paragraph

and shall be supported by specific citation(s) to the record.

                Any party opposing the motion shall include with its opposing papers a response

to the moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the

facts set forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the

extent a fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the

record. Failure to respond to a fact presented in the moving party’s concise statement of facts shall

indicate that fact is not in dispute for purposes of summary judgment. The party opposing the



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motion may also include with its opposing papers a separate concise statement, not to exceed four

(4) pages, which sets forth material facts as to which the opposing party contends there is a genuine

issue to be tried. Each fact asserted by the opposing party shall also be set forth in a separate

numbered paragraph and shall be supported by specific citation(s) to the record.

                The moving party shall include with its reply papers a response to the opposing

party’s concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis.

Failure to respond to a fact presented in the opposing party’s concise statement of facts shall

indicate that fact remains in dispute for purposes of summary judgment.

       11.      Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

       12.      Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall be

limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of three (3) pages of argument, may be opposed by a maximum of three

(3) pages of argument, and the party making the in limine request may add a maximum of one (1)

additional page in reply in support of its request. If more than one party is supporting or opposing

an in limine request, such support or opposition shall be combined in a single three (3) page

submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered by the

Court. No separate briefing shall be submitted on in limine requests, unless otherwise permitted

by the Court.




                                                 7



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         13.    Pretrial Conference. On September ___, 2022, the Court will hold a pretrial

conference in Court with counsel beginning at 10:00 a.m. The parties shall file with the Court the

joint proposed final pretrial order in compliance with Local Rule 16.3(c) and the Court’s

Preferences and Procedures for Civil Cases not later than seven (7) days before the pretrial

conference. Unless otherwise ordered by the Court, the parties shall comply with the timeframes

set forth in Local Rule 16.3(d)(1)-(3) for the preparation of the joint proposed final pretrial order.

The Court will advise the parties at or before the above-scheduled pretrial conference whether an

additional pretrial conference will be necessary.

         The parties shall provide the Court two (2) double-sided courtesy copies of the joint

proposed final pretrial order and all attachments. The proposed final pretrial order shall contain a

table of contents and the paragraphs shall be numbered.

         14.    Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be tried

to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should file (i) proposed voir dire,

(ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms seven

(7) full business days before the final pretrial conference. This submission shall be accompanied

by a courtesy copy containing electronic files of these documents, in Microsoft Word format,

which may be submitted by e-mail to mn_civil@ded.uscourts.gov.

         15.    Trial. This matter is scheduled for a four (4) day jury trial beginning at 9:30 a.m.

on September __, 2022, with the subsequent trial days beginning at 9:00 a.m. Until the case is

submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial will

be timed, as counsel will be allocated a total number of hours in which to present their respective

cases.


                                                        The Honorable Maryellen Noreika


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                                     United State District Judge




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                                            EXHIBIT A

                      EVENT                                         DEADLINE
Submission of Joint Scheduling Order            June 24, 2021
Rule 26(a)(1) Initial Disclosures               Within 5 days of the date of the Scheduling Order
Application to Court for Protective Order       Within 10 days of the date of the Scheduling Order
Determination of Whether Claim Construction     August 27, 2021
is Necessary and Advise Court
Substantial Completion of Document              October 8, 2021
Production
Fact Discovery Cut-Off                          December 14, 2021
Initial Expert Reports                          January 18, 2022
Rebuttal Expert Reports                         February 22, 2022
Reply Expert Reports                            March 8, 2022
Expert Discovery Cut-Off                        April 13, 2022
Case Dispositive Motions                        June 13, 2022
Pretrial Conference                             September ___, 2022
Trial (4-day jury)                              September ___, 2022




                                                1



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Judge Noreika,


       I write on behalf of the parties in response to the Court’s direction that the parties confer
on a proposed scheduling order. The parties have fundamentally different positions because they
disagree about what counts are properly in the case and whether a jury trial is needed on Plaintiffs’
inventorship counts. Each side states its position below. The parties request a scheduling
conference to further explain their positions and answer any questions the Court may have.

Lancium’s Position

        This case is a narrow inventorship dispute about whether Lancium’s ‘433 patent was
based on Lancium’s own work or a single email and several texts sent to Lancium’s CEO by
Plaintiff Austin Storms, the contents of which are predated by Lancium’s own work. (D.I. 23 at
pp. 27-32.) In addition to Counts I and II for correction of inventorship, Plaintiffs also allege
conversion, unjust enrichment, and negligent misrepresentation (Counts III-V). The allegations
in Counts III-V show that inventorship is essential to the resolution of these counts. See D.I. 19
at ¶ 61 (conversion: alleging Lancium’s dominion over the BearBox Technology by claiming it
in the ‘433 patent; unjust enrichment: alleging Lancium unlawfully used property by asserting
inventorship over the BearBox Technology; negligent misrepresentation: alleging Lancium
recklessly incorporated the BearBox Technology into a patent application). Because
inventorship is essential to the resolution of these claims, they are preempted and should be
dismissed. See, e.g, Speedfit LLC v. Woodway USA, Inc., 226 F. Supp. 3d 149, 160 (E.D.N.Y.
2016) (dismissing conversion count because it “turn[ed] on a determination of inventorship”).
         The pleadings closed yesterday when Plaintiffs filed their Answer to Counterclaims one
day early. Lancium plans to file a Rule 12(c) motion for judgment on the pleadings to dismiss
Plaintiffs’ conversion, unjust enrichment, and negligent misrepresentation counts early next
week. This motion will be based on preemption and other legal deficiencies in these claims. If
granted, the only remaining counts will be for correction of inventorship, to which no right to a
trial by jury attaches. See, e.g., MCV, Inc. v. King-Seeley Thermos Co., 870 F.2d 1568, 1570
(Fed. Cir. 1989) (“section 256 [] explicitly authorizes judicial resolution of co-inventorship
contests over issued patents”). While the Federal Circuit has held that commonality between an
inventorship claim and a fraud claim required a trial by jury, Shum v. Intel Corp., 499 F.3d 1272,
1279 (Fed. Cir. 2007), this is a different case without a fraud claim. And, in any event,
Plaintiffs’ other claims should be dismissed as preempted. 1
      Recognizing that it will take time to brief Lancium’s motion and for the Court to decide it,
Lancium proposes that the Court should allow the parties to continue discovery on the inventorship

       1
          During the parties’ meet and confer, Plaintiffs took the position that a jury trial is needed
on all counts and a full schedule through trial should be entered now. Despite the fact that
inventorship is an equitable issue, Plaintiffs contended that they have a right to a jury trial on
inventorship because of factual issues in common with their conversion, unjust enrichment, and
negligent misrepresentation counts. This factual commonality, however, only reinforces that
Plaintiffs’ conversion, unjust enrichment, and negligent misrepresentation claims are preempted
by federal law and should be dismissed.




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issue that has already begun and convene a scheduling conference after the Court’s decision on
Lancium’s motion. Lancium believes this is the most efficient path forward.
       While Lancium believes considering and entering a scheduling order after a decision on its
motion is the most efficient path forward, the parties met and conferred and jointly submit the
proposed schedule attached to this letter. If the Court decides to issue a full scheduling order now,
Lancium agrees to the attached scheduling proposal while reserving the right to seek to amend that
schedule depending on the outcome of its motion. For instance, if inventorship is the only
surviving claim, Counts I and II could and should be tried to the bench on an abbreviated schedule.




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III.   ARGUMENT

       A.      The Court Should Adopt Defendants’ Proposed Claim Constructions

                1.      Plaintiffs’ Attempt To Avoid Claim Construction Is Meritless And
                        Invites Reversible Error.

        The inventorship analysis, like an infringement or invalidity analysis, “first requires the

construction of each disputed claim to determine the subject matter encompassed thereby.”

Gemstar-TV Guide Int’l, Inc. v. Int’l Trade Comm’n, 383 F.3d 1352, 1381-82 (Fed. Cir. 2004)

(emphasis added). Where, as here, “reliance on a term’s ‘ordinary’ meaning does not resolve the

parties’ dispute,” the court, not the jury, must resolve that dispute.” O2 Micro Int’l Ltd. v. Beyond

Innovation Tech. Co., 521 F.3d 1351, 1360-61 (Fed. Cir. 2008) (emphasis added).

       Here, the parties’ dispute the plain and ordinary meaning of the terms “power option

agreement” and “minimum power threshold.” The ’433 patent describes and claims systems and

methods that, among other things, help stabilize the power grid by utilizing “a power option

agreement” and a “set of minimum power thresholds” to give a power entity the ability to balance

power supply with demand. As discussed in Defendants’ Opening Brief (D.I. 149 at 3-5), the

claimed system does this by giving a power entity (such as a grid operator) the “option” (through

a “power option agreement”) to control a load by giving the power entity the ability to instruct the

load to reduce the amount of power it is using (i.e., “curtail” the load). D.I. 151, Ex. 17 at 43:46-

44:35; 59:2-62:38. To make that option possible, the load (per the power option agreement) is

required to use a specified amounts of power (i.e., “minimum power thresholds”) over specified

time periods, regardless of whether it is profitable for the load to use that power.2 Id. at 43:57-

44:2. By giving the power entity the ability to reduce the amount of power used by the load, the



2
 This is also consistent with Plaintiffs’ expert, Frank McCamant’s explanation of the requirements
of agreements to provide ancillary services for ERCOT.” Ex. 33 at 59:1-13; 65:4-13.


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                                            Appx5618
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power entity can make this now unused power available to the grid for use by others and thus

provide stability to the grid during times of emergency when demand for power may exceed

supply. Id.

       Storms’ “system” (actually a simulation of a system) is completely different. As Dr.

McClellan concedes, Storms’ “system” 3 was designed to maximize profits for the Bitcoin miner

by determining a breakeven mining price: “[I]t’s [Storms’ simulation/system] focusing on ways to

make positive dollars by choosing a performance strategy that enhances the choice of mining

versus sell back.” Ex. 30 at 235:9-239:10. Storms’ “system” (as described in the May 9, 2019

email and attachments he sent McNamara) does not teach that the system must use a minimum

amount of power under any circumstances, much less if it is not profitable to do so. See Ex. 30 at

235:19-236:18 (testifying Storms’ system “doesn’t teach that”); see also 236:19-239:10

(explaining Storms’ simulation is designed only to use power to mine Bitcoin when it is profitable

to do so and the simulation ignores the allegedly “nonsensical case” of using power when it would

not be profitable to mine)).4

       Plaintiffs, through their expert Dr. McClellan, attempt to circumvent these differences by

proffering purported plain and ordinary meanings for “power option agreement” and “minimum

power threshold” that are completely at odds with the specification and with how one of ordinary

skill in the art would understand these terms in the context of the intrinsic evidence. For example,

Dr. McClellan’s plain and ordinary meaning of “power option agreement” reads out the option: a

“power option agreement” is “a contract to buy power at a certain price” (“essentially the same


3
 Dr. McClellan indicates that the “system” in this context is the Bitcoin mine. Ex. 30 at 216:5-
217:8.
4
  Nor is there evidence that Mr. Storms’ simulation/“system” could determine the amount of power
it was consuming so as to be able to maintain a power consumption target equal to or greater than
a minimum power threshold for a given time interval. Ex. 30 at 129:14-133:17.


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as” a Power Purchase Agreement (PPA), “I don’t know if power option agreement means you

must consume – you must expend the power you contracted to buy … that’s a question for

McCamant … that’s an ERCOT marketplace thing.”5 Ex. 30 at 83:3-87:1, 90:2-13, 156:3-22,

157:1-18. Similarly, with respect to “minimum power threshold,” Dr. McClellan ascribes various

plain and ordinary meanings to the term depending on context. When discussing the ‘433 patent,

he asserts it means “the amount of power you’re contracted to consume” (consume meaning either

use, sell back, or both) but it is “a business question really … the contract amount that your going

to pay – I don’t think you have to use it … this is a question for Mr. McCamant … .” Id. at 83:21-

85:8; 90:14-92. But when discussing Storms’ system he asserts that “minimum power thresholds”

relate to the breakeven calculation and price of Bitcoin: “the breakeven gives you the minimum

power thresholds … It’s [the minimum power threshold] whatever power is driving the calculation

of the breakeven mining cost based on what the bitcoin mining cost bitcoin difficulty is.” Id. at

218:23-223:9. Plaintiffs’ Opposition, moreover, applies yet another interpretation, asserting that

the plain and ordinary meaning is “the agreed upon amount of power by which the power entity

may reduce power delivered to the load.” D.I. 176 at 18. Thus, claim construction is needed

because the meaning of claim terms cannot be twisted like a “nose of wax” to suit Plaintiffs’

changing needs. See Innova/Pure Water, Inc. v. Safari Filtration Sys., Inc., 381 F.3d 1111, 1117

(Fed. Cir. 2004), quoting White v. Dunbar, 119 U.S. 47, 51-52 (1886).6


5
 Mr. McCamant does not opine on the plain and ordinary meaning of any terms of the ’433 patent
and has not read it. Ex. 33 at 15:8-16:22.
6
  Plaintiffs’ assertion that Defendants should have sought claim construction sooner is meritless.
As explained in Defendants’ Opening Brief, it was not until Defendants received Plaintiffs’ expert
reports and deposed Plaintiffs’ experts that it became clear how Plaintiffs’ interpreted the plain
and ordinary meaning of “power option agreement” and “minimum power threshold” as used in
the ‘433 patent and that the parties disagreed about their plain meaning. See D.I. 149 at 12-13.
Plaintiffs provide no evidence to the contrary. Furthermore, Plaintiffs’ contention that Defendants
should have raised the claim construction dispute in the 32 days between the close of expert


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                2.      Plaintiffs’ Arguments Against Defendants’ Construction Of “Power
                        Option Agreement” Are Meritless.

       The specification―as thoroughly addressed in Defendants’ Opening Brief—“is always

highly relevant to the claim construction analysis.” Phillips v. AWH Corp., 415 F.3d 1303, 1315

(Fed. Cir. 2005) (en banc). Put differently, “the ordinary meaning of a claim term is not ‘the

meaning of the term in the abstract.’ … [rather] the ‘ordinary meaning’ of a claim term is its

meaning to the ordinary artisan after reading the entire patent.” AstraZeneca AB v. Mylan Pharm.

Inc., 19 F.4th 1325, 1330 (Fed. Cir. 2021). Plaintiffs’ Opposition largely ignores the specification,

and instead posits three meritless, easily-dispelled criticisms of Defendants’ construction.7

       First, Plaintiffs assert that Defendants’ construction is “internally inconsistent because it

does not allow for scenarios in which the option is exercised by a power entity.” D.I. 176 at 17.

Not so. As Defendant’s Opening Brief makes clear, a key aspect of a power option agreement is

that it gives the power entity the “option” to reduce the amount of power used by the load.

Defendants’ proposed construction explicitly explains, inter alia, that a power option agreement

“provides the power entity with the option to reduce the amount of power delivered to the load.”

Nonetheless, Defendants would not oppose a construction (adding the underlined portion below)

that “power option agreement” means “an agreement between a power entity associated with the

delivery of power to a load and the load, wherein the load provides the power entity with the option



discovery and the summary judgment deadline is misplaced. Summary judgment was the most
efficient and practical way for the Court to timely resolve the dispute. And Plaintiffs do not and
cannot dispute that claim construction may properly be conducted as part of the summary judgment
process. Compare D.I. 149 at 11 (citing Level Sleep LLC v. Sleep No. Corp., No. 2020-1718, 2021
WL 2934816, at *3 (Fed. Cir. July 13, 2021), with D.I. 176 at 15-17.
7
 Plaintiffs’ assertion that Defendants’ expert, Dr. Ehsani “performs no claim construction of his
own” is also a mischaracterization. D.I. 176 at 17. Dr. Ehsani did analyze and apply the meaning
of “power option agreement” and “minimum power threshold” as used in the ‘433 patent. See, e.g.,
Ex. 41 at ¶¶ 44, 106-109.


                                                 8
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to reduce the amount of power delivered to the load up to an agreed amount of power during an

agreed upon time interval such that the load must use at least the amount of power subject to the

option during the interval unless the power entity exercises the option.”

       Second, Plaintiffs assert that Defendants’ construction is “inconsistent with the remaining

language of the claim” because allegedly “[t]he claim itself defines the ‘power option agreement’

in terms of its ‘data,’ which includes ‘minimum power thresholds.’” D.I. 176 at 17-18. Plaintiffs

thus contend that any construction of “power option agreement” should “continue to use the term

‘minimum power threshold’” so that these terms are not applied inconsistently. Id. at 18. Plaintiffs’

are again wrong. To begin, Plaintiffs’ argument is inconsistent with its own expert’s proposed

plain and ordinary meaning for “power option agreement,” which does not include “minimum

power thresholds.” Ex. 30 at 83:3-87:1; 90:2-13; 156:3-22; 157:1-18. Also, the claim does not

define “power option agreement” in terms of its “data.” Rather, the claim makes clear that the

“power option data” is supplied “at least in part” based on a “power option agreement.” A

patentee’s use of different words in a patent’s claim creates a presumption that those different

words have different meanings. See, e.g., Wilson Sporting Goods Co. v. Hillerich & Bradsby Co.,

442 F.3d 132, 1328 (Fed. Cir. 2006). Finally, although Plaintiffs assert any construction of “power

option agreement” should include “minimum power threshold,” they also argue that “the plain

meaning of minimum power threshold is recited in the claim itself: the amount of power subject

to the power option agreement.” D.I. 176 at 18. Thus, they propose circular meanings that refer to

each other, but this circular reasoning “constitutes improper claim construction.” ACTV, Inc. v.

Walt Disney Co., 346 F.3d 1082, 1090 (Fed. Cir. 2003); see also Univ. of Fla. Rsch. Found. v.

Motorola Mobility, LLC, 3 F. Supp. 3d 1374, 1377 (S.D. Fla. 2014).

       Finally, Defendants’ construction is not “inconsistent with the specification.” D.I. 176 at




                                                 9
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18. To the contrary, as thoroughly explained in Defendants’ Opening Brief, Defendants’

construction is based explicitly on the specification’s definition of the term, which, as discussed

below, would permit a minimum power threshold of zero for some time intervals.

                3.      Plaintiffs’ Arguments Against Defendants’              Construction      Of
                        “Minimum Power Threshold” Are Meritless.

       Plaintiffs’ assertion in their Opposition that the “plain meaning” of “minimum power

threshold” is “the amount of power subject to the power option agreement, i.e. the agreed amount

of power by which the power entity may reduce power delivered to the load” seeks to eliminate

the clear requirement that the “minimum power threshold” is an amount of power the load must

use.8 As set forth in Defendants’ Opening Brief, the specification repeatedly emphasizes this aspect

of the term’s meaning. For example, the specification states:

       “As part of the power option agreement, the load (e.g., load operator, contracting
       agent for the load, semi-automated control system associated with the load, and/or
       automated control system associated with the load) provides the power entity 1140
       with the right, but not obligation, to reduce the amount of power delivered (e.g.,
       grid power) to the load up to an agreed amount of power during an agreed upon
       time interval. In order to provide the power entity 1140 with this option, the load
       needs to be using at least the amount of power subject to the option (e.g., a
       minimum power threshold).” D.I. 151, Ex. 17 at 43:50-60 (emphasis added).

Similarly, the specification further explains that:

       “To illustrate an example, a power option agreement may specify that a load (e.g.,
       the datacenters 1102-1106) is required to use at least 10 MW or more at all times
       during the next 12 hours. Thus, the minimum power threshold according to the
       power option agreement is 10 MW and this minimum threshold extends across the
       time interval for the next 12 hours. In order to comply with the agreement, the load
       must subsequently operate using 10 MW or more power at all times during the next
       12 hours.” D.I. 151, Ex. 17 at 44:17-25 (emphasis added).

       Plaintiffs’ assertions that Defendants’ construction is “internally inconsistent” and



8
 And as explained above, their expert Dr. McClellan applies different alleged “plain and ordinary”
meanings of “minimum power threshold.” Those interpretations also seek to eliminate the use
requirement.


                                                 10
                                             Appx5623
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“inconsistent with the language of the claim” are baseless and Plaintiffs provide no explanation in

support of these assertions. And again Plaintiffs’ circular position that the constructions of “power

option agreement” and “minimum power threshold” should each include the other term, is wrong

and would improperly inject ambiguity into the claims. See ACTV, 346 F.3d at 1090; Univ. of Fla.

Rsch. Found., 3 F. Supp. 3d at 1377. Finally, Plaintiffs argue that Defendants’ construction fails

because it does not permit the minimum power threshold to be zero for the entire duration of the

power option agreement. But the portions of the specification cited by Plaintiffs refer only to the

minimum power threshold being zero for a time interval during the duration of the power option

agreement, not for all time intervals during the duration of the power option agreement. D.I. 176

at 18-19 (citing specification). Defendants’ proposed construction contemplates and allows the

minimum threshold to be zero (or not specified) for certain time intervals, as further discussed in

the next sections.

       B.      Plaintiffs’ Sole Inventorship Claim Fails As A Matter Of Law

                1.      Plaintiffs’ Attempt To Rely On Attorney Argument Rather Than
                        Actual Evidence To Avoid Summary Judgment Should Be Rejected.

       Although Plaintiffs argue against summary judgment on their sole inventorship claim by

repeatedly asserting that there are genuine issues of material fact, notably absent from their eight

pages of argument is any evidence to support their position. This is unsurprising because Plaintiffs’

inventorship claims are based on a fundamental misinterpretation of the ‘433 patent and its claims.

Thus, Plaintiffs must rely on pure attorney argument for their contention that Storms’ conceived

of and communicated the inventions of the ‘433 patent as properly construed. But this is

insufficient to avoid summary judgment.9


9
  Moreover, although they acknowledge that “[t]o prevail on sole inventorship at trial, Plaintiffs
must prove (1) that Storms independently conceived the inventions claimed in the ‘433 Patent, and
(2) that he communicated those inventions to Defendants” (D.I. 176 at 14), Plaintiffs’ expert Dr.


                                                 11
                                            Appx5624
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                                                     HIGHLY CONFIDENTIAL

                                                                 Page 14                                                                    Page 16
 1 established?                                                             1 patents as part of your work in this case, correct?
 2    A. No.                                                                2    A. I have not.
 3    Q. Do you know whether or not cryptocurrency market                   3    Q. You are not relying on the prosecution history
 4 prices are real-time prices?                                             4 of any patents for the opinions that you're offering in
 5    A. No.                                 09:16                          5 this case, correct?                          09:20
 6    Q. You're not -- you are not an expert on data                        6    A. That is correct.
 7 centers that may be used to mine cryptocurrencies,                       7    Q. You are not offering any opinions on the meaning
 8 correct?                                                                 8 of any terms used in patents in this case, correct?
 9            MR. HORTON: Objection to form.                                9    A. That is correct.
10    A. Can you repeat the question, please?            09:16             10    Q. You are not offering any opinions on what a          09:20
11    Q. You are not an expert on data centers that may                    11 power option agreement is as used in the '433 Patent in
12 be used to mine cryptocurrencies, correct?                              12 this case, correct?
13    A. I'm -- I'm not an expert, but I do have a                         13    A. That is correct.
14 rudimentary understanding of how data centers operate.                  14    Q. You are not offering any opinions on what power
15    Q. Can you explain your understanding of how data          09:16     15 option data is as used in the '433 Patent in this case,   09:21
16 centers operate?                                                        16 correct?
17    A. Well, my understanding is data centers are large                  17    A. That is correct.
18 computing centers that require a lot of, uh, electrical                 18    Q. You are not offering any opinions regarding
19 power. Uh, so they are large load and that data centers                 19 whether or not Michael McNamara, Ray Cline, or Lancium
20 may or may not be able to have, uh, control systems that 09:17          20 converted any property owned by Mr. Storms or BearBox,             09:21
21 would allow them to respond to different signals that                   21 correct?
22 could, uh, change their load settings.                                  22    A. That is correct.
23    Q. What do you mean by load settings?                                23    Q. You were retained by Austin Storms and BearBox
24    A. Uh, power consumption.                                            24 in this case, right?
25    Q. Do you understand that in this case             09:18             25    A. Through their legal counsel, yes.               09:22

                                                                 Page 15                                                                    Page 17
 1 Austin Storms claims that he is either a sole or a joint                 1    Q. When were you retained in this case?
 2 inventor of U.S. Patent No. 10608433, which is also                      2    A. Uh, I don't remember the exact date. It was the
 3 referred to as the '433 Patent?                                          3 first of this year.
 4            MR. HORTON: Objection, form.                                  4    Q. It was January 1st of this year?
 5    A. Those details about Mr. Storm I do not -- I'm        09:18         5    A. Some -- somewhere around the first of this year. 09:22
 6 not aware of. I'm aware that he's the -- the, uh,                        6 I don't remember the exact date.
 7 plaintiff in this case.                                                  7    Q. Did you begin working on this case around the
 8    Q. You are not offering any opinions regarding who                    8 first of January, 2022?
 9 invented U.S. Patent No. 10608433, also called the '433                  9    A. Uh, yes, I believe so sometime in that month, to
10 Patent, right?                              09:18                       10 the best of my memory.                            09:22
11    A. I am not.                                                         11    Q. You are being paid $300 an hour for your work on
12    Q. If I refer to the '433 Patent, do you understand                  12 this case, correct?
13 that I'm referring to U.S. Patent No. 10608433?                         13    A. That's correct.
14    A. I don't -- I don't know what patent that is.                      14    Q. Is $300 per hour your standard billing rate?
15    Q. Have you reviewed any patents as part of your         09:19       15    A. For this type of work it is.               09:23
16 work on this case?                                                      16    Q. When you say for this type of work, what do you
17    A. I have not.                                                       17 mean?
18    Q. You do not cite to any patents in the reports                     18    A. Well, in terms of, uh, doing expert testimony.
19 you offered in this case, correct?                                      19    Q. Do you have a different rate that you charge for
20    A. That is correct.                       09:19                      20 other types of work?                            09:23
21    Q. And you are not relying on any patents for any                    21    A. Uh, well, it depends on what the work is. I
22 of the opinions that you are offering in this case,                     22 have some clients that are on a retainer type of, uh,
23 right?                                                                  23 contract.
24    A. That's correct.                                                   24    Q. Are you paid an hourly rate for any consulting
25    Q. You have not read the prosecution history of any 09:19            25 work that you do separate from litigation work?            09:23

                                                                                                                           5 (Pages 14 - 17)
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                         215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
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       43.     I note that Dr. McClellan did not perform any claim construction. Instead, he

applied the “plain and ordinary meaning of the claim terms.” (McClellan Report, at ¶ 49). But

Dr. McClellan did not provide his understanding of the “plain and ordinary meaning” for any claim

terms. I understand that Plaintiffs have the burden of proof on the inventorship issue.

       44.     To determine conception, I also apply the plain and ordinary meaning of the claim

terms as would have been understood by a POSITA and, for certain terms, I discuss the

specification’s use of those terms. I reserve the right to supplement my report should Plaintiffs’

or any of Plaintiffs’ experts use a different construction, or provide their understanding of the plain

and ordinary meaning that is different than my understanding of the plain and ordinary meaning.

VII.   LANCIUM INDEPENDENTLY DEVELOPED, CONCEIVED, AND REDUCED
       ITS TECHNOLOGY TO PRACTICE, INCLUDING EACH OF THE
       INVENTIONS CLAIMED IN THE ’433 PATENT

       45.     It is my opinion that Lancium independently developed, conceived, and reduced its

technology to practice, including each of the inventions claimed in the ’433 patent, and that such

development, conception, and reduction to practice did not involve the use of any information

allegedly provided to Mr. McNamara by Mr. Storms. As discussed above, my opinions are based

on, among other things, my review of: (1) pleadings; (2) the ’632 application and the ’433 patent

and its file history; (3) the parties’ Responses to Discovery (including documents cited in those

responses); (4) the deposition testimony from this case and exhibits cited in same; (5) my review

of other documents and materials; (6) the communications between Mr. Storms and Mr.

McNamara; and (7) my education and forty-plus years of experience. I also relied in part on Mr.

Siddiqi’s analysis as set forth in his report, and Mr. Baer’s analysis of the source code produced

by Mr. Storms and relied upon by Dr. McClellan as discussed in Mr. Baer’s report.




                                                  17
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monetary consideration.104 The power entity may use the power option agreement to reserve the

right to reduce the amount of grid power delivered to the load during a set time frame such as when

the grid power may be better directed to other loads.105

          108.    The remote master control system can serve as a control system to the load and can

do so by, for example, monitoring conditions106 in concert with the minimum power thresholds

and time intervals set forth in (or derived from) the power option agreement (e.g., power option

data) to determine performance strategies and issue instructions based on those strategies that

enable the load to meet the expectations of the power option agreement while efficiently using

power to accomplish computational operations.107 The patent explains that the power entity may

be a grid operator, local station control system, power generation source, or a qualified scheduling

entity (QSE).108

          109.    The patent explains that power option agreements may be fixed duration power

option agreements or dynamic power option agreements.109 Referring to Figure 12 (below), which

represents power option data based on a fixed duration power option agreement, the dark, multi-

level line distinguishing the more darkly-shaded area represents the minimum power thresholds in




104
      Id. at 43:65-44:2.
105
      Id. at 44:3-35.
106
   The patent provides examples of monitored conditions, including, but not limited to, power
availability, power prices, computing system parameters, cryptocurrency prices, computational
operation parameters, and weather conditions. Id. at 47:57-48:61.
107
      Id. at 45:5-21.
108
      Id. at 45:52-60; 46:20-30.
109
      See generally Columns 46-47; see also 50:53-51:7



                                                  53
                                               Appx5850
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  I.     INTRODUCTION

         The unsupported factual allegations in Plaintiffs’ Brief in Opposition to Defendants’ First

  Motion for Summary Judgment (Plaintiffs’ “Opposition,” D.I. 176) are a work of fiction that would

  make J.K. Rowling proud. Through cherry-picked citations, strategic omissions, and attributing

  functionality to Storms’ alleged technology that is in no way supported by the evidence, Plaintiffs’

  Opposition incorrectly portrays Lancium as a struggling company that allegedly resurrected itself

  by converting and patenting Storms’ “technology.” The non-fiction version is different, but rather

  than address every misstatement and omission, Defendants focus on the issues important to

  deciding this motion.

         Plaintiffs first attempt to avoid summary judgment by arguing that no claim construction

  is necessary for the terms “power option agreement” and “minimum power threshold” and fault

  Defendants for raising the issue in the context of summary judgment. See D.I. 176 at 15-19. But it

  was only during the deposition of Plaintiffs’ expert, Dr. McClellan, that Defendants learned

  Plaintiffs’ proposed plain and ordinary (and often contradictory) meanings of these terms. See,

  e.g., Ex. 30 at 83:5-10; 90:2-13; 156:3-22; 157:1-18 (discussing “power option agreement”) 83:21-

  85:8; 90:14-92:24; 154:21-156:24; 218:23-223:9 (discussing “minimum power thresholds”). Prior

  to that deposition, Plaintiffs had failed to disclose the plain and ordinary meaning of these terms

  in discovery, their experts’ reports, and even in their Opposition (which fails to actually provide

  Plaintiffs’ understanding of the plain and ordinary meaning of “power option agreement”).

  Defendants also learned during Dr. McClellan’s deposition that Plaintiffs’ plain and ordinary

  meanings are completely at odds with the ’433 patent’s specification and claims. The Court,

  therefore, should resolve the legal meaning of these disputed terms.

         Plaintiffs next advance a variety of arguments relating to whether Storms conceived the

  systems and methods of the ’433 patent, communicated these inventions to McNamara, and


                                                   1
                                             Appx5916
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                                          September 28, 2022

  VIA CM/ECF
  The Honorable Gregory B. Williams
  United States District Court for the District of Delaware
  J. Caleb Boggs Federal Building
  844 N. King Street
  Wilmington, DE 19801-3570

             Re:      BearBox LLC, et al. v. Lancium LLC et al. (C.A. No. 1:21-cv-534-GBW-CJB)

  Dear Judge Williams:

         In light of the recent reassignment of this case to Your Honor as well as the upcoming trial
  and associated pretrial filings, I write on behalf of Defendants Lancium LLC, Michael T.
  McNamara, and Raymond E. Cline, Jr. to renew Defendants’ request for oral argument (D.I. 201)
  regarding their Motion for Summary Judgment (D.I. 148) and Motion for Summary Judgment
  Regarding Damages and Motion to Exclude Opinions of David Duski (D.I. 167) (the “Motions”).

          Oral argument is especially appropriate as to Defendants’ Motion for Summary Judgment
  because it involves a claim construction dispute, and the Court has not previously conducted claim
  construction in the case. For correction of inventorship claims regarding an issued United States
  patent, like Plaintiffs’ claims here, “the inventorship analysis, like an infringement or invalidity
  analysis, first requires the construction of each disputed claim to determine the subject matter
  encompassed thereby.” Gemstar-TV Guide Int’l, Inc. v. Int’l Trade Comm’n, 383 F3d 1352, 1381‒
  82 (Fed. Cir. 2004).

          In addition, resolution of the Motions may impact whether the upcoming trial, which is
  currently scheduled to begin on December 5, 2022 (D.I. 35), will be a jury trial or a bench trial.
  This is because, although Plaintiffs assert claims for correction of patent inventorship under 35
  U.S.C. § 256 as well as claims arising under state law, there is no right to a trial by jury for claims
  for correction of inventorship. See, e.g., MCV, Inc. v. King-Seeley Thermos Co., 870 F.2d 1568,
  1570 (Fed. Cir. 1989) (“section 256 [] explicitly authorizes judicial resolution of co-inventorship
  contests over issued patents”). Resolution of Magistrate Judge Burke’s recommendations in the
  Report and Recommendation (D.I. 143) regarding Defendants’ Motion to Dismiss (D.I. 120),
  including the recommendation that Plaintiffs’ unjust enrichment claim be dismissed―to which
  Plaintiffs did not object―may also impact whether the trial is a jury or bench trial.




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  September 28, 2022
  Page 2

                                             Respectfully submitted,




                                             Chad S.C. Stover (No. 4919)


  cc: Counsel of Record (via CM/ECF)




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                                          September 29, 2022



  The Honorable Gregory B. Williams                                    VIA ELECTRONIC FILING
  United States District Court
  844 N. King Street
  Wilmington, DE 19801

           Re:     Bear Box LLC, et al. v. Lancium LLC, et al.,
                   C.A. No. 21-534- GBW-CJB

  Dear Judge Williams:

          I write on behalf of Plaintiffs BearBox LLC and Mr. Austin Storms in response to
  Defendants’ letter to Your Honor dated September 28, 2022, renewing Defendants’ request for
  oral argument on their summary judgment motions and noting that “the Court has not previously
  conducted claim construction in this case.” D.I. 209.

          What Defendants letter omits, however, is that the Court has not previously conducted
  claim construction because Defendants said it was not necessary, and even opposed Plaintiffs’
  request to extend the deadline by which to advise the Court of a claim construction dispute. D.I.
  54 (“Defendants do not believe claim construction will be needed, and Defendants oppose
  Plaintiffs’ attempt to extend the deadline in Paragraph 8 of the Scheduling Order until October
  15, 2021.”). At no point subsequent to that letter, prior to summary judgment, did Defendants
  change their position or notify the Court that claim construction was, in fact, needed.

          Plaintiffs do not agree that Defendants are now entitled to raise a claim construction
  dispute, nor that there is even a genuine claim construction dispute that needs to be resolved, as
  set forth in Plaintiffs’ summary judgment opposition brief. D.I. 176 at 15-19. Alternatively, if
  there is a dispute about a claim term, the parties have briefed the dispute in their summary
  judgment briefs, and any dispute can be resolved on the papers.

          Should the Court wish to hear oral argument on summary judgment, Plaintiffs are available
  at the Court’s convenience.
                                                       Respectfully,

                                                         /s/ Andrew C. Mayo

                                                         Andrew C. Mayo (#5207)

  cc:      All counsel of record (via electronic mail)



  {01841881;v1 }

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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  BEARBOX LLC AND AUSTIN STORMS                        )
                                                       )
                 Plaintiffs,                           )
                                                       )
          v.                                           )       C.A. No. 21-534- GBW-CJB
                                                       )
  LANCIUM LLC, MICHAEL T.                              )
  MCNAMARA, and RAYMOND E. CLINE, JR.                  )
                                                       )
                 Defendants.                           )
                                                       )


                  DEFENDANTS’ MOTION FOR BIFURCATION AND
           TO EXPEDITE BRIEFING AND CONSIDERATION OF THIS MOTION

          Defendants Lancium LLC, Michael T. McNamara, and Raymond E. Cline Jr.,

  (“Defendants”) move to bifurcate the trial in this matter whereby the Court will first hold a bench

  trial on the claims of sole inventorship (Count I) and joint inventorship (Count II) followed by a

  jury trial on the conversion claim (Count V). The reasons for this motion are set forth in

  Defendants’ Opening Brief, filed herewith.

          Because the pretrial conference is scheduled for November 22, 2022 and trial is set to begin

  on December 5, 2022, just weeks away, Defendants seek expedited consideration of this motion.

  Defendants’ propose a briefing schedule where Bearbox LLC and Austin Storms (“Plaintiffs”)

  answering brief is due on November 7, 2022 and Defendants’ reply brief is due on November 11,

  2022.

          The Court may recall that Plaintiffs indicated they opposed bifurcation during the October

  20, 2022 hearing. Oct. 20, 2022 Hr’g Tr. at 44:2-12 & 45:11-22. Defendants understand that

  Plaintiffs still oppose this motion.




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  Dated: October 31, 2022            BARNES & THORNBURG LLP

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                                       2

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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

    BEARBOX LLC and AUSTIN STORMS,                           )
                                                             )
                              Plaintiffs,                    )
                                                             )
             v.                                              )    C.A. No. 21-534-GBW-CJB
                                                             )
    LANCIUM LLC, MICHAEL T.                                  )
    MCNAMARA, and RAYMOND E. CLINE,                          )
    JR.                                                      )
                                                             )
                              Defendants.                    )


     [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR BIFURCATION

            Having read and considered Defendants Lancium LLC, Michael T. McNamara and

   Raymond E. Cline’s (“Defendants”) Motion for Bifurcation (the “Motion”) and Plaintiffs’

   Opposition to the Motion, and all parties having received due notice and an opportunity to be

   heard,

            IT IS HEREBY ORDERED THAT:

            1. The Motion is GRANTED. To the extent claims remain after the Court’s ruling on the

                  Parties’ summary judgment briefing, the Court will first hold a bench trial on the claims

                  of sole inventorship (Count I) and joint inventorship (Count II) followed by a jury trial

                  on the conversion claim (Count V).

            IT IS SO ORDERED.



   Dated: _________________________, 2022                   ______________________________
                                                            The Honorable Gregory B. Williams
                                                            United States District Judge




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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 BEARBOX LLC and AUSTIN STORMS,                 )
                                                )
                      Plaintiffs,               )
                                                )
       v.                                       )   C.A. No. 21-534-GBW-CJB
                                                )
 LANCIUM LLC, MICHAEL T.                        )
 MCNAMARA, and RAYMOND E. CLINE,                )   FILED UNDER SEAL
 JR.                                            )
                                                )
                      Defendants.               )


               DEFENDANTS’ OPENING BRIEF IN SUPPORT OF THEIR
                        MOTION FOR BIFURCATION

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                                  Cline Jr.




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                                          INTRODUCTION

  “[Bearbox’s] conversion claim is based on the theft of material that is not included in the
 ’433 Patent, and therefore does not seek ‘patent-like’ relief, or turn on questions of patent
 inventorship or ownership.” – Plaintiffs’ Brief In Opposition to Defendants’ First Motion For
                   Summary Judgment (D.I. 176), at 34 (emphasis original)

        A court may order separate trials on one or more issues for convenience, to avoid prejudice,

or to expedite and economize. Fed. R. Civ. P. 42(b). Plaintiffs BearBox LLC and Austin Storms

(collectively “Plaintiffs”) originally asserted six causes of action of which three remain—sole

inventorship (Count I), joint inventorship (Count II), and conversion (Count V). Plaintiffs admit

their patent inventorship claims (Counts I and II) are different than their conversion claim.

Defendants Lancium LLC, Michael T. McNamara, and Raymond E. Cline, Jr. (collectively,

“Lancium”) request this Court take Plaintiffs at their word and bifurcate the patent inventorship

claims from the conversion claim, first conducting a bench trial on the patent inventorship claims,

and then holding a jury trial on the conversion claim. As demonstrated below, bifurcation is

appropriate here because it will (i) enhance juror comprehension of the issues, (ii) avoid prejudice,

and (iii) promote convenience and economy by having the Court decide the more complex patent

inventorship issues, while the jury decides the more straightforward conversion state law claim.

In sum, bifurcation is most likely to result in a just, final disposition of the litigation by eliminating

substantial risk of jury confusion and prejudice. See Ciena Corp. v. Corvis Corp., 210 F.R.D. 519,

520 (D. Del. 2002); see also Audio MPEG, Inc. v. Dell Inc., 254 F. Supp. 3d 798, 803-04 (E.D.

Va. 2017).

                                    FACTUAL BACKGROUND

        Plaintiffs allege that Austin Storms should be declared to be the sole inventor (or,

alternatively, at least a joint inventor) of U.S. Patent No. 10,608,433 (“the ’433 patent”). Plaintiffs




                                                    1
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seek no monetary relief for these claims. If tried, 1 resolution of these claims will require, among

other things, consideration of the ’433 patent, its claims, the Court’s construction of those claims,

Plaintiffs’ “evidence,” including a conversation during a dinner attended by approximately eight

persons that occurred immediately following a cocktail hour where Messrs. Storms and McNamara

allegedly met for the first time, a handful of ensuing text messages between the two men, and a

single email with five attachments, four of which Plaintiffs concede were made publicly available

See Lancium’s Brief in Support of its Motion for Summary Judgment (“MSJ Motion”) (D.I. 149)

(and exhibits cited therein), at 35; Lancium’s Reply Brief in Support of Motion for Summary

Judgment (“MSJ Reply”) (D.I. 195), at 20 (and exhibits cited therein)). It is expected that Plaintiffs

will also rely on source code Plaintiffs contend demonstrates that Mr. Storms had “conceived” of

the inventions of the ’433 patent at the time he communicated with Mr. McNamara. 2 In addition,

resolution will require consideration of Lancium’s evidence of its independent technology

development, including its conception of the subject matter claimed in the ’433 patent.

         Plaintiffs’ conversion allegation is narrower. Plaintiffs assert a Louisiana state law claim

for conversion of a “breakeven arbitrage” method allegedly described in a spreadsheet and a

drawing that were attached to Mr. Storms’ May 9, 2019 email to Mr. McNamara. See, e.g, MSJ

Reply, at 20, n. 13, citing Ex. 33 (Plaintiffs’ expert, Dr. McClellan), at 96:6-97:19. The drawing

was made public numerous times, including being posted on BearBox’s Twitter. See MSJ Reply,

at 20 (Ex. 40 thereto). Versions of the allegedly confidential information in the spreadsheet were,

likewise, provided to third parties. Id. (and exhibits cited therein). Plaintiffs seek millions of



1
  Lancium maintains summary judgment on Plaintiffs’ inventorship claims is appropriate for the
reasons identified in its Motion for Summary Judgment. (See D.I. 148, 195).
2
    It is undisputed that Mr. Storms never provided his source code to Mr. McNamara.



                                                  2
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dollars in damages for Lancium’s alleged conversion. If tried, 3 resolving the conversion issue will

involve evidence of the origins of Plaintiffs’ so-called “breakeven arbitrage” method, whether

Plaintiff made it public, whether he communicated it to Lancium, whether such communication

was voluntary, whether Lancium used Plaintiffs’ method, Lancium’s development of its own

technology, a comparison of Lancium’s and Plaintiffs’ technologies, and damages issues and

related witnesses.

                                           ARGUMENT

I.      The Court Should Bifurcate The Patent Inventorship Claims From The Conversion
        Claims.

       A.      Applicable Legal Principles

        “[A] district court has broad discretion in separating issues and claims for trial as part of

its wide discretion in trial management.” Fed. R. Civ. P. 42(b); Ciena Corp., at 520 (internal

quotation marks omitted). To determine whether to bifurcate, Courts “should consider whether

bifurcation will avoid prejudice, conserve judicial resources, and enhance juror comprehension of

the issues presented in the case.” Id; see also Lab. Skin Care, Inc. v. Ltd. Brands, Inc., 757 F. Supp.

2d 431, 442 (D. Del. 2010) (granting bifurcation in a patent case where, among other things,

bifurcation would reduce “risk of juror confusion”). “In the context of patent cases, experienced

judges use bifurcation and trifurcation both to simplify the issues [] and to maintain manageability

of the volume and complexity of the evidence presented to a jury.” Ciena Corp., 201 F.R.D. at

521; Audio MPEG, 254 F. Supp.3d at 803 (same). “[B]ifurcation of complex patent trials has

become common.” Ciena Corp., 201 F.R.D. at 521.




3
  Lancuim also maintains summary judgment is proper on Plaintiffs’ conversion claim for the
reasons set forth it its MSJ Motion and MSJ Reply. (D.I. 148, 195).



                                                  3
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        B.        Bifurcation Is Appropriate In This Case.

        The major consideration in deciding whether to bifurcate is whether bifurcation will result

in a just final disposition of the litigation. Audio MPEG, 254 F. Supp.3d at 806. Here, bifurcating

the patent inventorship claims from the conversion claim and trying the patent inventorship issues

to the bench, will help ensure a just final disposition because doing so will: (1) enhance juror

comprehension, (2) avoid prejudice by ensuring the jury does not conflate the evidence relating to

the patent inventorship allegations with those relating to the conversion allegation, and (3) simplify

both trials.

                   1.    Bifurcation will enhance juror comprehension.

        Bifurcation will enhance juror comprehension (i.e., help avoid juror confusion) with

respect to the applicable legal principles, the burdens of proof, and the comprehension of the

relevant evidence.

        First, bifurcation will enhance juror comprehension with respect to the applicable legal

standards. As one Court in this District has stated, in complicated patent cases, it is best to conduct

a trial “in a way that reduces the number of legal principles the jury must consider and apply.”

Ciena Corp., 210 F.R.D. at 521; AudiMPEG, 254 F. Supp. 3d at 807 (finding bifurcation enhanced

jury decision making by, among other things, “limiting the number of legal issues the jury must

address at any particular time”). Here, a jury is well-equipped to decide the simple question of

whether Lancium converted information Plaintiffs voluntarily sent to Mr. McNamara in a single

email. Generally, the jury will be asked to decide if Defendants acted in derogation of the

Plaintiffs’ possessory rights and wrongfully exercised or assumed authority over Plaintiffs’ goods,

thereby depriving Plaintiffs of possession of those goods either permanently or indefinitely.

Quealy v. Paine, Webber, Jackson & Curtis, Inc., 475 So. 2d 756,760 (La. 1985) (emphasis added);

see also Dileo v. Horn, 189 So. 3d 1189, 1198 (La. Ct. App. 5 Cir. 2016).


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       The inventorship determination, on the other hand, involves different, and more numerous

legal requirements. To begin, inventorship is a question of law. Eli Lilly and Co. v. Arandigm

Corp., 376 F.3d 1352, 1362 (Fed. Cir. 2004). The analysis first requires construction of each

disputed claim term (Gemstar-TV Guide Int’l, Inc. v. Int’l Trade Comm’n, 383 F.3d 1352, 1381-

82 (Fed. Cir. 2004)). This Court issued its claim construction ruling on October 28, 2022. D.I.

218-219. To succeed on their sole inventorship claim, Plaintiffs must establish that “(1) the

erroneously omitted inventor conceived [each of] the invention[s] claimed in the patent, and (2)

the named inventor[s] on the patent did not conceive the invention[s].” Iceotope Grp. Ltd. Liquid

Cool Sols., Inc., No. 20-CV-2644, 2022 WL 204923, at 2 (D. Min. Jan. 24, 2022) (emphasis

original). This analysis involves application of the claim construction to a myriad of technical

issues regarding Mr. Storms’ “technology” to determine whether he “conceived” 4 each of the 20

claims). In addition, the sole inventorship analysis requires consideration of what Mr. Storms

communicated to Lancium, and involves analyzing Lancium’s technology development and

timeline to determine whether Messrs. McNamara and Cline did not conceive the inventions

claimed in the ’433 patent. See D.I. 149, at 24-25 (Defendants’ MSJ explaining legal principles).

The joint inventorship analysis involves determining whether Mr. Storms made a contribution “not

insignificant in quality, when that contribution is measured against the dimension of the full

invention,” as opposed to merely explaining well-known concepts and/or the state of the art to the

real inventors. See D.I. 149, at 24-25 (Defendants’ MSJ explaining legal principles). It also

involves determining what Mr. Storms communicated to Mr. McNamara, analyzing Lancium’s

technology development and timeline to determine whether Messrs. McNamara and Cline



4
 Conception is “the formation in the mind of the inventor of a definite and permanent idea of the
complete and operative invention.” See Gemstar, 383 F.3d at 1381.



                                                5
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conceived the claimed technology, and determining whether there was any collaboration between

Mr. Storms and Messrs. McNamara and Cline for the invention. Moreover, both inventorship

claims involve issues of corroboration and, ultimately, application of the rule of reason analysis.

See D.I. 149, at 9-11, 30; D.I. 195, at 15-17. The conversion analysis does not implicate these

legal requirements.

       Second, bifurcation will enhance juror comprehension with respect to the burdens of proof.

As discussed in connection with Lancium’s Motion for Summary Judgment, patent issuance

creates a presumption that the named inventors are the true and only inventors, and that people not

named are not to be inventors. Scott v. Zimmer, 889 F. Supp. 2d 657, 662 (D. Del. 2012). Plaintiffs

seeking to add Mr. Storms as an inventor, therefore, must meet “the heavy burden of proving

[their] case by clear and convincing evidence.” Id. But the standard for conversion is

preponderance of the evidence. Trying the patent inventorship claims and the conversion claim

together to a jury increases the likelihood of juror confusion regarding the respective burdens of

proof and, ultimately, of the jury misapplying the respective burdens of proof.

       Third, bifurcation will enhance juror comprehension of the evidence. To decide the

inventorship claims, a jury will be asked to decipher the testimony of Mr. Storms, both parties’

technical experts, source code issues, and the application of the claim construction to the respective

parties’ technology. Conversely, to decide conversion, the jury will be asked to decide issues of

public availability/confidentiality, whether Mr. Storms voluntarily provided the allegedly

converted information, and whether Lancium converted such information. However, based on the

manner in which Plaintiffs appear to be presenting the evidence, the jurors’ job would be further

complicated because Plaintiffs’ technical expert, Dr. McClellan, conflates the inventorship subject

matter with the conversion subject matter in his report. See, e.g., Expert Report of Dr. Stan




                                                  6
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McClellan (D.I. 149, Ex. 3), at ¶ 62 (for claim 1, element c, discussing “comparing mining

profitability based on, inter alia, current power usage and energy price conditions on the one hand

with profitability based, inter alia, on expected future power usage and energy price conditions”);

¶ 66 (discussing similar analysis for claim 1, element d). 5 During his deposition, Dr. McClellan

testified “the patent doesn’t contemplate selling it [the power] back at all,” and defers to Mr.

McCamant regarding the meaning of power option agreement. See Ex. 5 to D.I. 149, at 154:24-

156:11 (quote is at 155:5-6). For this reason, bifurcation should be granted because it would permit

the evidence to be presented in a manner “that is easier for the jurors to understand.” Audio MPEG,

254 F. Supp. 3d at 807.

       Finally, Plaintiffs are legally precluded from seeking damages for their patent inventorship

claims, but are seeking tens of millions for conversion. A jury is likely to be confused when

Plaintiffs’ damages expert attempts to (wrongfully) explain why Plaintiffs should receive money

for conversion, but nothing for patent inventorship.

                2.        Bifurcation will reduce the risk of prejudice.

       Bifurcation is also warranted because it will reduce the risk of prejudice by reducing the

risk of the jury conflating the evidence relating to the patent inventorship claims with the evidence

relating to the conversion claims. As discussed above, a focus of the inventorship analysis is

whether Mr. Storms conceived of the claimed inventions and communicated them to Mr.

McNamara during the public dinner and/or later in text messages or via the single email. Because

the materials that form the basis of Plaintiffs’ conversion claim were attachments to Mr. Storms’

email, there will likely be some evidentiary overlap between the evidence regarding inventorship



5
 Dr. McClellan repeats this analysis for independent claims 17 and 20. See D.I. 149 (Ex. 3), at
¶¶ 254-55, 272-73.



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and the evidence regarding conversion. 6 But based on Plaintiffs’ expert Dr. McClellan’s report,

he conflates so-called “breakeven” power sell-back determinations, which Lancium understands

is the basis for the conversion claim, with power option agreements and minimum power

thresholds, which are limitations recited in the ‘433 patent’s claims. As such, if the patent

inventorship issues are not bifurcated, the likelihood of juror confusion (discussed above) also

creates a significant risk of Lancium being prejudiced by the jury conflating the separate, legally

distinct issues and evidence relating to Plaintiffs’ sole and joint inventorship allegations with the

issues and evidence relating Plaintiffs’ conversion allegation.

         This risk is further heightened here because Plaintiffs repeatedly describe Lancium’s

alleged conversion and wrongdoing in highly inflammatory terms (e.g., “stole,” “hatched a plan,”

“stolen”). 7 See, e.g., Second Amended Complaint (D.I. 103), at ¶¶ 4, 41, 50. Bifurcation is,

therefore, warranted to minimize the risk of Plaintiffs’ conversion arguments tainting the entire

trial. See Massimo Corp. v. Philips Electronics N. Am. Corp., No. 09-80-JFF-MPT, 2010 WL

925864, at *2 (D. Del. Mar. 11, 2010); Audio MPEG, 254 F. Supp. 3d at 807 (finding allegations

of anticompetitive conspiracies, improper market monopolization, and breach of promises could

bias a jury against Plaintiffs when it evaluates the patent infringement claims). Indeed, if the jury

is inclined to find for Lancium on conversion and thus award no damages, it could lead the jury to

find for Plaintiffs on inventorship to award him something.




6
  Plaintiffs may argue that evidentiary overlap cuts against bifurcation, but the law is clear that
there is “a fundamental different between evidence and issues.” See Guardco Mfg., Inc. v. Herst
Lighting Co., 820 F.2d 1209, 1213 (Fed. Cir. 1987) (emphasis original) (bifurcating inequitable
conduct issue).
7
    Lancium objects to the use of such pejorative terms as violating at least FRE 401 and 403.



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                3.      Bifurcation will promote convenience and economy.

       Bifurcation will promote convenience and economy by simplifying and streamlining the

issues and evidence for both trials. For example, because Plaintiffs cannot recover monetary

damages for inventorship, the inventorship bench trial will not require testimony from damages

experts. Also, the testimony regarding Lancium’s business operations will likely be shorter, as

will be the technical and power market experts’ testimony. Similarly, because the conversion

claim appears focused on the spreadsheet attached to Mr. Storm’s email, the evidence and

testimony presented to the jury will be streamlined to that issue. Thus, while there may be some

overlap regarding evidence, bifurcation will greatly simplify both trials and is warranted. See

Audio MPEG, 254 F. Supp. 3d at 805 (finding convenience factor favored bifurcation of antitrust

and misuse claims from patent claims despite some evidentiary overlap); Gardco, 820 F.2d at 1213

(bifurcating inequitable conduct from infringement/validity despite some evidentiary overlap).

       C.      Bifurcation Will Not Deprive Plaintiffs Of Their Right To A Jury Trial.

       It is expected that Plaintiffs will argue that bifurcation will deprive them of their Seventh

Amendment right to a jury trial. See, e.g., Shum v. Intel Corp., 499 F.3d 1272 (2007) (remanding

district court’s decision to bifurcate inventorship claim and fraud claim because doing so deprived

Plaintiff right to jury trial on the fraud claims). In Shum, Plaintiff’s inventorship and fraud claims

were “inextricably intertwined” because Shum’s fraud claim was based, in part, on his assertion

of misrepresentations by Verdiell (the named inventor) to the patent office and to third parties that

Verdiell was the sole inventor. Id. at 1277-78. To prove his fraud claim, Shum would have to

establish that Verdiell was not the sole inventor, a claim the court found would be eviscerated if

Verdiell, not Shum, had invented the claimed technology. Id. The Shum court distinguished

bifurcation cases involving inequitable conduct noting that “while inequitable conduct and validity

questions ‘overlap in the consideration of some aspects of the same relevant evidence, they do not


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involve a common issue.’” Shum, at 1270 (distinguishing Afga Corp. v. Creo Prods Inc., 451 F.3d

1366, 1372 (Fed. Cir. 2006)).

         The Shum case is readily distinguished from the present case. Here, Plaintiffs admit there

is no common issue: “[Bearbox’s] conversion claim is based on the theft of material that is not

included in the ’433 Patent, and therefore does not seek ‘patent-like’ relief, or turn on questions

of patent inventorship or ownership.” See D.I. 176, at 34; See also Plaintiffs’ Brief in Opposition

to Defendants’ Motion for Judgment on the Pleadings (D.I. 42), at 5 (“The tort of conversion is

accordingly directed to ownership of property, not inventorship.”) (emphasis original). This case,

therefore, is similar to Afga, Gardco, Ciena, and Audio MPEG, among others, where, despite some

overlap in evidentiary issues, the court exercised its discretion to bifurcate patent

infringement/validity issues from inequitable conducts, antitrust, or other issues because doing so

enhanced juror comprehension of the issues, avoided prejudice, and promoted convenience and

economy.

                                        CONCLUSION

       For the reasons set forth above, the Court should bifurcate the patent inventorship claims

from the conversion claim and try the inventorship claims to the bench followed by the conversion

claim to the jury.




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

BEARBOX LLC and AUSTIN STORMS,                     )
                                                   )
                      Plaintiffs,                  )
                                                   )
       v.                                          )   C.A. No. 21-534-MN
                                                   )
LANCIUM LLC, MICHAEL T.                            )
MCNAMARA, and RAYMOND E. CLINE,                    )
JR.                                                )
                                                   )
                      Defendants.                  )

                                CERTIFICATE OF SERVICE

       I certify that on October 31, 2022, I caused a sealed copy of 'HIHQGDQWV¶

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                                         Appx6042
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 BEARBOX LLC and AUSTIN STORMS,                    ) CONFIDENTIAL:
                                                   ) FILED UNDER SEAL
                          Plaintiffs,              )
                                                   )
           v.                                      ) C.A. No. 21-534-GBW-CJB
                                                   )
 LANCIUM LLC, MICHAEL T. MCNAMARA,                 )
 and RAYMOND E. CLINE, JR.                         )
                                                   )
                          Defendants.
                                                   )

                          PLAINTIFFS’ BRIEF IN OPPOSITION TO
                        DEFENDANTS’ MOTION FOR BIFURCATION

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{01855660;v1 }



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I.       INTRODUCTION

         The parties have litigated for months with a Scheduling Order (D.I. 35) that calls for a

jury trial. Defendants have not objected to the fact that all claims were scheduled for a jury trial,

until now, just weeks before trial. In fact, Defendants filed summary judgment motions attacking

all claims with lengthy supporting briefs, which the Court typically would not entertain in

advance of a bench trial. If Plaintiffs desired a bench trial on inventorship, they should have

sought to bifurcate the trial months ago, avoiding the need for summary judgment briefing on the

bench-trial issues, and allowing the parties to consider the bifurcation request before investing

resources into preparation for a jury trial.

         Plaintiffs remain entitled to a jury trial due to common factual issues raised by their

patent inventorship and conversion claims. Even if the Court were to find that Plaintiffs do not

have a right to a jury trial on inventorship, the parties should nevertheless present all the

evidence to a jury in a single trial. Defendants’ proposal, cloaked in “efficiency,” would result in

the opposite, requiring multiple witnesses to give much of their testimony twice: once in the

bench trial and then for the jury. Defendants do not contend (nor can they) that disposition of the

inventorship claim may render the conversion claim moot. Conducting two trials (instead of one)

would be the opposite of judicial efficiency, particularly if the Court conducted a bench trial

first, as Defendants propose.

II.      BACKGROUND

         The Court entered a Scheduling Order on July 6, 2021, scheduling this case for a jury

trial on December 5, 2022. (D.I. 35.) Defendants contacted counsel for Plaintiffs on October 31,

2022 at 12:26 ET indicating they planned to file a motion that day seeking a bifurcated bench

trial on inventorship. A few hours later, after waiting months to raise the issue, Defendants filed

their Motion for Bifurcation, and in it requested expedited briefing. (D.I. 222, D.I. 223.)


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III.     ARGUMENT

         A.      BearBox is entitled to a jury trial on all remaining claims because the factual
                 issues to be decided are substantially common among them

         Lancium’s motion is premised on its incorrect contention that “inventorship is a question

of law” (D.I. 223 at 5) and its assumption that BearBox is not entitled to a jury trial on the issue

of inventorship.

                 1.     Inventorship presents a mixed question of law and fact, which is
                        appropriate for a jury to decide

         Although Lancium contends that inventorship is an issue of law, in the case Lancium

cites for that proposition (D.I. 223 at 5), the district court tried inventorship to a jury. Eli Lilly &

Co. v. Aradigm Corp., 376 F.3d 1352, 1362 (Fed. Cir. 2004). “Inventorship is a mixed question

of law and fact: The overall inventorship determination is a question of law, but it is premised on

underlying questions of fact.” Id. In Eli Lilly, although the Federal Circuit reversed the district

court’s denial of judgment as a matter of law, it did not question the district court’s decision to

try inventorship to a jury. Id. at 1370.

         Inventorship presents a mixed question of law and fact just like the defense of

obviousness, which is routinely tried to juries. Kinetic Concepts, Inc. v. Smith & Nephew, Inc.,

688 F.3d 1342, 1356 (Fed. Cir. 2012) (“[O]bviousness is a mixed question of law and

fact . . . .”). In Kinetic Concepts, the Federal Circuit explained: “[I]t is neither error nor

dangerous to justice to submit legal issues to juries, the submission being accompanied by

appropriate instructions on the law from the trial judge.” Id. at 1358 (quoting R.R. Dynamics,

Inc. v. A. Stucki Co., 727 F.2d 1506, 1515 (Fed. Cir. 1984)). By submitting mixed issues of law

and fact to a jury, a district court can avoid the “risk of effectively denying the constitutional

right” to a jury, while at the same time remaining the “ultimate arbiter” of the legal issues and




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exercising a “guardianship role” through proper jury instructions and review of the verdict on a

motion for judgment as a matter of law or a new trial. R.R. Dynamics, 727 F.2d at 1515.

                 2.     Plaintiffs have a right to a jury trial on all claims with common issues

         No amount of judicial efficiency can justify denying a jury trial where a party has a right

to one. In deciding whether to try a case to a jury, a district court’s “discretion is very narrowly

limited and must, wherever possible, be exercised to preserve jury trial.” Beacon Theatres, Inc. v.

Westover, 359 U.S. 500, 510 (1959); see also Dairy Queen, Inc. v. Wood, 369 U.S. 469, 479

(1962) (finding “the district judge erred in refusing to grant petitioner’s demand for a trial by

jury on the factual issues related to the question of whether there has been a breach of contract”).

Where an equitable claim presents issues that “are common with those upon which [a] claim to

equitable relief is based, the legal claims involved in the action must be determined prior to any

final court determination of [the] equitable claims.” Dairy Queen, 369 U.S. at 479.

         Although Defendants correctly note that Plaintiffs conversion claim is based on misuse of

Plaintiffs’ materials containing information that Defendants did not include in the patent-in-suit,

there are nevertheless common factual issues between Plaintiffs’ conversion and inventorship

claims. The finder of fact will be asked to decide the common issue of whether Mr. Storms

communicated anything of value to Defendants or whether he merely communicated documents

reflecting prior art methods, as Defendants contend. All of this information was communicated

to Defendants at the same time as part of the same oral and written communications. Further, the

finder of fact will be asked to decide common issues about how Defendants used Plaintiffs’

documents and information, relying on findings about the same documents and testimony about

Defendants’ pursuit of the patent-in-suit and their commercialization and unauthorized use of the

converted property. The common issue of whether Mr. Storms contributed anything of value to

the Defendants presents intertwined factual issues that the jury should resolve for all claims.


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         Deciding the issue of inventorship will resolve the common factual question of whether

Plaintiffs communicated anything of value to Defendants, an issue that a single fact-finder

should decide. See Shum v. Intel Corp., 499 F.3d 1272, 1279 (Fed. Cir. 2007) (reversing district

court’s decision to try inventorship before a jury trial on a fraud claim due to “commonality . . .

between the factual issues underlying the inventorship and fraud claims”).

         Finally, at least two of the cases that Lancium relies on to support its motion simply do

not address the right to a jury trial, but instead consider whether cases should be bifurcated for

two jury trials, not a bench trial and a jury trial. Audio MPEG, Inc. v. Dell Inc., 254 F. Supp. 3d

798, 809 (E.D. Va. 2017) (bifurcating patent infringement and antitrust claims for two jury

trials); Ciena Corp. v. Corvis Corp., 210 F.R.D. 519, 521 (D. Del. 2002) (bifurcating patent

infringement trial into multiple phases all to be tried to juries).

         B.      For the sake of judicial efficiency, all issues should be presented in a single
                 trial to a jury

         Even if the Court were to find that BearBox does not have a right to a jury trial on its

inventorship claims, the Court has discretion to try all issues in a single trial to a jury. Whereas

“the right to jury trial is a constitutional one,” “no similar requirement protects trials by the

court.” Beacon Theatres, 359 U.S. at 510. For example, although the Federal Circuit has held

that patent owners do not have a right to a jury trial on inequitable conduct, the Federal Circuit

has not decided “that the factual issues underlying a charge of inequitable conduct must be

adjudicated by a judge.” Agfa Corp. v. Creo Prods. Inc., 451 F.3d 1366, 1375 (Fed. Cir. 2006)

(emphasis added).

                 1.     Bifurcation will require two trials, which is inefficient

         Here, judicial efficiency calls for a single trial before a jury. Defendants’ proposed

bifurcation makes little sense. Under Defendants’ proposal, the Court would first conduct a



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bench trial to be followed by a jury trial requiring testimony from all of the same witnesses who

would testify in the bench trial. Defendants do not even contend that the bench trial may

somehow obviate the need for the jury trial, making this case different than the inequitable

conduct cases the Defendants cite in which district courts first tried the issue of inequitable

conduct because a favorable decision for the defendants on that defense would obviate the need

for a jury trial about patent infringement. Agfa, 451 F.3d at 1371 (affirming district court’s

decision to try inequitable conduct to the bench, ultimately obviating the need for a jury trial on

patent infringement); Gardco Mfg., Inc. v. Herst Lighting Co., 820 F.2d 1209, 1213 (Fed. Cir.

1987) (finding district court “did not abuse its discretion in trying Gardco’s inequitable conduct

claim first in this case,” obviating the need for a jury trial).

         Rather than streamline the case in a single trial before a single finder of fact (a jury), the

Defendants would call for the Court to conduct two separate trials where all of the witnesses

from the first trial would testify again in the second trial, and they would need to repeat much of

their testimony for the jury, who would not be present for the first trial. Specifically, Plaintiffs

plan to call Mr. Storms and a technical expert, and both of those witnesses will testify about

issues related to both inventorship and conversion. Although Plaintiffs also plan to call a

damages expert (and possibly a second technical expert) for its conversion case, there is no

efficiency to be gained by having those experts testify separately in a second trial. Either way,

the Plaintiffs will call their damages expert to testify. By conducting a single trial, however, Mr.

Storms and Plaintiffs’ technical expert would only need to testify one time.

         Moreover, bifurcation may serve to confuse, not streamline the issues, and create

frequent and needless issues about the relevance of certain testimony and exhibits. For example,

during the jury trial, would Mr. Storms be permitted to tell his whole story about his interactions




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with Defendants, or would he be required to restrict that testimony to certain aspects of his

communications with Defendants? If he must limit his testimony, this seemingly artificial

restriction may confuse the jury and hamper the jury’s ability to comprehend all of the facts. In

any event, such a restriction would create needless evidentiary disputes about the scope of

witness testimony throughout the trial.

                 2.     Defendants cannot support their speculative concerns about a single
                        jury trial

         To support their proposal to have two trials, Defendants rely on a litany of speculative

concerns about the jury’s ability to comprehend patent inventorship or consider different

standards of proof. These concerns are nothing but attorney argument questioning the

capabilities of juries. As the Court is aware, juries are routinely asked in patent cases to follow

the Court’s instructions and decide complicated issues, including issues with different standards

of proof (for example, infringement and invalidity in patent infringement trials). On the one

hand, Defendants contend this is a straightforward case in which Mr. Storms communicated

nothing of value to them. On the other hand, Defendants contend that a jury will be unable to

process the facts if asked to decide multiple issues. Neither contention is true, but Defendants

have submitted no compelling reason that a jury cannot decide all of the issues in a single trial.

         Finally, Defendants are wrong to assert they will be prejudiced by a jury trial because the

jury will conflate evidence and possibly engage in jury nullification by ignoring the Court’s

instructions and awarding no damages, but nevertheless finding Mr. Storms to be an inventor.

These are purely speculative concerns that could be said about any jury trial. They do not

warrant bifurcation in this case.




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                 3.     In the alternative, the Court may treat the jury’s verdict as advisory

         In the event the Court concludes that Plaintiffs do not have a right to a jury trial on their

inventorship claims, another option for conserving judicial resources would be to try all the

issues to a jury, but treat the jury’s verdict as advisory. The Court may treat a verdict as

“advisory” in two ways. First, as discussed above, the Court may properly present a mixed issue

of law and fact to the jury, while remaining “the ultimate arbiter” of any legal issues by deciding

post-trial motions for judgment as a matter of law or for a new trial. Kinetic Concepts, 688 F.3d

at 1359. Or second, the Court may treat the jury’s verdict as entirely advisory under Federal Rule

of Civil Procedure 39(c)(1) and ultimately decide the inventorship claims in view of the jury’s

advisory verdict only after receiving proposed conclusions of law and findings of fact from the

parties. Id. at 1357. Under either approach, the Court would realize judicial efficiencies by

conducting only a single trial.




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IV.      CONCLUSION

         For the foregoing reasons, the Court should deny Defendants’ Motion for Bifurcation and

try all of the issues in this case in a single trial before a jury.



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 Dated: November 10, 2022




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 10th day of November, 2022, the attached PLAINTIFFS’

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upon the below-named counsel of record at the address and in the manner indicated:


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{01855660;v1 }

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Jamie Daly




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                                              U.S. District Court

                                             District of Delaware

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Case Name:           BearBox LLC et al v. Lancium LLC et al
Case Number:         1:21-cv-00534-GBW-CJB
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Document Number: 232(No document attached)


Docket Text:
ORAL ORDER: Having determined that the only issue remaining for the Court to hear is
Plaintiffs' claims of sole inventorship, or, alternatively, joint inventorship (D.I. 231), and since
inventorship is an issue solely for the Court to determine, see, e.g., 35 U.S.C. § 256; Shum v.
Intel Corp., 499 F.3d 1272, 1277 (Fed. Cir. 2007) (holding that "an action for correction of
inventorship under § 256, standing alone, is an equitable claim to which no right to a jury trial
attaches"), IT IS HEREBY ORDERED that the 4-day jury trial scheduled to begin on December
5, 2022 (D.I. 35 at 15) is now scheduled as a 3-day bench trial beginning on Tuesday,
December 6, 2022. The pretrial conference will be held on November 22, 2022, to begin at 3:00
PM (rather than at 4:30 PM). ORDERED by Judge Gregory B. Williams on 11/14/22. (ntl)


1:21-cv-00534-GBW-CJB Notice has been electronically mailed to:

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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

BEARBOX LLC and AUSTIN STORMS,               )
                                             )
                    Plaintiffs,              )
                                             )
     v.                                      )   C.A. No. 21-534-GBW-CJB
                                             )
LANCIUM LLC, MICHAEL T.                      )
MCNAMARA, and RAYMOND E. CLINE,              )   FILED UNDER SEAL
JR.                                          )
                                             )
                    Defendants.              )



 DEFENDANTS’ OPENING LETTER BRIEF IN SUPPORT OF ITS EMERGENCY
 MOTION TO STRIKE PLAINTIFFS’ NEWLY DISCLOSED, UNTIMELY EXPERT
          REPORT AND REQUEST FOR EXPEDITED BRIEFING




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        On November 11, 2022, in the latest example of Plaintiffs substantially changing their
theories and claims when faced with an adverse ruling or evidence, Plaintiffs served a
supplemental report by their expert, Dr. McClellan, offering new opinions and analysis. Faced
with Defendants’ Motion in Limine No. 1 and the Court’s rejection of Plaintiffs’ asserted “plain
and ordinary” meaning of the claim terms “power option agreement” and “minimum power
threshold,” Dr. McClellan’s supplemental report, served without even seeking leave of the Court
or any discussion with Defendants, is an improper, highly prejudicial, last minute attempt to bolster
Plaintiffs’ claims for correction of inventorship. Plaintiffs’ asserted justification for the
supplemental report―that Dr. McClellan should be allowed “to apply the language of the Court’s
claim construction”―is both meritless and inconsistent with their prior representation to the Court
that “even under sort of the tortured proposed construction … that defendants have proposed, Dr.
McClellan’s analysis holds.” Defendants’ MIL 1, Ex. 1 (10/20/2022 Hr’g Tr.) at 31:6-15. Dr.
McClellan could and should have analyzed and addressed the proper meaning of the claims in his
previous reports but chose not to. Good cause, therefore, does not exist for this supplementation.
To the contrary, the Pennypack factors strongly weigh in favor of striking Dr. McClellan’s new
opinions and analysis. The Court should strike Dr. McClellan’s supplemental report and the
opinions and analysis therein.

        As an initial matter, Dr. McClellan’s supplemental expert report (attached as Ex. 1) is
untimely. Opening expert reports on issues for which a party bears the burden of proof, were due
on April 5, 2022, rebuttals to those reports were then due on May 6, 2022, reply reports in support
of an expert’s opening reports were due on May 20, 2022, and expert discovery closed on June 6,
2022. See D.I. 109 (Stipulated Order); 3/3/22 Minute Entry adopting D.I. 109. Dr. McClellan’s
supplemental report, however, was not served until November 11, 2022 (and even then not until
well after the Court’s 5:00 pm service deadline to be deemed served that day). Ex. 2 (11/11/22 J.
Labbe email serving McClellan Supplemental Report). Thus, Dr. McClellan’s supplemental report
is untimely and should be stricken. See Praxair, Inc. v. ATMI, Inc., 231 F.R.D. 457, 463-64 (D.
Del. 2005), reversed on other grounds by Praxair, Inc. v. ATMI, Inc., 543 F.3d 1306 (Fed. Cir.
2008) (granting motion to strike and excluding supplemental expert report filed after the close of
expert discovery where trial was set to begin in less than a month); Masimo Corp. v. Philips Elec.
North Am. Corp., No. 09-80, 2013 WL 2178047, at (D. Del. May 20, 2013) (recommending
striking untimely supplemental expert report), recommendation adopted by Masimo Corp. v.
Philips Elec. North Am. Corp., 62 F. Supp. 3d 368, 388-389 (D. Del. 2014); INVISTA North
America S.a.r.l. v. M&G USA Corp., No. 11-1007, 2013 WL 3216109, at *3-4 (D. Del. June 25,
2013) (striking new opinions in expert declaration served during summary judgment briefing).

        Plaintiffs’ purported excuse for Dr. McClellan’s untimely report rings hollow. When
considering a motion to strike untimely expert opinions, courts consider the “validity of the excuse
offered by the party” seeking to introduce the new opinions. See Praxair, 231 F.R.D. at 463. Here,
Plaintiffs contend that Dr. McClellan’s supplemental report should be permitted because he
allegedly could not have addressed the Court’s claim constructions in his previous reports. Not so.
Plaintiffs’ argument ignores that Dr. McClellan’s opening report purports to apply the “plain and
ordinary meaning” of all of the ‘433 patent’s claim terms. See D.I. 151, Ex. 3 at ¶ 49. It is well-
established that this “plain and ordinary meaning” is the meaning a term would have to a person
of ordinary skill in the art after reviewing the intrinsic record at the time of the invention.” O2
Micro, 521 F.3d at 1360 (citing Philips v. AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir. 2005));
see also AstraZeneca AB v. Mylan Pharm. Inc., 19 F.4th 1325, 1330 (Fed. Cir. 2021) (“[A]s we
have explained, the ordinary meaning of a claim term is not the meaning of the term in the abstract.

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… Instead, the ordinary meaning of a claim term is its meaning to the ordinary artisan after reading
the entire patent.” (internal citations and quotations omitted)); Eon Corp. IP Holdings v. Silver
Spring Networks, 815 F.3d1314, 1321 (Fed. Cir. 2016), quoting Trustees of Columbia Univ. v.
Symantec Corp., 811 F.3d 1359, 1363 (Fed. Cir. 2016) (“[T]he question is not whether there is a
settled ordinary meaning of the terms in some abstract sense of the words. Rather, as we recently
explained, ‘The only meaning that matters in claim construction is the meaning in the context of
the patent.’”). Nonetheless, in his opening report Dr. McClellan did not provide any analysis of
the purported “plain and ordinary meaning” of any claim terms in view of the intrinsic record. 1

         Dr. McClellan also could (and should) have provided his newly minted opinions back in
May 2022 in reply to Dr. Ehsani’s report. Unlike Dr. McClellan’s opening report, Dr. Ehsani’s
rebuttal report did include an analysis of the meaning of “power option agreement” and “minimum
power thresholds” and applied that meaning to his opinions regarding inventorship. See, e.g.,
Defendants’ MIL 1, Ex. 3 (Ehsani Report) at ¶¶ 42-43, 107, 109, 116-117. That analysis was
consistent with the Court’s construction. Thus, at the very least, Dr. McClellan could and should
have responded to those opinions and interpretation of the asserted claims in his reply report.
Plaintiffs and Dr. McClellan, in fact, had an obligation to address Dr. Ehsani’s interpretation of
the claim terms―the same interpretation the Court adopted―in Dr. McClellan’s reply report. See,
e.g., St. Clair Intellectual Prop. Consultants, Inc. v. Matshushita Elec. Indus. Co., Ltd., No. 04-
1436, 2012 WL 1015993, at *5 (D. Del. Mar. 26, 2012) (“When claim construction remains an
open issue at the time the parties serve expert reports … the parties have an obligation ‘to prepare
for the fact that the court may adopt [the other party’s claim] construction.’” (quoting Union
Carbide Chems. & Plastics Tech. Corp. v. Shell Oil Co., 270 F. Supp. 2d 519, 524 (D. Del. 2003));
iCeutica Pty Ltd v. Novitium Pharma LLC, No. 18-99, 2019 WL 4604029, at *2 (D. Del. Sept. 23,
2019) (similar). And Dr. McClellan even noted the dispute in his reply report, stating that “Dr.
Ehsani alleges that I fundamentally misunderstand the claim” language and meaning. See D.I. 151,
Ex. 4 at ¶ 86. But rather than address Dr. Ehsani’s analysis and opinions, Dr. McClellan simply
asserted in conclusory fashion that “I have applied the plain and ordinary meaning of the claim
terms.” D.I. 151, Ex. 4 at ¶ 8. Accordingly, the Court should not permit Dr. Ehsani to now provide
the opinions and analysis that he chose not to provide during expert discovery.

       The Pennypack factors also strongly weigh against permitting Dr. McClellan’s
supplemental report. See Praxair, 231 F.R.D. at 463 (striking supplemental expert report based on
analysis of Pennypack factors). First, the prejudice and surprise to Defendants is substantial.
Indeed, Defendants had no opportunity to depose Dr. McClellan regarding his new opinions or
have their own experts respond during expert discovery, and now have no opportunity to pursue
summary judgment or a Daubert motion based on these new opinions. Defendants prepared their
case based on the opinions Dr. McClellan originally offered. And although Plaintiffs have
represented that they are “open to discussing a schedule for [Defendant’s] expert to respond to this
supplement, should he wish to do so,” this vague offer would only compound the prejudice to
Defendants. See Ex. 3 (11/11/22 B. Horton email). Defendants and Dr. Ehsani should not be forced

1
  To the extent that Plaintiffs contend that Dr. McClellan’s supplemental report should be allowed
because he had a duty to supplement his opinions under Fed. R. Civ. P. 26(e) (see Ex. 3), this too
is wrong. “The duty to supplement or correct pursuant to Rule 26(e) is not for the benefit of the
party who has the duty.” Lockhart v. Willingboro High School, No. 14-3701, 2017 WL 11465996,
at *3 (D.N.J. May 3, 2017) (striking supplemental expert report) (quotations and citations omitted);
see also INVISTA, 2013 WL 3216109, at *1 (similar).
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to devote substantial time to preparing a supplemental rebuttal report with only 3 weeks left before
trial. Likewise, although Plaintiffs have not offered to make Dr. McClellan available for deposition
before trial, the need to prepare for and take such a deposition in the scant time before trial is also
unduly prejudicial. Id. (finding prejudice due to supplemental expert report where opposing party
had “no opportunity conduct rebuttal discovery”); INVISTA, 2013 WL 3216109, at *3 (“To allow
these new expert opinions, in the middle of summary judgment briefing and just prior to trial,
would unduly prejudice Invista.”); Reckitt Benckiser Inc. v. Tris. Pharma, Inc., No. 09-3125, 2011
WL 6722707, at *7 (D.N.J. Dec. 21, 2011) (striking supplemental expert report and finding
prejudice due to “the resources which have expended [by defendant] in preparing this case in
reliance on the expert reports that were initially served”).

        Second, there is no way to cure the prejudice to Defendants, and allowing Dr. McClellan
to offer his new opinions at trial would disrupt the trial process. As addressed above, permitting
Defendants to depose Dr. McClellan and/or serve their own new rebuttal expert reports before trial
is prejudicial to Defendants’ other trial preparation efforts, and delaying trial is prejudicial to
Defendants’ right to the prompt resolution of the Plaintiffs’ lingering claims. See Praxair, 231
F.R.D. at 463-464 (noting that allowing “additional expert discovery” to address prejudice due to
supplemental expert report “would undoubtedly disrupt the trial process, as trial is set to begin in
less than a month”); Reckitt Benckiser, 2011 WL 6722707, at *7 (prejudice due to supplemental
expert report “could not be cured in time for the agreed upon trial date” which “was scheduled to
begin … approximately a month after oral argument” on motion to strike).

        In addition, Dr. McClellan’s supplemental report continues to offer opinions that are
inconsistent with the Court’s claim construction rulings, and thus perpetuates the prejudice to
Defendants caused by these improper opinions. For example, although the Court noted that “[t]he
specification is further replete with examples supporting Lancium’s assertion that any construction
of ‘power option agreement’ necessarily requires the load to ‘use’ or ‘consume’ at least the amount
of power subject to the option (e.g., the minimum power threshold)” (D.I. 218 at 10), Dr.
McClellan’s supplemental report continues to assert his opinion that “[w]hether I use that power
to do something with or whether I sell that power to somebody else, that’s separate from the power
option agreement.” See Ex. 1 at 3-4.

        Finally, Plaintiffs’ providing a supplemental report from Dr. McClellan weeks after the
Court’s claim construction ruling, after previously representing to the Court that “even under sort
of the tortured proposed construction … that defendants have proposed, Dr. McClellan’s analysis
holds,” supports a finding of bad faith. Defendants’ MIL 1, Ex. 1 (10/20/2022 Hr’g Tr.) at 31:6-
15. Likewise, Plaintiffs’ history of changing their allegations and theories in response to adverse
rulings and evidence also supports a finding of bad faith. See, e.g., D.I. 19 (Amended Complaint
changing claims 12 days after Defendants filed their Answer, D.I. 18); D.I. 103 (Second Amended
Complaint asserting new claims and theories after the Court dismissed all of Plaintiffs’ state law
claims); 4/22/22 Minute Entry (striking Plaintiffs’ improperly re-asserted trade secret
misappropriation claims). Nonetheless, bad faith is not necessary to strike the report. Reckitt
Benckiser, 2011 WL 6722707, at *8 (striking supplemental expert report “without an express
finding that Plaintiffs acted in bad faith”); Lockhart, 2017 WL 11465996, at *6; see also Praxair,
231 F.R.D. at 463-464 (striking supplemental expert report without finding bad faith).

       The Court should strike Dr. McClellan’s supplemental report and opinions.


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Dated: November 15, 2022             BARNES & THORNBURG LLP

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            Exhibit 1




                         Appx6094
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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  BEARBOX LLC AND AUSTIN                §
  STORMS,                               §
           Plaintiffs,                  §
                                        §
  v.                                    §
                                        §     C.A. No. 21-534-GBW-CJB
  LANCIUM LLC, MICHAEL T.               §
  MCNAMARA,                             §
                                        §
  AND RAYMOND E. CLINE, JR.,            §
           Defendants.



              Supplement to Expert Reports of Dr. Stan McClellan


                             November 11, 2022


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                                                  BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                        U.S. Patent No. 10,608,433


I.     INTRODUCTION
       [1]      I previously submitted expert reports, dated April 5, 2022 (“Original Report”) and

May 20, 2022 (“Reply Report”), for the above referenced matter. Those opinions have not

changed. This Supplement provides clarification regarding conception of certain intellectual

property by Mr. Storms, the communication of his ideas to Defendants (“Lancium”) in light of the

Court’s Markman Order dated October 28, 2022 (“Markman Order”). I reserved the right to

provide this Supplement should the Court construe any terms after I provided my Reports.

       [2]      As noted in my Original Report and Reply Report, it is my understanding that

Bearbox seeks to correct inventorship of U.S. Patent No. 10,608,433 (hereinafter referred to as

“the ’433 patent”). My Original Report provides an analysis showing (1) Plaintiffs’ conception

and possession of the technologies recited in the claims of the ’433 patent and/or other power

arbitrage methods prior to their meetings with Lancium; (2) Plaintiffs provided an enabling

description of this information to Lancium; and (3) Lancium’s product offerings, such as its Smart

Response service, use the technologies recited in the Asserted Claims. This Supplement reiterates

and clarifies some of my earlier analysis in my Original Report and Reply Report in consideration

of the Markman Order.

II.    NEW INFORMATION CONSIDERED
       [3]      Since the dates of my Original Report and Reply Report, the Court issued the

Markman Order setting forth explicit constructions for the plain and ordinary meaning of the terms

“power option agreement” and “minimum power threshold.”

       [4]      Specifically, the Court construed the term “power option agreement” to mean “an

agreement between a power entity associated with the delivery of power to a load and the load,

wherein the load provides the power entity with the option to reduce the amount of power delivered

to the load up to an agreed amount of power during an agreed upon time interval such that the load

must use at least the amount of power subject to the option during the interval unless the power

entity exercises the option.” Dkt. No. 218 at 7. The Court also construed the term “minimum power


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                                                   BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                         U.S. Patent No. 10,608,433


threshold” to mean “a minimum amount of power a load must use during an associated time

interval.” Id. at 16.

        [5]      The Court’s constructions of these terms do not change my opinions about Mr.

Storms’s conception and communication of his proprietary information to Lancium set forth in my

earlier reports. Although I did not apply the Court’s construction in my earlier reports, my opinions

apply with equal weight under the Court’s constructions, as I further explain below.

        [6]      Although I did not expressly apply these claim constructions in my earlier reports,

my understanding of these claims terms is consistent with the Court’s interpretation. This is
evidenced in part by my deposition testimony below:

                 5      Q: What's your understanding of the
                 6      plain and ordinary meaning of power option agreement?
                 7      A: My understanding of power option agreement is
                 8      it's essentially a contract to buy power at a certain
                 9      price. It's like a wholesale purchase. I'm going to buy
                 10     X number of units at X price.
                 11     Q: What's your understanding of power option data?
                 12     A: Power option data is the data that's associated
                 13     with the power option agreement.
                 14     Q: What -- is there any specific data that's
                 15     required to be power option data, or can it be anything?
                 16     A: I think at least it has intervals and minimum
                 17     thresholds. There may be other data that's associated
                 18     with that, but I think there's thresholds over intervals.
                 19     Q: And intervals are intervals of time?
                 20     A: Time intervals, yeah.
                 21     Q: And what are thresholds?
                 22     A: You agree to buy power at that -- you agree to
                 23     consume that much power at a certain price at that time.
                 24     Q You agree to buy that much power or consume
                 1      that much power?
                 2      A: Typically it's consume because you're a load
                 3      that's not controllable. If you're a controllable load,
                 4      then you're buying that power with the assumption that
                 5      you're going to consume it. If you have ability to sell
                 6      it back, then you can sell it back. But you don't sell
                 7      it back to whoever you bought it from, you sell it into a
                 8      market at that time. It's an agreement with the seller
                 9      to consume, right?
                 10     And consume doesn't mean use. Consume means

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                                                    BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                          U.S. Patent No. 10,608,433

                   11   purchase. Whether I use that power to do something with
                   12   or whether I sell that power to somebody else, that's
                   13   separate from the power option agreement.
                   14   Q: What's your understanding of a minimum power
                   15   threshold in this case as used in the '433 patent?
                   16   A: That's the data that's associated with the
                   17   option agreement.
                   18   Q: What specifically is a minimum power threshold?
                   19   A: That's the amount of power that you're
                   20   contracted to consume.
                   21   Q: And by consume you don't mean use, correct?
                   22   A: I may not use it, but I'm going to consume it.
                   23   I'm purchasing it. Whether I use it or whether I sell
                   24   it, that's a completely separate issue. I'm agreeing to
                   1    purchase it at that threshold1

          [7]      As my testimony shows, I understand the plain and ordinary meaning of the term

“power option agreement” to be “an agreement with the seller to consume” an amount of power

delivered to the load by a power entity that includes time intervals and “minimum power

thresholds,” which I understand to be “the amount you’re contracted to consume” for that time

interval. Id. These understandings are consistent with and nearly identical to the Court’s

interpretation of those terms in the Markman Order, and I may offer testimony at trial based on

these opinions.

          [8]      As my deposition testimony cited above demonstrates, I was referring to my

understanding of power option agreements in practice, specifically that if the grid exercises the
option to reduce power delivery to the load, the load stops “using” that power as it is contractually

obligated to do, but the load may be free to liquidate that unused power into the market through its

QSE (e.g. sell it).

          [9]      During my deposition, it seemed to me that Defendants’ counsel was attempting to

attribute a particular type of consumption to the word “use,” such as “use” being limited to “use

to mine cryptocurrency.” In the below portion of my deposition, I disagreed with that implication,

and articulated my understanding of the meanings of “use” and “consume.” I also mistakenly used



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    Exhibit A, Deposition of Stan McClellan, at 83:5-84:22 (emphasis added).
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                                             Appx6098
            Case: 23-1922    Document: 26-2      Page: 355     Filed: 11/20/2023
                                              BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                    U.S. Patent No. 10,608,433


the term “power purchase agreement” when referring to certain aspects of the “power option

agreement,” which I later acknowledged:

       2     Q So just to be clear so our -- Your use of the
       3     word consume here means -- it doesn't mean physically the
       4     data center consumes the power by using it. It also
       5     could mean that the power is sold back.
       6     A Consume is a transactional thing. Right. The
       7     consumption is a transaction where I'm consuming it. I
       8     have to dispatch that power some way.
       9     Q What do you understand the term performance
       10     strategy to mean in the context of the claims of the '433
       11    patent?
       12    A A performance strategy is deciding -- is a
       13    decision based on incoming data and conditions and
       14    monitored conditions as to how to dispatch the -- how to
       15    dispatch the power that's been consumed through the PPA
       16    against bitcoin miners or not.
       17    Q So in your understanding of performance
       18    strategy could performance strategy be to not consume
       19    power?
       20    A It could be --
       21    Q I'm sorry. Let me -- I asked a bad question
       22    because I used the word consume in a different context.
       23    So in your understanding of the term
       24    performance -- the meaning of the term performance
       1     strategy, could a performance strategy be a decision for
       2     the load to not utilize power?
       3     A As long as it complies with the minimums, yeah.
       4     Q What minimums must it comply with?
       5     A The minimum thresholds in the PPA.
       6     Q If I understood -- if I understood -- You said
       7     PPA. I think the term from the patent is power option
       8     agreement.
       9     A Yeah. That's -- that's –
       10    Q Are you using the two -- Do you think there's a
       11    difference between -- Well, between a PPA which – What
       12    do you understand PPA to be?
       13    A I may have just used the wrong term. I meant
       14    the contracted purchase of power at a certain rate.
       15    Q Do you understand that the term -- do you
       16    understand there's such a thing called a power purchase
       17    agreement?
       18    A Yeah. I've heard of that.
       19    Q Do you understand –

SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLY CONFIDENTIAL                                                              5
                                          Appx6099
                Case: 23-1922      Document: 26-2       Page: 356     Filed: 11/20/2023
                                                     BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                           U.S. Patent No. 10,608,433

           20     A I think they're essentially the same thing, but
           21     I'm not exactly sure of the difference.
           22     Q That was my next question. Is there a
           23     difference or not that you are aware of?
           24     A I tend to use them interchangeably, and that
           1      may not be exactly right.2

           [10]     I note that the Court adopted my broader understanding of the term “consume” for

both the terms “consume” and “use,” which the Court found to be interchangeable. D.I. 218 at 9.

I also note that the Court found that some, but not all, minimum power thresholds may be zero. Id.

at 13, FN5.

           [11]     The Court’s Markman Order also does not change my opinion on Mr. Storms
significant contributions to the conception of the subject matter claimed in the ’433 Patent. Mr.

Storms made significant contributions to claim limitations other than, and in addition to “power

option agreement” and “minimum power threshold”

III.       CLARIFICATIONS OF MY OPINIONS CONCERNING PLAINTIFFS’
           CONCEPTION/POSSESSION OF AND COMMUNICATION OF THE
           INVENTIONS DESCRIBED IN THE ’433 PATENT
           [12]     My opinions have not changed regarding BearBox’s possession of the inventions

recited in claims 1-20 of the ’433 Patent prior to meeting and communicating with Mr. McNamara

and Lancium. The Court’s constructions of the terms “power option agreement” and “minimum

power threshold” do not change my opinions, and my opinion still stands for at least the reasons

set forth in my Original Report and Reply Report.

           [13]     In addition, I provide the following clarifications concerning the interaction

between the power entity associated with the delivery of power to a load and the load in the system

Mr. Storms conceived.

           [14]     The term “power option agreement” appears in claims 1, 6, 12, 17 and 19-20 and

“minimum power threshold” appears in claims 1, 5-6, 13-14, 17 and 19-20.




2
    Exhibit A at 85-87.

SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLY CONFIDENTIAL                                                                     6
                                               Appx6100
            Case: 23-1922           Document: 26-2           Page: 357        Filed: 11/20/2023
                                                         BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                               U.S. Patent No. 10,608,433


        [15]     Because each claim uses the terms consistently, the following analysis applies to

each of the claims reciting the associated term.

        [16]     BearBox conceived of and/or developed technology that could receive and process

“power option data based, at least in part, on a power option agreement, wherein the power option

data specify: (i) a set of minimum power thresholds, and (ii) a set of time intervals, wherein each

minimum power threshold in the set of minimum power thresholds is associated with a time

interval in the set of time intervals” as recited in the claims above.

        [17]     As I noted in my earlier reports, the systems conceived of and/or developed by
BearBox satisfy these aspects of claim 1 at least because the BearBox systems calculated

profitability at distinct time intervals, each with an associated power threshold, such as comparing

mining profitability based on, inter alia, current power usage and energy price conditions on the

one hand with profitability based, inter alia, on expected future power usage and energy price

conditions. To be clear, my opinion is not, and never was, that calculating profitability is necessary

to meet these claim limitations. Rather, calculating profitability the way the BearBox system did

is one way to implement the features recited in those limitations. For example, the BearBox system

used multiple time intervals, including the day-ahead hourly intervals and real-time 5-minute
intervals, each of which included an associated minimum power threshold used in periodically

determining performance strategies (i.e. every five minutes). The BearBox system also included

custom PDU software capable of providing fine grain load control (i.e. the ability to turn on some

but not all of the miners) and also was configured to work modularly with a variety of different

miners that had different power requirements.3
        [18]     I also explained in my earlier reports that, to the extent this feature is found not to

be explicitly described in the BearBox disclosure, it is my opinion that merely ordinary skill would

have been required to incorporate this feature. For example, the involvement of and

communication with a power entity through a QSE in connection with power option agreements

3
 Ex. 5, Deposition of Austin Storms, dated February 23, 2022, pp. 99-100, 290. The numbered exhibits cited herein
are to the exhibits to my Original Report.

SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLY CONFIDENTIAL                                                                                  7
                                                  Appx6101
            Case: 23-1922            Document: 26-2           Page: 358         Filed: 11/20/2023
                                                          BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                                U.S. Patent No. 10,608,433


(and the data associated with power option agreements) was well-known, conventional feature in

the art at the time of the invention.4

        [19]      I listed in my Original Report and again below certain exemplary modules and files

that I considered pertinent to my analysis and opinions. The noted modules perform functions

related to receiving power option data in which minimum power thresholds at various time

intervals are used to determine a performance strategy for the system. Non-exhaustive examples

are listed below with reference to the current claim language. A detailed analysis of each module

is provided in the Appendix.

             1. arb_main_AEC.py - Processes marginal power price data to determine
                profitability of Bitcoin mining based on several parameters, and controls power to
                mining systems based on outcomes.
             2. cgminer_sqlite_test.py - Remotely communicates with miners to retrieve status
                information
             3. DA_LMP_import.py - Imports marketplace data and returns the day-ahead
                marginal power price (LMP)
             4. DA_LMP_import_AEC.py - Imports marketplace data and returns the day-ahead
                marginal power price (LMP)
             5. email_alert.py - Provides email alerts for mining machine states (on, off, restart,
                shutdown, etc)
             6. EXELON4.py - Computes “break even” point for mining Bitcoin in dollars per
                kilowatt-hour.
             7. get_current_RT_LMP.py - Fetches marketplace data and returns the real-time
                local market price (LMP)
             8. miner_amort_breakeven_.py - Performs profitability determinations for dynamic
                power thresholds and manages mining system based on resulting performance
                strategy.
             9. LMP_csv_import.py - Retrieves the marginal power pricing data from Southwest
                Power Pool marketplace
             10. test_profit.py - Simulates a mining operation’s profitability


4
  I discussed these issues and facts with Frank McCamant by telephone on April 1, 2022, and I understand that his
report explains these concepts in additional detail. I reserve the right to supplement my report based on any
additional information that may be included in his report.

SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                  Appx6102
            Case: 23-1922           Document: 26-2            Page: 359    Filed: 11/20/2023
                                                          BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                                U.S. Patent No. 10,608,433

             11. test_test_test.py - Simulates a mining operation’s profitability.

        [20]      In my previous reports, I also explained how the information communicated by

Bearbox described these aspects of the claims at least because the system contemplated distinct

time intervals, each with an associated power threshold, and in the example provided comparing

mining profitability based on, inter alia, current power usage and energy price conditions on the

one hand with profitability based, inter alia, on expected future power usage and energy price

conditions. For example, the annotated system diagram (reproduced below) shows the use of

multiple time intervals, including the day-ahead hourly intervals and real-time 5-minute intervals,

each of which included an associated minimum power threshold used in periodically determining

performance strategies (i.e. every five minutes) to determine, for example, whether to mine

Bitcoin.5 The Bearbox system also included custom PDU software capable of providing fine grain
load control (i.e. the ability to turn on some but not all of the miners) and also was configured to

work modularly with a variety of different miners that had different power requirements. 6

        [21]      The annotated system diagram is reproduced below:7




5
  Ex. 4, BB00000091-92.
6
  Ex. 5, Deposition of Austin Storms, pp. 99:13-100:16, 290:7-14.
7
  Ex. 4, BB00000092.

SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                  Appx6103
           Case: 23-1922        Document: 26-2       Page: 360       Filed: 11/20/2023
                                                  BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                        U.S. Patent No. 10,608,433




       [22]    As I noted in my Original Report, the above diagram illustrates a plurality of

computing systems that include Bitcoin miners (such as Bitmain s9, Dragonmint T1 or the like)

having different power thresholds under the direction of control system composed of various API

calls to retrieve relevant information (such as real-time and day-ahead energy prices), custom PDU

logic and fan control to provide fine grain load control for the miners, custom logic to process the

information and determine mining profitability. Also, as reflected in the diagram, based on

conditions, the miners are either instructed to mine Bitcoin (depicted with orange “B”s on the right

of the diagram) or to power the miners down and sell power to the grid (depicted with green dollar

signs in the middle of the diagram). The diagram indicates that the system may periodically (such

as every 5-minutes, hourly, or the like) re-evaluate the monitored conditions and implement a

performance strategy based on those conditions.




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                                           Appx6104
              Case: 23-1922     Document: 26-2         Page: 361      Filed: 11/20/2023
                                                   BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                         U.S. Patent No. 10,608,433


          [23]    I also stated in my Original Report that BearBox provided a comma-separated

value (.CSV) file8 that described various monitored conditions, including Bitcoin price, Bitcoin

block height, real time LMP day ahead LMP, an estimated network hash rate and a network

difficulty. This proprietary .CSV file also described and/or explained how to determine a

generated mining revenue figure to be expect from using power to mine Bitcoin, a real time LMP

revenue figure based on selling energy to the grid at the current real time energy price, a day ahead

LMP revenue figure based on selling energy to the grid in the future at the day ahead energy price,

and a realized revenue figure that represented the most profitable of the three other revenue figures.
In some instances, the most profitable option was to mine Bitcoin (see, e.g., row 2 and cells H2

and L2), while in other instances, the most profitable option was to sell energy to the grid (see,

e.g., row 7 and cells K7 and L7).

          [24]    In light of the Court’s Markman Order, I clarify that the “minimum power

threshold” limitation is met, for example, by the current and future expected energy usage values

I noted above, which, in conjunction with the time interval data (e.g. five minutes) I referenced

above, comprise the “power option data, based at least in part, on a power option agreement.” The

amount of power for exemplary “minimum power thresholds” is reflected in data of the .CSV file,

for example, which shows revenues generated by selling fixed amounts of energy at various real-
time and day-ahead energy prices (approximately 31kW in one simulation), or the revenue to be

earned by using that same amount of energy to mine Bitcoin.

          [25]    In light of the Court’s Markman Order, I also clarify that the “power entity

associated with the delivery of power to a load” is depicted as “generation assets” in the annotated

diagram shown above. The “generation assets” are depicted delivering power to the Bearbox/load

by a lightning bolt in the diagram above. That this “power entity” has an “option to reduce the

amount of power delivered to the load up to an agreed amount of power during an agreed upon

time interval such that the load must use at least the amount of power subject to the option during


8
    Ex. 4, BB00000097.

SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                            Appx6105
          Case: 23-1922        Document: 26-2        Page: 362        Filed: 11/20/2023
                                                  BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                        U.S. Patent No. 10,608,433


the interval unless the power entity exercises the option” is depicted in the annotated diagram and

the methodology of the .CSV file communicated by BearBox to Lancium. For example, the

diagram shows that the “power entity” may sell power to the grid by depicted with green dollar

signs in the middle of the diagram emanating from the “generation assets” (shown below), which

would be a result if the “power entity” exercised the option to reduce the amount of power

delivered the load, the power entity instead choosing to sell that power to the grid. In addition,

both the diagram and spreadsheet show day-ahead market monitoring and/or sell back on the day-

ahead market, which is a market available to generators, not loads.




       [26]    The diagram and .CSV file also show that miners may be instructed to mine Bitcoin

(depicted with orange “B”s on the right of the diagram), which necessarily uses a fixed amount of

energy over a given time. In other words, the system was designed for the miners to receive

instructions to consume, or use, a fixed amount of energy by mining Bitcoin unless instructed to

not mine by the “power entity” so it could reduce the amount of power delivered to the Bearbox

and instead sell that power to the grid. Thus, the system conceived of by Mr. Storms and

communicated by Mr. Storms to Lancium meets the “power option agreement” and “minimum

power threshold” aspects of the claims as those terms have been construed by the Court.




SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
RESTRICTED HIGHLY CONFIDENTIAL                                                                  12
                                           Appx6106
                 Case: 23-1922         Document: 26-2          Page: 363     Filed: 11/20/2023
                                                            BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                                  U.S. Patent No. 10,608,433


           [27]     Mr. Storms confirmed these roles for the windfarm “generation asset” and BearBox

load, as well as related capabilities of his system, at his deposition:

           5 Q. In the context you're talking about, who
           6 sells the power back to the grid?
           7 A. Variety of different options there. It could
           8 be the generator sells the power back. It could be the
           9 mining facility sells the power back. It could be a
           10 different market participant depending on the ISO.
           11 Q. And what we've just been discussing, is that
           12 part of what you maintain you talked to Mr. McNamara
           13 about regarding how load can be controlled to maximize
           14 profitability?
           15 A. Yes9

           ...


           6 Q. Could that system as it -- you know, model as
           7 it existed, if it got a -- if it got an instruction or a
           8 signal from a wind farm, for example, to go from 10
           9 megawatts of power to 5 megawatts of power, could it do
           10 that?
           11 A. It could.
           12 Q. How -- how would that happen? How would the
           13 system accomplish that?
           14 A. The system would turn off miners to
           15 accommodate the decreased load.
           16 Q. You only had one miner?
           17 A. Oh, yeah. I'm sorry. So that system was
           18 meant to simulate a larger build, and so the relay
           19 controller used in the system within my apartment is the
           20 relay controller that's used in each PDU, and it's the
           21 same command to all of them to decrease the load to that
           22 level.10


           [28]     These clarifying reasons further support my opinion that BearBox was in

possession of each claim element of claims 1-20 of the of the ’433 patent and communicated that

information to Lancium by May 9, 2019.


9
    Ex. 5, Deposition of Austin Storms, p. 105 (emphasis added)
10
     Ex. 5, Deposition of Austin Storms, p. 226 (emphasis added)

SOURCE CODE – OUTSIDE ATTORNEYS EYES ONLY –
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                                                    Appx6107
          Case: 23-1922       Document: 26-2       Page: 364      Filed: 11/20/2023
                                                BearBox v. Lancium. (C.A. No. 21-534-GBW-CJB)
                                                                      U.S. Patent No. 10,608,433


IV.    CONCLUSION
       [29]   As a result, it is still my opinion that BearBox and Mr. Storms conceived, devised,

and implemented the technology which enables a computing system to adjust power consumption

based on a power option agreement, and using some combinations of power thresholds, time

intervals, and monitored conditions, which is disclosed in claims 1-20 of the ’433 patent, and

communicated that information to Lancium.




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                                         Appx6108
Case: 23-1922   Document: 26-2   Page: 365   Filed: 11/20/2023




                EXHIBIT A




                         Appx6109
           Case: 23-1922       Document: 26-2     Page: 366      Filed: 11/20/2023



                                                                               Page 1

 1                      UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE
 2
 3
 4      BEARBOX, LLC, and AUSTIN                       )
        STORMS,                                        )
 5                                                     )
                                   Plaintiffs,         )
 6                                                     )
                        -vs-                           )    No. C.A. 21-534-MN-CJB
 7                                                     )
        LANCIUM, LLC, MICHAEL T.                       )
 8      McNAMARA, and RAYMOND E.                       )
        CLINE, JR.,                                    )
 9                                                     )
                                   Defendants.         )
10
11                      Deposition of STANLEY A. MCCLELLAN, Ph.D.
12      taken before CAROL CONNOLLY, CSR, CRR, and Notary Public,
13      pursuant to the Federal Rules of Civil Procedure for the
14      United States District Courts pertaining to the taking of
15      depositions, at 233 South Wacker Drive, Suite 6300,
16      Chicago, Illinois, commencing at 9:08 a.m. on the 3rd day
17      of June, A.D., 2022.
18
19
20
21
22
23
24

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                                        Appx6110
        Case: 23-1922             Document: 26-2              Page: 367            Filed: 11/20/2023


                                                     Page 2                                                                  Page 4
 1       There were present at the taking of this              1 Exhibit 207     Lancium, Investor       271
 2 deposition the following counsel:
 3       MARSHALL, GERSTEIN & BORUN, LLP by
                                                                            Presentation, May, 2021
         MR. RAYMOND R. RICORDATI III                          2
 4       233 South Wacker Drive                                  Exhibit 208     Pictures, etc.,      281
         Suite 6300                                            3            BB00000001-BB00000083
 5       Chicago, Illinois 60606
         (312) 474-6617                                        4
 6       rricordati@marshallip.com                             5         PREVIOUSLY MARKED EXHIBITS
 7                                                             6
             appeared on behalf of the Plaintiff;
 8                                                             7 Exhibit 55     Short Message Report,     189
 9       BARNES & THORNBURG, LLP by                                         Date Range
         MR. MARK C. NELSON                                    8            5/4/2019 - 5/9/2019
10       2121 North Pearl Street
         Suite 700
                                                               9
11       Dallas, Texas 75201                                  10
         (214) 258-4140                                       11
12       mnelson@btlaw.com                                    12
13              AND
14       BARNES & THORNBURG, LLP by                           13
         MR. ADAM M. KAUFMANN                                 14
15       One North Wacker Drive                               15
         Suite 4400
16       Chicago, Illinois 60606                              16
         (312) 357-1313                                       17
17       adam.kaufmann@btlaw.com                              18
18           appeared on behalf of the Defendants.
19 ALSO PRESENT:
                                                              19
20       Mr. Milo Savage, Videographer                        20
21       Mr. Joseph Previti, Summer Associate                 21
            Marshall, Gerstein & Borun                        22
22
23                                                            23
24                                                            24
                                                     Page 3                                                                  Page 5
 1              INDEX                                          1     THE VIDEOGRAPHER: Good morning. We are going on
 2   DEPOSITION OF STANLEY A. McCLELLAN, Ph.D.
                                                               2 the record at 9:08 a.m. on June 3rd, 2022. Please note
 3           TAKEN June 3, 2022
 4                                                             3 that the microphones are sensitive and may pick up
 5 EXAMINATION BY                           PAGE               4 whispering, private conversations and cellular
 6 Mr. Nelson                       6, 289
                                                               5 interference. Please turn off all cellphones or place
 7 Mr. Ricordati                     287
 8                                                             6 them away from the microphones as they may interfere with
 9                                                             7 the deposition audio. Audio and video recording will
10            --------                                         8 continue to take place unless all parties agree to go off
11
12            EXHIBITS MARKED                                  9 the record.
13                             PAGE                           10        This is media unit 1 of the video-recorded
14 Exhibit 200     Curriculum Vitae of       29               11 deposition of Dr. Stan McClellan taken by counsel for
              Stan A. McClellan, Ph.D.
                                                              12 defendant in the matter of Bearbox LLC et al. versus
15
   Exhibit 201     Materials Considered by    38              13 Lancium, LLC, et al. This case is filed in the United
16            Bearbox Expert, Dr. Stan                        14 States District Court for the District of Delaware.
              McClellan                                       15        This deposition is being held at Marshall
17
   Exhibit 202     Expert Report of Dr. Stan 42               16 Gerstein, Borun, LLP located at 233 South Wacker Drive,
18            McClellan                                       17 Suite 6300, Chicago, Illinois.
19 Exhibit 203     U.S. Patent No. 10,608,433 94              18        My name is Milo Savage from the firm Veritext,
20 Exhibit 204     May 9, 2019 email from      196
                                                              19 and I'm the videographer. The court reporter is Carol
              Austin Storms to Michael
21            McNamara and attachments                        20 Connolly from the firm Veritext. I'm not authorized to
22 Exhibit 205     Reply Expert Report of     246             21 administer an oath, I'm not related to any party in this
              Dr. Stan McClellan                              22 action, nor am I financially interested in the outcome.
23
   Exhibit 206     Expert Report of Mark      264             23        Counsel and all present in the room, and
24            Ehsani, Ph.D.                                   24 everyone attending remotely, will please now state their

                                                                                                                  2 (Pages 2 - 5)
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                                                            Page 6                                                        Page 8
 1 appearances and affiliations for the record. If there      1 but --
 2 are any objections to the proceeding, please state them    2     A Okay.
 3 at the time of your appearance beginning with the          3     Q Have you been deposed before?
 4 noticing attorney.                                         4     A Yes.
 5     MR. NELSON: This is Mark Nelson of Barnes &            5     Q How many times?
 6 Thornburg, representing defendants.                        6     A Two or three.
 7     MR. KAUFMANN: Adam Kaufmann with Barnes & Thornburg 7        Q Which one? Two or three?
 8 also representing defendants.                              8     A Three. Three.
 9     MR. RICORDATI: Ray Ricordati of Marshall, Gerstein     9     Q Can you tell me the matters that you were
10 and Borun representing plaintiffs.                        10 deposed in?
11     THE VIDEOGRAPHER: Will the court reporter please      11     A One was an intellectual property case that was
12 swear in the witness, and we may then proceed.            12 fairly recent, another one was a -- wrongful injury case,
13            STANLEY McCLELLAN, Ph.D.,                      13 and third one was a breach of contract case.
14 called as a witness herein, having been first duly sworn, 14     Q Okay. What was the -- Do you recall the name
15 was examined upon oral interrogatories and testified as   15 of the intellectual property case?
16 follows:                                                  16     A It was WSOU versus Microsoft.
17              EXAMINATION                                  17     Q What was the technology involved?
18              By Mr. Nelson:                               18     A Cloud computing technology.
19     Q Good morning.                                       19     Q Source code level or --
20     A Good morning.                                       20     A Source code review, expert reports, invalidity,
21     Q Could you please tell the jury your name?           21 rebuttals, stuff like that.
22     A My name is Stan McClellan.                          22     Q And you represented plaintiffs in that case?
23     Q And are you a Ph.D?                                 23     A Yes.
24     A Yes.                                                24     Q What about the other two, what was the general
                                                            Page 7                                                        Page 9
 1    Q Do you prefer to be addressed by Dr. McClellan                1 subject matter of those depositions?
 2 or Mr. McClellan?                                                  2     A Well, the one was a wrongful injury case
 3    A It doesn't matter to me. Most people use                      3 where -- it was Debra Nelson versus Sunbeam where a lady
 4 doctor.                                                            4 had been burned by a space heater, and the third one was
 5    Q So I noticed you have some materials in front                 5 F5 versus Newstar where there was a breach of contract
 6 of you. Can you identify what those materials are?                 6 issue.
 7    A Yeah. These are printouts of the initial                      7     Q And in those other two cases, which side were
 8 report and the reply report, as well as exhibit material.          8 you representing? I'm sorry. Which side were you
 9    Q What exhibit material?                                        9 carrying as part -- on which side were you acting as an
10    A I don't remember exactly which exhibits these                10 expert?
11 were, but they're Bates labeled.                                  11     A In the space heater case, it was the plaintiff.
12    Q Are they exhibits to the reports?                            12 In the breach of contract case, I don't recall. I
13    A Yes, I believe so.                                           13 believe it was the defendant.
14    Q Do you have anything in front of you that is                 14     Q Do you know that or you just believe that?
15 not an exhibit to the report?                                     15     A That's best of my recollection right now.
16    A I think these are all exhibits.                              16     Q Have you given -- So in those three cases did
17    Q Okay. Do you know that or you just think that?               17 any of them go to trial?
18    A I'm pretty sure that's the truth, but I didn't               18     A Yeah. The Sunbeam case went to trial about a
19 print them out.                                                   19 year ago.
20        Are they all exhibits?                                     20     Q Do you know -- what was the result?
21    MR. RICORDATI: Yes. That's Exhibit 4 to the                    21     A Ms. Nelson was awarded damages.
22 report.                                                           22     Q Do you recall the amount?
23    MR. NELSON: Q Okay. You can just put those aside               23     A I don't know. I think it was a million and a
24 for now. We'll probably get to them shortly I'm sure              24 half, something like that.

                                                                                                              3 (Pages 6 - 9)
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                                                     Page 10                                                                  Page 12
 1     Q Have you ever had your opinions -- Have you            1 team before -- to make the hiring decision.
 2 given opinions in cases other than where you've been         2    Q When was that?
 3 deposed?                                                     3    A I don't recall specifically.
 4     A Yes.                                                   4    Q What did you and Mr. Storms talk about?
 5     Q And what happened in those cases to your               5    A We talked about some of the issues in the case,
 6 knowledge?                                                   6 we talked about some of his background, some of my
 7     A Typically they were resolved before they --            7 background, you know, basically run through my CV and
 8 before the deposition happened. Oftentimes the legal         8 just essentially an interview, I guess.
 9 team goes on to something else and doesn't notify me and     9    Q How long ago was that?
10 that's how I find out that things have finished.            10    A I don't recall specifically. It was whenever I
11     Q So as far as the opinions that you have given,        11 got first involved with this case.
12 whether they have been in deposition or otherwise, have     12    Q When did you first get involved in this case?
13 you ever had them challenged?                               13    A I don't recall the specific dates. I'd have to
14     A Yeah. In the -- there was a Daubert motion in         14 look at my -- I'd have to look at my notes. I think it
15 the Sunbeam case.                                           15 was -- I think it was late last year, like November,
16     Q Any others?                                           16 December of last year.
17     A No.                                                   17    Q Of 2021?
18     Q Have you ever had any opinions struck?                18    A Yes. I think that's -- sometime in that
19     A No.                                                   19 timeframe. I'm not exactly sure of the specific dates.
20     Q So I know you have been deposed before, but           20    Q On that interview, did you and Mr. Storms talk
21 let's just go over just a couple of quick housekeeping      21 about anything in particular? This is before you were
22 rules. So I'm going to be asking questions today.           22 retained.
23 There's a court reporter here, a videographer. You          23    A Before I was retained, yeah. The way those
24 understand you're under oath, correct?                      24 interviews go is, you know, I introduced myself and I go
                                                     Page 11                                                                  Page 13
 1     A Right.                                                 1 through different elements of my background and my CV and
 2     Q You understand the court reporter is taking            2 different types of projects that I've worked on and
 3 down your answers?                                           3 technologies. And then we go through a similar process
 4     A Yes.                                                   4 as this right now, what cases have I been involved with,
 5     Q Is there any reason you can't testify                  5 what positions was I dealing with and those kind of
 6 truthfully today?                                            6 things, and then they introduce their issue, their case.
 7     A No.                                                    7 Quite often, if there's a patent involved, they'll
 8     Q When were you -- Well, who retained you in this        8 provide the patent or some documents for review
 9 case?                                                        9 beforehand. That's -- that's -- that's what happened in
10     A The defendant. Not the defendant. The                 10 this particular case as well. I mean, they all kind of
11 plaintiff.                                                  11 follow the same format.
12     Q Do you recall the specific person that retained       12     Q   Did you review the patent in this case before
13 you?                                                        13 you were retained?
14     A Austin Storms is the name of the plaintiff, and       14     A   I don't believe so. I don't believe so. That
15 Bearbox, LLC.                                               15 usually happens with specific types of cases. This is a
16     Q Is he the one who called you and hired you, or        16 -- this case has kind of an interesting twist. I may
17 did somebody else do that?                                  17 have looked at the abstract of the patent, of the '433
18     A No, I was hired through an aggregator.                18 patent, but the majority of the discussion was, you know,
19     Q Which one?                                            19 basically going through my resume.
20     A Bar Group.                                            20     Q   So can you summarize for me your technical
21     Q And did you -- did you talk to Mr. Storms --          21 experience? What's your area of expertise?
22 Who made the decision to hire you is my question. Was it    22     A   Well, I have a background in -- I have a pretty
23 a lawyer or was it Mr. Storms personally?                   23 broad -- pretty broad technology background in things
24     A I spoke with Mr. Storms as well as his legal          24 related to signals and systems, largely signals and

                                                                                                               4 (Pages 10 - 13)
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                                                      Page 14                                                                  Page 16
 1 systems, and a lot of computer systems, computer              1 block height?
 2 networks, telecommunication systems, system integration,      2     A The block height is -- My understanding of
 3 things like that. It kind of encompasses an enormous          3 block height -- I'm not a bitcoin expert, but my
 4 amount -- an enormous range of things so it's hard to         4 understanding of block height is the size of the block,
 5 summarize other than signals and systems and system           5 the complexity of the block itself.
 6 integration.                                                  6     Q What's the network hash rate?
 7     Q What do you mean by signals and systems?                7     A The network hash rate is how fast the network
 8     A Signals and systems is a fundamental part of            8 can turn around the validation of chains of blocks.
 9 electrical engineering that deals with the propagation of     9     Q Is your understanding of the network hash rate
10 electromagnetic radiation, deals with characteristics of     10 is global or local?
11 signals whether they're electrical or some other kind.       11     MR. RICORDATI: Object to form.
12 It deals with how systems -- how systems process signals,    12        You can answer. Object to form. You can
13 how signals are turned into information, how information     13 answer.
14 is changed or manipulated by a system. It's kind of a        14     THE WITNESS: I thought you said my name. Sorry.
15 black box approach with things that gozintas and gozoutas    15        I don't know. It's -- it's a metric that's
16 out of and how things fit together.                          16 associated with difficulty. I don't know if it's global
17     Q Did you consider yourself an expert in bitcoin         17 or local.
18 mining?                                                      18     MR. NELSON: Q Do you understand how bitcoin price
19     A I'm familiar -- I'm a little bit familiar with         19 is calculated in the market, not -- in the market?
20 bitcoin mining. I wouldn't consider myself a great           20     A I have a basic understanding.
21 expert in bitcoin mining, but familiar with it.              21     Q What's your understanding?
22     Q When did you become familiar with it in the            22     A The -- the bitcoin targets are released on
23 context of this case or otherwise?                           23 something like ten-minute intervals and then -- then the
24     A It's just general technical knowledge. I mean,         24 miners try to validate the hashes, and then it becomes a
                                                      Page 15                                                                  Page 17
 1 it's a very popular area, so --                               1 bidding kind of a -- typical market bidding.
 2      Q When did you -- when do you believe you became         2       Q   Do you have experience in the -- well -- Do you
 3 somewhat familiar with it?                                    3 understand the difference -- Do you have experience in
 4      A Several years ago. Couple years ago. We have           4 the energy markets?
 5 -- we do senior design projects all the time. We've had       5       A   Not directly in the energy market, no.
 6 some senior design projects that were related to              6       Q   Do you know what ancillary services are?
 7 understanding how bitcoin works, and so, you know, just       7       A   Ancillary services can mean a lot of different
 8 dribs and drabs here and there with students and projects     8 things. In the power distribution market, ancillary
 9 and so on.                                                    9 services typically means things that are brought online
10      Q Do you know what the block height is?                 10 on demand. It often means things are brought online on
11      A I don't know what the -- the block height has         11 demand.
12 to do with the size of the block in the chain, I believe,    12       Q   Let me ask it more specifically. Do you have
13 is what I recall.                                            13 an understanding with respect to the Electric Reliability
14      Q Can you -- can you specifically tell me what          14 Council of Texas, also called ERCOT, all caps, what
15 that relationship is?                                        15 ancillary services mean?
16      A Well, block chain is a kind of a weird                16       A   I'm not an ERCOT expert.
17 perturbation -- perturbation is not the right word. A        17       Q   Do you know what a controllable load resource
18 weird configuration of a linked list, and so hashes of       18 is?
19 previous blocks are inserted in the future blocks, and       19       A Yes.
20 information can be inserted in the future blocks, blocks     20       Q   What is it?
21 get larger, right. The individual blocks get larger and      21       A   It's a load that can be controlled locally or
22 the chain grows so there's a difficulty metric that's        22 remotely by ERCOT. It's a -- sort of a -- sort of a
23 associated with that.                                        23 contractual business arrangement where ERCOT can command
24      Q And do you think that difficulty metric is the        24 the load to shed.

                                                                                                                  5 (Pages 14 - 17)
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                                                     Page 18                                                         Page 20
 1     Q And in a controllable load resource in this            1    A No.
 2 context, ERCOT is the one doing the commanding, is that      2    Q Are you familiar with the difference of zonal
 3 right?                                                       3 or nodal pricing in the energy market?
 4     A I think it can be local or remote.                     4    A Vaguely, vaguely.
 5     Q But who is making the decision whether or not          5    Q What do you know about it?
 6 the load will curtail, meaning shed?                         6    A Well, I'm not an energy pricing expert, but I
 7     A Typically it's ERCOT that's doing that because         7 understand that energy prices can be manipulated at
 8 ERCOT has a -- ERCOT wants load to reduce.                   8 different scales and at different times. So the zonal
 9     Q Are you aware of any other situations where the        9 and nodal would be different scales.
10 ultimate decision was not ERCOT's?                          10    Q Can you explain what you mean by different
11     A Sure. Every local provider sheds loads                11 scales?
12 separately from ERCOT.                                      12    A Like geographic scales.
13     Q Can you give me a specific example?                   13    Q Are you familiar with what grid connected
14     A Often various substations will shed load at the       14 means?
15 feeder level and they have prioritized feeders for when     15    A Uh-huh.
16 they have emergency issues and they need to shed load and   16    Q What does grid connected mean?
17 turn feeders off.                                           17    A Grid connected is something that's authorized
18     Q Is that a controllable load resource situation        18 to connect directly to the electric -- the service
19 though, or is that simply a load --                         19 operator's facility.
20     A That's load shedding. That's load shedding.           20    Q What do you mean by service operator's
21 That's load shedding. It's not end point based. It can      21 facility?
22 total the load resources, end point based load shedding.    22    A The service provider owns all of the electrical
23     Q Yeah. I think we were talking past each other.        23 infrastructure, and if you're grid connected, you're
24 So my question -- original question, are you aware of any   24 allowed to connect to that. The point at which your
                                                     Page 19                                                         Page 21
 1 situations where in a controllable load resource             1 house is grid connected is the meter, for example.
 2 situation an entity other than ERCOT or another ISO is       2     Q Are you familiar with what behind the meter is?
 3 making the decision whether or not the load should           3     A Uh-huh.
 4 curtail?                                                     4     Q And what is behind the meter?
 5     A Typically the control of the load resource is          5     A Well, it kind of depends on your perspective,
 6 done by the operator.                                        6 right. Typically behind the meter is on the service
 7     Q By the --                                              7 provider's side of the meter. Sometimes people refer to
 8     A Or in this case ERCOT would be asking the              8 behind the meter as the user's side of the meter, so it's
 9 operator shed the load.                                      9 kind of a dependent term.
10     Q Do you know what reg up is?                           10     Q So in the context as you were using it earlier,
11     MR. RICORDATI: Objection. Vague.                        11 the house would be behind the meter, the meter would be
12     THE WITNESS: You'll have to define that more.           12 the point where it's connected to the grid. Is that
13     MR. NELSON: Q In the context of ancillary               13 fair?
14 services.                                                   14     A The meter is the point where the load connects
15     A No.                                                   15 to the grid. Typically behind the meter means inside the
16     Q Do you know what reg down is in the context of        16 service -- My familiarity of the term behind the meter
17 ancillary services?                                         17 means inside the service provider's network. It can also
18     A No.                                                   18 mean outside the service provider's network on the load
19     Q Do you know what nonspin is in the context of         19 side of the meter. People use that term differently.
20 ancillary services?                                         20     Q Okay. And on the load side of the meter,
21     MR. RICORDATI: Objection. Vague.                        21 behind the meter would be sort of downstream from meter
22     THE WITNESS: No.                                        22 if you're thinking of electric -- if electricity flows
23     MR. NELSON: Q Do you know what ERS is in that           23 from the generator ultimately to the grid to a meter and
24 context?                                                    24 then to an end point, behind the meter would be after --

                                                                                                      6 (Pages 18 - 21)
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 1 on the downstream side of the meter in that context, is      1 the energy from the generator to the distribution grid,
 2 that right?                                                  2 and that's the T. And the D is the cost of the moving
 3     A Depending on how you're using the term behind          3 the energy through the distribution grid to the load.
 4 the meter. If it's on the -- if it's on the load side of     4     Q Do you know how they're calculated?
 5 the meter, then it would be beyond the meter. If it's on     5     A No, that's based on a lot of different factors.
 6 the service provider side of the meter, then it would be     6     Q What factors are you aware of go into the
 7 closer to the generator than the meter.                      7 calculation?
 8     Q So if I understand your definition of behind           8     A Well, there's the cost of the wires, there's
 9 the meter, it could be on the same side of the meter as      9 cost of maintaining the wires, there's the people costs
10 the generator if it's on the service provider side?         10 that are associated with the wires, there's the cost of
11     MR. RICORDATI: Objection. Mischaracterizes the          11 the transformers, there's the cost of the energy, there's
12 evidence.                                                   12 the cost of the ground, the facilities. I mean, it's
13     THE WITNESS: It's not my definition of behind the       13 a --
14 meter. I'm telling you that I have heard the term used      14     Q Do those costs --
15 in a lot of different ways, and it's kind of a positional   15     A Those are all costs that are associated with
16 term.                                                       16 the transmission and distribution infrastructure.
17     MR. NELSON: Q Well, I'm asking your understanding       17     Q Okay. Do those costs vary depending on whether
18 of it. I think you use it somewhere in your expert          18 the generator is a renewable or whether the generator is
19 report, and I want to know what your understanding of       19 a nonrenewable?
20 behind the meter is.                                        20     A I'm not familiar with the calculation of those
21     A It depends on the context. Behind the meter in        21 specific costs. I would assume that they change based on
22 a forward flow case often means downstream of the meter.    22 that.
23 Behind the meter in a backward flow case typically is       23     Q Do you consider yourself an expert in source
24 used to mean on the generator side of the meter.            24 code?
                                                     Page 23                                                         Page 25
 1     Q What's your understanding of behind the meter        1    A Uh-huh.
 2 in this case?                                              2    Q Do you know what the term open source means?
 3     A I'd have to look specifically at what the            3    A Uh-huh.
 4 context it was used in. I don't recall. I don't recall     4    Q What's it mean?
 5 the entirety of the report. I'd have to look at the        5    A Typically it means source that's been community
 6 context it was used in.                                    6 developed or initially developed by one or small group of
 7     Q Okay. You can't -- you can't give me that            7 people that have been provided on one of several
 8 understanding without looking at the report?               8 different sites for the community to participate in the
 9     A You're asking specifically for the context of        9 development of.
10 how the behind meter term was used in the report, so --   10    Q Have you ever written source code yourself?
11 and I don't recall the entirety of the report, so I'd     11    A Yes.
12 have to look at the context it was used in.               12    Q What languages do you write in?
13     Q So your answer is no, you can't tell me your        13    A Depends on the needs of the project. A lot of
14 understanding of behind meter in this case without        14 different languages.
15 looking at the report, is that right?                     15    Q Well, tell me the languages -- tell me the
16     MR. RICORDATI: Objection. Asked and answered.         16 languages of source code that you know how to write in.
17     THE WITNESS: If you want me to get more specific      17    A We'd be here all day.
18 about what the specifics of behind the meter mean in this 18    Q Well, give me a high level summary. Give me an
19 case, I'd have to look at the context in the report.      19 approximation of how many languages.
20     MR. NELSON: Q Do you know what transmission and 20          A 50. I don't know. There's some that are
21 distribution costs are for energy, electricity?           21 nonstandard. One called Staple, for example, that's
22     A Uh-huh.                                             22 specific to a particular system. CEC plus plus, Python,
23     Q What are they?                                      23 Java, Java Script -- I mean, Rust. It goes down the
24     A They're the costs associated with transmitting      24 line.

                                                                                                       7 (Pages 22 - 25)
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                                                        Page 26                                                                 Page 28
 1    Q Okay. That's fair.                                         1 package or not? Strike that. That's a bad question.
 2        When is the last time you wrote something --             2    A I thought you meant to say if it has a license,
 3 you wrote code in Python?                                       3 an open source license. I'm sure it does. I don't know
 4    A Yesterday.                                                 4 what it is.
 5    Q For what project?                                          5    Q So you provided -- you provided your CV in
 6    A For -- for a communications analysis project               6 connection with this case, correct?
 7 that I'm working on.                                            7    A Yes.
 8    Q In the bitcoin space or in another space?                  8    Q One of the exhibits to your report.
 9    A Has nothing to do with bitcoin.                            9    A Yes.
10    Q Is there anything specific about bitcoin that             10    Q Is that your most current CV?
11 makes Python sort of the code of choice for bitcoin or         11    A It changes almost every day. I don't know what
12 not?                                                           12 the date was that that CV was provided. I'd --
13    A Python is the code of choice for a lot of                 13    Q I'll hand it to you in a minute, but just let
14 different things because it's pretty easy to use and it        14 me --
15 has a lot of tools and a lot of -- a lot of community          15    A That's why there's a date in it.
16 support. There are a lot of packages that can be easily        16    Q Yeah.
17 included that can provide really specialized facilities        17    A That was current as of the date that was
18 that you don't have to deal -- It's very easy to include       18 stamped in it, but it changes every time a paper is
19 capabilities in Python that extend its functionality           19 published or every time a student graduates or whatever.
20 rapidly. So it's a good language for a lot of different        20    MR. NELSON: So, Counsel, to the extent we don't
21 things.                                                        21 have the current CV, could you produce that to us?
22    Q Have you ever used -- have you ever used open             22    MR. RICORDATI: Yeah, we can get that.
23 source software in the context of your writing code?           23    MR. NELSON: Q And let me hand you what we'll mark
24    A Oh, yeah. All the time.                                   24 as Defendant's Exhibit 200, which was a copy of the CV
                                                        Page 27                                                                 Page 29
 1     Q You have to pay for that, or is it free?                  1 that was included in the case.
 2     A Typically depends on how it's licensed.                   2     A    The date in the top right-hand corner of this
 3 There's a bunch of different open source licenses. It           3 actually answers three separate questions that you've
 4 depends on how it's licensed and how you use it.                4 already asked.
 5 Sometimes you don't pay exactly for the code, you pay for       5     MR. RICORDATI: Do you have a copy for me?
 6 the service that surrounds the code, the service and            6         (Exhibit 200 marked as requested)
 7 support that surrounds the code.                                7     THE WITNESS: You asked earlier when I was first
 8     Q Is it -- is it also free many times? Is open              8 involved with this case. December the 8th. That would
 9 source code free many times?                                    9 have been when I provided my CV for the --
10     A Often.                                                   10     MR. NELSON: Q Okay. Do you know why the decision
11     Q Do you think -- is it more common that open              11 was made to retain you in this case as opposed to
12 source software is made available to the public for free       12 somebody else?
13 or is it more commonly licensed in some fashion?               13     A    I'm not privy to that thought process.
14     A I haven't -- I don't know the statistics on              14     Q    What did you tell Mr. Storms and his counsel
15 that so I can't say what's common or not. There are a          15 during your interview regarding your opinion on the case
16 lot -- 15 or 20 different open source licenses that have       16 before you were retained?
17 different criteria and people choose -- the author of the      17     A    I didn't have an opinion on the case before I
18 code chooses which license to publish the code under and       18 was retained. We just looked through some of the basics
19 that creates constraints on how the code is consumed and       19 of it, and then, you know, as I mentioned before, the --
20 used after that point. I'm most familiar with GPL              20 went through the CV during the interview.
21 variants of licensing because those are the ones that          21     Q    So let me focus your attention on your list of
22 certain often used code packages that I deal with are          22 cases. I think they're -- trying to find the right page
23 licensed under.                                                23 here. If you turn -- You've got a recent consultancies
24     Q Do you know if Python is licensed under a code           24 page.

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                                                      Page 30                                                         Page 32
 1     A Uh-huh.                                                 1 that one is for defendant. That one is for -- yeah, it
 2     Q Let me ask you this. Go to your selected                2 says it in there, in that last line.
 3 publications page, which should be on page 18.                3    Q Okay. So the pink ones are the ones where you
 4     A Yeah.                                                   4 represented -- where you represent plaintiff, correct?
 5     Q Is that -- is that a list on pages 18 going             5    A Yeah. The ones where it says law firm and then
 6 over to page 20 and ending on page 23, is that a list of      6 the name of the law firm, for plaintiff.
 7 all of your publications and presentations, or is that a      7    Q Okay. So let's talk about the IPR one. It's
 8 subset?                                                       8 the third bullet point down on page 13.
 9     A It's a subset.                                          9    A Uh-huh.
10     Q So what criteria did you use to create the             10    Q Were you on the patentholder side on that --
11 subset?                                                      11    A I was on the American Express side of that.
12     A These are typically the publications that              12    Q Was that the --
13 academic institution care about. They're called              13    A I believe they were the defendant.
14 peer-reviewed publications.                                  14    Q The challenger? The patent challenger?
15     Q So the selection here on the CV, was it made           15    A That one has been a while back so I'd have to
16 for this case, or was it just otherwise what you did?        16 look -- I'd have to look at the notes.
17     A No, no. This is the subset of quote, unquote,          17    Q Okay. And then let me hand you a yellow one,
18 peer-reviewed publications. There's lots of other            18 and if you can highlight the ones where you know you
19 publications that are not on this because they were not      19 represented -- you represent the defendant. I understand
20 peer reviewed so academic institution doesn't care about     20 the law the firm is in there on some of them, but it's
21 them.                                                        21 not in there on all of them.
22     Q So if you look at page 12, recent                      22    A The only one that's not in there for is the IPR
23 consultations.                                               23 case with American Express.
24     A Uh-huh.                                                24    Q And that one you were on the American Express
                                                      Page 31                                                         Page 33
 1     Q Let me hand you a pink highlighter if I can and         1 side?
 2 ask that you highlight in pink the cases where you were       2     A Yeah.
 3 retained by the plaintiff's side.                             3     Q If you hand me the highlighters back, I
 4     A It already has that in here, doesn't it?                4 appreciate it. Thank you.
 5     Q I was having a little trouble figuring out              5        On your list of publications are there
 6 that's why I asked that you just highlight in pink just       6 publications in the last ten years that are not on your
 7 so it's real clear.                                           7 CV?
 8     A This is a version that doesn't specifically say         8     A Yeah. I think I've already answered that. The
 9 which one is which. Okay. Plaintiff would have been the       9 ones that are -- the CV only contains the ones that are
10 Sunbeam case, the Microsoft case -- all three of the         10 quote, unquote, peer reviewed. So there's publications
11 Microsoft cases. There's four. One of them was dropped.      11 that are not peer reviewed that are not contained in
12 There's the other Microsoft cases and HP. So all the         12 there. Examples of that would be reports that are
13 ones on page 12. I don't know about that one. I don't        13 internal to an organization or reports that are -- or
14 know about that one.                                         14 papers or any other sort of output that was not submitted
15         Yeah, it does, it says for plaintiff. If it          15 to a collection of referees for evaluation. So there's
16 says -- in the law firm line for all of them, in the         16 lots and lots of those.
17 fourth or fifth line after every bullet, it says law         17     Q Have you ever written source code for a load
18 firm, blank, blank, blank law firm for plaintiff. So you     18 that connected it to the electrical grid?
19 can tell by looking at that line on those which one is       19     MR. RICORDATI: Objection. Vague.
20 the plaintiff. So --                                         20     THE WITNESS: For a load connected to the electrical
21     Q Okay. Some of them don't have it --                    21 grid. Yes.
22     A It's listed in there if I knew it. There's one         22     MR. NELSON: Q What? Give me an example.
23 I didn't know which was the inter partes review, that        23     A Well, in about 2018 timeframe I started a
24 wouldn't have been plaintiff. That was for defendant,        24 company -- we can look on -- where is it? At the bottom

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                                                     Page 34                                                                  Page 36
 1 of page 7, it's about 2008 timeframe, Power Tagging          1 the first word was whatever that thing was, and then
 2 Technologies. That company developed devices that were       2 intelligence module. So it was -- it was something
 3 both -- that were loads for a grid that were inside the      3 intelligence module depending on where it was sitting in
 4 -- depending on -- where you talk about behind the meter,    4 the grid.
 5 they were on the provider side of the meter, they were on    5     Q What was the cost of the product? Do you
 6 the client -- they were on load side of the meter, they      6 remember?
 7 were on the service side of the meter, they were in the      7     A I don't remember.
 8 substation. All of those had software associated with        8     Q $100? $10,000?
 9 them.                                                        9     A It was different depending on where they sat.
10     Q What were those products?                             10 I mean, the ones that sat at the substation were tens of
11     A Those were -- the products did slightly               11 thousands of dollars.
12 different things to form a sort of reconnaissance for the   12     Q What about if they sat in other places?
13 feeders. So the device would -- depending on where it       13     A I don't believe we ever successfully
14 was installed, it would listen -- essentially -- the best   14 commercialized the ones on the load side -- directly on
15 way to think about this is sonar. It was sonar for a --     15 the load side because that was a partner play. That
16 for an electrical feeder. It would listen to what was       16 wasn't -- you had to have those embedded in the device.
17 going on on the electrical feeder, it would process the     17 So it was a white goods partner play. You wanted them
18 data, it would make some sense out of the data, and then    18 embedded in the water heater, you wanted them embedded in
19 the devices would communicate with themselves at ultra      19 the washing machine, you wanted them embedded in the car,
20 low frequency on the feeder wire itself.                    20 whatever. So not an aftermarket addon.
21     Q And what was the purpose of these products?           21     Q So on the load side, these were small chips,
22     A It was to create a control system that extended       22 that kind of stuff that would control a washing machine
23 beyond the substation and directly into the individual      23 or refrigerator, something like that?
24 load. So it made the individual load -- it integrated       24     A The downstream control part was -- when you use
                                                     Page 35                                                                  Page 37
 1 control and reconnaissance for individual load devices in    1 the term small chip, the downstream control part was
 2 with a larger control system that was situated at the        2 small. The upstream part was large -- was physically
 3 substation. So it allowed the provider to control the        3 pretty big. It was the size of a softball. Maybe a
 4 characteristics of the load; turn it off and on, tell it     4 little bit bigger than a softball.
 5 to stop consuming power. It also allowed the load device     5     THE VIDEOGRAPHER: Excuse me. Mr. McClellan, can
 6 to communicate its status with the provider side devices.    6 you kind of move to the center of the table?
 7 It allowed the provider side devices to communicate          7     THE WITNESS: I'm sorry.
 8 between themselves with status, and so on. So it was a       8     THE VIDEOGRAPHER: That's fine. Thank you.
 9 state management control and state management system.        9     MR. NELSON: Q So you gave reports in this case,
10     Q What was -- Is this company still in existence?       10 correct, you submitted reports, expert reports?
11     A No.                                                   11     A   In this present case, yeah.
12     Q Did you ever sell any products?                       12     Q   Yeah.
13     A The company I believe was consumed by a               13     A   They're right here.
14 division of Dominion Power, and the technology is still     14     Q   And did you -- let's talk about your initial
15 used by the spinoff -- a spinoff that Dominion Power made   15 report first. Did you write that?
16 to do distributed voltage optimization.                     16     A   I created the initial draft, and then -- these
17     Q Was the products that you were involved in code       17 things have a certain format to them, so the legal team
18 for, were they ever -- were they ever sold?                 18 fixed the format and I contributed content from that
19     A Yes.                                                  19 point on.
20     Q What were their names?                                20     Q   So did you physically write any of the report?
21     A I don't -- intelligence module. Something like        21     A   Oh, yeah.
22 intelligence module. Like a feeder intelligence module,     22     Q   Do you know how much you have been paid in
23 a transformer intelligence module. It was -- depending      23 connection with the initial report and whatever went into
24 on where they were sitting, it was -- the first letter --   24 that?

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                                                       Page 38                                                        Page 40
 1     A You mean a cumulative total of what I've been            1 the legal team is provided to me, and it has all these
 2 paid?                                                          2 things in there with their Bates labels. And then if I
 3     Q Well, I was going to get to that. I was trying           3 have to -- if I -- I'm speaking in general terms. If I
 4 to figure out sort of for the first report do you know         4 look around and find something else, then it goes into
 5 how much you were paid for that.                               5 that repository as well. I don't believe that I added
 6     A It's on an hourly basis. It's not on -- it's             6 anything to this repository. I don't recall adding
 7 not on a deliverable basis. I'd have to go back and look       7 anything to this repository, so they were provided by
 8 at -- So I don't know. I can't tell you how much for           8 counsel.
 9 this piece of work or this piece of work. It's done on         9     Q And I guess my question is, how is it
10 an hourly basis.                                              10 determined what you looked at? Did you get the materials
11     Q Can you estimate the amount of hours you've             11 from counsel, hey, you know, Dr. McClellan look at this
12 spent on this case so far?                                    12 and this and this, or was it done in some other way?
13     A Not offhand. I'd have to look at the billing            13     A Well, the -- counsel provides the web
14 slips.                                                        14 interface, and it has all the materials that are
15     Q 50?                                                     15 associated with the case, and a lot of those materials
16     A Probably on the order of that, yeah.                    16 are background stuff. In this case it was source code,
17     Q Total?                                                  17 pictures of brochures, emails. This one actually had CSV
18     A Yeah.                                                   18 files. The source code was Python. So the repository
19     Q What's your billing rate? What's your hourly            19 that was provided to me was pretty comprehensive, and it
20 rate?                                                         20 contained all the background information for this case.
21     A $320 an hour.                                           21 There was no need for me to go find something else.
22     Q Let me get this mark as Exhibit 2 -- 201.               22     Q Well, when you say background information for
23 Sorry.                                                        23 this case, what do you mean?
24        (Exhibit 201 marked as requested)                      24     A The information associated with the case.
                                                       Page 39                                                        Page 41
 1     Q Can you identify Exhibit 201, Defendant's                1     Q But is it-- Do you know if what you were
 2 Exhibit 201?                                                   2 provided was the entire information associated with the
 3     A It looks like the list of files. It's a                  3 case or some subset of that information?
 4 listing of files with Bates labels.                            4     A I don't know. I looked at the materials that
 5     Q And this I believe should be Exhibit 2 to your           5 were provided to me. I can't -- I can't tell you if they
 6 report. Is this the list of materials you considered in        6 were a subset or if they were -- is other stuff that was
 7 connection with your first report?                             7 not provided to me.
 8     A It looks like it.                                        8     Q Well, I guess when you say provided to you, was
 9     Q Did you consider any other materials other than          9 it provided to you in a way that, okay, Dr. McClellan,
10 what's listed here in preparing your first report?            10 here is a set of materials for you to look at, or was it
11     A I don't believe so. I mean, the purpose of              11 provided to you, here's a website, go find materials?
12 this list is to be a comprehensive set of materials that      12     A Well, it's a secure website that has materials
13 were used in preparing the report.                            13 in clusters, and I was -- review of the material in the
14     Q Did you prepare that list or did counsel                14 different clusters and decide which parts of that
15 prepare it?                                                   15 material was important to creating a report. One of
16     A Well, this -- The Bates-labeled items are               16 those clusters, for example, was the source code. So
17 provided on website type interface. And so the list is        17 review the source code. One of the clusters was the set
18 created based on what's provided through that website         18 of documents that were -- sort of communications
19 interface. And if I find other materials, then they get       19 documents. So the stuff was sort of pre-clustered, and
20 kind of incorporated into that.                               20 it was presented to me through the secure website for me
21     Q So the materials you looked at, did -- how did          21 to review and create an opinion about based on those
22 you get those materials? Were they provided by counsel,       22 materials for the purpose of creating the report.
23 or were they given to you in another way?                     23     Q I notice that there's only a few Lancium
24     A I think -- the website interface that's made by         24 documents here. Did you review any additional Lancium

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 1 documents in preparing this report other than the ones                 1 transferred, and then Lancium began to use that
 2 listed?                                                                2 technology in their products without attribution. That's
 3     A     We're talking about the initial report?                      3 a loose summary.
 4     Q     The initial report.                                          4     Q And when you say they had a meeting, you're
 5     A     No, I don't believe so.                                      5 talking about the group dinner that Mr. Storms,
 6     Q     So was the source code provided to you                       6 Mr. McNamara, and six other people attended?
 7 electronically through a website or in some other way?                 7     A My understanding is that there were a time
 8     A     Yeah. The secure web portal that's provided to               8 period where there was interaction. It wasn't just
 9 me has clusters of information. One of those clusters                  9 necessarily a face-to-face meeting. It was a
10 was PDFs of the source code with Bates labels, and one of             10 face-to-face meeting -- at least one face-to-face
11 those clusters was PDFs of communications, and another                11 meeting, as well as emails, as well as other types of
12 cluster was PDFs of background documents and stuff like               12 interaction. I mean, I think Mr. Storms provided some
13 that. So the secure web portal has clusters of                        13 critical information to Lancium via email, so that was
14 information that's not digested, it's just partitioned.               14 part of that interaction period.
15     Q     So your initial report has -- Let me go ahead               15     MR. NELSON: Objection to form. Nonresponsive.
16 and just mark that. We'll get this document marked as                 16     Q My question simply was about you characterized
17 Exhibit 202.                                                          17 it as a meeting, a face-to-face meeting.
18         (Exhibit 202 marked as requested)                             18     MR. RICORDATI: Objection.
19     THE WITNESS: What time was it when we started? You                19     MR. NELSON: Q That face-to-face meeting was, in
20 know, was it 9:00 o'clock?                                            20 fact, a dinner with -- attended by 8 people at a
21     THE VIDEOGRAPHER: 9:08.                                           21 restaurant after a happy hour, isn't that right?
22     MR. NELSON: Q So can you identify Exhibit 202 for                 22     MR. RICORDATI: Objection. Mischaracterizes the
23 me?                                                                   23 testimony.
24     A     It says Expert -- it looks like my expert                   24     THE WITNESS: I don't think I said face-to-face
                                                               Page 43                                                         Page 45
 1 report dated April the 5th. It's the same as this one.     1 meeting. I think I said that there was a meeting and
 2      Q Okay. Can you look at the last page? Is that        2 then there was a period of interaction. The meeting may
 3 your signature?                                            3 have been the first part of the period of interaction.
 4     A Yes.                                                 4 Typically meetings get set up with prior interaction. So
 5      Q Does that --                                        5 there had to have been some period of interaction that
 6      A It's thinner than this one. Is that because         6 set up the meeting which -- the dinner, let's say. So
 7 it's printed double sided? Yeah.                           7 there had had to have been some sort of interaction that
 8      Q Yeah. I'll represent that to the best of my         8 set up the dinner and then there was interaction that
 9 knowledge it's a complete copy. I think it's just          9 followed up the dinner. So there was a period of
10 printed double sided.                                     10 interaction that was at least one face-to-face meeting as
11      A Okay.                                              11 well as electronic interactions.
12      Q It may not have the two Exhibit 1s and             12     MR. NELSON: Q And I want to focus -- I understand
13 Exhibit 2 on there.                                       13 your opinion is that this is all sort of one event and
14      A Okay.                                              14 that's --
15      Q Does Exhibit 202 contain your opinion -- your      15     A It's not one event. It's --
16 initial set of opinions for this case?                    16     Q I want --
17     A Yes.                                                17     A A period of interactions.
18      Q Without looking at the report, can you             18     Q I want to focus on the meeting first. You
19 summarize what those opinions are?                        19 characterize it as a meeting. My question is, what you
20      A Without looking at the report. Can I summarize     20 characterize as a meeting was a dinner at a steak place
21 what the opinions are? The opinions are that Austin       21 after a happy hour attended by 8 people, correct?
22 Storms and Bearbox had some technology and -- that was in 22     A That was -- that sounds like it was one of the
23 advance of the technology that Lancium possessed, they    23 period -- one of the interactions in that period, yes.
24 had a meeting, and some of that technology knowledge was 24      Q I'm asking you was that the meeting that -- You

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 1 used the term meeting, and that meeting was in fact a                  1 be specific with it. Is -- in getting those
 2 dinner of 8 people -- a dinner attended by 8 people at a               2 clarifications, did you rely on those clarifications in
 3 steak house after a happy hour, correct?                               3 preparing your report?
 4    MR. RICORDATI: Objection. Mischaracterizes the                      4     MR. RICORDATI: Objection. Asked and answered.
 5 testimony.                                                             5     THE WITNESS: I rely on them in -- I would have
 6    THE WITNESS: I believe there was a conference where                 6 relied on them only to clarify something that was a
 7 they -- It's not clear to me if they had interacted                    7 sequencing issue or, you know, what does this mean, you
 8 before they met at the conference or if they met at the                8 know, what is this term -- what is this variable
 9 conference and then continued interacting, but there was               9 describing.
10 at least one meeting that was associated with that                    10     MR. NELSON: Q So the answer is yes in the context
11 conference. Whether it was a dinner, whether it was at                11 of getting the clarification, you would you then use that
12 the conference on the exhibit floor, whatever, there was              12 clarification in preparing your report, is that fair?
13 at least one face-to-face meeting in there. I know that               13     MR. RICORDATI: Objection. Mischaracterizes the
14 there was a dinner. I'm aware that there was a dinner.                14 testimony.
15    MR. NELSON: Q Do you know whether Mr. Storms and                   15     THE WITNESS: I don't say it's used the
16 Mr. McNamara met -- first met at a happy hour following               16 clarification in preparing the report. It might have
17 the conference?                                                       17 used the clarification in dismissing something that was
18    A    I don't know when they first met.                             18 not germane to the report or didn't have anything to do
19    Q    Did you -- Let me ask you this. When you                      19 with the issue that I was looking at right at that time.
20 prepared your report, did you talk to Mr. Storms as part              20 So I'm not exactly sure how to answer that question
21 of the preparing your report?                                         21 because rely on -- did I use it? Yeah. I might have
22    A    Yeah, a little bit.                                           22 used it dismiss something. But did I rely on it to put
23    Q    When did you talk to him?                                     23 something in the report as a result? Only to -- only to
24    A    Right at the beginning -- right at the                        24 the extent it helped clarify -- helped validate what I
                                                               Page 47                                                            Page 49
 1 beginning before we started -- we also talked to him a                 1 was seeing.
 2 little bit about some clarifications of some of the                    2    MR. NELSON: Q What specific variables did you
 3 source code. I mean, there was several different                       3 request clarification on?
 4 interactions over about a three-month period.                          4    A I don't recall.
 5     Q And in the context of your conversations with                    5    Q Did you write the legal principles that are in
 6 him, did you rely on anything from those conversations                 6 this report?
 7 for preparing your expert report?                                      7    A No, those were provided to me to understand.
 8     A Say that again.                                                  8    Q Did you rely on any legal principles other than
 9     Q In the -- You had several conversations with                     9 what's in the report in forming your opinion?
10 Mr. Storms in the context of preparing this report,                   10    A I'm not a lawyer.
11 correct?                                                              11    Q That wasn't my question. My question was,
12     A Yeah. They were mostly around clarification of                  12 other than the legal principles set forth in this initial
13 what's in the source code or clarification of what's in               13 report, Exhibit 202, did you rely on any other legal
14 one of the documents.                                                 14 principles?
15     Q And my question is, is in preparing your                        15    A No. I mean --
16 report, did you rely on the information provided by                   16    Q They're in the report?
17 Mr. Storms?                                                           17    A Yeah.
18     A No, I relied on the information that was in the                 18    Q Wasn't a trick. Just trying --
19 documents.                                                            19    A I don't know any other legal principles. I'm
20     Q So you did --                                                   20 not a lawyer.
21     A I had to get some clarification from him                        21    Q Let me have you turn to your report real quick,
22 regarding how these went together or what sequence they               22 Exhibit 202. Go to paragraph 6. Paragraph 6 says:
23 came in.                                                              23 Multiple methods were used to analyze the relevant
24     Q And -- I guess my question is -- I'm trying to                  24 technologies.

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 1        Do you see that?                                       1 source code not Bates labeled and there was source code
 2     A Uh-huh.                                                 2 Bates labeled.
 3     Q What multiple methods were used?                        3     Q And do you recall the modules you tried to run?
 4     A Well, to analyze documents, you read the                4     A No. I didn't try to run modules.
 5 documents. To review source code, you read the source         5     Q Well, what would you characterize -- What's the
 6 code, and then in some cases, you try to run it.              6 correct word for what you tried to run?
 7     Q Did you try to run the source code here?                7     A Pieces. Pieces.
 8     A There's a couple things that I took pieces of           8     Q So -- You don't recall the -- What was -- Do
 9 and tried to run them and make sure they made sense.          9 you recall the functionality of the pieces you tried to
10     Q What were those?                                       10 run?
11     A I don't -- It was -- I don't even recall               11     A No.
12 offhand. I'd have to look -- I'd have to look back in my     12     Q Did it work?
13 notes to see if I even recorded what was being looked at     13     A No because I wasn't trying to do it in the
14 at the time, but analyze relevant technologies and items     14 context of -- Well, I mean, it worked in my context. It
15 in development. I mean, it's a matter of reading a           15 wasn't -- didn't work in this context. I didn't try to
16 document or looking at a picture and reviewing source        16 execute this source code for the function for which it
17 code. And reviewing source code is not reading a             17 was made.
18 document. It's a different kind of analysis process.         18     Q When you said it executed in your context, what
19     Q What do you characterize reading or source code        19 do you mean?
20 review to be that's different than reading a document?       20     A Well, you look at the source code and go,
21     A Well, when you're reading source code -- I'm           21 that's an interesting way to try to do that, let's see if
22 talking about in general --                                  22 it works a different way. If I can make it more
23     Q I'm talking about source code here.                    23 efficient or if I can apply it in a different context.
24     A Okay. With this source code, sometimes, you            24 Right. Sometimes the source code that he had was not
                                                      Page 51                                                          Page 53
 1 know -- you have a notebook and you're going through the      1 real well formed, so it would -- just kind of like a
 2 source code and you kind of draw a picture or you make        2 mental exercise, that's an interesting -- that's kind of
 3 notes about well online something, something this did         3 an interesting way to do that, let's see if there's a
 4 this, and then you go to some other part of the source        4 better way.
 5 code and, oh, that relates to that and you draw an arrow.     5     Q So other than document review and source code
 6 It's just an analysis of -- Source code is not something      6 review, did you use any other methods in analyzing the
 7 that you read like you read a text. It's something you        7 materials from this case?
 8 parse apart because it's functional. Right.                   8     A Not that I recall. I don't believe so.
 9         It's much closer to -- it's much closer to            9     Q Looking at paragraph 7, it says your source
10 looking back and forth between footnotes and references      10 code review involved analyzing the structure and design
11 in a document than it is just reading a document. So         11 of the Bearbox technologies, including identifying
12 that's why it's source code review rather than reading       12 architectural and functional elements of the Bearbox
13 source code. That's my point.                                13 product suite which contains technologies, protocols, and
14     Q Other than -- Let's go back. You said you              14 architectures or which exhibits functions, behaviors, or
15 tried to run some of the source code. Why did you do         15 structures that may infringe on corresponding aspects of
16 that?                                                        16 the subject patents.
17     A Because I thought it was interesting.                  17        Do you see that?
18     Q What was the format it was provided to you in          18     A Yes.
19 to try to run it?                                            19     Q So what are the architectural things you're
20     A It was provided -- it was provided in -- I             20 identifying there?
21 think it was provided in native Python format as well as     21     A Well, architectures means what are the large
22 PDF with Bates labels. There was two separate                22 scale functional chunks. Right. So there's a database,
23 categories. Remember, I talked about the web thing with      23 oh, we're going to interface with the database. That's
24 the category. There's one category with -- there was         24 an architectural chunk. We're going to interface with

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 1 something that's across the network. That's a different       1 to save cabling. Some PDUs monitor themselves. They
 2 architectural chunk. We're going to loop through these        2 have temperature sensors, they typically have fans, they
 3 things. Oh, okay. That's a different -- just like what        3 see if they get too hot and they turn their own fan on.
 4 are the different zones or levels of functionality.           4 They monitor the incoming power and can shut things off
 5     Q How does that compare to the functional                 5 if the power fluctuates in certain ways. So it depends
 6 elements?                                                     6 on the intelligence built in the PDU. A PDU is a bulk --
 7     A Architecture is a collection of functional              7 accept bulk power, split it out. You can create some
 8 elements typically. So an architecture is an area of          8 intelligence in that process depending on
 9 source code or a relationship between functional elements     9 characteristics.
10 that may be doing something similar or doing something       10     Q And how is that intelligence created?
11 that's somehow interrelated.                                 11     A It depends on the -- depends on the vendor of
12     Q So you say the Bearbox product suite. What is          12 the PDU or the functionality of the PDU.
13 that?                                                        13     Q And the -- We call those intelligent PDUs. Has
14     A That's the collection of the code.                     14 that been around for a long time?
15     Q Anything else or just the code?                        15     A In different markets. Right. Like in the
16     A Well, it's the code -- it's the code and the           16 telecom market, there's very sophisticated power
17 functionality of the code, right. Bearbox also -- part       17 distribution devices. For example, in events telecom
18 of their product was -- part of their product suite was      18 compute -- ADC, it's a standard architecture for bladed
19 the cage and the PDUs that were being controlled by the      19 systems to fit in. It has a very complicated power
20 code.                                                        20 distribution setup that has onboard and offboard
21     Q When you say cage, what do you mean?                   21 intelligence to control the power that's distributed to
22     A It was a box.                                          22 monitor the power that's distributed, to make sure if
23     Q You're talking about a mining container?               23 this device needs 12 volts that it's always getting 12
24     A A rack, yeah.                                          24 volts to make sure the voltage doesn't fluctuate. I
                                                      Page 55                                                        Page 57
 1      Q Mining container with the racks in it --               1 mean, the intelligence of the PDU is typically
 2      A The PDUs and wiring and stuff.                         2 application dependent.
 3      Q And when you say rack, you mean just like              3        I mean, there are also PDUs. I mean, A power
 4 almost like a shelf that miners fit into?                     4 strip is a -- a conventional power strip that you plug
 5      A A place to put a computer.                             5 into the wall that -- you plug it into one plug and it
 6      Q When you say PDUs, what do you mean?                   6 has six plugs, that's a PDU, a type of stupid PDU.
 7      A Power distribution unit.                               7     Q If you turn to paragraph 9 of your report. You
 8      Q And what are those?                                    8 have a -- you start that with, I understand that Bearbox
 9      A Power distribution unit is something that's            9 and Austin Storms developed a system, and then you go on
10 used in a -- in a IT context where bulk power comes in.      10 to explain some of the pieces of that. Do you see that?
11 It typically at that point is converted to DC, sometimes     11     A Uh-huh.
12 it's just split, and then there's controls on every          12     Q What -- what -- So is your description there in
13 outgoing link to different devices.                          13 that first sentence, is that your understanding of what
14      Q And --                                                14 Mr. Storms' system was?
15      A It monitors itself.                                   15     A The first sentence of paragraph 9?
16      Q Is a power distribution unit -- is that               16     Q Of paragraph 9.
17 something specific to this case, or is that something --     17     A I understand that Bearbox and Austin Storms
18      A No, that's common.                                    18 developed a system that utilizes a set of bitcoin miners
19      Q That's a common thing.                                19 under the direction of a control system that uses these
20         You said the PDUs modify -- monitor themselves.      20 various things. Yes, it's a vertically integrated
21 How do they do that?                                         21 system.
22      A PDUs is a -- The concept of a PDU is a very           22     Q And your view of his system, could a system be
23 broad area of technology. So PDU in general is a device      23 just one minor or did it have to be more than one miner?
24 that accepts bulk power and then splits it out typically     24     A I think his thing was -- was set up to have

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 1 multiple miners, but it could scale down or up.            1 the one primary ones that have the whole thing in there,
 2     Q Is it your understanding he physically built         2 but I'd have to look at the source code to be absolutely
 3 this system with multiple miners?                          3 sure. I can probably look at the summary of the source
 4     A I don't know. I don't know if he physically          4 code in the appendix.
 5 built and deployed the system. I know that he simulated    5    Q So in your view fine grain load control then is
 6 it, and I think he had -- I know that he had -- based on   6 more than simply turning miners on and off?
 7 the documents that were provided, it seems like he had     7    MR. RICORDATI: Object to the form.
 8 prototyped a custom PDU device for a chassis and was able 8     THE WITNESS: Well, fine grain load control is
 9 to control it.                                             9 control of the load at something more than just a gross
10     Q When you say a chassis, what do you mean --         10 level.
11     A Chassis, cage, rack, collection -- a thing that     11    MR. NELSON: Q Let's suppose that the load is a
12 contains a whole bunch of computers.                      12 group of bitcoin miners. If you had a control system
13     Q So let me ask it then because I'm not sure I        13 that turned those bitcoin miners on or off in response to
14 understood your answer. So my question was whether a      14 some variable, is that fine grain load control?
15 system that utilized -- you say that Mr. Storms developed 15    MR. RICORDATI: Object to form.
16 a system that utilizes a set of bitcoin miners under the  16    THE WITNESS: I think that would have to be defined
17 direction of a control -- of a control system then, and   17 more specifically because you could have fine grain in
18 you go on. My question is, in your use of the term        18 terms of time, right. So you can turn something on and
19 system there that you utilizes a set of bitcoin miners,   19 off, and that's gross load control in terms of throughput
20 would you consider it a system if it utilized only a      20 maybe, but if you do it really rapidly, it's fine in
21 single miner?                                             21 terms of time. So fine grain has two dimensions, more
22     A Yeah. It would be a system that had an              22 than two dimensions probably, but two really obvious
23 arbitrary number of miners as well as API calls, custom   23 dimensions.
24 PDU logic, fan control, logic to process the information, 24    MR. NELSON: Q So one is time. What's the other
                                                     Page 59                                                       Page 61
 1 yeah. Doesn't matter how many miners are in there, it's    1 one?
 2 still a system.                                            2     A Outcome or power. You've not power in, you've
 3     Q So you say that part of that is the custom PDU       3 got outcome out.
 4 logic and fan control to provide fine grain load control   4     Q Okay. So if you had a system that could turn a
 5 for the miners. Do you see that?                           5 group of bitcoin miners off within 5 minutes of the power
 6     A Uh-huh.                                              6 -- well, if you had a system that could turn a group of
 7     Q What do you understand fine grain load control       7 miners off and on within 5 minutes of the power reaching
 8 to mean?                                                   8 a certain price point, is that fine grain load control?
 9     A Well, it's the ability to control a load with        9     MR. RICORDATI: Object to form.
10 high resolution in a combination of resolution and time   10     THE WITNESS: Within -- turn the group of miners as
11 and in output; input, output.                             11 in total on and off?
12     Q And what -- what code do you believe that           12     MR. NELSON: Q Yes.
13 Mr. Storms -- Do you believe Mr. Storms had any code that 13     A Within 5 minutes?
14 actually accomplished that?                               14     Q Of a price reaching a certain point -- power
15     A Yeah, I think that's contained in the source        15 price reaching a certain point.
16 code.                                                     16     A That would be stretching it. That's not fine
17     Q Which pieces?                                       17 -- In my mind that's kind of gross control.
18     A Well, we'd have to look specifically through        18     Q Okay. Well, then what would you need to add to
19 the ones. There's a lot of -- Maybe I can find the        19 that hypothetical to make it fine grain load control?
20 names. I don't recall offhand, but I think all the ones   20     MR. RICORDATI: Object to form.
21 that are arb_main -- arb_main something kind of have the 21      THE WITNESS: Well, the within 5 minutes problem --
22 entirety of it in there. I'd have to look. I don't        22 the within 5 minutes is a problem because that's really
23 remember the exact names of the modules, but there's --   23 bad lag. Being able to address the miners in groups
24 there's test things. There's -- I think arb_mains are     24 would create a form of finer grain control rather than

                                                                                                   16 (Pages 58 - 61)
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                                                      Page 62                                                         Page 64
 1 all of them at once. One at a time or two at a time or        1 that all of the custom logic exists inside the code, but
 2 just the top ones or just the bottom, that would be a         2 there is custom logic inside the code that performs this
 3 fine grain control. Being able to do it -- in different       3 application.
 4 groups and at different times would be a different            4    MR. NELSON: Q Well, if there's custom logic that
 5 resolution of the finer grain.                                5 exists outside the code in this case, what is it? Where
 6         You have a collection of things, and those            6 does it exist?
 7 things are individually using power and producing output.     7    A Well, it would be the way that the system was
 8 So if you control those things individually or in groups,     8 put together, the way the wires are run. That's -- not
 9 that's a form of -- that's one dimension of finer grain.      9 really logic, but it's system construct.
10 Right. If you can control -- on and off, control, that's     10    Q So I'm asking specifically about what you mean
11 one form of finer grain. If you can reduce their             11 by custom logic. You said that there's custom logic
12 consumption of power, that's a different form of finer       12 embedded in the code or as part of the code, and then you
13 grain. If you can turn them off in different sequence at     13 seem to say that there was custom logic outside of the
14 different times, that's a different dimension of finer       14 code.
15 grain. We're talking about a multi-dimensional               15    A Well, I was saying there's custom application
16 partitioning here, and being able to partition in smaller    16 specific construction, let's say.
17 pieces is the essence of finer grain.                        17    Q That's not my question.
18     MR. NELSON: Q So going back to paragraph 9,              18    A Logic --
19 number 3 says the system include custom logic to process     19    Q My question is, custom logic, does that exist
20 the information and periodically term mining                 20 outside the code?
21 profitability.                                               21    A Custom PDU logic and fan control -- if you
22         Do you see that?                                     22 constrain this to custom PDU logic and fan control, it
23     A Uh-huh.                                                23 would exist in the code that controls and manages the
24     Q What do you mean by us custom logic there?             24 PDUs and the fans.
                                                      Page 63                                                         Page 65
 1     A Well, custom logic is logic that's specific to          1     Q So you've got custom logic in the Python code
 2 the application. So it's application specific logic or        2 in number 3, and then you've got custom PDU logic and fan
 3 logic that's been developed for a particular purpose.         3 control. Is there any other custom logic that exists in
 4 And in this case the logic that's developed for a             4 this system in your view?
 5 particular purpose processes information that's coming in     5     A I have to think about that. There's logic
 6 and on some schedule makes a determination.                   6 involved in the construct of the container --
 7     Q What is that logic? I mean, specifically in             7     Q Not asking about logic. I'm asking about
 8 this case, what is that logic that Mr. Storms -- that you     8 custom logic as you used those words.
 9 allege Mr. Storms has?                                        9     A Well, if we -- if we phrase custom logic as
10     A That's the logic that's embodied in the Python         10 having to do with the Python code, then the custom logic
11 code.                                                        11 and the Python code is the only thing that processes the
12     Q All of the Python code or particular modules of        12 information and determines mining profitability. The
13 it?                                                          13 custom PDU logic and fan control, I know that the Python
14     A It would be particular places and particular           14 code interfaces with the PDUs and can turn them on and
15 modules.                                                     15 off and change the fan speed, but there may -- seems like
16     Q Is that logic anything else or is it the logic         16 -- I'd have to review that. I think -- I think the --
17 that's embodied in the code?                                 17 without -- without further diving into the details of the
18     MR. RICORDATI: Object to form.                           18 system implementation, I think it's fair to say that this
19     THE WITNESS: Well, the code -- the code is an            19 is focused on the logic that's within the Python code
20 implementation of the application purpose. So the code       20 that controls the PDUs and fans to control the load for
21 -- the application purpose gets translated into the code.    21 the miners, as well as the logic that processes the
22 So the code is an embodiment of the application purpose.     22 option information and determines mining profitability.
23 There may be other things that are outside the code that     23     Q So the last sentence says: Based on
24 also participate in the application. So it's -- it's not     24 conditions, the system may either instruct some or all of

                                                                                                      17 (Pages 62 - 65)
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                                                     Page 66                                                          Page 68
 1 the miners to mine bitcoin or sell power to the grid,      1     Q And my question was, the code did not have the
 2 parentheses, power arbitrage, closed parentheses.          2 ability to sell power back, correct, because it never had
 3        Do you see that?                                    3 such a business relation arrangement?
 4     A Yes.                                                 4     A I don't believe it was ever grid tied, and I
 5     Q Did Mr. Storms' system actually do that?             5 don't believe it was ever tied to a scheduling entity.
 6     A Mr. Storms' system was a prototype. I don't          6 So I don't think the business arrangement ever existed
 7 know if it was ever grid tied. I don't believe it was.     7 because it was a simulation or a prototype.
 8 I believe it was all prototype, but it had all the logic   8     Q Did -- So your viewpoint is that Mr. Storms'
 9 in there to instruct miners to mine bitcoin or to sell     9 collection of code could work either from the grid --
10 power back.                                               10 from the generator side or from the load side?
11     Q So when you say prototype, I think the word you     11     MR. RICORDATI: Objection. Mischaracterizes the
12 use in the reply report is simulation. Are you using      12 evidence.
13 prototype and simulation same --                          13     THE WITNESS: I don't think -- I think his system
14     A Same thing.                                         14 could have worked in a variety of orchestrations.
15     Q Okay. So can you explain how the simulation         15     MR. NELSON: Q So the answer is yes, you think it
16 allegedly performed power arbitrage or simulated power    16 could have worked -- Well, let me ask you -- the system
17 arbitrage?                                                17 that -- Well, first of all, let's get our terminology
18     A Sure. There was an incoming power price. If         18 straight.
19 the bitcoin -- there's incoming power price, and there    19        If we're talking about Mr. Storms' system, what
20 was incoming bitcoin information -- power information and 20 do you understand that to be?
21 bitcoin information, and then based on the projected      21     A Mr. Storms' system was the enclosure, the power
22 output of the bitcoin miners, you can figure out how much 22 distribution units, and the logic to control the power
23 money you're going to make by mining bitcoin, or you can 23 that that system would consume and make a tradeoff
24 figure out how much money you're going to make by not     24 between how much bitcoin that thing could mine versus
                                                     Page 67                                                          Page 69
 1 mining bitcoin and selling the power back.                   1 selling the power back that it would have consumed.
 2     Q And so from -- from the perspective -- the             2     Q So physically what did Mr. Storms' system
 3 perspective of this arbitration, was it being done from      3 consist of?
 4 the perspective of the load or from the perspective of       4     A Physically -- the cage, the construction -- the
 5 the generator, or something else?                            5 structure, the power distribution units, the wiring. It
 6     A I'm not sure I understand the question. Was it         6 would have been the place to put the miners, as well as
 7 -- it was being done from the perspective of controlling     7 the logic -- the control system and the logic that
 8 the load?                                                    8 control the miners and control the distribution of power.
 9     Q Well, if you're the load, how do you sell power        9     Q Did the system also include miners?
10 back?                                                       10     A I think the way he was planning to sell it, it
11     A You have an arrangement with the power market         11 was just the control system, not the miners. I remember
12 to not use the power that you have contracted for and       12 -- I remember one of the -- one of the disclosed
13 they buy it back.                                           13 documents has a pricing thing that's everything except
14     Q And did Mr. Storms' system have such an               14 the miners, so it's just the control system and the
15 arrangement with the power -- his simulation have such an   15 framework.
16 arrangement?                                                16     Q So the simulation ran on a miner, did it -- The
17     A The simulation doesn't need that kind of              17 simulation used a miner, didn't it?
18 arrangement. That's a business arrangement that's           18     A The simulation was for the control system.
19 outside of the computer simulation.                         19     Q Did it not use a miner?
20     Q So the answer is no, the simulation didn't have       20     A It interfaced with miners.
21 that arrangement, right?                                    21     Q Was -- Did it turn a miner on and off?
22     A It had the ability to designate -- to designate       22     A Uh-huh.
23 times at which power would have been sold back through a    23     Q Did it turn multiple miners on and off?
24 business arrangement if that existed.                       24     A Yeah, it was to address --

                                                                                                      18 (Pages 66 - 69)
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                                                     Page 70                                                      Page 72
 1     Q I didn't ask was it able to. I'm asking if did         1     THE VIDEOGRAPHER: The time is 10:38 p.m. This is
 2 it. Did it turn more than one miner on or off?               2 the end of media unit 1. We're going off the video
 3     A I'd have to look specifically at the code. I           3 record.
 4 believe it was capable of doing that.                        4         (Off the record)
 5     Q My question is, do you know whether the system         5     THE VIDEOGRAPHER: The time is 10:47 a.m. This is
 6 did in fact turn more than one miner on and off?             6 the beginning of media unit 2, and we're back on the
 7     MR. RICORDATI: Asked and answered.                       7 video record.
 8     THE WITNESS: If it had been deployed, would it have      8     MR. NELSON: Q So, Mr. McClellan, can you turn to
 9 turned miner on or off, is that what you're asking?          9 paragraph 14 of your report. The first sentence says:
10     MR. NELSON: Q I'm asking as, you know -- the            10 Based on my review and analysis as summarized above, my
11 system ran on a simulation is my understanding. And --      11 opinion is that Bearbox was in possession of the
12     A Okay.                                                 12 technologies recited in the asserted claims either
13     Q As it was running did it turn a miner on or           13 literally or under the doctrine of equivalents and other
14 after?                                                      14 trade secrets relating to power arbitrage prior to
15     A I don't know if he ran it with a miner attached       15 meetings with Lancium. And then it goes on.
16 to it. You're asking me if something happened at a          16         Do you see that?
17 particular point in time that had a miner attached to it.   17     A Uh-huh.
18 I can't speak to that. I have reviewed the code and I       18     Q So what aspect of the claims was Bearbox
19 think it has the capability of doing that. I don't know     19 allegedly in possession of under the doctrine of
20 if it was actually done because I wasn't there, and I       20 equivalents in your use of the words there?
21 didn't review that part of the thing. I reviewed the        21     A Are you specifically asking about doctrine of
22 code, and the code certainly has that capability.           22 equivalents?
23     Q All right. So you don't know whether the              23     Q Yes.
24 system actually turned a miner on or off?                   24     A I have to go back and review exactly what
                                                     Page 71                                                      Page 73
 1     A That's not part of my role in this analysis is      1 doctrine of equivalents means. These legal terms --
 2 to determine what happened at a particular time.          2     Q I think you can -- You can look at paragraph 39
 3 Actually turning a miner on and off is something that     3 perhaps for that if you need to.
 4 happens at a particular point in time.                    4     A So under the doctrine of equivalents if a
 5     Q My question is simply --                            5 limitation of an asserted claim is not literally present
 6     A He may have not.                                    6 in an accused instrumentality, an equivalent component or
 7     Q So you don't know?                                  7 step may be identified instead. A component or step is
 8     A I don't know if he ever connected a miner to it     8 equivalent when there's an insubstantial difference
 9 or not. I assume that he did, but I don't know. The       9 between the component and the claim limitation. So the
10 code certainly has that capability.                      10 test is substantially the same function and substantially
11     Q I assume your answer is the same to whether or     11 the same way to achieve substantially the same result.
12 not he ever connected multiple miners to his system, you 12     Q Right. And my question is, what aspects of the
13 don't know one way or the other?                         13 asserted claims do you believe Bearbox was in possession
14     A It doesn't really matter to me because the code    14 of under the doctrine of equivalents as opposed to
15 certainly has that capability.                           15 literally?
16     Q So the answer is you don't know?                   16     A I would have to go through the claim elements
17     A I don't know what he did at any point in time      17 item by item. And you want to know which ones were
18 before I was attached to the case, correct.              18 literal and which ones were equivalent? We have to go
19        We've been going for an hour and a half. Can      19 through the claim elements item by item.
20 we take a break?                                         20     Q Okay. Is that done in your report or not?
21     MR. NELSON: We can take a break.                     21     A I don't know if it's done in the report, if it
22     THE WITNESS: My 60-year-old bladder can only go so 22 identifies whether it's doctrine of equivalents
23 far.                                                     23 specifically or not. I don't recall the specifics.
24     MR. NELSON: No problem.                              24     Q When you say the -- various parts of your

                                                                                                   19 (Pages 70 - 73)
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                                                     Page 74                                                          Page 76
 1 report you say the system was capable of something. Do       1     A If we look back at the definition of doctrine
 2 you remember that?                                           2 of equivalents it does substantially the same thing in
 3     A Uh-huh.                                                3 substantially the same way, then it's equivalent.
 4     Q Is that doctrine of equivalents or is that             4     Q So that in your view then if something in
 5 something else?                                              5 Mr. Storms' system didn't meet the claim limitation
 6     MR. RICORDATI: Object to form.                           6 exactly, but it did something similar in the same way, it
 7     THE WITNESS: Well, like we were talking a minute         7 would be sufficient for the inventorship analysis?
 8 ago, I don't believe that the Bearbox system was ever        8     MR. RICORDATI: Objection. Calls for a legal
 9 connected to -- was ever grid connected. So it was           9 conclusion.
10 capable of being grid connected, but it was not.            10     THE WITNESS: I don't know if I'm capable of -- like
11     MR. NELSON: Q Yeah. But my question is -- Thank         11 the objection says, providing a legal conclusion on that.
12 you for that. But my question is more broad because I'm     12 If the claim limitation says -- gives a certain type of
13 trying to figure out what aspects of the Bearbox            13 functionality, and the functionality of the system is
14 technology you believe are in the asserted claims under     14 substantially the same or has the same form or produces
15 the doctrine of equivalents, and I don't see in your        15 the same outputs, then there's an equivalency there.
16 report where you specifically call that out. What I do      16     MR. NELSON: Q Okay. And my understanding is --
17 see in your report is various places where you say the      17 I'm trying to understand your opinions. In that scenario
18 system was capable of meeting a particular claim            18 would you say then -- So suppose that Mr. Storms -- you
19 limitation. And my question was, when you say it's          19 maintain Mr. Storms communicated on a claim element to
20 capable of meeting a claim limitation, is that your         20 Mr. McNamara and that Mr. Storms' system was equi -- for
21 analysis under the doctrine of equivalents or is it         21 that claim element Mr. Storms' system was equivalent to
22 something else?                                             22 the claim -- the claim element in the '433 patent. Under
23     MR. RICORDATI: Object to form.                          23 that scenario, would you maintain then that Mr. Storms
24     THE WITNESS: Well, capable of meeting a claim           24 had met that claim element for the purposes of
                                                     Page 75                                                          Page 77
 1 limitation means that it was capable of meeting that         1 inventorship? Is that your opinion is what I'm trying
 2 claim limitation whether it specifically was tested under    2 get at?
 3 those circumstances or not, like, for example, with the      3     A That sounds reasonable.
 4 -- with being grid tied.                                     4     Q What do you understand -- So going back to
 5     MR. NELSON: Q So am I understanding your answer          5 paragraph 39. What do you understand insubstantial
 6 correctly then is that just because you use the word         6 difference to be?
 7 capable of it does not mean it was doctrine of               7     A I've got to find 39. What do I understand what
 8 equivalents analysis or it does?                             8 -- a substantial difference or insubstantial difference?
 9     A I'm not exactly sure how to answer that. If it         9     Q 39 is more -- is the legal doctrine of
10 was capable of doing something, then it had the ability     10 equivalents section, correct?
11 to do that, if it was deployed in that fashion. I'm not     11     A Right.
12 exactly sure how that relates to doctrine of equivalents.   12     Q And one of the -- one of the terms there that
13 I'd have to look at that and noodle on that for a while.    13 is used is insubstantial difference. Do you see that?
14     Q What's your understanding of the role of              14     A Right.
15 doctrine of equivalents in establishing inventorship?       15     Q What do you understand an insubstantial
16     MR. RICORDATI: Objection. Calls for a legal             16 difference to be?
17 conclusion.                                                 17     A Well, literally that's a difference that's not
18     THE WITNESS: I'm not a lawyer.                          18 substantial. It's not a -- not a meaningful difference.
19     MR. NELSON: Q I'm asking you if you have an             19     Q An is that the criteria you used in your
20 understanding. What is your understanding as somebody       20 analysis whether the difference was meaningful or not?
21 who put in an expert in this case -- or expert report in    21     MR. RICORDATI: Objection. Calls for a legal
22 this case that uses doctrine of equivalents what your       22 conclusion.
23 understanding is of that in the context of your             23     THE WITNESS: Well, in -- from my perspective,
24 inventorship opinions?                                      24 meaningful has to do with what the function is or what

                                                                                                      20 (Pages 74 - 77)
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                                                     Page 78                                                         Page 80
 1 the outcome is or how the process works. But if they're      1 ordinary meaning you used your understanding of the terms
 2 very close, then there's an insubstantial difference.        2 as of the date of this report, or was it the plain and
 3     MR. NELSON: Q And did you use that understanding         3 ordinary meaning at the time Mr. Storms and Mr. McNamara
 4 in forming your opinions in the case?                        4 went to dinner, or was it the plain and ordinary meaning
 5     A Yes. If the component or step and the claim            5 prior to that? What time period does your plain and
 6 limitation performs substantially the same function in       6 ordinary meaning analysis encompass?
 7 substantially the same way to achieve substantially the      7     A Well, the concept of plain and ordinary meaning
 8 same result, then there is an insubstantial difference.      8 has to do with the terminology around the application
 9 I mean, that's --                                            9 area, and if the plain and ordinary meaning of the
10     Q Would adding a new feature to the code to meet        10 terminology around that application area changes, then
11 a claim criteria -- would that be an insubstantial          11 you have to adapt to that. I don't notice any changing
12 difference?                                                 12 during this -- during the timeframe of the last 2, 3
13     MR. RICORDATI: Object to the form.                      13 years that this thing has been in contention. I don't
14     THE WITNESS: Depends on what the feature is, right.     14 think the plain and ordinary meaning has undergone any
15 If you add a GUI to the code, it's an insubstantial         15 large -- of any of the terms in here have undergone any
16 difference for this particular case.                        16 large changes during that timeframe.
17     MR. NELSON: Q So if I understand your opinion           17     Q So prior to me asking this question, had you
18 correctly, you used what you define -- what you called      18 considered the timeframe of the plain and ordinary
19 the plain and ordinary meaning to a person of ordinary      19 meaning?
20 skill in the art when understanding the claim terms. Is     20     A Well, typically plain and ordinary meaning is
21 that right?                                                 21 at the time of analysis. That's the way I typically use
22     A Yeah.                                                 22 it. At the time of the -- Well, if it was a patent that
23     Q And is that plain and ordinary meaning at any         23 was filed, you know, ten years ago, then you have to
24 time or is it at a particular time?                         24 think about what the plain and ordinary meaning was at
                                                     Page 79                                                         Page 81
 1     A I'm not sure I understand the question. It's           1 the time that the patent was filed and contrast that with
 2 plain and ordinary meaning.                                  2 what's going on now.
 3     Q Well, my question is so -- You can turn to             3     Q What timeframe of plain and ordinary meaning
 4 paragraph 49 to give you the context.                        4 did you use in your analysis in this case?
 5        So you say: I understand that claim terms by          5     A I think I already answered that. It's the
 6 default are construed by their plain and ordinary meaning    6 plain and ordinary meaning that's -- this is very
 7 to a person of ordinary skill in the art. For the            7 localized in time. So the plain and ordinary meaning of
 8 purposes of my analysis, I have applied the plain and        8 the terms that are associated with this case are
 9 ordinary meaning of the claim terms.                         9 localized in time. There hasn't been a large timeframe
10        Do you see that?                                     10 change where technology can migrate between them.
11     A Right.                                                11     Q Well, there's been several years. What time --
12     Q And my question is, the plain and ordinary            12 My question is simple. What time period did you utilize
13 meaning that you have applied, is that in any particular    13 to determine your plain and ordinary meaning, or did you
14 timeframe, or is it just in general?                        14 utilize any?
15     A That seems -- that -- the question makes me           15     MR. RICORDATI: Objection. Asked and answered.
16 uncomfortable because it seems to call for some sort of     16     THE WITNESS: There's no -- In my opinion for this
17 legal conclusion about what the term plain and ordinary     17 case, there's no real change in plain and ordinary
18 meaning means. Plain and ordinary meaning is just the       18 meaning for the terms that are involved in this patent in
19 plain and ordinary meaning to somebody who has ordinary     19 this technology. There hasn't been a large time scale
20 skill in the art. The plain and ordinary meaning of         20 where things can evolve and terminology changes.
21 things can change over time as technology changes.          21     MR. NELSON: Q Did you utilize a particular time
22     Q That's my question. Did you -- did you utilize        22 period for your plain and ordinary meaning analysis in
23 the plain and ordinary meaning in your view of these        23 this case?
24 terms at any particular time period? Was it plain and       24     MR. RICORDATI: Objection. Asked and answered.

                                                                                                     21 (Pages 78 - 81)
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                                                       Page 82                                                         Page 84
 1     THE WITNESS: It's the time period around this case         1 that much power?
 2 which, in my opinion, is relatively compact.                   2      A Typically it's consume because you're a load
 3     MR. NELSON: Q So the time period from when to              3 that's not controllable. If you're a controllable load,
 4 when then? Give me years.                                      4 then you're buying that power with the assumption that
 5     A I think the patent was filed in 2019, right?             5 you're going to consume it. If you have ability to sell
 6 The date of the patent filing -- If you look at the            6 it back, then you can sell it back. But you don't sell
 7 timeline there's the date when they started -- when            7 it back to whoever you bought it from, you sell it into a
 8 Storms started to develop stuff, and there's a date when       8 market at that time. It's an agreement with the seller
 9 Lancium had product, and there's a date where they             9 to consume, right?
10 overlapped, then there's a date when the patent was           10         And consume doesn't mean use. Consume means
11 filed. All of that timeframe was fairly compact between       11 purchase. Whether I use that power to do something with
12 like 2018 and 2020. It's about a two-year period -- two-      12 or whether I sell that power to somebody else, that's
13 or three-year period in there.                                13 separate from the power option agreement.
14     Q So is that the time period you used, or did you         14      Q What's your understanding of a minimum power
15 use your understanding as you were doing your -- plain        15 threshold in this case as used in the '433 patent?
16 and ordinary meaning as you were doing your analysis --       16      A That's the data that's associated with the
17 When you were writing your report, what time period did       17 option agreement.
18 you use?                                                      18      Q What specifically is a minimum power threshold?
19     MR. RICORDATI: Objection. Asked and answered.             19      A That's the amount of power that you're
20     THE WITNESS: The time period of the report is early       20 contracted to consume.
21 2022 which abuts the time period of the activity of the       21      Q And by consume you don't mean use, correct?
22 patent and stuff. So it's basically all the same time         22      A I may not use it, but I'm going to consume it.
23 period. I don't know that there's any substantial             23 I'm purchasing it. Whether I use it or whether I sell
24 migration or substantial changes in any of the terms that     24 it, that's a completely separate issue. I'm agreeing to
                                                       Page 83                                                         Page 85
 1 are associated with this patent or with this case. If          1 purchase it at that threshold.
 2 there have been -- if there have been, then we need to         2     Q So just to be clear so our -- Your use of the
 3 isolate those and make sure that there wasn't any              3 word consume here means -- it doesn't mean physically the
 4 misinterpretation of anything.                                 4 data center consumes the power by using it. It also
 5     MR. NELSON: Q What's your understanding of the             5 could mean that the power is sold back.
 6 plain and ordinary meaning of power option agreement?          6     A Consume is a transactional thing. Right. The
 7     A My understanding of power option agreement is            7 consumption is a transaction where I'm consuming it. I
 8 it's essentially a contract to buy power at a certain          8 have to dispatch that power some way.
 9 price. It's like a wholesale purchase. I'm going to buy        9     Q What do you understand the term performance
10 X number of units at X price.                                 10 strategy to mean in the context of the claims of the '433
11     Q What's your understanding of power option data?         11 patent?
12     A Power option data is the data that's associated         12     A A performance strategy is deciding -- is a
13 with the power option agreement.                              13 decision based on incoming data and conditions and
14     Q What -- is there any specific data that's               14 monitored conditions as to how to dispatch the -- how to
15 required to be power option data, or can it be anything?      15 dispatch the power that's been consumed through the PPA
16     A I think at least it has intervals and minimum           16 against bitcoin miners or not.
17 thresholds. There may be other data that's associated         17     Q So in your understanding of performance
18 with that, but I think there's thresholds over intervals.     18 strategy could performance strategy be to not consume
19     Q And intervals are intervals of time?                    19 power?
20     A Time intervals, yeah.                                   20     A It could be --
21     Q And what are thresholds?                                21     Q I'm sorry. Let me -- I asked a bad question
22     A You agree to buy power at that -- you agree to          22 because I used the word consume in a different context.
23 consume that much power at a certain price at that time.      23        So in your understanding of the term
24     Q You agree to buy that much power or consume             24 performance -- the meaning of the term performance

                                                                                                       22 (Pages 82 - 85)
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 1 strategy, could a performance strategy be a decision for     1     A Well, if I purchase one kilowatt at $1, I'm
 2 the load to not utilize power?                               2 going to pay that $1 whether I use that kilowatt or not.
 3     A As long as it complies with the minimums, yeah.        3     Q So the minimum power threshold in that example
 4     Q What minimums must it comply with?                     4 is the $1 or the one kilowatt?
 5     A The minimum thresholds in the PPA.                     5     A The power threshold is the kilowatt.
 6     Q If I understood -- if I understood -- You said         6     Q The minimum power threshold is the kilowatt?
 7 PPA. I think the term from the patent is power option        7     A Uh-huh.
 8 agreement.                                                   8     Q Then what is the dollar?
 9     A Yeah. That's -- that's --                              9     A That's the price I paid for the kilowatt.
10     Q Are you using the two -- Do you think there's a       10     Q I'm sorry. I have been misspeaking. Just for
11 difference between -- Well, between a PPA which -- What     11 the record, I may have said '633 patent a few times. Do
12 do you understand PPA to be?                                12 we have an understanding that when we've been testifying,
13     A I may have just used the wrong term. I meant          13 I'm using -- the patent in question is the '433 patent.
14 the contracted purchase of power at a certain rate.         14     A Right.
15     Q Do you understand that the term -- do you             15     Q Your testimony was relating to the '433?
16 understand there's such a thing called a power purchase     16     A Yes, '433 -- the report is relative to the '43
17 agreement?                                                  17 patent.
18     A Yeah. I've heard of that.                             18     Q And my questions -- You understood my questions
19     Q Do you understand --                                  19 to be as well?
20     A I think they're essentially the same thing, but       20     A Yes.
21 I'm not exactly sure of the difference.                     21     Q Thank you.
22     Q That was my next question. Is there a                 22        The patent talks about the performance strategy
23 difference or not that you are aware of?                    23 may specify a power consumption target for the load. Do
24     A I tend to use them interchangeably, and that          24 you have an understanding what the power consumption
                                                     Page 87                                                        Page 89
 1 may not be exactly right.                                  1 target for the load is?
 2     Q So going back to minimum power threshold again.      2      A That's the amount of power that you want the
 3 Is that -- Do you understand that to be a power threshold  3 load to consume.
 4 to be power that must be utilized in the form of the data  4      Q Going back -- I want to go back to minimum
 5 center actually operating and physically using the power,  5 power threshold one more time. So what do you understand
 6 or do you understand minimum power threshold to be         6 the word threshold to mean in minimum power threshold?
 7 something else?                                            7      A In general a threshold is an amount or a value
 8     A I'm not -- I'm not sure of all the specifics of      8 that's called out specifically, and you observe whether
 9 the contractual arrangement. I think that you're going     9 you're crossing it, whether you're under it, over it, or
10 to pay for the power at a minimum power threshold whether 10 crossing it in northbound or a southbound direction. So
11 you use it or not.                                        11 threshold is a value that's a form of target, but it's
12     Q So in your view --                                  12 not necessarily a form of target that you want to meet.
13     A I don't know if you have to use it or if you        13 It may be a target that you want to avoid.
14 have to pass it through. You may just not use it, but     14      Q In the context of the '433 patent, is it a
15 you're going to pay for it no matter what.                15 target that you want to meet or avoid or both?
16     Q So in your view point then the term minimum         16      A It's a minimum threshold, so it's a target that
17 power threshold as used in the '633 patent can be a price 17 you have to be above.
18 for power?                                                18      Q If I understand your -- rest of your testimony,
19     MR. RICORDATI: Objection. Vague.                      19 it's a target that you have to be above, and you can --
20     THE WITNESS: It's the -- it's the threshold at        20 according to your understanding of the plain and ordinary
21 which you're going to pay for power that you've purchased 21 meaning, you can be above that target by either using the
22 in advance.                                               22 power -- physically consuming the power or consuming the
23     MR. NELSON: Q What do you mean by threshold in 23 power by selling it back, is that correct?
24 that context?                                             24      MR. RICORDATI: Objection. Mischaracterizes the

                                                                                                    23 (Pages 86 - 89)
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 1 testimony.                                                 1 it's used in the '433 patent, you can either consume the
 2     MR. NELSON: Q Do I understand your testimony           2 power, meaning physically use it to run bitcoin miners,
 3 correctly?                                                 3 for example, or consume the power to -- in the form of
 4     A Well, I think this is actually a better              4 selling it back, and minimum power threshold encompasses
 5 question for Mr. McCamant. The power option agreement is 5 both of those scenarios in its plain and ordinary
 6 an agreement to purchase a certain amount of power at a    6 meaning, is that correct?
 7 certain time at a certain price. I don't know if you're    7      A The minimum power threshold is the contracted
 8 required to dispatch that power or if you can just not     8 amount that you're going to pay for regardless of -- I
 9 use it. But I know that you're going to pay that price     9 don't think you have to use it, but regardless of whether
10 no matter what, because you have got the contract.        10 you use it or not. For example, I could contract -- and
11 You're contractually obligated to pay for the power at    11 I believe this is correct -- but, again, this is a
12 that price at that time. I don't know if you have to      12 question for McCamant. We'd have to look at the
13 dispatch it.                                              13 specifics of the purchase agreement.
14     Q Well, you are the person who is providing           14         If I have one light bulb, I could buy one
15 opinions in this case whether Mr. Storms conceived the    15 kilowatt hour for today at noon and I could use that
16 inventions of the '433 patent, and you are the person who 16 kilowatt hour to run that light bulb. Or -- and I'm
17 is applying the claim language in the plain and ordinary  17 going to pay for that kilowatt hour no matter what. Or I
18 meaning as you understand that claim language to the      18 can turn that light bulb off, and I'm still going to pay
19 claims of the patent. So my question to you is -- going   19 for that kilowatt hour. Or I could screw in five light
20 back again, is the minimum power threshold, is that       20 bulbs and I could use more than that one kilowatt hour,
21 something that must be utilized by the data center in the 21 and I'm still in compliance with that contract. But I've
22 form of it's actually physically being consumed by the    22 got to pay for that one kilowatt hour, one kilowatt hour
23 data center, or may it -- may a minimum power threshold   23 that I contracted for. But I don't know the specifics of
24 also be something that is utilized in the context of      24 the contract to get in anymore detail than that.
                                                     Page 91                                                       Page 93
 1 selling -- is consumed by selling it back?                 1      Q So the claims also use the term set of
 2     A The minimum power threshold -- this is a             2 computing systems, correct?
 3 business question really. The minimum power threshold -- 3        A Uh-huh.
 4     Q This is a claim -- This is a claim construction      4      Q What's the meaning of set of computing systems?
 5 question relating to your understanding of the plain and   5      A That's computing systems, more than one because
 6 ordinary meaning of the claim terms as you have applied    6 it's a set. Devices that do some sort of computational
 7 them. So please answer the question in that context.       7 something, and there's more than one of them.
 8     MR. RICORDATI: Objection. Asked and answered and 8            Q The claim uses the term monitor a set of
 9 argumentative.                                             9 conditions. What does monitor mean?
10     THE WITNESS: Yeah. I think I was talking and he       10      A Monitor means observe.
11 talked over me.                                           11      Q At any particular time? Always? Once?
12        Fundamentally it's a business question because     12      A I think the implicit meaning there is that you
13 you've purchased that power sometime in advance and you 13 monitor over time, because if you only monitor something
14 purchased it to use it at a certain time, and you're      14 once, you're really not monitoring it. You made one
15 going pay for it. So it's a business liability. Whether   15 observation. Monitor means multiple observations.
16 you use the -- whether you have to use the power or not,  16      Q So the claim -- I'll refer to Claim 4 -- If you
17 I'm not sure exactly what the requirements are in the     17 need to look at the patent, I can give you the patent too
18 contract, but you're going to pay for it. So you can use  18 to answer this question because --
19 it or you can just do nothing and still pay for it.       19      A I can find it in here, I guess.
20 Right. That's -- that's -- that's the structure of the    20      Q You may be able to, but you may not for a
21 '433 patent.                                              21 couple of these.
22     MR. NELSON: Q Right. So -- so let me make sure I      22      A Okay. It would be helpful to have a copy of
23 understand. So to meet the -- the meaning of the claim    23 it.
24 element minimum power threshold, in your understanding as 24      Q Let me give a copy U.S. Patent No. 10,608,433

                                                                                                   24 (Pages 90 - 93)
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 1 marked as Defendant's Exhibit 203. And just for the          1 computational operation, whatever that operation happens
 2 record, when I have been using the term '433 patent, I       2 to be. And it's feeding those -- the control system is
 3 have been using the term relating to this patent.            3 either holding onto the priorities and using those to
 4        (Exhibit 203 marked as requested)                     4 feed the orders to the computer systems, or it's feeding
 5     Q If you turn to the last -- second to last page         5 the orders and the priorities to computer systems who are
 6 where the claims start. Go to Claim 4. And Claim 4           6 then using the priorities to do things in a certain order
 7 states: The systems of Claim 3 wherein the performance       7 or deprioritize.
 8 strategy further comprises an order for the set of           8    Q If you go to the next page, Claim 18.
 9 computing systems to follow when performing the one or       9    A Uh-huh.
10 more computational operations, wherein the order is based   10    Q And the second element of that claim says:
11 on respective priorities associated with the one or more    11 Determining the performance strategy to further comprise
12 computational operations.                                   12 instruction for at least a subset of the set of computing
13        Do you see that?                                     13 systems to operate at an increased frequency based on a
14     A Uh-huh.                                               14 combination of at least a portion of the power option
15     Q So do you understand what's meant by an order         15 data and the information about the set of computing
16 for the set of computing systems to follow?                 16 systems.
17     A Uh-huh.                                               17        Do you see that?
18     Q What is meant by that?                                18    A Yes.
19     A The order for the computing system to follow          19    Q What do you understand the set of computing
20 could mean a lot of different things. And in                20 systems to operate at an increased frequency to mean?
21 interpretation, it could mean for them to turn on. In       21    A That can mean a lot of different things, that
22 another interpretation it could mean for them to turn       22 can --
23 off. It could mean for them to go to a quiescent state.     23    Q What do you understand -- What do you
24 It could mean for them to start processing a certain        24 understand it to mean, not what it could mean. I'm
                                                     Page 95                                                         Page 97
 1 thing at a certain -- work on a certain workload at a      1 interested in your opinion what it does means.
 2 certain rate.                                              2      A Well, it means a lot of different things all at
 3     Q So let's use the example where you said they         3 once because it's fairly vague. Increased frequency
 4 were going to turn off as one -- as one of your things.    4 could mean the frequency of the CPU. Right. Could mean
 5 So in that example, the rest of the claim element reads:   5 jack up the frequency of the CPU or drop the CPU down.
 6 Wherein the order is based on respective priorities        6 So -- Because when a CPU operates faster, it consumes
 7 associated with the one or more computational operations.  7 more power. When it operates slower, it consumes less
 8        Do you see that?                                    8 power in general.
 9     A Uh-huh.                                              9         It could mean to -- in a pulse width modulation
10     Q What is the -- In the case where it's turning       10 kind of an idea, it could mean to operate at a certain
11 off, how would that be based on the respective priorities 11 level for this period of time, then stop, then operate at
12 associated with the one or more computational operations? 12 that same level for a longer period of time, then stop.
13     A Well, the performance strategy is assigning         13 And in between there you can change those levels. So
14 priorities to the operations, and it may be feeding those 14 it's a -- it's a collection of instructions to say the
15 operations to the set of computers, and the set gets      15 frequency can be the time of operation or the frequency
16 maybe one or maybe more computers, and it's feeding those 16 can be the control of the operation itself through
17 in some sort of priority order, and it may be feeding     17 something like a CPU frequency.
18 those with the priorities to the computing systems, and   18      Q So would increasing the clock speed, would that
19 the computing systems are examining the priorities and    19 be one thing that met this claim?
20 following those instructions based on that.               20      A Yeah. It could also mean spin down the disks.
21     Q In that example how are the priorities              21 Right. Increased frequency could mean go ahead and use
22 associated with the computational operations?             22 your disk a lot. It couldn't mean don't use your disk.
23     A Well, the performance strategy is determining       23 It could mean -- increased frequency means a rapidity of
24 the priorities that are associated with each              24 some kind in time, and different parts of computers

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 1 consume power in different ways.                              1     Q Do you consider the level of skill in this --
 2     Q So the patent also talks about monitoring a set         2 Well, level of skill in the art here, what do you
 3 of conditions, and earlier I asked you about monitor,         3 consider this art to be?
 4 right?                                                        4     A The art of the '433 patent?
 5     A Uh-huh.                                                 5     Q Yes.
 6     Q What do you understand the set of conditions to         6     A Well, you have to have a little bit of software
 7 be, the plain meaning of set of conditions?                   7 knowledge, a little of power system knowledge, and a
 8     A Well, it's a collection of inputs.                      8 little bit of business knowledge.
 9     Q Any inputs --                                           9     Q Do you -- do you consider the field of art -- a
10     A Collection of things that you observe. It's            10 person of ordinary skill in the art here to be relatively
11 whatever the conditions the patent claim language talks      11 a low-skilled individual, high-skilled individual? Where
12 about. In this case going back to Claim 18, for example,     12 does the person of ordinary skill in this art, in your
13 it talks about information about the set of computing        13 view, fit in?
14 systems. That could be some of the conditions.               14     A I don't think this is particularly complicated.
15     Q So if you go to paragraph 46 of your report --         15 I mean, there are aspects of it that are a little more
16     A Oh, wow. Turned right to it. Okay.                     16 detailed, but I don't think it's particularly
17     Q So there you give the definition -- your view          17 complicated.
18 of the definition of a person of ordinary skill in the       18     Q Do you think Dr. Ehsani meets the level of
19 art?                                                         19 skill in the art in this case?
20     A Right.                                                 20     A In some ways.
21     Q And you have a degree in electrical                    21     Q In your view?
22 engineering. Is that a bachelor's degree or is it            22     A Yeah.
23 something else?                                              23     Q Do you know Dr. Ehsani?
24     A Refers to bachelor's degree.                           24     A I was a student at Texas A & M when he first
                                                      Page 99                                                         Page 101
 1    Q Computer science, also refers to a bachelor's            1 joined Texas A & M as a faculty member. I don't believe
 2 degree?                                                       2 I ever had classes with him, but I have seen him. I
 3    A Uh-huh.                                                  3 think I've probably met him a few times long time ago.
 4    Q Or a similar field. What do you mean by                  4    Q Do you have an opinion regarding his
 5 similar field?                                                5 reputation?
 6    A For example, physics, computer information               6    A Uhn-uhn.
 7 systems. There's a bunch of different degree types that       7    Q Do you think he's -- has integrity, for
 8 have this same sort of content in there.                      8 example?
 9    Q Well, you say or similar fields. So I'm                  9    A I suppose so. I mean, I haven't had any
10 interested in what fields you would consider to be           10 contact with him in more than 20 years.
11 similar. So you said physics, you said --                    11    Q You've read the '433 patent, correct?
12    A There's a bunch -- there's a lot of different           12    A Yes.
13 ones.                                                        13    Q How many times?
14    Q Tell me what they are.                                  14    A I have no idea, many.
15    A Easiest way to be to go back to the Abet                15    Q Many like 3? Many like 20?
16 definition of credited bachelor's degrees. It could be       16    A You mean from beginning to end? Probably once
17 some form of engineering technology, engineering --          17 from beginning to end. Back and forth little pieces here
18 electrical engineering technology, computer engineering      18 and there, hundreds.
19 technology, electrical engineering, computer engineering,    19    Q When did you read it last?
20 computer science, software engineering, physics, computer    20    A Read it -- By read it do you mean from
21 information systems. I mean, we'll be here all day           21 beginning to end?
22 because different places define bachelor's degrees in        22    Q Yes.
23 different ways. And there's probably 10 or 15 on the         23    A That would have been four months ago.
24 Abet list that would be similar.                             24    Q When did you look at it last?

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                                                   Page 102                                                       Page 104
 1     A Two or three minutes ago.                           1 interview when they were telling me about the case, and
 2     Q Well, prior to this deposition when did you         2 they were actually relatively inaccurate.
 3 look at it last?                                          3    Q Did your notes refresh your recollection, yes
 4     A Well, there's snippets of it in the report so       4 or no?
 5 I've seen snippets of it in going through the report.     5    A No. I said the notes that I took were
 6 Does that qualify as looking at it or are you talking -- 6 relatively inaccurate, so they didn't refresh my
 7     Q Sure.                                               7 recollection. They confirmed that I had gotten it wrong
 8     A Yesterday, the day before.                          8 the first time. The things that refreshed my
 9     Q But you didn't -- These reports were done           9 recollection would be the reports and the documents cited
10 before yesterday or the day before. So did you look at 10 in the reports.
11 it in the context of preparing for your deposition?      11    Q So take a look at the patent again and look at
12     A Yeah.                                              12 Claim 1 real quick. Just read it to yourself, and let me
13     Q How long did you spend preparing for your          13 know when you're done.
14 deposition?                                              14    A Okay.
15     A A few hours yesterday, and a couple hours a 15           Q So what is your understanding of the plain and
16 couple more days earlier in the week.                    16 ordinary meaning of Claim 1?
17     Q Did you meet with anybody?                         17    A Claim 1 is very broad. There's plain and
18     A Sure. Met with the legal team.                     18 ordinary meaning of a bunch of different terms.
19     Q Did you meet with Mr. Storms?                      19    Q We talked about the terms. Maybe it was a poor
20     A No, not during the deposition -- not during the 20 question. I'm just trying -- I'm trying to get your
21 prep for the deposition, no.                             21 understanding of the scope of Claim 1 as somebody who is
22     Q Did you talk to Mr. Storms?                        22 opining on the plain and ordinary meaning of terms and
23     A Not during that time, no.                          23 comparing Mr. Storms' system as we defined it to the
24     Q Did you meet in person or virtually with the 24 claim.
                                                   Page 103                                                       Page 105
 1 legal team?                                                 1     A Well, it's a system of computing systems, a
 2    A In person here, yesterday. Virtually before            2 collection of computing systems, one or more, I guess,
 3 that.                                                       3 that can be instructed to do computational operations
 4    Q Who did you meet with?                                 4 based on a business arrangement that has to do with power
 5    A Yesterday?                                             5 options.
 6    Q Yes.                                                   6     Q Anything else?
 7    A Ray and Ben.                                           7     A Well, and instructing to do the computational
 8    Q Who did you meet with before that?                     8 operations it's based on a performance strategy that it
 9    A Ray and Ben.                                           9 figures out, and the performance strategy is based on a
10    Q Did you look at any documents in the context of       10 set of conditions as well as information that's
11 preparing for the deposition?                              11 associated with the power option data.
12    A Just the reports and the documents that are           12     Q Anything else?
13 associated with the reports.                               13     A We can go on for days. This claim is broad.
14    Q Anything else?                                        14     Q I understand that's your opinion, yes.
15    A Well, my own notes, but that's the same as the        15     A There's always going to be something else. I
16 documents in the reports.                                  16 mean, you're asking for me to summarize something that's
17    Q Did your notes refresh your recollection?             17 really complex. My summary will, by definition, be a
18    A The notes weren't particularly helpful                18 little bit -- have holes in it or have gaps in it. So if
19 actually. The reading through the documents was more       19 you ask me if there's anything else, I'll say yes every
20 helpful.                                                   20 time until we go exactly through the language of the
21    Q Did your notes refresh your recollection, yes         21 claim.
22 or no?                                                     22     Q Yeah. I'm just trying to get your
23    A The notes that I was referring to were taken at       23 understanding generally of what the scope of the claim
24 the very beginning when I was -- basically during the      24 is. So is there anything else with your general

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 1 understanding about the scope of the claim?                            1 say domain knowledge, do you mean your personal
 2    A    That's -- I think that's a reasonable summary.                 2 knowledge as --
 3 But if you ask me if there's anything else, I'll say yes               3     A It's my understanding of the technologies that
 4 because that claim is pretty broad.                                    4 are at play, my understanding of the markets, you know,
 5    MR. NELSON: Why don't we take a five-minute break.                  5 yeah, and other materials that are associated with the
 6    THE VIDEOGRAPHER: The time is 11:36 a.m. and we're                  6 case like the other background materials.
 7 going off the video record.                                            7     Q Okay. In looking at the terms of the '433
 8        (Off the record)                                                8 patent, did you find any of them to be ambiguous?
 9    THE VIDEOGRAPHER: The time is 12:34 p.m. And we're                  9     A All patents have terms that are ambiguous, so,
10 back on the video record.                                             10 yes.
11    MR. NELSON: Q Good afternoon, Dr. McClellan.                       11     Q Which ones did you find to be ambiguous?
12    A    Afternoon.                                                    12     A Do you want to go through the claims and have
13    Q    During the break or at any point today have you               13 me point them out? I mean, we have talked about several
14 discussed the subject matter of your testimony with                   14 of them already.
15 counsel?                                                              15     Q Let me make sure. Let me give you a definition
16    A    No.                                                           16 of what I mean by ambiguous because I'm not sure you're
17    Q    So before the lunch break we were talking about               17 clear. So what I mean by ambiguous in -- that you can't
18 the plain and ordinary meaning of certain terms of the                18 figure out the meaning from the specification of the
19 '433 patent. Do you remember that?                                    19 patent itself or the prosecution history of the patent if
20    A Yes.                                                             20 you looked at it.
21    Q    What did you do to form your opinions as to                   21     MR. RICORDATI: Objection. Calls for a legal
22 what the plain and ordinary meaning of these terms were?              22 conclusion.
23    A    Well, just interpreted the terminology in the                 23     THE WITNESS: I still think there's some ambiguities
24 patent in the context of my industry knowledge and                    24 in the terminology.
                                                              Page 107                                                        Page 109
 1 technology knowledge.                                                  1     MR. NELSON: Q I understand, but I want to make
 2     Q Did you look at the -- did you consider the                      2 sure when the term ambiguous is used that we're using it
 3 patent in forming your opinion as to the plain and                     3 in the same context here.
 4 ordinary meaning of the terms?                                         4        So, when I asked you if there were any terms in
 5     A I guess that's fair, yeah.                                       5 the '433 patent that you found ambiguous in formulating
 6     Q Did you consider -- Do you know what the                         6 the plain and ordinary meaning, what I meant by the term
 7 prosecution history of a patent is?                                    7 ambiguous was that you as a -- as a purported expert here
 8     A Uh-huh.                                                          8 could not determine the meaning of the claim term absent
 9     Q Did you consider the prosecution history of the                  9 looking outside of the specification or the prosecution
10 '433 patent in forming your opinions as to the plain and              10 history of the patent had you looked at that.
11 ordinary meaning of the terms?                                        11     A I think -- I think the plain and ordinary
12     A I didn't look at it in detail.                                  12 meaning of the terms that are in here are less ambiguous
13     Q So the answer is no?                                            13 under those constraints.
14     A Right.                                                          14     Q But my question is very specific. In the
15     Q Did you consider anything else in the context                   15 context of forming your plain and ordinary meaning, are
16 of forming your opinion as to the plain and ordinary                  16 there any terms in the patent -- Let me start over.
17 meaning of the terms of the '433 patent?                              17        You told me what you did to determine the plain
18     A My interpretation of creating a plain and                       18 and ordinary meaning, and so my follow-up question is,
19 ordinary meaning interpretation is to somebody who is                 19 are there any terms in the patent claims that you as a
20 skilled in the art. So if you have domain knowledge, you              20 purported expert could not determine the plain and
21 use your domain knowledge to interpret the terms in the               21 ordinary meaning of based on solely looking at the
22 context of that domain knowledge. So that's basically                 22 specification and/or the prosecution history had you
23 what I did.                                                           23 looked at it?
24     Q So you used your personal knowledge -- when you                 24     A Well, you can determine the general plain and

                                                                                                            28 (Pages 106 - 109)
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                                                     Page 110                                                       Page 112
 1 ordinary meaning of it, but you can't determine the           1 there any terms that you as an expert could not derive,
 2 specific meaning of it. For example, things like              2 understand the plain and ordinary meaning of based solely
 3 computer system, that can mean a whole lot of different       3 on looking at the specification of the patent and the
 4 things. Right. I think I understand in the context of         4 prosecution history and the claims themselves as part of
 5 this what they mean by computer system, so it becomes         5 the specification?
 6 less ambiguous. But the term computer system can mean a       6    A I think -- I think using that constrained
 7 whole lot of different things. So you have to use the         7 context you can come up with interpretations of these
 8 domain and the terminology that's in the patent to kind       8 claims, their plain and ordinary interpretations, that
 9 of disregard that type of computer system because we're       9 get you a pretty accurate perspective on what those terms
10 talking about one that's like this, for example.             10 mean but -- for example, back to computer systems
11     Q So use that as an example. So what do you              11 example. There's nothing in here that talks about the
12 believe the term computer system -- the plain and            12 operating system that's functioning on the computer for
13 ordinary meaning of the term computer system is in the       13 example.
14 context of the '433 patent?                                  14        So there's completely different classes of
15     A Well, because of the -- because of the --              15 operating systems that might be functional for some
16 because of the application space and because of the          16 things rather than other things. So it's a computer
17 domain space, I think they're talking about things that      17 system that incorporates a large swath of potential
18 are like essentially hardened or not hardened pizza box      18 interpretations, but the general concept of computer
19 servers that have particular specifications. They're not     19 system I think is pretty clear from this. It's an
20 talking, for example, about a raspberry pi, they're not      20 enterprise class computer system, maybe a pizza box,
21 talking about an Arduino, they're not talking about a        21 maybe a one U rack mountable server, but it has certain
22 micro controller which could be construed as a computer      22 types of characteristics that would enable it -- that
23 system. They're talking about enterprise class, data         23 would better enable it to do things like bitcoin mining,
24 center class computer system. Computer system spans the      24 as opposed to a different kind of computer system that
                                                     Page 111                                                       Page 113
 1 gamut.                                                        1 wouldn't be configured that way.
 2    Q And so using that again as an example, do you            2     Q And so using that as an example, just to be
 3 believe as an expert that you could not determine the         3 clear, so to understand the plain and ordinary meaning of
 4 meaning of computer system in this -- as used in the '433     4 computer system, would you as an expert have to rely on
 5 patent based on reading the '433 patent, its                  5 anything else other than the patent and its prosecution
 6 specification, and the prosecution history, that you          6 history?
 7 would need other information other than what's in the         7     A Well, that's where a person I think of skill in
 8 patent and the prosecution history to determine the plain     8 the art comes into it. Right. You read between the
 9 and ordinary meaning of computer system as used in the        9 lines.
10 patent?                                                      10     Q You're not answering my question. My question
11    A I would need -- that would depend on the -- it          11 is would you as an expert to determine the plain and
12 would depend on the specification application and those      12 ordinary meaning of a computer system, would you have --
13 associated with the patent, but I think the general term     13 to reach that meaning, would you have to look -- could
14 of computer system that's used in the patent has a           14 you reach that meaning looking solely at the patent and
15 meaning that tends towards an enterprise class server        15 the prosecution history --
16 system, rather than some other type of system.               16     MR. RICORDATI: Objection.
17    Q Yeah. I understand that. So my question is              17     MR. NELSON: Q -- or would you need to go outside
18 really specific. So you're a purported expert in this        18 of the patent and the prosecution history to get some
19 case. You formed opinions as to what the plain and           19 other information, whatever that is, to reach the plain
20 ordinary meaning of certain terms are. You told me what      20 and ordinary meaning of computer system?
21 you did to reach those opinions of what the plain and        21     MR. RICORDATI: Objection. Asked and answered.
22 ordinary meanings are, you told me what you looked at.       22     THE WITNESS: I can describe to you what my process
23        So my question to you -- and this is very             23 would be for interpreting computer system in the context
24 specific -- is looking at the claims of the patent, are      24 of this patent.

                                                                                                  29 (Pages 110 - 113)
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                                                    Page 114                                                       Page 116
 1    MR. NELSON: Q Well, You already did. You already          1 my personal experience.
 2 did that.                                                    2    MR. NELSON: Q Your personal experience --
 3    A I wouldn't go consult some other thing. I               3    A If I had zero experience, I would have a
 4 would look at the computer system, and I would think         4 potentially different interpretation of the term computer
 5 about this is where the skill in the art -- I would think    5 system, for example. My experience has informed me that
 6 about what it is they're trying to do with a computer        6 the interpretation of computer system in this context is
 7 system and how you would optimize the structure of that      7 very much, much more likely to be that rather than this.
 8 computer system to function in this application space,       8 Right. If I had -- if I didn't have that experience I
 9 and that's what I would interpret computer system to mean    9 might lump all those together as computer system. For
10 as a result.                                                10 example, this is a computer system. This is not
11    Q I understand.                                          11 applicable in this case.
12    A I wouldn't rely on anything outside for that.          12    Q Just for the record, this, he's holding up his
13    Q Well, but what you're talking about there is           13 cell phone.
14 you're relying on your own personal knowledge as an         14    A My cell phone.
15 expert.                                                     15    Q Okay. I think I understand.
16    A Yeah. That's the person of ordinary skill in           16    A You understand what I'm saying?
17 the art.                                                    17    Q Yes.
18    Q Well, that's not the question I'm asking. I'm          18    A I can't divorce my own personal experience from
19 asking as an expert, looking only at the patent             19 my interpretation here.
20 specification claims and the prosecution history, could     20    Q Okay.
21 you divine the plain and ordinary meaning of computing      21    A It's very difficult for me to do that.
22 system looking only at that information and nothing else?   22    Q And if you had divorced your own experience
23    MR. RICORDATI: Objection. Asked and answered.            23 from it, if I understand correctly, your plain and
24    THE WITNESS: I mean, that's what we've done.             24 ordinary meanings might be different?
                                                    Page 115                                                       Page 117
 1     MR. NELSON: Q Well, That's not what you said you       1     A It's possible. But it's the plain and ordinary
 2 did. You said you looked at -- you used your own           2 meaning in the interpretation of a person who is skilled
 3 personal knowledge as an expert and the domain. My --      3 in the art. So the skilled in the art part kind of
 4     A That's what I just said. That's what the             4 automatically focuses.
 5 report is. It's an interpretation of the patent claims     5     Q All right. Let's look at different pieces of
 6 taking into account my knowledge in the domain and trying 6 your report here.
 7 to interpret those in a plain and ordinary fashion.        7     A Which report? The first one?
 8     Q I understand that. And I understand that in          8     Q The first one. Why don't you go to
 9 doing that you took into account your knowledge of the     9 paragraph   57.
10 domain based on your experience and the patent, right?    10     A Okay.
11     A Yeah.                                               11     Q All right. So 57 is connection with claim
12     Q And my question to you is -- I understand what      12 element 1, which you label as 1(a) for Claim 1, correct?
13 you did. My question to you now -- It's really a          13     A Yes.
14 yes-or-no question. Is in your opinion could you have     14     Q And this is your opinion as to where that
15 arrived at a plain and ordinary meaning -- I don't care   15 element is met in Mr. Storms' system, is that fair?
16 what that meaning of it is -- could you arrived at the    16     A Yeah. It's the noted modules perform functions
17 plain and ordinary meaning based solely on looking at the 17 related to the elements of that claim.
18 patent and the prosecution history, or did you need to go 18     Q And then you list 11 modules here, right?
19 outside of the patent and the prosecution history in      19     A Yes.
20 terms of your own personal knowledge and the domain to 20        Q And these modules 1 through 11, are those
21 arrive at the meaning?                                    21 Mr. Storms' Python source code?
22     MR. RICORDATI: Objection. Asked and answered.         22     A Yeah. Those are the names of the modules of
23     THE WITNESS: So when you're saying outside of the 23 the Python. I think it's all Python. Yeah. Names of
24 patent and the prosecution history, you're talking about  24 the modules of the Python code as provided to me.

                                                                                                 30 (Pages 114 - 117)
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                                                     Page 118                                                         Page 120
 1     Q Did you look -- in the code that you looked at          1     Q What if it turned out that the court finds none
 2 in this case, did you look at any code that wasn't            2 of these 11 actually taught that element? Would there --
 3 Python?                                                       3 would there be others --
 4     A I don't think so. I think it was all Python.            4     A I don't think that's possible.
 5     Q So if I say Python code, do we have a common            5     Q I understand that's your opinion. I'm saying
 6 understanding that we're talking about the Mr. Storms         6 what it if turned out that the court ruled that way. I'm
 7 code in this case?                                            7 trying to figure out what else would be your opinion as
 8     A Yeah. I believe they were -- I believe                  8 to whether there's any other code that would meet it
 9 everything was Python.                                        9 that's not listed here.
10     Q Okay. And the Python code that's listed here           10     A Well, if these particular modules were stricken
11 -- I know there's others -- other modules that are listed    11 as being not applicable to this claim element, we'd have
12 here, but the collectively Mr. Storms' Python code,          12 to go back into the other ones and see if there was other
13 that's the source code in this case that we've been          13 pieces of that claim element in those modules. It's
14 talking about, right?                                        14 possible that there is because there were so many
15     A Yes.                                                   15 different modules and a lot of them overlapped a lot.
16     Q Now, to your knowledge did Mr. Storms ever make        16     Q So what was your criteria for deciding to list
17 the source code available to Mr. McNamara?                   17 these 11?
18     A I don't believe so. I think the only things            18     A These ones were the ones that seemed to have
19 that were provided were the data sheet and the diagram       19 the most applicability to that claim language.
20 and the Excel spreadsheet, but I don't know if the source    20     Q Do you ever explain specifically where each of
21 code was provided or not.                                    21 these modules meet the claim language?
22     Q Okay.                                                  22     A If you look in the appendix, you'll find a
23     A I don't recall.                                        23 summary of each module that talks about the different
24     Q You have not seen any evidence that it was,            24 functions, the different data structures, the different
                                                     Page 119                                                         Page 121
 1 have you?                                                     1 elements, as well as specific Bates numbers and line
 2     A No. I don't recall seeing any evidence like             2 numbers.
 3 that.                                                         3     Q So it's -- I'm trying to understand the
 4     Q If you turn to page 17 of your report, we're            4 structure of your report. So if we want to see the
 5 still in paragraph 57, just on next page you say: A non       5 specific reason why each of these modules allegedly meets
 6 -- nonexhaustive example -- nonexhaustive examples are        6 -- why it's your opinion that this -- that the module
 7 listed below with reference to the current claim              7 meets the claim element, we'd look at the appendix
 8 language. A detailed analysis of each module is provided      8 description for each module?
 9 in the appendix.                                              9     A Yes.
10     A Uh-huh.                                                10     Q Okay. And is that true -- Because your
11     Q So are there other -- Is it your opinion there         11 report -- for each claim element it lists a group of
12 are other code modules that also demonstrate possession      12 modules. Some of them are the same as these, some are
13 of the element of Claim 1 or is this all of them?            13 different than these.
14 Because you say it's nonexhaustive samples. So I'm           14     A Correct.
15 trying to figure out if there's others that aren't listed    15     Q So for each of these modules, your opinion as
16 here that you believe demonstrate that Mr. Storms was in     16 to specifically why the module meets the claim element is
17 possession of Claim 1 element A.                             17 contained in the appendix?
18     A It's possible. These are the ones that seem to         18     A Well, and in general -- in general there's a
19 jump out as being the most relevant.                         19 little summary at the -- In the body of the report,
20     Q Okay. So it's -- I guess I'm trying to figure          20 there's a summary around the module that customizes why
21 out why if it's possible there were others why didn't you    21 -- that kind of explains why that module is applicable to
22 list them all.                                               22 that piece of the claim language. If you want more
23     A Because there was no need. There's already 10          23 detail than that, then you go to the appendix. And if
24 or 11 listed here.                                           24 you want more detail than that, then you use the appendix

                                                                                                    31 (Pages 118 - 121)
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                                                     Page 122                                                        Page 124
 1 as an index into the actual source code.                      1    Q So what do you -- what do you understand or
 2     Q I'm trying -- I can look at the actual source           2 what do you mean by associated power threshold?
 3 code. I'm trying to understand all the different places       3    A Well, the term intervals, each had an
 4 where your opinions are provided. So it would -- it           4 associated power threshold.
 5 sounds like they're provided in the paragraphs themselves     5    Q So is that the same as a minimum power
 6 associated with the particular claim element, and then to     6 threshold, or is that something different?
 7 the extent those paragraphs call out source code modules      7    A It's essentially the same idea. It's the same
 8 the appendix where you give your opinion as to what that      8 concept, right. You have a time interval with a target.
 9 source code module does, is that fair?                        9 Target is the threshold.
10     A Yeah. I mean, the best way to think about it           10    Q So -- but the claim says minimum threshold, and
11 is the source code is laying on the table. Think of it       11 you use the same statement associated power threshold.
12 as little dots, little elements of the source code laying    12 And my question is, do you mean something different or do
13 on the table. And the appendix takes a subset of that        13 you mean minimum power threshold?
14 source code, a module, and creates a summary of it with      14    A It means -- it essentially means the same
15 specific indexes into it. And then in the claims,            15 thing.
16 there's a second layer abstraction that kind of explains     16    Q You say essentially. Does it mean the same
17 why that first layer of abstraction is applicable.           17 thing or not?
18         So there's kind of a three layer thing there         18    A If the power threshold is a minimum, then it's
19 that keeps from having to paste pieces of source code        19 the minimum power threshold.
20 into the module, which gets really cumbersome, but it's      20    Q Okay. And what if it's not?
21 the equivalent of pasting pieces of source code into the     21    A The power threshold not necessarily have to be
22 report because you can index directly from the body of       22 the minimum threshold in some cases. Right. So you
23 the report to the module, to the element, to the code.       23 could have -- the minimum power threshold is associated
24     Q So let's turn to paragraph 61 and 62.                  24 with the power option agreement.
                                                     Page 123                                                        Page 125
 1     A Uh-huh.                                                 1     Q Correct.
 2     Q And that refers to claim element 1 -- what you          2     A Right. So it would be straightforward to
 3 label as 1(c), correct?                                       3 change the code to where it wasn't relative to a minimum
 4     A Yes.                                                    4 power threshold. It would be relative to some different
 5     Q And so if you look at 62, does that explain             5 power threshold, but it's the same thing. Threshold is a
 6 where in Bearbox's system you believe that claim element      6 threshold.
 7 is satisfied?                                                 7     Q But you can make it -- So is the code as
 8     A Paragraph 62 explains, in general, that the             8 currently written associated -- is it -- is it looking at
 9 Bearbox system used those elements of the claim or had        9 a minimum power threshold, or is it looking at an
10 reference to those elements of the claim, and then the       10 associated threshold?
11 source code that's listed in 64 calls out specific           11     A They would be the same thing in this case.
12 modules that would provide a more specific perspective on    12     Q What condition would it not be the same thing?
13 that.                                                        13     A If the code were adjusted a little bit, it
14     Q So in paragraph 62 you state: The systems              14 could be a different kind of threshold. So it's a
15 conceived and/or developed by Bearbox satisfy this aspect    15 threshold that's associated with the time interval. If
16 of Claim 1 at least because the Bearbox systems              16 you're doing a power option agreement, then you can call
17 calculated profitability at distinct time intervals, each    17 it the minimum power threshold. You can do different
18 with an associated power threshold, such as comparing        18 kinds of -- I mean, the code is flexible enough to where
19 mining profitability based on, inter alia, current power     19 you can fiddle with it and it can be the maximum power
20 usage and energy price conditions on the one hand with       20 threshold. It's a threshold.
21 profitability based, inter alia, on expected future power    21     Q What do you mean by threshold?
22 usage and energy price conditions.                           22     A I think we've already defined threshold.
23        Do you see that?                                      23     Q What do you mean by it again for my
24     A Uh-huh.                                                24 edification?

                                                                                                   32 (Pages 122 - 125)
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                                                     Page 126                                                       Page 128
 1     MR. RICORDATI: Objection. Asked and answered.             1    A Hard coding it has to do with at runtime when
 2     THE WITNESS: It's a value that you want to be aware       2 the computer is loading those values. Right. A hard
 3 of to either cross or not cross or to be above or below.      3 coded variable is a loaded media. Right. A variable --
 4 It's a -- it's not a target value because you're not          4 a hard coded value is low to medium. A variable value is
 5 trying to achieve it. Right. It's a boundary value in         5 de-reference into a memory location. Those are different
 6 some respects.                                                6 things. There's very few instances where Mr. Storms used
 7     MR. NELSON: Q So does the code receive data that          7 hard coded values.
 8 is the minimum -- In your view does the code receive data     8    Q So going back to paragraph 62 for a minute.
 9 that is the minimum power threshold?                          9 The word again associated power threshold which I
10     A Yeah. The code simulates the receiving of time         10 understand you're also maintaining maintains is the same
11 intervals with power thresholds and computes target          11 as a minimum power threshold here. How is that -- how is
12 values.                                                      12 that arrived at in Mr. Storms' simulation?
13     Q And what variable in the code holds the minimum        13    A The associated power threshold -- the power
14 power threshold data?                                        14 threshold associated with distinct time intervals?
15     A We'd have to look specifically at the code. We         15    Q Yes.
16 may be able to find it in the appendix. Let me look.         16    A We'd have to look specifically at the code to
17         In arb_main -- in paragraph 64, it refers to         17 see where those values were -- were read or derived, but
18 arb_main_AEC. If you look at arb_main_AEC on                 18 they're written out into a table. And I believe the
19 paragraph A.1, page 94 talks about the way the module        19 table uses a constant value or very slowly changing
20 processes the data. It talks about pricing values and        20 value.
21 break even point and the provided parameters which           21    Q Does the Bearbox system that you've
22 include market parameters, load parameters and so on.        22 described -- does it have the ability to determine the
23 And if you look down one, two, three -- fourth or fifth,     23 amount of power that it is -- that it is using at any
24 good example the fourth bullet says: Good break even --      24 given point in time?
                                                     Page 127                                                       Page 129
 1     Q Fourth bullet point I think you meant.                  1     A It appears so, yes.
 2     A The fifth bullet point talks about a function           2     Q Where do you describe that it can do that?
 3 called, it's get break even USD per kilowatt hour which       3     A It knows how many miners are in play, it knows
 4 determines the break even power price. So there's a --        4 the power consumption of the simulated miners, it knows
 5 for the configured miner hash rate and kilowatt load and      5 how many of them there are. That's how much the load
 6 for insertion in the database, blah, blah, blah, that         6 would be. It's also described in -- it's also described
 7 there would be a minimum power threshold in there. I          7 in the data sheet for the rack system or the container
 8 don't know -- we'd have to look specifically at the code      8 system.
 9 to see what the value of the variable -- what the name of     9     Q And, so, in that context, the assumption you're
10 the variable was.                                            10 make something is that all miners are running at
11     Q That variable in Mr. Storms' simulation was            11 100 percent for the system to know how much load it's
12 hard coded, right, it was a fixed -- that placeholder for    12 consuming?
13 -- in Mr. Storms' simulation for a power amount there,       13     A That's the maximum load.
14 that was fixed, right, hard coded into the code?             14     Q Yeah. My question to you was, does Mr. Storms'
15     A I don't know. We'd have to look specifically           15 system, as you've described it, have the ability to
16 at the code to see where the value of the variable was --    16 determine in realtime the actual amount of power that it
17 what the name of the variable was and where the value of     17 is using?
18 the variable would have been defined. But it wouldn't        18     A To determine in realtime the actual amount of
19 hard code it because it was assigned to a variable.          19 power that each individual miner is using, to determine
20     Q When you say assigned to a variable, what do           20 the amount of power that's being spent -- that's being
21 you mean?                                                    21 burned in the PDU, to determine which actual amount of
22     A Well, there's a difference between hard coding         22 power?
23 and initializing a variable.                                 23     Q To determine the total amount of power that his
24     Q Explain.                                               24 system is consuming.

                                                                                                  33 (Pages 126 - 129)
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                                                     Page 130                                                                  Page 132
 1     A I don't know if he's got a gross power monitor       1 intelligent PDU or whether his PDUs were off the shelf?
 2 on there. I don't know if he meters the consumption --     2    A It looked to me like he was building custom
 3 the instantaneous consumption. I don't know. I'd have      3 PDUs in some respect.
 4 to look at the code.                                       4    Q And that's -- Was he building it or was
 5     Q Does Mr. Storms' system to your understanding        5 Mr.  Hustler building it?
 6 have the ability to determine how much power the miners    6    A Who?
 7 within his system are using as a group, as opposed to an   7    Q Mr. Jason Hustler. You don't know who that is?
 8 individual miner?                                          8    A I don't know.
 9     A It makes assumptions about different types of        9    Q Do you know who Mr. Jason Hustler is?
10 miners and how much power they would consume. So it can 10      A It sounds familiar, but I'm not recalling what
11 be reconfigured for different miners of different         11 part he played in this right now.
12 characteristics. It can be reconfigured for different     12    Q Do you know if Mr. Storms or Mr. Hustler were
13 groups of miners that have different characteristics and  13 building PDUs in the same physical location as his
14 different power or gross power targets, and so on.        14 simulation was running?
15     Q But all of that would be projected power            15    MR. RICORDATI: Objection. Assumes facts not in
16 consumption based on the characteristics of the different 16 evidence.
17 miners. I'm talking about an actual operation if his      17    THE WITNESS: I can't speak to that.
18 system had been used to mine bitcoins. Does it have the   18    MR. NELSON: Q So you don't know?
19 ability to determine the amount of power the miners are   19    A I don't know anything about their physical
20 using at a given point in time?                           20 construction.
21     A I don't know if he has the ability to sub meter     21    Q Do you know if under Mr. Storms' system the
22 the miners. You'd have to have a -- you'd have to have a  22 system -- do you know whether it was impossible under
23 device that measured amount of current that was being     23 Mr. Storms' system for the -- to tell the miners to
24 consumed and the voltage that was being provided to the   24 maintain a certain amount of load?
                                                     Page 131                                                                  Page 133
 1 inlet power system of each miner. I don't know if his         1    MR. RICORDATI: Objection. Vague.
 2 system has that.                                              2    THE WITNESS: Can you restate that?
 3     Q Do you know if you identified anywhere in the           3    MR. NELSON: Q Yeah. Do you know whether it would
 4 source code where his system had the ability to report        4 be possible -- whether it was impossible under
 5 the amount of power actually being consumed by the            5 Mr. Storms' system to instruct the miners to maintain a
 6 system?                                                       6 certain amount of load?
 7     A Well, since his was a simulation, it couldn't           7    MR. RICORDATI: Objection. Vague.
 8 determine the actual amount of power being consumed. It       8    THE WITNESS: You mean to consume a certain amount
 9 would be an estimate. I don't know if he envisioned in        9 of power?
10 his system the ability to get feedback from those            10    MR. NELSON: Q I mean -- When we've discussed the
11 devices, but that would drive the overall system cost up     11 word consume, that has multiple meanings here. So to
12 because you'd have to have a sensor on the power inlet or    12 constantly -- Well, let me ask a different way.
13 -- you have sensor on the outlet of the PDU. If the PDU      13        Do you know whether Mr. Storms' systems could
14 is smart and it can report that, then he can get that off    14 instruct the miners to maintain a certain load, whether
15 the PDU -- off the PDU interface. So from that               15 that was -- whether that was impossible for his system to
16 perspective, yes. If the PDU was not smart, then he'd        16 do?
17 have to meter the device where the power is being            17    A    No, his system could do that.
18 consumed, and I don't know if his system thought about       18    Q    Do you know whether he said his system could do
19 that.                                                        19 that or not?
20        I think he may have been considering an               20    A    I think it's pretty clear from the code.
21 intelligent PDU where he could monitor characteristics       21    Q    Would you be surprised if he said it was
22 off the PDU and get the PDU to tell him how much it's        22 impossible for his system to do that?
23 putting out on each port.                                    23    A    I'd have to know what the context was.
24     Q Do you know whether he was considering an              24    Q    So you won't know one way or the other?

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                                                   Page 134                                                       Page 136
 1      A Well, it seems to me based on looking at the         1 merely one of ordinary skill in the art would have been
 2 code that it would have been possible for his system to     2 required to modify the existing system -- I think I read
 3 instruct the miner to maintain a certain load. Now,         3 that wrong. Hold on. Let me start over.
 4 depending on what maintain a certain load means, right,     4        In paragraph 63 you state: To the extent this
 5 it's highly dependent on the structure of the computer      5 feature, meaning claim element C -- 1(c) is found not to
 6 system. It's really difficult to say to an arbitrary        6 be explicitly described in the Bearbox disclosure, it is
 7 computer system, consume this much power, and only this     7 my opinion that merely ordinary skill would have been
 8 much power. That's really tough.                            8 required to modify the existing system to explicitly
 9      Q What about his total build? So let's say he          9 incorporate this feature.
10 had -- let's say hypothetically he had a -- his system     10        Do you see that?
11 was 50 miners. Do you know whether his system -- under     11      A Uh-huh.
12 that system it would be possible to maintain a constant    12      Q So is it your opinion that this feature is
13 load?                                                      13 found in Mr. Storms' system based on paragraph 62 or that
14      A What do you mean by constant load? Constant         14 it's not found but would be easy to do as stated in
15 power usage?                                               15 paragraph 63? Because it seems like paragraph 62 and 63
16      Q Power usage, yes.                                   16 contradict each other.
17      A Well, if the things are on, their power supply      17      A Contradict each other.
18 is going to burn a certain amount of power, their          18      MR. RICORDATI: Objection. Mischaracterizes the
19 operating system function is going to burn a certain       19 report.
20 amount of power, even if they're quiescent. If they use    20      THE WITNESS: I don't think those two paragraphs
21 -- I mean, there's so many variables in this, it's         21 contradict each other.
22 really, really difficult without specific monitoring on    22      MR. NELSON: Q Well, is it your opinion that claim
23 the internals of a computer system to tell it to consume   23 element 1(c) is or is not found in Mr. Storms' system?
24 a certain amount of power. It's really difficult.          24      A Okay. Claim 1(c) -- element 1(c) says:
                                                   Page 135                                                       Page 137
 1     Q And sort of by extension then it's really             1 Receive power option data based at least in part on a
 2 difficult to tell it to maintain a certain amount of        2 power option agreement. His system was a simulation, so
 3 power, to maintain the same -- using the same amount of     3 it didn't actually have a power option agreement, but it
 4 power?                                                      4 was able to receive power option data on simulated power
 5     A You can -- Well, there are certain power              5 agreement. Wherein, the power option data specifies, 1,
 6 amounts that you can tell it to go to, right. You can       6 a set of minimum power thresholds -- he had has minimum
 7 tell it -- depending on the structure of the computer       7 power thresholds -- 2, a set of time intervals -- he
 8 system, right, you can always tell it to turn off, and      8 clearly had time intervals -- where each minimum power
 9 that's specific amount of power, zero. So it could do       9 threshold in the set of minimum thresholds is associated
10 that.                                                      10 with a time interval and set of time intervals. Yes, his
11     Q That's no load. I'm talking.                         11 system did that.
12     A It's consuming a certain amount of power.            12     Q So his system did all those things except for
13 Right. You can tell it to be quiescent, and that will      13 it couldn't receive power option data based on at least,
14 give you a better -- that will give you a better -- you    14 in part, on a power option agreement because it was a
15 can tell it to stop performing anything except its         15 simulation, is that fair?
16 operating system activity, that will give you a pretty     16     A It was a simulation, and to receive power
17 good idea about how much power it consumes. But, again,    17 option data based on a power option agreement, you have
18 it wouldn't be constant. You'd have to average it over a   18 to stroke the power option agreement. And to my
19 certain period of time because it's never constant. So     19 knowledge he never had a stroked power option agreement,
20 the question really -- There's no possible way to answer   20 but his system would have been capable of receiving that
21 the question. There's too many other considerations.       21 data if he had.
22     Q So turning to paragraph 63. You state: To the        22     Q In your view would a POSITA -- you used the
23 extent this feature is not found to be explicitly          23 word POSA, P-O-S-A, all caps -- would a POSITA have had
24 described in Bearbox disclosure, it's my opinion that      24 knowledge of power option agreements?

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                                                     Page 138                                                       Page 140
 1    A I think -- yeah.                                      1 And so, you know, it's general domain familiarity and
 2    Q Why do you say that based on your level of            2 conversations with colleagues.
 3 skill?                                                     3     Q So going to paragraph 62 again, the last
 4    A Somebody who's -- somebody's who familiar with        4 portion of it. The last sentence says: The Bearbox
 5 the way that power markets work would understand that you 5 system also included custom PDU software capable of
 6 could have a power option agreement.                       6 providing quote -- capable of providing fine grain load
 7    Q And in your view does a -- because I don't            7 control, parentheses i.e., the ability to turn on some
 8 recall in your definition of a person of ordinary skill a  8 but not all of the miners, closed parentheses.
 9 requirement that they be familiar with power option --     9     A This is paragraph 62?
10 with power markets.                                       10     Q The last sentence of 62.
11    A Well, a power market is just another type of         11         And was configured to work modularly with a
12 market. We're buying future -- you're paying a price      12 variety of different miners that had different power
13 today for something that's going to happen tomorrow.      13 requirements.
14 This is a common business construct. So anybody who was 14           Do you see that?
15 familiar with that business construct and knew how to     15     A Yes.
16 apply it into the power space would understand that.      16     Q So the fine grain load control there, are you
17 This is not -- this option agreement stuff is a business  17 -- the definition of it are you talking about what's in
18 construct.                                                18 the i.e., paragraph, the ability to turn on some but not
19    Q So in Footnote 4 you say you discussed these         19 all of the miners? Is that how -- what you're defining
20 issues and facts with Frank McCamant on April 1st. Do     20 fine grain load control to be in the context of your
21 you see that?                                             21 opinion here?
22    A Yes.                                                 22     A I may -- I believe i.e. means such as or for
23    Q How long did you talk to Mr. McCamant?               23 example. So the ability to turn on some but not all the
24    A I don't -- I don't recall. Maybe -- 30 minutes       24 miners is a for example that helps to define fine grain
                                                     Page 139                                                       Page 141
 1 maybe, an hour.                                           1 load control. It's the complete -- it may not be the
 2     Q Did you only talk to him once?                      2 complete extent, but it's an example of that.
 3     A I've talked to him a couple times. I mean --        3     Q Okay. So you're using -- where you use the
 4 I'm aware of him. I have talked to him previously. I      4 term i.e. in this report, you're using it as for example?
 5 think I've only talked to him one time with respect to    5     A I -- hopefully I used it right.
 6 this case, but I'm not exactly sure. I know I talked to   6     Q That's e.g.
 7 him on this date because we specifically talked about     7     A Okay. I get those backwards all the time.
 8 some of these concepts.                                   8     Q So in the context of this report, where I see
 9     Q Is it your understanding for, example, of QSEs      9 the terms i.e., I should read it as for example?
10 -- Q-S-E, qualified scheduling entities, does that come  10     A The i.e. means as an example or -- I can't
11 from Mr. McCamant?                                       11 think of a better way to explain that.
12     A Does the concept of QSE come from McCamant?        12     Q It sounds like the answer is yes. I just want
13 No, that's a concept that comes from ERCOT.              13 to make sure I'm understanding --
14     Q I'll ask a different question. Were you aware      14     A Well, I don't -- well, I get them confused all
15 of quality scheduling entities before this case and      15 the time. They may go different directions, but I kind
16 before talking to Mr. McCamant?                          16 of use them interchangeably as a for example because I
17     A I was aware that this capability -- I was aware    17 get confused as to exactly what their precise meaning is.
18 that this market existed and that these capabilities     18 They're very closely related to me. I'm not a Latin
19 existed, but I wasn't aware of the specific terminology. 19 expert.
20     Q Prior to this case how were you aware that --      20     Q Let's turn to claim element 1(d) beginning
21 of -- that this market existed and the capabilities      21 paragraph 65. So the first sentence -- beginning of
22 existed?                                                 22 paragraph --
23     A I work with people who are in the electric         23     A Beginning paragraph -- do you want 1(d) or
24 power space some of whom are very familiar with ERCOT. 24 paragraph 65?

                                                                                                  36 (Pages 138 - 141)
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                                                      Page 142                                                      Page 144
 1     Q Well, you have 1(d) as a heading, and then               1     A Yes. Wherever the power price is being fished
 2 paragraph 65 is your opinion about it, right?                  2 from.
 3     A Yeah.                                                    3     Q I've asked a compound question so let me ask a
 4     Q You talk about the systems conceived of and/or           4 better question.
 5 developed by Bearbox satisfy this aspect of Claim 1 at         5        Is the energy price condition you're talking
 6 least because the Bearbox system calculated profitability      6 about there being the realtime market price the realtime
 7 at distinct time intervals, each with an associated power      7 market price for a particular node?
 8 threshold, such as comparing mining profitability based        8     MR. RICORDATI: Object to form.
 9 on, inter alia, current power usage and energy price           9     THE WITNESS: If I'm understanding your question
10 conditions on the one hand with profitability based,          10 correctly, I believe that's right.
11 inter alia, on expected future power usage and energy         11     MR. NELSON: Q And where is that price coming from
12 price conditions.                                             12 in his simulation?
13        Do you see that?                                       13     A It's -- there's a vector of values that are --
14     A This is paragraph 66?                                   14 that are retrieved either statically or dynamically that
15     Q Yes.                                                    15 change over time that are used to create that calculation
16     A Yeah.                                                   16 in the trade off.
17     Q So where does the system calculate expected             17     Q What is the current power usage in your
18 future power usage?                                           18 sentence in that paragraph 66?
19     A If you look at the outputs of the system, it            19     A That would be the amount of power essentially
20 calculates power that would have been -- that would be        20 used by the bitcoin mining devices.
21 used for bitcoin mining or that could be used for bitcoin     21     Q And how is Mr. Storms obtaining that number,
22 mining versus -- it calculates power that could be used       22 the amount of power actually being used by the bitcoin
23 for bitcoin mining and the resulting profit versus not        23 mining device?
24 using the power for bitcoin mining and selling it back --     24     A He can't obtain the power actually used because
                                                      Page 143                                                      Page 145
 1 selling it on the market. So the power that could be           1 there weren't any actual miners because it was a
 2 used for bitcoin mining.                                       2 simulation. So there's an estimate of what the power
 3    Q That's the expected future power usage?                   3 would be used by the miners. And he's using corner case
 4    A Yeah.                                                     4 or best case/worst case analysis where he's using maximum
 5    Q And how is that calculation done?                         5 -- looks like to me he's using maximum values, worst
 6    A We'd have to look specifically at the code to             6 case, maximum value -- maximum power used by the miners.
 7 see the equation, but it's amount of power used by a           7     Q And so he's basically making an assumption that
 8 certain miner for a certain time. How much power does          8 the miners would be running flat out, and if they're
 9 this miner use over what time period.                          9 running flat out, they use so much power?
10    Q An individual miner?                                     10     A Yes. That's the envelope -- that's the
11    A For each miner. That's a unit ladder thing,              11 envelope calculation.
12 right. Power, time, dollars.                                  12     Q And if that assumption were not true, for
13    Q Right after that, there -- you see the term              13 example, if his system were operating in the real world
14 energy price condition. What is the energy price              14 and a -- some group of miners had overheated or weren't
15 condition that you're talking about?                          15 running, how could -- how would he know that?
16    A That's the real time power price.                        16     A How would he know what?
17    Q At a particular node?                                    17     Q How would he -- how would he -- how would his
18    MR. RICORDATI: Object to form.                             18 system have calculated the actual current power usage if
19    MR. NELSON: Q Is that at a particular node?                19 it was running in the real world? How would it have
20    A That's the realtime power price that's received          20 calculated the actual amount of power the system is
21 from the marketplace.                                         21 using?
22    Q But my question for you is, that's a realtime            22     A I think we already addressed this. There's
23 power price received from the marketplace at a particular     23 several different ways of doing that. One -- probably
24 node or something else?                                       24 the most efficient way is to have a smart PDU that can

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 1 monitor its output ports and you query the PDU to find     1     Q Okay. And to verify that assumption I would
 2 out how much power is being consumed. That's the easiest 2 need to -- you and I would need to look at the code and
 3 way.                                                       3 go through the specifics?
 4        Harder way is you got a dumb PDU, you got to go     4     A It would get more detailed than that. We'd
 5 put a sensor on a device. Hard way is you got to crack     5 have to look at the PDUs that he envisioned looking at.
 6 the computer open and put a bunch sensors inside of it.    6 I remember on a spec sheet there's a description of
 7     Q And do you -- Are you aware of any evidence in       7 something that appears to be a PDU. We'd have to look at
 8 this case that Mr. Storms had done any of those things     8 that specific PDU, see what the characteristics of that
 9 such that his system could, if implemented, actually       9 PDU had. We'd have to look at the code and see exactly
10 figure out the amount of power it was consuming -- it was 10 what kind of queries the code did for that PDU. But
11 using at a specific point in time?                        11 based on what I'm seeing there, it would be extremely
12     A I believe he was anticipating using smart PDUs      12 easy to -- He's using an intelligent PDU, it's mod bus
13 that he could query their output ports. I think that's    13 capable. You can query those PDUs all day long. They
14 the simplest, most straightforward way to do it.          14 got all kinds of data in them so it would be no big deal
15     Q And your belief that he was doing that is based     15 to get that data out of there. That's why I say I think
16 on what?                                                  16 he's assuming an intelligent PDU.
17     A It's based on my recollection right now of what     17     Q Did you do any analysis to confirm that he is
18 I remember in the code. I believe that's what was going   18 using or assumed an intelligent PDU?
19 on. To make it make more sense we'd probably have to      19     A I think the fact that it's a mod bus capable
20 look at the appendix and see which modules were related   20 PDU on an IP network pretty well establishes that.
21 and see if there's specific reference to -- I think the   21     Q Is a mod bus PDU -- is that an off the shelf
22 PDU interface modules are using a mod bus protocol which 22 component you can buy?
23 can talk -- which with very little modification could     23     A Mud bus is a communication standard. You can
24 talk to a mod bus device to determine how much power is 24 buy all kinds of things that speak mod bus.
                                                      Page 147                                                       Page 149
 1 being flushed out through its output port.                     1     Q Including PDUs, correct?
 2     Q What portion of the appendix are you looking             2     A Or an adapter that goes onto the PDU.
 3 at?                                                            3     Q So both?
 4     A I'm looking -- looking right off the back just           4     A Yeah. Or a relay that controls a PDU.
 5 trying to finds thing on page 94, paragraph A.1, looking       5     Q So going back to paragraph 66 for a minute.
 6 in some of the helper functions. I believe those helper        6 What's being compared there is the current power usage
 7 functions that are in the bullets down at the bottom of        7 and energy price condition with an expected future power
 8 page 94 are actually not part of arb_main. I think             8 usage and an energy price condition, is that right?
 9 they're part of a package that arb_main includes. Again,       9     A Yeah.
10 we have to look specifically at the code to see exactly       10     Q Is the current power usage -- is that a
11 what the details are.                                         11 threshold?
12     Q All right. So if I'm understanding you                  12     A No. That's the power usage that would be of
13 correctly, to really understand these details, you and I      13 the -- my interpretation of that is the current power
14 would need to spend time going through the code?              14 usage of the mining device. The current or expected
15     A I think the best way to do that would be to             15 power usage of the mining device.
16 come up with really specific questions and then look at       16     Q My question to you, is that a threshold?
17 the code and find out specifically in the code where          17     A To could considered a threshold.
18 exactly your questions were resolved. But I think for         18     Q Do you consider it a threshold?
19 this particular question, it's talking to a mod bus           19     A It's the power usage. It's the actual power
20 enabled device over an IP network. That means it's            20 usage of the device. Typically a threshold is something
21 assuming some level of intelligence. So that's where I        21 you compare against. So measuring the power usage, not
22 get my interpretation that he's assuming that there's an      22 really a threshold. It may be something you compare with
23 intelligent PDU that he could talk to and get information     23 a threshold. Does that make sense?
24 from.                                                         24     Q Yes. In your analysis did you consider how

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                                                      Page 150                                                      Page 152
 1 long it would take Mr. Storms' miners to turn off from --      1 think his simulation had 272 miners or something like
 2 if they were instructed to turn off from an on state, how      2 that. You know, if a few of them -- they're not all --
 3 long it would take them to turn off?                           3 even if they're all turned off gracefully, they're not
 4     A You mean -- you mean for the PDU to turn them            4 all going to come up in the same way at the same time.
 5 off?                                                           5 So there's just -- there's no good answer to that
 6     Q Yeah.                                                    6 question.
 7     A That would be instantaneous.                             7     Q Well, my question was did you consider it in
 8     Q So from --                                               8 your analysis.
 9     A The PDU -- if the power is taken away, the               9     A I considered it, and I thought well, you know,
10 computer shuts down almost immediately unless it has a        10 there's too many outstanding variables on that.
11 battery backup.                                               11     MR. NELSON: Why don't we take a break. You can
12     Q Did you consider how long it would take the             12 change tapes?
13 miners to come back up if they were -- if they were in an     13     THE VIDEOGRAPHER: The time is 1:39 p.m. This is
14 off state and turned -- and put into an on state?             14 the end of media unit 2 and we're going off the video
15     A That gets into the situation that we were               15 record.
16 talking about before with computer systems. Right.            16        (Off the record)
17 Depends on this, depends on that, depends on the other        17     THE VIDEOGRAPHER: The time is 1:52 p.m. This is
18 thing. And if you -- if you -- if you turn a computer         18 the beginning of media unit 3, and we're back on the
19 system off in a nongraceful fashion, then how long it         19 video record.
20 takes for it to come back up is an it-depends question,       20     MR. NELSON: Q So going back to page 66 of your
21 and we have doing down the rat hole of what a computer        21 report.
22 system is.                                                    22     A Okay. Page 66 or paragraph --
23     Q And did you -- in the context of your analysis          23     Q Paragraph 66.
24 of Mr. Storms' system turning bitcoin miners off and on,      24     A Yes. Got it.
                                                      Page 151                                                      Page 153
 1 did you consider how long it would take his system to          1     Q So what portion of paragraph 66 addresses the
 2 turn bitcoin miners on if they were in an off state?           2 claim language wherein the performance strategy comprises
 3     A Well, to turn them on would be instantaneous.            3 a power consumption target for the set of computing
 4 To make them operational would depend on all of these          4 systems?
 5 other conditions.                                              5     A Power consumption target. I think it's -- it's
 6     Q By turn them on, I mean make them operational.           6 associated with current power usage and expected future
 7     A Get them where they can mine bitcoin? Depends,           7 power usage.
 8 depends, depends what operating system -- you out of           8     Q So is -- so is one of those the power
 9 juice?                                                         9 consumption target?
10     THE VIDEOGRAPHER: I have five minutes left.               10     A Yeah, I think so. There's the -- there's
11     THE WITNESS: So it depends what's the operating           11 the -- there's the power threshold for the time intervals
12 system, what's the disk structure, what kind of               12 and current power usage and energy price conditions. So
13 activities is it contained in, what's the cache               13 the current power usage would essentially be the target,
14 structure, depends, depends, depends, depends.                14 and expected future power usage would be the estimated
15     MR. NELSON: Q I understand that.                          15 future target.
16     A I can't answer that question.                           16     Q And how is the associated power threshold
17     Q My question is, did you consider that in your           17 utilized, if at all, to determine the expected future
18 analysis? I don't see that in your report. Did you            18 power usage?
19 consider how long it would take them from being -- from       19     A Well, the power threshold -- if you're assuming
20 an off state to being turned on to actually becoming          20 that the data is coming from a market system, then the
21 operational? Did you consider that in your analysis of        21 power threshold is the minimum amount of power that
22 his system?                                                   22 you're bound to pay for or consume.
23     A No, I don't think -- it doesn't have a bearing          23     Q By consume you mean use or sell back, right?
24 on the approach here. The objective is to have -- I           24     A Well, again, it depends on -- There's several

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 1 different things going on here, right. There's the                      1 and I'm trying to draw the distinction between the two.
 2 patent language and there's the business of making the                  2 The contract language may not make you use the power.
 3 contract with the service provider, and I think those two               3    Q    Well, the term power option agreement is in the
 4 things are separated somehow. For example, if you have a                4 claim, so it has a legal meaning per the claim. What do
 5 wind turbine, you have a contract with the service                      5 you understand the legal meaning of power option
 6 provider, and if they're not going to take the power, you               6 agreement to be?
 7 shunt it to ground. But -- so they don't have to take                   7    A    I don't know if power option agreement means
 8 the power, but --                                                       8 that you must consume -- you must expend the power that
 9     Q Well, we're focused on the patent.                                9 you're contracted to buy. I can't answer that. That's
10     A You understand what I'm saying? So the patent                    10 again -- that's a question for McCamant because that's a
11 language -- If you go back to the patent language, it                  11 business -- that's ERCOT marketplace business thing.
12 says receive power option data based on an option                      12    Q    So when you did your analysis of the claim
13 agreement. So there's a contract that's giving you the                 13 language, did you apply a plain and ordinary meaning of
14 data, and the power option data specifies time intervals               14 power option agreement as it's used in the patent in the
15 with thresholds, and the power -- the minimum power                    15 context of your analysis?
16 threshold is associated with each time interval. So                    16    A    It says receive power option database at least
17 there's time intervals that have thresholds that are                   17 in part on a power option agreement where the power data
18 associated with them, and the thresholds are minimum                   18 specify a set of minimum power thresholds. Right. So
19 power that you're bound to consume. You have paid for,                 19 the minimum power thresholds means you must be capable of
20 you're going to pay for.                                               20 consuming that. I don't -- What I'm saying is I don't
21     Q And -- So we talked about this earlier, bound                    21 know if it means that you must consume that. You must be
22 to consume means you can either use it by running miners               22 capable of consuming that.
23 or not use it by selling it back, is that right?                       23    Q    I understand that. But --
24     A Well -- Let's look. Claim 1 says wherein --                      24    A    Those are two different things.

                                                               Page 155                                                                 Page 157
 1 power consumption target -- you're talking about                        1     Q Do you know -- did you in your analysis
 2 targets -- for the set of computing systems for each time               2 determine a plain and ordinary meaning of the word power
 3 interval in the set of time intervals wherein each power                3 option agreement -- the phrase power option agreement as
 4 consumption target is equal to or greater than the                      4 used in the patent?
 5 minimum power threshold. So the patent doesn't                          5     A The phrase power option agreement to me in my
 6 contemplate selling back at all. It talks about                         6 interpretation means options for buying power ahead of
 7 consuming that minimum power threshold by those computing               7 time. To me means that's the plain and ordinary meaning
 8 devices. I mean, it's -- I just read the claim language                 8 of it, opting to purchase power ahead of time at a
 9 there. It says: Minimum power consumption target                        9 certain rate and then I'm going pay for that power, and
10 wherein each target is equal to or greater than the                    10 then when it comes for that time I'm going to pay for
11 minimum power threshold associated with the time                       11 that power whether I use it or not. There's a secondary
12 interval.                                                              12 condition which says -- where I'm drawing a distinction,
13     Q    So earlier on I had asked you a question what                 13 I don't know if you're bound to use that power. Do you
14 about the plain and ordinary meaning of minimum power                  14 understand what I'm saying? I'm going to pay for that
15 threshold was, and you said it was the power that could                15 power, that's the option. When it comes time, I'm going
16 either be consumed -- that could be consumed either by                 16 to pay for that whether I use it or not. I don't have to
17 using it or by selling it back. So -- Are you changing                 17 use it. I can screw in that light bulb and turn off the
18 the definition?                                                        18 switch, and I'm still paying for that minimum power.
19     A    No. I'm saying in the power option agreement,                 19     Q So let's go back -- I think in connection with
20 I believe I said it's not clear to me whether the power                20 paragraph 62 I had asked you some questions about where
21 option agreement mandates that you use the power. That's               21 -- where the code received the minimum power threshold
22 a question for McCamant. I believe I said that several                 22 data. Do you remember that?
23 times. I don't know about the contract -- there's a                    23     A Yes.
24 contract, and then there's this language in the patent,                24     Q And I think you pointed to go -- go to the

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 1 appendix on page 94.                                         1 less detailed. So if you want ultimate detail, you have
 2    A Yes.                                                    2 to keep going down.
 3    Q I think you pointed to bullet point 5 as                3     Q   So -- But the report is your opinions, and if I
 4 providing more information on that.                          4 want to find out what the actual minimum power threshold
 5    A I believe that's where it is, yeah.                     5 that Mr. Storms' system allegedly uses, if I want to find
 6    Q So where in bullet point 5 does it identify             6 out what that is, I can't find that out from your report,
 7 what -- where specifically the power option -- the           7 I've got to actually look at the code?
 8 minimum power threshold data is in the code?                 8     A   Right. Because the report summarizes the code.
 9     A Well, it talks about the load and the break            9 The report doesn't include the code. The report includes
10 even power price.                                           10 the code by reference with these summaries. Right. So
11    Q But neither one of those is minimum power              11 it gives you a hunt as to where you'd have to look. It
12 option data? I'm sorry. Neither one of those is a           12 looks like you'd look at arb_main_AEC, which is BBSC 016,
13 minimum power threshold, is it?                             13 and then you go to 016, line 63 through 69, and then you
14    MR. RICORDATI: Objection. Mischaracterizes the           14 go to 016, lines 15 and 16. And that's probably where
15 testimony.                                                  15 that would be if you were looking for it. So it gives
16     THE WITNESS: Well -- I believe that the break even      16 you a really efficient cross-reference to go quickly into
17 power price includes the minimum power threshold.           17 where the thing is that you're looking for in the code.
18    MR. NELSON: Q The break even power price is a            18 I mean, it's not possible to list every variable name and
19 price, it's not a minimum power threshold, is it?           19 every function call and every bit of code.
20    A I'm opting to buy the power ahead of time for a        20     Q   So if -- Let me ask you this. If prior to
21 certain amount of money and it's a certain amount of        21 Mr. Storms' system, if a company developed a system that
22 power. Comes time for that power to be used and paid        22 was capable of turning individual miners on and off
23 for, I can stick it in my light bulb, I can stick it in     23 within a group of miners, taking into account multiple
24 my bitcoin miners. If I stick if in my bitcoin miner, it    24 variables to determine what strategy should be based on

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 1 might make me some money. The bitcoin miner has to make 1 what the strategy should be, i.e., to turn the miners off
 2 enough money to get me past the cost of that power and    2 and on, based on a company's business strategy, would
 3 maybe a couple of other things to make a break even. So   3 such a system be the same as the Bearbox system?
 4 the minimum power threshold is built into that break      4     MR. RICORDATI: Objection. Vague.
 5 even.                                                     5     MR. RICORDATI: Q I can ask that slower if it was
 6     Q I understand your belief that it's built into       6 too quick.
 7 the calculation. My question is, where in this bullet     7     A Yeah, please.
 8 point does it actually tell me what the minimum power     8     Q So, hypothetically, if prior to Mr. Storms'
 9 threshold is?                                             9 system a company developed a system that was capable of
10     A It doesn't tell you specifically in the bullet     10 turning individual cryptocurrency miners on and off
11 point. I believe what I said before was we'd have to go  11 within a group of miners, and in doing so took into
12 back -- if you want to find the name of the variable or  12 account multiple variables to determine the strategy
13 whatever, we're going to have to go directly into the    13 should be based on whatever the company's business
14 code and find that. This kind of gives us a hint as to   14 strategy was, so it could be to turn the miners on and
15 where it would be.                                       15 off, to arb power, to do whatever, would that be
16     Q So your report doesn't identify specifically       16 Mr. Storms' system?
17 where the minimum power threshold is in Mr. Storms'      17     MR. RICORDATI: Objection. Vague.
18 system, I have to go to the code to actually find that?  18     THE WITNESS: I believe Mr. Storms' system to be
19     A Yeah. I mean, my approach to doing these           19 capable of doing that. And additional things.
20 reports like this, like I explained before, is the code  20     MR. NELSON: Q Well, my question -- well, my
21 is down here and it's got all the detail. There's a      21 hypothetical -- would that be Mr. Storms' system?
22 first level which is the module descriptions that have a 22     MR. RICORDATI: Same objection.
23 little more detail, then there's the second level which  23     THE WITNESS: No. Mr. Storms' system would be
24 is the stuff that's inserted in the body, which is even  24 capable of doing that, but it would do more.

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 1     MR. NELSON: Q What additional things would it              1 more often. But if they consume a lot of power, and your
 2 need do to be -- to encompass Mr. Storms' system?              2 power price is high, then maybe you don't want to use
 3     A You mean a system that complies with the terms           3 them as often. Right. So there's tradeoffs in the
 4 of the patent?                                                 4 bitcoin mining thing that optimizes your bitcoin revenue.
 5     Q No. I mean, that complies with Mr. Storms'               5 There's also tradeoffs that optimize other types of
 6 system as you understand his system.                           6 revenue and other types of expenditures. Right. So
 7     A I thought you were talking about a system that           7 Mr. Storms' system optimizes a different set of overall
 8 implemented what the patent said.                              8 things than the system that's described in the patent,
 9     Q I'm talking about implements -- If there was a           9 which seems to only optimize bitcoin mining. It doesn't
10 system in existence prior to Mr. Storms' system that was      10 even optimize bitcoin mining.
11 capable of turning individual miners on and off within a      11     Q But my question for you is Mr. Storms' system,
12 group of miners, and in making that decision it took into     12 is it designed to be implemented at the load side or at
13 account multiple variables to determine whether or not to     13 the generator side?
14 do so, would that be Mr. Storms' system?                      14     A I don't -- I don't think it matters. I think
15     MR. RICORDATI: Objection. Vague.                          15 it just consumes some amount of electricity and optimizes
16     THE WITNESS: Well, this is a hypothetical system          16 the cost, optimizes the profit versus the cost. It
17 that had the ability to turn miners on and off based on a     17 doesn't matter where in the system it's actually
18 set of conditions.                                            18 implemented.
19     MR. NELSON: Q Correct.                                    19     Q Well, A generator doesn't consume electricity,
20     A Mr. Storms' system does that and more.                  20 it provides electricity, fair?
21     Q And what is the and more?                               21     A Right. So the system that Storms created is
22     A Well, the main thing it does -- one -- some of          22 consuming the electricity that's coming from the
23 the primary things it does is optimize the way that the       23 generator, or it's passing it through and selling it.
24 systems are turned on and off or the target power that        24     Q Right. But my point of view is what entity is
                                                      Page 163                                                        Page 165
 1 they consume for the purpose of maximizing total profit,       1 implementing Mr. Storms' system in your opinion, the
 2 maximizes total profit, not just bitcoin profit.               2 generator or the bitcoin mining?
 3     Q And when you say it maximizes profit, it's               3    MR. RICORDATI: Objection. Vague.
 4 maximizing total profit for the bitcoin miner?                 4    THE WITNESS: That question -- I can't -- I can't
 5     A It's maximizing total system profit, not just            5 answer that question because it doesn't make sense to me.
 6 bitcoin mining profit.                                         6    MR. NELSON: Q Why not?
 7     Q No. I understand. But I'm trying to get -- in            7    A The generator is a generator. It doesn't
 8 your understanding what perspective his system operates        8 implement bitcoin mining. A bitcoin miner doesn't
 9 under. Is it operating from trying to maximize the             9 implement -- a pure bitcoin miner doesn't implement any
10 profit of a bitcoin miner so that if I'm a bitcoin miner,     10 sort of optimization. Storms' system is different than a
11 if that's the load, and I'm trying to optimize my profit,     11 generator and different than a bitcoin miner in that it
12 I could either do it by mining bitcoin or I can do it by      12 takes into account all of these conditions and optimizes
13 selling back power? Understand?                               13 the amount of revenue.
14     A Mr. Storms' system does that.                           14    Q I understand your position, but who is going to
15     Q Right. And is that --                                   15 use Mr. Storms' system, a generator or a bitcoin miner?
16     A This system does not.                                   16    MR. RICORDATI: Object to form.
17     Q Is that the perspective that his system is              17    THE WITNESS: Could be a lot of people use
18 operating from, the perspective of the load in trying to      18 Mr. Storm' system.
19 maximize profit for the load?                                 19    MR. NELSON: Q Could a generator use it?
20     A It's trying to maximize profit for the system,          20    A I guess.
21 and one element of maximizing the profit is making the        21    Q How could a generator use it when a generator
22 most efficient possible bitcoin mining activity. So if        22 doesn't mine bitcoin?
23 you have a lot of computer systems, and some are more         23    A A generator could use it as a local load. The
24 efficient at mining bitcoin, then you want to use them        24 generator is selling -- a generating device -- a

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                                                     Page 166                                                       Page 168
 1 distributed generating facility is selling power into the     1    A Well, if you think about two power option
 2 power pool. If the price he is getting for selling power      2 intervals, for example -- let's just look at two
 3 into the power pool is lower than the money he can make       3 subsequent intervals. Let's say that the power option
 4 by bitcoin mining, he is going to shunt his power into        4 data is feeding in fast. So during this interval got a
 5 the bitcoin miner and mine some bitcoin. But if the           5 minimum threshold of one level, and you've got miners
 6 power price goes up, he's going to shut his bitcoin           6 that can mine effectively according to that threshold.
 7 miners down and shunt it back into the power pool. A          7 Subsequent power interval, the threshold is different.
 8 great example of this is a solar panel -- I mean a wind       8 Right. So I've got a collection of miners that I can
 9 turbine. When wind belows at night, power company             9 bring to bear in a different way against that different
10 doesn't want it. What are you going do with it? You're       10 threshold to optimize my revenue in a different way. I
11 going to stick in your bitcoin miner at night. So a          11 may turn some other ones off that used to be on, I may
12 generator can use that.                                      12 turn some on that used to be off, I may instruct them to
13    Q Turn to paragraph 97 of your report. That's             13 mine in a different way perhaps.
14 Claim 7. Do you see that?                                    14    Q What portion of Mr. -- You identify seven
15    A Yeah.                                                   15 modules here that allegedly have -- have that capability.
16    Q So if you turn to paragraph 100, you give --            16 So the subsequent power option -- the subsequent power
17 you give your explanation as to where that claim element     17 option data, that's being received by the system, right?
18 is met, and said: For example, the Bearbox system was        18    A The modules that have the term -- that have the
19 capable of working with a variety of different miners        19 word import in them are consuming marketplace data. The
20 with different power requirements could dynamically          20 couple of other modules compute the break even point,
21 determine profitability at various power thresholds,         21 which is based on the threshold that's in the marketplace
22 parentheses, usage, closed parentheses, level and can        22 data, and the one that has current realtime fetches
23 instruct the miners based on this determination as           23 marketplace data and returns the realtime market price,
24 explained above.                                             24 and then the one that has the break even term in the name
                                                     Page 167                                                       Page 169
 1        Do you see that?                                    1 of it performs profitability determinations. I mean,
 2     A Uh-huh.                                              2 that's exactly the scenario that I just described.
 3     Q So how does that meet the claim language of          3     Q We're -- For the record he's talking about
 4 claim -- of Claim 7?                                       4 page 33 of his report. Is DA_LMP, day-ahead local market
 5     A Claim 7 says it's a system according to              5 price -- location margin price, is that power -- is that
 6 Claim 6. Let me look at Claim 6. Claim 6 says it's a       6 subsequent power option data?
 7 system according to Claim 1. So Claim 6 modifies Claim 1 7       A Day-ahead seems to be marketplace option data.
 8 into receiving subsequent power option data to increase    8     Q Is that the same as subsequent power option
 9 or decrease the thresholds. And Claim 7 says -- Claim 7    9 data?
10 says, 6, which modifies to change the performance         10     A Yeah. It works every day. Every day it
11 strategy in response to changing conditions in the power  11 consumes the day-ahead data.
12 option data. So the power option data is not fixed. The   12     Q So get current RT_LMP, is RT_LMP also
13 power option data is now changing over time for           13 subsequent power option data?
14 subsequent time intervals. Storms' system was capable of 14      A Realtime market price.
15 doing that. And in cases where it wasn't directly         15     Q So that's not subsequent power option data?
16 capable of doing that, it would have been very obvious to 16     A That's not power option data. That's sell
17 make small adaptations.                                   17 data.
18     Q You say it was capable of doing that because it     18     Q So what do you understand subsequent power
19 was capable of working with different miners with         19 option data to be in this claim?
20 different power requirements could dynamically determine 20      A That means consuming power option data at a
21 profitability at various power threshold usage levels.    21 subsequent time.
22     A Uh-huh.                                             22     Q Well, the claim says receiving the subsequent
23     Q So how is -- how is that relating to subsequent     23 power option data. So how can that be consuming power
24 power option data?                                        24 option data at a subsequent time?

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 1    A    We're using overloaded terms like consume. So                  1 miner was overheating or something, was it able to
 2 the system ingests power option data. It receives. So                  2 retrieve that information?
 3 some power option data comes to it at multiple times.                  3     A I don't know. I know it was able to retrieve
 4 Maybe this day it's this day-ahead, the next day it's                  4 information from the PDUs. I don't know if it was able
 5 that day-ahead.                                                        5 to retrieve information from the miners. Again, that
 6    Q    So what data is that though that's coming?                     6 would be a -- that would be a computer system specificity
 7 What is the subsequent power option data that's coming to              7 that would have to be nailed down. Right. If it was
 8 the system at multiple times?                                          8 used in this operating system or that operating system,
 9    A    That would be the power price.                                 9 the retrieval process could be different.
10    THE VIDEOGRAPHER: Excuse me. Mr. McClellan, could                  10     Q What information was it capable of retrieving
11 you move your mic up a couple inches. Perfect. Thank                  11 from the PDUs?
12 you.                                                                  12     A It looks to me like it was interfacing with
13    MR. NELSON: Q Go to paragraph 109.                                 13 mod bus capable PDUs. So it would be capable of
14    A    Page 35?                                                      14 retrieving anything from a PDU that would be available
15    Q    Yeah. So that's talking about Claim 9.                        15 over mod bus. So that would be a characteristic of the
16 Claim 9 is on page 34. It says: Wherein the control                   16 PDU that was selected.
17 system is a remote master control system positioned                   17     Q Do you know what PDUs Mr. Storms was
18 remotely from the set of computing systems.                           18 considering?
19        Do you see that?                                               19     A I know that there's -- there's a product detail
20    A    Right.                                                        20 sheet or something like that that may detail certain
21    Q    And you say that using IP-based protocols for                 21 kinds of PDUs that he was thinking about, and I know that
22 communication between control systems physically remote               22 he also prototyped some custom PDUs. So it seems to me
23 from the resources under their control is a conventional              23 like he was considering building his own PDUs, but it
24 feature of computing systems for decade, right?                       24 looked like he spec' out a particular one for -- to get
                                                              Page 171                                                       Page 173
 1     A Yes.                                                             1 to market faster maybe.
 2     Q So a person of ordinary skill in the art in                      2    Q Do you know if he ever sold his system at all,
 3 your view would have known the details of Claim 9 prior                3 ever commercialized it?
 4 to Mr. Storms' system, is that fair?                                   4    A I don't know.
 5     A Yes.                                                             5    Q So turn to paragraph 170.
 6     Q Okay. Do you know if Mr. Storms was ever                         6    A Uh-huh.
 7 registered with Southwestern Power Pool as a market                    7    Q So in 170 you say: In my opinion, Bearbox
 8 participant?                                                           8 communicated information about its proprietary technology
 9     A I don't know.                                                    9 and know-how to Lancium that enabled one of ordinary
10     Q Do you know have an opinion whether that                        10 skill in the art to derive the inventions recited in the
11 mattered or not for practicing the claims of the '433                 11 '433 patent or such inventions would have been obvious
12 patent?                                                               12 variations in light of the information communicated from
13     A I don't think it makes that much difference.                    13 Bearbox to Lancium.
14 His system was a simulation. It wasn't actually                       14        Do you see that?
15 retrieving and implementing stuff. It was simulating a                15    A Uh-huh.
16 concept.                                                              16    Q So is it your opinion that the information that
17     Q Do you know if Mr. Storms' system retrieved                     17 Bearbox communicated to Mr. McNamara and Lancium did
18 information regarding the status of individual miners?                18 enable or -- did enable one to derive the patents or that
19 The simulation --                                                     19 such inventions simply would have been obvious in light
20     A Are you talking about operational status? I                     20 of what Storms communicated?
21 know that it was configurable to adapt to different                   21    A Well, in the second sentence, Bearbox
22 miners, yes.                                                          22 communicated information about its technology to Lancium
23     Q What software retriev -- I'm talking about                      23 that enabled one of ordinary skill in the art to derive
24 retrieving information. Let's say, you know, whether a                24 the inventions recited in the claims of the patent.

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 1     Q Then you have an or, or such inventions would        1 necessarily associated with stuff that Bearbox may have
 2 have been obvious variations in light of the information   2 communicated, but the independent claims and some of the
 3 communicated. So which one is it? Did they communicate 3 dependent claims, Bearbox communicated information that
 4 -- did Mr. Storms communicate the information that         4 would be enabling for Lancium to recite those claims.
 5 enabled one of ordinary skill in the art to derive the     5     Q Okay. And then certain dependent claims, they
 6 inventions, or did Mr. Storms communicate information in   6 weren't -- Bearbox didn't communicate that information,
 7 your opinion that would have rendered them obvious?        7 but in your view, those would have been obvious in light
 8     A I think that some of the -- some of the              8 of what Bearbox did communicate, is that right?
 9 information that was communicated was enabling for them 9        A Yeah.
10 to recite in the claims and some information that was     10     Q So which -- which dependent claims would have
11 communicated was -- was also enabling, but was not        11 been obvious in view of the information Bearbox did
12 necessarily contained in the patent or would not have --  12 communicate?
13 or would have just been obvious variations.               13     A Let's look at Claim 12, for example. Claim 12
14     Q I'm not sure I'm following your statement           14 is dependent on Claim 1, where the control system gets
15 there. So the first part of that opinion is Bearbox       15 information from a QSE. I think that was obvious to
16 communicated information about its proprietary technology 16 everybody at that point. I mean, that's a business
17 and know-how to Lancium that enabled one of ordinary      17 relationship that has existed for years with ERCOT. That
18 skill in the art to derive the inventions recited in the  18 claim -- that dependent claim would have been obvious.
19 patent. Do you see that?                                  19     Q Any others?
20     A Uh-huh.                                             20     A I'm sure there are others. We'd have to go
21     Q Then you have an or statement.                      21 through them all and -- Some of the dependent claims are
22     A Uh-huh.                                             22 really redundant. I think Claim 9, which is dependent on
23     Q Or such inventions would have been obvious --       23 Claim 1 is pretty obvious to anybody skilled in the art.
24 So we're still talking about the inventions of the '433,  24 Put the control system remotely, that's no big deal.
                                                   Page 175                                                         Page 177
 1 correct?                                                    1         Claim 13 is dependent on Claim 1 where the
 2     A Yes.                                                  2 power option data specifies subsequent thresholds. I
 3     Q Would have been obvious in light of information       3 mean, that's kind of obvious in the data that's received.
 4 communicated from Bearbox to Lancium.                       4 That would have been obvious. Plus it's obvious from
 5     A Right. So the information that Bearbox                5 Bearbox code that it can be iterated. I mean, 15, this
 6 communicated to Lancium made the -- made the inventions     6 is Claim 1 duration of the time intervals corresponds to
 7 obvious to Lancium, and they used some of that              7 a -- Claim 15 -- I'm just reading Claim 15 -- is
 8 information to claim in the '433 patent.                    8 dependent on Claim 1 where a total duration of the time
 9     Q That's not -- Okay. Is that how you're reading        9 intervals corresponds to a 24-hour period. I mean,
10 that? So let me ask you this. So do you believe or is      10 that's --
11 it your opinion that Bearbox communicated information      11     Q Any others?
12 about its proprietary technology and know-how to Lancium   12     A I'm sure there are. You want me to just keep
13 that enabled one of ordinary skill in the art to derive    13 going through them?
14 the inventions of the '433 patent, not rendering them      14     Q Yeah.
15 obvious or anything else, but that the information         15     A Claim 3 depends on Claim 2, and it's a pretty
16 Bearbox communicated enabled a person of ordinary skill    16 obvious variation from Claim 2.
17 to make the inventions of the '433?                        17         Claim 4 depends on Claim 3, and it's a pretty
18     A Yes, the information that Bearbox communicated       18 obvious variation where you do priorities.
19 was enabling.                                              19         Claim 5 depends on 4, and it just talks about
20     Q So Bearbox communicated information in your          20 different -- different price thresholds or different
21 belief that enabled every single claim element of every    21 minimum price thresholds. That's a pretty obvious
22 single claim of the '433?                                  22 variation.
23     A Well, there are three independent claims. I          23         Claim 6, again pretty obvious because the
24 think there's some dependent claims that are not           24 subsequent thresholds change.

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 1        Claim 7 depends on 6 where when the thresholds        1 don't recall exactly. And that information described the
 2 change you follow -- you change your performance             2 Bearbox system, it described the concept behind the
 3 strategy, also pretty obvious.                               3 Bearbox system, and it -- and it described outputs, the
 4        Eight depends on seven. Eight says the control        4 optimization outputs of the Bearbox system.
 5 system changes the instructions to the computers when the    5     Q What my question is, I'm trying to figure out
 6 obvious performance strategy changed because the obvious     6 what you relied on to form your opinions. So you relied
 7 data was different.                                          7 on an email with some attachments, right? I'll show you
 8        I mean, a lot of the dependent claims are just        8 these two in a while.
 9 minor variations on a theme. But I mean that's how           9     A Yeah.
10 patents have to be written, so -- but I think a lot of      10     Q The email -- But there were text messages
11 these things were pretty obvious. Once you understand       11 between Mr. McNamara and Mr. Storms, correct?
12 the concept, then you start to see the minor variations,    12     A Uh-huh.
13 and that's the enabling part.                               13     Q Did you rely on those?
14     Q So let's talk about the communications between        14     A There were communications between that period
15 Mr. Storms and Mr. McNamara. We talked a little bit         15 of interaction that appeared to communicate information
16 before about they met at or around a conference on          16 back and forth. I think the primary interaction that
17 May 3rd, correct?                                           17 communicated the most dense information was the spec
18     A They met -- there was a period of interaction.        18 sheet, the diagram, and the optimization outputs. That
19 I don't know when they actually first met and if it was     19 was a lot of really dense information in that that would
20 virtual meeting or if they met in person. I know that       20 have communicated an enormous amount of information
21 they met at this conference and that there were -- there    21 towards the claims in the patent.
22 was at least one discussion at that conference. There       22     Q Yeah. I understand you want to advocate for
23 had to have been more than one discussion because they      23 Mr. Storms here with the voluntary thing, but my question
24 all ended up at dinner. The dinner discussion had to        24 simply was what information you relied on in forming your
                                                    Page 179                                                       Page 181
 1 have been subsequent to another discussion where they set  1 opinions. You relied on an email with attachments,
 2 the dinner up, and there may have been more.               2 right?
 3        So I don't know all the specifics of the verbal     3     A Yeah. It's the background data that's
 4 conversations that they had, but I know that there were    4 contained in the exhibits of the report.
 5 several interactions during that time, including emails    5     Q You relied on -- Did you rely on text messages
 6 and so on.                                                 6 between McNamara and Mr. Storms?
 7    Q So what did you rely on -- Well, you formed           7     A Well, there were some messages back and forth
 8 your opinions regarding what Bearbox -- what Mr. Storms    8 between them. I don't remember exactly if they were
 9 communicated to Mr. McNamara, right?                       9 particularly valuable, but there were interactions.
10    A I formed my --                                       10     Q You know that there was a dinner that
11    Q You formed opinions -- You can look at your          11 Mr. Storms, Mr. McNamara, and I believe six other people
12 report if you want. It's big Roman Numeral VII on         12 attended, right?
13 page 53. You form an opinion that Bearbox communicated 13        A So there was at least one meeting that had --
14 information to Lancium and that such information enabled 14 before that to set up the dinner. So they had several
15 -- would have enabled one of ordinary skill in the art to 15 interactions during that period, and I don't know the
16 derive the inventions of the '433 patent, or such         16 details of all those interactions.
17 inventions would have been obvious variations in light of 17     Q What I'm trying to figure out is what details
18 the information. We just talked about all that.           18 you do know. So you know that there were eight people
19    A Uh-huh.                                              19 that went to dinner, and two of them were McNamara and
20    Q So you relied on something to form those             20 Storms, right?
21 opinions, right?                                          21     A Yeah, that sounds right.
22    A Well, there was information that was                 22     Q And you say that there -- somebody set up the
23 communicated by Storms to Lancium in an email or more 23 dinner, so they must have met at some point prior to --
24 than one email, may have been more than one email. I      24     A They communicated somehow prior to that. Maybe

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 1 they met in person, maybe they met over email, maybe -- I             1 on Mr. Storms' description of that dinner?
 2 don't -- they got each other's contact information                    2     A Well, there's the depositions that they both
 3 somehow. I don't know the details of that. And then                   3 gave.
 4 they continued to carry out interactions.                             4     Q So you looked at Mr. McNamara's deposition and
 5    Q So since -- Stop. Since you don't know the                       5 Mr. Storms' deposition of that dinner?
 6 details, you didn't rely on that former communication for             6     A Uh-huh.
 7 anything, right?                                                      7     Q And did that -- Other than those descriptions
 8    A I relied on the fact that they had multiple                      8 of that dinner, did you rely on anything else regard --
 9 interactions over a period.                                           9 to corroborate their respective testimonies as to what
10    Q I'm trying to break those interactions up to                    10 happened at that dinner?
11 figure out what they all are. Okay. So they met at some              11     A Well, there's -- if we look through the set of
12 point to get together for a later dinner, correct?                   12 exhibits for the report, there's the emails from Storms
13    A They would have had to.                                         13 to the other guy, Hakes.
14    Q Yeah. But you don't know anything about that                    14     Q Did you rely on those?
15 prior meeting, do you?                                               15     A There's --
16    A I don't know --                                                 16     Q My question is, did you rely on them, the
17    Q You don't know if it was a meeting?                             17 Storms to Hakes messages? Did you rely on those in
18    A There had to have been because you can't set up                 18 forming your analysis?
19 a dinner unless you know somebody.                                   19     A No, it's background information that was
20    Q Do you --                                                       20 helpful in understanding the whole scenario.
21    A Whether it's email or whatever.                                 21     Q So no, you didn't rely on Mr. Storms' and
22    Q Let me finish. You know they talked at some                     22 Mr. Hakes' communications in forming your opinions, is
23 point to set up the dinner?                                          23 that right?
24    A Yeah.                                                           24     A Well, these -- this is in the list of materials
                                                             Page 183                                                                 Page 185
 1     Q    Or maybe it was set up through a third party,                1 considered for the report.
 2 right? You don't know that, right?                                    2     Q   I'm asking you what you relied on in forming
 3     A    Could have been.                                             3 your opinions. Did you or did you not rely on the text
 4     Q    Could have been. So you don't know anything                  4 messages back and forth between Mr. Hakes and Mr. Storms?
 5 about -- Whatever the prior meeting is, you're                        5     A   Well, they were information that was considered
 6 speculating about, is that fair?                                      6 in writing the report and in understanding the entire
 7     MR. RICORDATI: Objection. Mischaracterizes the                    7 background. I don't -- We're going to have to define
 8 testimony.                                                            8 what rely on means because -- Did I look at them? Yeah,
 9     THE WITNESS: There had to have been some prior                    9 I looked at them. Were they really important? Depends.
10 something that would have set up the dinner.                         10 Some of them were more important than others. I think
11     MR. NELSON: Q Right. You know nothing about                      11 the email -- the email attachment with the system
12 that, correct?                                                       12 specification and the diagram and the simulation outputs
13     A    I know that there was a conference that they                13 I think was a very important interaction.
14 all attended.                                                        14     Q   I understand that. Again, I know you're trying
15     Q    Talking about a meeting, not -- I'm talking                 15 to advocate for that e-mail. I get that. But I'm trying
16 about how Mr. Storms and Mr. McNamara met. Do you know               16 to understand all of the things that went into you
17 anything about that whatsoever?                                      17 forming your opinion.
18     A    No.                                                         18     A   Well, they're all listed here in materials
19     Q    Okay. You know they had a dinner at some point              19 considered. You're asking me to prioritize these, tell
20 after that with other people, correct?                               20 me which ones are more important, right.
21     A    Right.                                                      21     Q   Let me finish my question, Doctor. I'm asking
22     Q    What do you know about that dinner?                         22 you what you actually relied on as opposed to, okay, I
23     A    I just know that they had the dinner.                       23 looked at a bunch of stuff. That's considered. What it
24     Q    Okay. Did you rely at all on Mr. McNamara --                24 is you relied on.

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                                                               Page 186                                                                Page 188
 1     A Well, the email information was heavily relied       1 conference, Mr. McNamara continued to press Mr. Storms
 2 on.                                                        2 for additional details about Bearbox's technology.
 3     Q Okay.                                                3        Do you see that?
 4     A The Python code was heavily relied on.               4     A Uh-huh.
 5     Q That wasn't communicated by --                       5     Q So what led you to use the word press
 6     A Communicated -- communicated. The structure of       6 Mr. Storms for additional details?
 7 the patent itself.                                         7     A Well, in response Storms provided all of these
 8     Q That wasn't communicated.                            8 specifications in a proprietary data set. There were
 9     A No, but we're talking about things that inform       9 requests for information and he provided the data. I
10 the structure.                                            10 mean, he doesn't just provide the data without some sort
11     Q I'm not -- I'm asking what you relied on to         11 of request.
12 conclude that Mr. Storms communicated information         12     Q But you didn't use the word request. You used
13 sufficient to enable one of ordinary skill in the art to  13 the word press which has -- What did you mean by the word
14 create the patent.                                        14 press there?
15     MR. RICORDATI: Objection. Asked and answered and 15          A Asking questions. Trying to find out more
16 argumentative.                                            16 information.
17     THE WITNESS: So all of this data. There's all         17     Q So -- so it would be equally as correct in your
18 kinds of information in here that's -- that was           18 opinion to have said that Mr. McNamara continued to ask
19 communicated that was important in forming those          19 Mr. Storms for additional details or requested additional
20 opinions. You're trying to draw a distinction between     20 details?
21 relied on and considered, and I don't know exactly how to 21     A Well, I think if you -- I think this is from
22 draw that distinction.                                    22 the deposition. If you back up to page 173, it talks
23     MR. NELSON: Q Let me ask you a different way.         23 about his discussions being extremely specific, and he
24        So other than Mr. Storms' testimony --             24 talked -- he basically shared with him the general
                                                               Page 187                                                                Page 189
 1 deposition testimony and Mr. McNamara's deposition                      1 architecture of the system and how the system worked and
 2 testimony about what happened at the dinner, did you                    2 what outputs it could produce, so --
 3 consider anything else in corroborating whose version of                3    Q    That's not my question.
 4 what happened at the dinner is more likely correct?                     4    A    -- they asked for more information.
 5     MR. RICORDATI: Objection. Asked and answered.                       5    Q    That's not my question. My question was
 6     THE WITNESS: Did I consider whose version of the                    6 relating to it's my understanding -- You used the word
 7 dinner -- I think it's unlikely that an enormous amount                 7 press for additional details. Let me ask it a different
 8 of pertinent information was communicated at the dinner.                8 way here. Let me find the text chain here.
 9 The enormous amount of information that gets communicated               9        Let me -- let me hand you what's been
10 is done by email. That's why -- So if we're talking                    10 previously marked as Defendant's Exhibit 55.
11 about -- if we're going to do a binary rely on, then the               11        (Exhibit 55 tendered to the witness)
12 binary rely is on the email and nothing else. If we're                 12    Q    That's a text chain between Mr. Storms and
13 going to gradate it further than that, then I have to                  13 Mr. McNamara. Do you see that?
14 know what your definition of rely on is so that I can                  14    A    Uh-huh.
15 establish how deep in that set we need to go, because                  15    Q    And so I'll represent to you that the dinner
16 there's clearly some things in here -- you know, the                   16 happened -- March -- I'm sorry -- on May 3rd of 2019.
17 dinner -- I know that the dinner happened, but dinners                 17    A    Uh-huh.
18 like that there's not normally an enormous amount of                   18    Q    So the next day, picking up on the top of Bates
19 information that's passed back and forth. The email was                19 No. BB 10004960, Mr. Storms sends a text to Mr. McNamara
20 -- was really important.                                               20 that says Storms.
21     MR. NELSON: Q All right. All right. Fair                           21        Do you see that?
22 enough. Go to paragraph 175 of your declaration. You                   22    A    Uh-huh.
23 see this is now picking up after the dinner has happened.              23    Q    And so a day later McNamara says: Great to
24 And it says: It's my understanding that following this                 24 meet you at the conference. This is me.

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                                                               Page 190                                                      Page 192
 1        Do you see that?                                                 1     Q Right. But I'm talking about Storms here.
 2    A Uh-huh.                                                            2 Because Storms send back: I can send you the specs on
 3    Q So McNamara sends his LinkedIn information. Do                     3 the boxes/PDUs/logic design, right?
 4 you see that?                                                           4     A Uh-huh.
 5    A Uh-huh.                                                            5     Q So based on Storms' language, Storms is
 6    Q So later the same day Storms comes back: I'm                       6 separating PDUs and logic design from boxes, is that not
 7 not on LinkedIn, but you've got my personal number. I'll                7 fair?
 8 put some feelers out to summon my PM friends this week                  8     A I think that's a -- I think that's a semantic
 9 about what we talked about Friday night. TTY soon.                      9 hair splitting. I think the boxes had to do with the --
10        Do you see that?                                                10 to me, my interpretation, which everybody can have a
11    A Yes.                                                              11 different interpretation, but my interpretation is when
12    Q Do you know what PM friends he's talking about                    12 McNamara says I think your boxes may have some benefits
13 there?                                                                 13 versus the ones we are doing with JB driver, what we have
14    A No.                                                               14 to do is look at what they were doing with JB driver and
15    Q Do you know what PM stands for?                                   15 see if we could get some context out of that, then we
16    A Can mean a lot of different things.                               16 would understand what McNamara was saying because that's
17    Q So the answer is no, you don't?                                   17 the extra context he sent there.
18    A I can't -- I can't speculate what it's for from                   18        To me when I read that, without knowing that
19 this. There's not enough context.                                      19 extra context, boxes seems to mean the things that were
20    Q Okay. So later on same day, McNamara responds                     20 -- the specifications -- the things that were sent in
21 back: That's great. I think your boxes might have some                 21 specification in response.
22 benefits versus the ones we are doing with JB driver.                  22     Q Okay. I'm not asking you about McNamara's
23        Do you see that?                                                23 interpretation right now because earlier you said you
24    A Uh-huh.                                                           24 don't know what that is, and, you know, fair point that
                                                               Page 191                                                      Page 193
 1     Q    So do you know what Mr. McNamara means by boxes                1 you have to -- if you looked at what they were doing with
 2 there?                                                                  2 JB driver, you know, maybe it's relevant, maybe it's not.
 3     A    He's talking about Storms' Bearbox systems, I                  3    A I don't know.
 4 believe.                                                                4    Q But what I'm asking you is based on Storms'
 5     Q    He's talking about the whole system or he's                    5 language, Storms doesn't use the word boxes to encompass
 6 talking about something else, or do you know?                           6 PDUs and logic design, he lists PDUs and logic design
 7     A    It seems -- He says boxes so I assume it's the                 7 separately, doesn't he?
 8 container thing, and the response that Storms has says I                8    A Yeah, but down -- he doesn't send it and
 9 can send you specs on the boxes PDU's logic and design                  9 McNamara says, can you send me those box design specs.
10 and all that kind of stuff, which is the thing that got                10    Q I'm not asking what's going later. I'm asking
11 sent, which is the specification of the container.                     11 you right now --
12     Q    Right. But Storms in the next sentence back                   12    A You're asking me to interpret what box means.
13 says boxes, and then PDUs are separate, and then logic                 13    Q I can -- I'm asking you about the line
14 designs are separate? Right? They're separated by back                 14 5-5-2019, at 7:43 p.m. Storms says: I can send you
15 slashes?                                                               15 specs on the boxes/PDUs/logic design. And do you have an
16     A    Uh-huh.                                                       16 understanding whether Storms is meaning the PDUs and
17     Q    So do you understand then what McNamara is                    17 logic design are separate from boxes or not?
18 asking for boxes is different in Storms' mind than PDUs                18    MR. RICORDATI: Objection. Calls for speculation.
19 and logic design because Storms is listing those separate              19 Asked and answered.
20 from boxes?                                                            20    THE WITNESS: I can't interpret that. The only
21     A    I don't know what McNamara was meaning by                     21 thing I can interpret is that it didn't get sent and a
22 boxes. It sounds like he meant systems that they talked                22 couple days later McNamara requests it again.
23 about. I mean, it could have -- could have meant a lot                 23    MR. NELSON: Q Right. McNamara requests it again
24 of different things.                                                   24 two days later, and five days at this point after talking

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                                                      Page 194                                                         Page 196
 1 to Storms at dinner, is that right?                            1      Q Okay. What's the annotated system diagram?
 2    A Whatever the number is.                                   2      A That's the second page of the spec sheets.
 3    Q Well, from May 3rd to May 8th. So do you --               3      Q Okay. So do you think the annotated system
 4 Based on this text chain do you think he is pressing           4 diagram is part of the spec sheets or something separate?
 5 Mr. Storms for details here?                                   5      A It appears to be a two-page thing. It's
 6    A Absolutely. The Storms, can you send me those             6 contained in the report as figure whatever it is on
 7 box design specs please is a follow up to get information      7 page 56. Paragraph 176. That's the annotated system
 8 that wasn't produced with the first request. It's two          8 diagram. It looks to me like it's part of a two-page
 9 requests for the same information.                             9 thing that contains system specs. It looks to me like
10    Q In your view that's pressing?                            10 it's an initial version of what you would create as a
11    A That's pressing.                                         11 data sheet for a system to go to market with.
12    Q That's pressing in your view?                            12      Q I'll mark this as Exhibit 204.
13    A It's a follow up, and it's got an exclamation            13         (Exhibit 204 marked as requested)
14 mark. It's got an intensity to it.                            14      Q So let's talk about Exhibit 204. It's Bearbox
15    Q So in your -- Okay. So is your -- that's your            15 90 through Bearbox 97 with 97 being produced in native
16 basis for your using the word that he's pressing              16 format. Just confirm that that's the email that you have
17 Mr. Storms for additional details?                            17 been discussing.
18    A That's kind of what it looks like from that              18      A That seems like the email that they talked
19 sequence of text messages.                                    19 about, the spec sheet and the details and the modeling
20    Q And you have an opinion in here that McNamara            20 data.
21 continued to press Mr. Storms for additional details, and     21      Q Do you know if -- So the -- page 92 is the
22 so I'm trying to figure out what that opinion is based        22 Storms drawing. In various places you cite -- Let's see
23 on. And is it based on this text chain is my question?        23 if I can find an example here. So go to paragraph 186
24    A Certainly based in part on this text chain               24 real quick.
                                                      Page 195                                                         Page 197
 1 because he asked for the information twice, and when he        1     A Okay.
 2 doesn't get it, he increases the intensity of the ask.         2     Q And 186 you give your opinion regarding claim
 3     Q Okay. So you're reading -- Okay. So if you go            3 element 1(b), and you cite to footnote -- cite
 4 back to paragraph 175, you say: In response, Mr. Storms        4 Footnote 27. Do you see that?
 5 providing -- I think it probably should be provides --         5     A Uh-huh.
 6 component specifications, an annotated system diagram,         6     Q And Footnote 27 cites to document number 91,
 7 and a proprietary model data set based on real world           7 see also 97, right?
 8 bitcoin variables such as bitcoin price and network hash       8     A Yeah. It should be 91 through 97. I think
 9 rate, energy price, time intervals, power thresholds, and      9 that was the content of the email.
10 computed profitability figures.                               10     Q Okay. Well, it's not through. It's 91, and
11        Do you see that?                                       11 then it's see also. And in various other places you cite
12     A Uh-huh.                                                 12 91. Did you -- My question is did you cite 72?
13     Q And is that the email that you're talking               13     A I think that's a typo. I think it meant to
14 about?                                                        14 cite 91 through 97. But 91 -- In my mind 91 and 92 are
15     A That seems to be the email that's talked about          15 two sides of one sheet of paper. So sometimes it gets
16 in this text chain. He talks about specs on the boxes --      16 referred to as 91 because it's essentially a data sheet
17 he talks -- in the text message chain he talks about          17 mockup.
18 specs of boxes, PDU, logic design, and then he talks          18     Q That's the front side of it. That's 91 in your
19 about redoing a spec sheet and then emailing it, and so       19 view?
20 on. And I think the email happened in between those           20     A I would say that 92 is the front side and 91 is
21 times, or right after the last one.                           21 the backside. If I were -- if I were making a data
22     Q So looking back at your paragraph 175, what are         22 sheet, I would lead with the diagram and I would have the
23 the component specifications that you're talking about?       23 speeds and feeds on the back. So this looks like a data
24     A That's the spec sheets.                                 24 sheet because it has the common header on it. So that's

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                                                     Page 198                                                      Page 200
 1 the way I interpret that.                                  1     Q So your testimony is that the first two
 2     Q Okay. What I'm trying to do is figure out what       2 sentences -- two lines here: The above diagram
 3 your report is actually citing to.                         3 illustrates a plurality of computing systems that include
 4     A It's trying to cite all of this stuff.               4 bitcoin miners such as Bitmain, S9 Dragon, T1 or the like
 5     Q Now, stop. Let me finish my question. So go          5 having different power thresholds refers to day-ahead
 6 to paragraph 190 as an another example here. Let me know 6 pricing?
 7 when you're at 190.                                        7     A Sorry. Talking about the miners have different
 8     A 190, yeah.                                           8 power thresholds. Sorry. The miners have different
 9     Q So go ahead and read the first sentence to           9 power consumption capability, and the Bitmain, S9 just to
10 yourself that ends at Footnote 30, and then again you     10 illustrate the fact that in my mind these two things are
11 cite two pages in Footnote 30, 91 and 97. And my          11 the same thing. The Bitmain, Dragonmint comes from the
12 question is, did you mean to cite page 92 instead of 91?  12 top of 91.
13     A Let me see what actually 97 is. I think it          13     Q Okay. So the different power thresholds you're
14 meant --                                                  14 talking about there, for the miners what are those? I'm
15     Q 97 is the spreadsheet.                              15 not asking if you know the specific number. I'm asking
16     A I think it meant to include all of these            16 what you mean --
17 things, but the stuff about the -- I mean, these are      17     A That would be load characteristics.
18 typos. This -- it probably should have been 91-97 or 91,  18     Q That would be -- What do you mean by load
19 92. But 97 is pretty important here. Probably should      19 characteristics?
20 have been 91-97 because the stuff that has to with fan    20     A Well, different bitcoin miners or different
21 and stuff is really not that important. So it's the       21 computer systems so they have different load
22 stuff at the front, which is the two pages that looks     22 characteristics. They consume different amounts of
23 like a spec sheet, and the spreadsheet that's at the end. 23 power, different times and --
24     Q Right. The stuff in the middle is third-party       24     Q When they run?
                                                     Page 199                                                      Page 201
 1 publicly-available documents, right?                          1     A Yeah.
 2     A Yeah. It doesn't really pertain to anything             2     Q Okay. Under the direction and control of a
 3 valuable here. So typically -- that looks like it to me       3 control system composed of various API calls to retrieve
 4 like it was a typo and it would have been 91 through 97       4 relevant information such as realtime and day-ahead
 5 or 91 -- or 91 assuming that 92 is part of 91, because in     5 energy prices, custom PDU logic and -- custom PDU logic
 6 my mind 91 and 92 are the same piece of paper. So that        6 and fan control to provide fine grain load controls, and
 7 kind of complicates life.                                     7 then it goes on. So let's talk about the -- Is there
 8     Q Okay. So let's go to -- let's go 92 then,               8 anything in this drawing -- Let me ask a different
 9 which is the drawing. Paragraph 177.                          9 question.
10     A Okay.                                                  10         You see the little lightning bolt arrow on the
11     Q So the first sentence you talk about the               11 left side of the drawing?
12 diagram above illustrates a plurality of computing           12     A Right.
13 systems that include bitcoin miners having different         13     Q What does that mean? What's that represent in
14 power thresholds under the direction and control -- of       14 your mind?
15 control system composed of various API calls, and it goes    15     A Looks like power being received by the bitcoin
16 on.                                                          16 miners.
17         Do you see that?                                     17     Q That power is then coming from what looks like
18     A Uh-huh.                                                18 wind mills?
19     Q What are the different power thresholds you're         19     A It's coming from some generation facility.
20 referring to?                                                20 It's illustrated here as generation -- it's called
21     A Well, it's receiving day-ahead pricing and             21 generation assets here. Looks like it's illustrated as
22 realtime pricing.                                            22 wind mills, but it's a conceptual diagram.
23     Q That's --                                              23     Q Is there anything in the drawing that indicates
24     A So the thresholds are in the day-ahead pricing.        24 this system of Mr. Storms -- this drawing could be

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                                                     Page 202                                                      Page 204
 1 connected to the grid?                                     1      MR. RICORDATI: Objection. Mischaracterizes the
 2     A Sure. Power could come from the grid.                2 testimony.
 3     Q What in the drawing indicates that?                  3      THE WITNESS: It consumes three-phase, four-wire
 4     A The fact that it's receiving power.                  4 power which is conventional way for service providers to
 5     Q Anything else?                                       5 distribute power. That's a pretty heavy indicator that
 6     A Well, it's using day-ahead pricing data.             6 it's connected to a grid or connected upstream in a
 7     Q How does that indicate that it would be -- that      7 private operation or wherever. It could be connected to
 8 it could be grid connected?                                8 a nonjurisdictional customer. It doesn't really matter.
 9     A Well, if you're -- if you're in a contract           9 It takes three-phase, four-wire power at 415
10 where you're consuming day ahead -- you're bidding        10 phase-to-phase and 240 phase to -- line to neutral.
11 day-ahead pricing data, you have to have the capability   11      MR. NELSON: Q So a little bit later on in
12 of consuming that. I think we already established that.   12 paragraph 177 you talk about that the diagram illustrates
13     Q So does that mean that if -- that you must be       13 custom PDU logic and fan control to provide fine grain
14 grid connected? My -- first question was what indicates   14 local control for the miners. Do you see that?
15 that this thing -- that this diagram depicts something    15      A Uh-huh.
16 that could be grid connected. And you gave me two things 16       Q So there's a bubble on here that says custom
17 so far. You gave me the lightning bolt, that it got       17 PDU and fan control logic -- fan control hardware and
18 power from somewhere, and you indicated that it could get 18 logic. I see that.
19 day-ahead information. Anything else?                     19      A Uh-huh.
20     A Well, it looks like some of the things up on        20      Q What on here talks about fine grain load
21 left side appear to be -- it says physical                21 control for the miners?
22 infrastructure. I interpret that as physical              22      A I thought it was in here in the text.
23 infrastructure of the distribution grid. I don't exactly  23        It talks about -- the page 91 talks about
24 know what hardware layer means, but those things could be 24 cgminer watchdog, database miner logging, PDU related
                                                     Page 203                                                      Page 205
 1 construed to be transformers -- physical infrastructure       1 mapping, full automation, realtime breakeven monitoring.
 2 could be construed to be transformers. The hardware           2 That to me indicates fine grain load control.
 3 layer, it's hot on one side and cold on the other side.       3     Q So the words --
 4 So it's something that's cooling.                             4     A I thought it was in here. I may be missing it.
 5    Q So all of those things in your mind indicate             5     Q Well, I don't -- I don't see it in there, but
 6 that this could be connected to the grid as opposed to        6 the portions of it under the software management bullet
 7 connected to a generation asset?                              7 that you just read, none of those use the words fine
 8    A Yeah. It could be connected to a generation              8 grain load control, do they?
 9 asset or it could be connected to a grid asset. It uses       9     A No, it doesn't seem to use those words. I
10 power. Again, when I got this, this was labeled 91, and      10 thought for sure it was in here like that.
11 I couldn't find 92. So I'm thinking of this as one page.     11     Q Well, I'll represent to you I looked pretty
12 So you have to look at this part up here. You have to        12 hard and didn't find it. So what is the -- You pointed
13 look at 91 for this to make sense, and it talks about an     13 to the software management bullet point on page 91. What
14 electrical system that the box contains, three-phase         14 is the local cgminer watchdog?
15 four-wire, 415Y/240V, remote dual-outlet power control       15     A Cgminer is an open source software that's used
16 PDUs, all network infrastructure on UPS. So it consumes      16 for mining, and watch dog is -- watchdog is a term that
17 power three-phase, four-wire. Whether that comes from a      17 means that system will manage itself, and if it goes out
18 stand alone generation asset, a distributed generation       18 of -- if it loses power, it will force itself to reboot
19 asset, a grid, whatever, it consumes 3-phase power.          19 when the power comes back on, or it will watch when sub
20    Q Right. And the fact that it -- so other than            20 processes die and it will restart those sub processes. I
21 the fact that it consumes -- that you understand it          21 mean, watchdog is a monitoring kind of thing that keeps
22 consumes three-way power, is there anything else that        22 the software or the system functioning.
23 indicates this diagram represents something that could be    23     Q Watchdog doesn't have anything to do with fine
24 directly connected to the grid?                              24 grain load control, does it?

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                                                    Page 206                                                      Page 208
 1    A No, that's a system health issue. Fine grain          1     Q We're not -- Mr. McNamara didn't have the code.
 2 load control, come -- I believe -- it looks to me like it  2 So I'm talking about what is communicated between
 3 comes from PDU and relay mapping. So all the PDUs are      3 Mr. Storms and Mr. McNamara.
 4 individually controllable, can be fully automated, and     4     A Uh-huh.
 5 then you have optional realtime breakeven monitoring.      5     Q And so what out of the documents in this email
 6 You only have breakeven monitoring in realtime when you 6 would communicate in your opinion fine grain load
 7 have fine grain control of the load. If you have course    7 control?
 8 control -- if you have control of the load, you can do     8     A I think I already answered that. If you look
 9 breakeven monitoring, but it wouldn't happen in realtime.  9 at that bullet, to implement break even monitoring in
10    Q So none of what you just said though is on this      10 realtime, you'd have to have control of the power
11 bullet point, is it?                                      11 consumed by the load with a fast cycle time. Your duty
12    A None of what I just said --                          12 cycle for the load would have to be manageable at a very
13    MR. RICORDATI: Objection. Mischaracterizes the         13 refined rate. So that would be fine grain load control.
14 testimony.                                                14 Fine grain load control is just a way to interpret that
15    MR. NELSON: Q None of the testimony you just gave 15 statement.
16 me regarding fine grain monitoring, none of that is in    16     Q Is there anything else in these documents, 90
17 your report, and none of it is written on page 91         17 through 97, that informs your opinion about whether fine
18 anywhere, is it?                                          18 grain load control was communicated?
19    MR. RICORDATI: Objection. Mischaracterizes the         19     MR. RICORDATI: Objection. Asked and answered.
20 testimony.                                                20     THE WITNESS: Well, another interpretation -- an
21    THE WITNESS: The term fine grain load control          21 additional interpretation based on just the information
22 doesn't appear to be written on these pages, but the      22 in the email -- and I honestly think that the
23 interpretation of realtime breakeven monitoring would     23 interpretation of that one bullet is enough, but the
24 give that -- would -- fine grain load control would be    24 interpretation of that one bullet along with the details
                                                    Page 207                                                      Page 209
 1 necessary to implement realtime breakeven monitoring.      1 in the spreadsheet indicate that the breakeven mining
 2    MR. NELSON: Q And would a person receiving this         2 cost can change at five-minute intervals. So that would
 3 information -- would they recognize that just from         3 be another form of break -- of fine grain load control.
 4 receiving this information?                                4 Because if you can change the breakeven mining cost at
 5    A I don't know what somebody would recognize.           5 five-minute intervals you have the ability to change the
 6 That's what it -- That's what it speaks to me. When I      6 consumption of the load at least as fast as five minutes.
 7 read that, that's what I see.                              7 So that interpretation of the CSV file reinforces the
 8    Q And when you see that, is that based on your          8 interpretation of the realtime breakeven monitoring.
 9 knowledge of the source code and other things, or is it    9     Q And again looking -- looking at these
10 just based on this document and the other email -- or the 10 documents -- and when I say these documents, can we just
11 other documents in this email?                            11 have an agreement that I'm talking about Exhibit -- is it
12    A Well, I think if this document was the only          12 204? Exhibit 204, this email and the attachments.
13 thing that you saw and you looked closely at realtime     13     A Yeah.
14 breakeven monitoring you'd have to say to yourself well,  14     Q Okay. So looking at these documents, is there
15 how do you do breakeven monitoring in realtime unless you 15 any disclosure of how the -- how this system -- how this
16 can control the load rapidly? All right. So, yeah, that   16 drawing and associated spreadsheet did -- achieved the
17 bullet right there would say I have rapid control         17 fine grain load control that you're talking about?
18 overload soak or the ability of the load to consume or    18     MR. RICORDATI: Object to form.
19 use power. So an interpretation of that could be fine     19     THE WITNESS: I'm not exactly sure I'm following
20 grain load control, and then when you look into the code  20 what it is you're asking. If I consider these documents
21 and you see that the thing really does have the ability   21 alone, does it inform how to do fine grain load control?
22 to map directly into each of those PDUs, it kind of       22     MR. NELSON: Q Well, let me ask it. So I asked
23 confirms the interpretation that that indicates fine      23 you before what -- what in the documents you believed
24 grain load control.                                       24 indicated fine grain load control and you gave me an

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                                                               Page 210                                                     Page 212
 1 answer.                                                                 1 realtime LMP revenue.
 2     A    Uh-huh.                                                        2     Q So the next column to the -- one in from the
 3     Q    So now I'm asking if there's anything in the                   3 far right is realtime -- real_time_LMP_revenue. Do you
 4 documents -- or I guess otherwise again in the context of               4 see that?
 5 the communications between Mr. Storms and Mr. McNamara                  5     A Uh-huh.
 6 indicated how to do the fine grain load control.                        6     Q How is that calculated?
 7     A    How to do the fine grain load control. Well,                   7     A That's the revenue that's calculated based on
 8 you have realtime breakeven monitoring which tells you                  8 selling back the power using the realtime LMP strike
 9 that there's some form of load control that's happening                 9 price and the amount of power maximally consumed by the
10 fast, happening quickly, so you have a very flexible                   10 miners if they weren't being used.
11 system. You have the ability to address -- because it                  11     Q What is the realtime LMP strike price?
12 talks about full automation of the PDU and relay mapping,              12     A That's the third column from the right.
13 you have the ability to address the power consumption of               13     Q So it's real_time_LMP?
14 the devices individually, and then if you look in the                  14     A Yeah, it's the data being received from the
15 spreadsheet, it confirms the fact that you have the                    15 marketplace in realtime.
16 ability to manipulate the power consumption of those                   16     Q The simulated data?
17 devices at least on a five-minute interval.                            17     A I believe this is actual data.
18     Q    Okay. How does the spreadsheet indicate you                   18     Q He's not hooked up to the marketplace. He's
19 have the ability to manipulate power consumption on a                  19 pulling this from a website, right?
20 five-minute interval?                                                  20     A I believe his simulation in this -- yeah,
21     A    I think I already answered that with the                      21 that's right. It's being retrieved from somewhere else.
22 breakeven mining cost. You can't calculate a breakeven                 22 I don't think it's actual realtime data from the ERCOT
23 mining cost when your power thresholds are changing                    23 system. I think -- but it's being retrieved from
24 unless you're able to manipulate load and the breakeven                24 somewhere else.
                                                               Page 211                                                     Page 213
 1 mining cost is changing on a five-minute interval. Of                   1     Q So network difficulty, that's a publicly
 2 course this spreadsheet is -- doesn't give all the                      2 available data, right?
 3 details, but it would indicate that.                                    3     A Yep.
 4     Q So the spreadsheet doesn't give any of the                        4     Q What is mining revenue?
 5 details, does it, it just gives columns and numbers,                    5     A Mining revenue is the amount of money you would
 6 there's no calculations in the spreadsheet?                             6 make by mining using those miners with that power
 7     A It sure does. You can infer them very easily.                     7 threshold and that day-ahead price.
 8 I see a host of things in this data. This data gives me                 8     Q The power threshold for the miners is the
 9 an enormous amount of information. This is the output of                9 amount of power the miners would use if they're turned
10 a simulation. This is the unfiltered output of a                       10 on, right?
11 complicated simulation that allows me to look directly                 11     A Which is contained in this document here.
12 back into how that simulation works.                                   12     Q What is the day_ahead_LMP_rev?
13     Q And so --                                                        13     A That's the revenue you make from -- that's
14     A What it does.                                                    14 the -- the day-ahead LMP is the day-ahead price, and
15     Q You're basically saying you can reverse                          15 day-ahead LMP revenue is the revenue you would make --
16 engineer the calculations from looking at the simulation?              16 that's day ahead -- from consuming that power without
17     A Absolutely.                                                      17 mining. That doesn't make sense. That would be the sell
18     Q So going to the column on the far right, the                     18 back. That's a revenue column. Okay. So I'm a little
19 realized revenue, what calculation is used to accomplish               19 confused on that one, but that's the day-ahead LMP
20 that?                                                                  20 revenue. That's the revenue you would get from selling
21     A It's a max of three of the other columns. If                     21 at the day-ahead LMP price a certain amount of power. I
22 you look at three of the other columns, the value that's               22 think it's the certain amount of power that you were
23 in realized revenue is the maximum value from mining                   23 consuming by your miners. That one is a little
24 revenue, day-ahead LMP revenue, and one other one. And                 24 confusing. I believe this other one is -- Let me make a

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                                                    Page 214                                                       Page 216
 1 quick calculation, double check.                             1     Q And what entity would be the one that would be
 2         That's very close. So the breakeven mining --        2 doing it is my question.
 3 the daytime is obvious, that's when the data was             3     MR. RICORDATI: Objection. Vague.
 4 retrieved. The block height, the bitcoin price, network      4     THE WITNESS: Doing what?
 5 hash rate, network difficulty, those are all bitcoin         5     MR. NELSON: Q That would be implementing the
 6 parameters that are retrieved from the bitcoin network.      6 realized revenue. So if you install -- If somebody was
 7 Breakeven mining cost is the amount of cost you incur by     7 -- In this simulation what perspective was Mr. Storms
 8 computing -- by doing bitcoin mining using your -- the       8 simulating? Was he simulating it from his system would
 9 power that you've -- outside the scope -- it's your          9 be installed at a wind farm or his system would be
10 downside, right, that's what you -- that's what -- you      10 installed at a bitcoin line?
11 got to get past that to break even. So that's your --       11     MR. RICORDATI: Object to form.
12 that's the amount of money that you have to be able to      12     THE WITNESS: That question doesn't make sense. The
13 make to break even based on the cost of bitcoin mining      13 system is the bitcoin mine. So a system couldn't be
14 and the cost of power.                                      14 installed at the bitcoin mine. It is the bitcoin mine.
15     Q So the simulation that this spreadsheet               15 The assumption is that you have his system, you fill it
16 represents, the day-ahead LMP revenue, is that money that   16 up with bitcoin miners, you feed it power from somewhere
17 would be generated by the bitcoin miner if it wasn't        17 that you're purchasing, according to some power
18 mining but is selling power, or is it -- or is it           18 agreement, and the power agreement has a minimum
19 something else?                                             19 threshold that allows you to compute your breakeven point
20     A That one is confusing to me. I don't -- I'm           20 which you must get past with bitcoin mining to make any
21 struggling with what that one means. The one on             21 money.
22 right-hand side, the realtime LMP revenue is what you       22        Then, if you get past that, and it's higher
23 would make if you sold back at the realtime price.          23 than what you could sell the power back at, then you mine
24     Q And is that the bitcoin miner selling back at         24 bitcoin. If it's not, then you sell the power back.
                                                    Page 215                                                       Page 217
 1 the realtime price?                                          1     MR. NELSON: Q And you -- the entity that is the
 2     A No, that's selling back the power without using        2 you there is the bitcoin mine selling the power back, not
 3 it.                                                          3 taking it, in other words?
 4     Q I know. But what is the entity selling the             4     A It's this device, it's this system, the
 5 power back?                                                  5 Bearbox -- It's the Bearbox system, it's the control --
 6     A The thing that's not doing the bitcoin mining.         6 it's the control algorithm of the Bearbox system making
 7     Q So the generator?                                      7 those decisions based on inputs -- if you look at the
 8     A Yeah, that's selling the power that you've             8 diagram --
 9 contracted to provide. That's passing the power through      9     Q You're on page 92 and 91?
10 to the market rather than using it to mine bitcoin.         10     A 92. Yeah, it's -- You look at the diagram, you
11 That's the markup on the pass through. This data here       11 look at the spreadsheet, you go, oh, I get it. Doesn't
12 is just -- this lays out the whole scheme. It's great.      12 matter where the power comes from, as long as it's three
13     Q Trying to -- What is the entity though that's         13 phase, four wire, 415, line to line, and that can be
14 doing -- So the realized revenue is -- I think you told     14 changed. All you have to do is swap out the PDU, and you
15 me this before, but what is the realized revenue column?    15 can do it a different way. Swap out the PDU, get three
16     A The realized revenue column is the maximum of         16 phase, four wire, 208 then you plug it in in your house.
17 three previous revenue columns.                             17 It can work anywhere.
18     Q And those three revenue columns are which ones?       18         Put a stepdown transformer in front of it, put
19     A The ones that have rev in the name.                   19 a stepup transformer in front if, you want to jack it up.
20     Q And presumably then the strategy is to                20     Q So let's go back and look at page 92 again. So
21 implement whichever is the highest realized revenue?        21 you've got -- You see the bubbles on the right side?
22 Wherever the realized revenue column comes from is what     22     A Uh-huh.
23 you would do in a given timeframe?                          23     Q What do those bubbles represent?
24     A Yep.                                                  24     A That's the Python code.

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                                                    Page 218                                                     Page 220
 1     Q Well, one of them. It say Python, right?               1 that's coming from the system or from the, you know,
 2     A It's just an indicator -- They're all written          2 either from a wind farm or generator or somewhere else,
 3 in Python. I mean, one says post -- one says SQL             3 the amount of power this system is taking in?
 4 database. That's a database. Right. It can be local or       4     A No. It's the threshold that's coming in
 5 it can be somewhere else. One says -- one says API,          5 through the day-ahead price, or it's -- it's the
 6 right. So it's a bitcoin API. It's a Python -- it's          6 threshold that you're using to calculate the breakeven
 7 implemented in Python to interface with bitcoin network.     7 mining cost.
 8 One says bitcoin core node, that's the one that's making     8     Q And how -- What is the calculation -- That
 9 the computations. One says custom PDU and fan control        9 threshold, what is the calculation that you're using to
10 logic, that's implemented in Python. It's pulling           10 calculate the breakeven mining cost?
11 information off the PDUs and sending information back to    11     A We'd have to look specifically at the code.
12 the PDUs as well as the fans.                               12     Q So to figure that out you have to look at the
13         The other one says LAN cgminer watchdog with        13 source code?
14 database table logging. That's the bitcoin miner            14     A Yeah. I mean, we can try to back into it from
15 activity. One says day-ahead LMP, blah, blah, blah,         15 this, but it's -- that would be fraught with trial and
16 that's the interface implemented in Python that talks to    16 error, but we can look into the source code and find --
17 the external entities to get power price.                   17 we can see in the course code where it writes this table
18     Q Anything else in the context of those seven           18 out.
19 bubbles?                                                    19     MR. RICORDATI: We've been going over an hour.
20     A Those seven bubbles are the Python code.              20     MR. NELSON: Yeah. Let me -- Five more minutes on
21 They're the functions that are implemented by the Python    21 the drawing here.
22 code.                                                       22     MR. RICORDATI: Sounds good.
23     Q So looking at these documents that we've been         23     MR. NELSON: Q These documents we've been talking
24 talking about, is there anything in here that discloses     24 about, do they disclose the performance strategy
                                                    Page 219                                                     Page 221
 1 minimum power thresholds?                                    1 comprising a power consumption target?
 2     A Well, the breakeven gives you the minimum power        2     A These use a power consumption target that's
 3 thresholds. It's implicitly using minimum power              3 uniformally above the threshold, and it's trying to find
 4 thresholds. It talks day-ahead LMP pricing, so it's          4 the maximum so it's using the power consumption target
 5 trying to compute the breakeven point for the bitcoin, so    5 which is the full out, right. It's a corner case, it's
 6 that's a minimum power threshold. That's the minimum         6 full out. Turn them all on and let them run.
 7 amount of power that I have to use, right, to calculate      7     Q Do these documents disclose that responsive to
 8 my breakeven.                                                8 receiving the power option data you determine the
 9     Q I guess help me understand why you believe that        9 performance strategy for the set of competing systems
10 a minimum power threshold here is implicit in the           10 based on the combination of the power option data,
11 breakeven calculation.                                      11 meaning the time and the power threshold -- minimum power
12     A Because that's what the breakeven would mean.         12 threshold, at least one condition in the set of
13     Q So in the context of that assumption, what do         13 conditions?
14 you understand the minimum power threshold to be?           14     A You can see that the computations change every
15     A It's whatever power is driving the calculation        15 five minutes, so they're sensitive to the data that's
16 of the breakeven mining cost based on what the bitcoin      16 coming in, you can see that the bitcoin mining cost
17 mining cost bitcoin difficulty is.                          17 changes every five minutes. So you can see that it's
18     Q So where is that power coming from?                   18 recomputing -- it's re-centering itself based on what its
19     A The lightning bolt.                                   19 costs are going to be, and you can see the revenue that's
20     Q So --                                                 20 realized after that, and it's making a decision as to
21     A It's coming from the three-phase, four-wire --        21 which revenue path to take. Yes -- the spreadsheet
22     Q It's coming -- yeah -- So in your view the            22 illustrates all of that.
23 minimum power threshold that you're discussing here in      23     Q And so where is it illustrating determining a
24 connection with these documents is the amount of power      24 power consumption target?

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                                                                Page 222                                                       Page 224
 1     A    Based on the breakeven mining cost.                             1 basically they converted that -- that same information,
 2     Q    How is that indicating that it's actually --                    2 whether it's characterized as trade secret claim or
 3 that it's actually creating a power consumption target                   3 conversion claim, that Lancium took something from
 4 for the set of computers?                                                4 Bearbox, is that fair?
 5     A    Because if I don't break even, I shouldn't                      5     A Yes.
 6 mine. If I break even -- if I do more than break even                    6     Q And so looking at paragraphs 91 and 92 -- I
 7 with mining, that's a target.                                            7 think I asked you before what you thought was taken. But
 8     Q    So that's your -- your power consumption target                 8 does 91 -- do 91 and 92 either separately or together
 9 is whatever the target is that will let you break even or                9 disclose in your opinion what it is that Lancium
10 greater?                                                                10 allegedly took from Bearbox?
11     MR. RICORDATI: Objection. Mischaracterizes the                      11     A 91 and 92? Paragraph 91 and 92?
12 testimony.                                                              12     Q No, no. Bearbox documents 91 and --
13     THE WITNESS: Your power consumption -- your minimum                 13     A Oh, oh, oh. Sorry. I misunderstood.
14 threshold for power consumption coincides with your                     14 Certainly the concept -- much of the overall concept is
15 minimum threshold for bitcoin mining, because if you're                 15 described in 91 and 92, but I think -- I think you have
16 mining bitcoin and you're below that, you're just wasting               16 to take the entirety of what was emailed, 91 and 92 plus
17 time. So I compute my bitcoin mining threshold to                       17 the CSV file.
18 coincide with that threshold, and anything above that,                  18     Q I want to focus on 91 and 92 first. This is --
19 I'm in fat city when I'm mining bitcoin, unless if I sell               19 this is really resp -- regarding what was -- what you --
20 back, it's higher than that.                                            20 what you allege in your reports was taken that is outside
21     MR. NELSON: Q And so in that context, what's your                   21 of the patent. Does that make sense?
22 minimum power threshold?                                                22     A Yeah.
23     A    We'd have to back it out of the breakeven                      23     Q So you said that 91 and 92 disclose the
24 mining cost.                                                            24 concept. What concept do you believe they disclosed that
                                                                Page 223                                                       Page 225
 1     Q So you'd have to look at the code basically?                       1 was allegedly taken?
 2     A I mean, the power threshold is associated with                     2     A I think the -- the thing that's disclosed here
 3 the breakeven mining cost. You can probably compute it                   3 is -- well, the day-ahead pricing and the realtime
 4 right here. It may take into account some -- it may take                 4 pricing is something that's known. That's ERCOT stuff,
 5 into account some dead cost, so I don't know if you'd be                 5 right. The thing that's really disclosed is this
 6 able to compute it exactly from here. You might have to                  6 collection of bullets down here where you have full
 7 take into account some of the dead cost from the systems.                7 automation, optional realtime breakeven monitoring,
 8 The code would be explicit on that and would tell us                     8 renewable marketplace data. The concept of breakeven
 9 exactly how to compute it.                                               9 monitoring I think and the sell back price based on the
10     MR. NELSON: Why don't we take a break.                              10 breakeven monitoring I think is a critical piece.
11     THE VIDEOGRAPHER: The time is 3:37 p.m. This is                     11     Q All right. And so when you were -- when you
12 the end of media unit 2 and we're going off the video                   12 were talking just now, you were talking about the bullet
13 record.                                                                 13 points under software management on page 91, and then
14        (Off the record)                                                 14 specifically the last two open bullet point -- the fourth
15     THE VIDEOGRAPHER: The time is 4:00 p.m. This is                     15 from the bottom open bullet point on software management?
16 the beginning of media unit 4, and we're back on the                    16     A Yeah, the next to the last bullets -- under
17 video record.                                                           17 software management bullets 3 and 4 I think are critical.
18     MR. NELSON: Q So, Mr. McClellan, let me get you                     18     Q You think that is -- how does that disclose the
19 to focus on pages 91 and 92 of Exhibit 204 for a minute.                19 alleged concept that you believe Lancium converted from
20     A Okay.                                                             20 Mr. Storms?
21     Q Now, if I understand correctly, you have an                       21     A Well, I don't think that that discloses the
22 opinion in your report that Lancium misappropriated                     22 entire concept. I think that gives you a peek at the
23 certain amount of trade secret -- certain trade secrets                 23 concept because it talk about breakeven monitoring using
24 from Bearbox and in your reply report that those -- that                24 marketplace data, and it's a bitcoin miner. So that gets

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                                                      Page 226                                                       Page 228
 1 you half -- that gets you part of the way there, and then      1 if the document, the spreadsheet, Bearbox 97 had never
 2 you start using that in context with the CSV file and it       2 been communicated to Mr. Storms, your opinion would be
 3 starts to become quite clear.                                  3 that Lancium had not converted valuable information from
 4     Q I want to focus only right now on 91 --                  4 Mr. Storms?
 5 pages 91 and 92. Okay. So you identified the bullet            5     A I wouldn't put it that way.
 6 points we just talked about as disclosing at least part        6     Q I'm asking you again, assume the spreadsheet
 7 of the concept that you allege Lancium converted from          7 was not disclosed, and, yes, it's a hypothetical, would
 8 Bearbox, right?                                                8 you still be of the opinion that Lancium converted
 9     A Yeah. I think you have to take them                      9 valuable information in the form of breakeven arbitrage
10 altogether. I don't think individual -- like one page of      10 from Mr. Storms?
11 91 and 92 gives you some of it, the other page gives you      11     MR. RICORDATI: Object to the form.
12 some of it, but it doesn't -- all of them together give       12     THE WITNESS: Yeah, on page 91 it uses the term
13 you more than -- the whole is greater than the sum of the     13 breakeven so, yes.
14 parts in this case.                                           14     MR. NELSON: Q So you would still be of the opinion
15     Q And I'm asking you right now to focus on 91 and         15 that Lancium's -- Lancium converted Mr. Storms' allegedly
16 92.                                                           16 proprietary breakeven arbitrage method?
17     A Uh-huh.                                                 17     A Well, it uses the term breakeven on page 91.
18     Q And what of the parts -- of the thing that you          18 So if all he communicated was pages 91 and 92, they still
19 allege Lancium took from Bearbox, what of the parts are       19 would have been apprised of the breakeven monitoring
20 disclosed in 91 and 92, without reference to 97, without      20 capability.
21 reference to the spreadsheet.                                 21     Q And you think that's enough -- that would be
22     MR. RICORDATI: Objection. Asked and answered.             22 enough to support your opinion that Mr. Storms' valuable
23     THE WITNESS: I think the bullets on 91 that talk          23 information was converted by Lancium?
24 about full automation and breakeven monitoring using          24     A My opinion is based on the data that was
                                                      Page 227                                                       Page 229
 1 renewable marketplace data gives you the idea that         1 actually communicated, not the hypothetical.
 2 there's a sell back piece here that you might not have     2    Q And my question assumes the hypothetical. So
 3 thought about before, and you can automate that, and then  3 assume that this Bearbox 97 was not disclosed. Is your
 4 -- and then the diagram talks about realtime pricing from  4 opinion still that Lancium converted breakeven arbitrage
 5 the local market price every five minutes, and it talks    5 method from Mr. Storms?
 6 about reoptimizing every five minutes using the custom     6    A Under the hypothetical if the spreadsheet
 7 logic and stuff, and it shows simultaneously the dollars   7 data -- the simulation data was not disclosed, we need to
 8 and the bitcoin. Right.                                    8 define what was disclosed, did I -- would he have
 9     MR. NELSON: Q Uh-huh. So I want you to assume for 9 disclosed in the hypothetical that he had a full
10 the purposes of this next question that the Bearbox 97,   10 simulation, would he have disclosed in the hypothetical
11 the spreadsheet, was never communicated to Lancium,       11 what the simulation contained. Once we go down into the
12 doesn't exist for the purpose of this question. Would     12 hypothetical we have to define some more things.
13 you still have the opinion that Lancium converted an      13    Q My --
14 arbitrage method for Mr. Storms?                          14    A All he -- all he disclosed was this document,
15     MR. RICORDATI: Object to the form.                    15 then it gave them the breakeven concept right there.
16     THE WITNESS: Well, that's a completely -- that's a    16    Q And so in your view based on this document,
17 complete hypothetical that takes out one of an important  17 meaning pages 91 and 92, if that's all he disclosed,
18 set of items that we were communicated.                   18 would you still be of the opinion that Lancium converted
19     MR. NELSON: Q Can you answer my question?             19 valuable -- a valuable breakeven arbitrage method from
20     A I'm saying it's a complete hypothetical. So         20 Mr. Storms?
21 under those hypothetical situations, I think that it      21    A Well, this is a hypothetical situation, right?
22 gives a hint of what that concept is, but it doesn't give 22 So hypothetically they could have seen this and asked him
23 the entire flavor of it.                                  23 some more questions.
24     Q So the answer to my question would be no, if --     24    Q That's not my question. My question is, if

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                                                     Page 230                                                          Page 232
 1 this -- pages 91 and 92 were all that were disclosed, is   1 up infringing the patent regardless.
 2 it your opinion that Lancium still converted a valuable    2      Q Okay. So let's take the patent out of it. So
 3 -- Mr. Storms' valuable -- allegedly valuable breakeven    3 assume that you could implement this system without
 4 arbitrage method?                                          4 infringing the patent. Has Lancium done anything that
 5     A Well, if it's a hypothetical, then we have to        5 would prevent Mr. Storms from doing it?
 6 define some things better.                                 6      A I don't know. I can't speak to that.
 7     Q I just did. This is what you have.                   7      Q You're not -- are you aware of anything?
 8     A Okay. So they weren't able to interact with          8      A I'm not aware of anything that they've done to
 9 him anymore, they weren't able to ask anymore more         9 prevent him.
10 questions, they weren't able to get anymore data, this is 10      Q Looking back at the spreadsheet here,
11 where it stopped.                                         11 Exhibit -- Bearbox 97. So the break even calculation --
12     Q The email sent only these two pieces of paper.      12 We just take the first line here dated 5-6-19 at 11:37.
13     A Well, this indicates breakeven monitoring --        13 Do you see that, 11:37 -- don't know if it's a.m. or
14 realtime breakeven monitoring using renewable marketplace 14 p.m., but --
15 data. And it indicates full automation using individual   15      A Well, it's military time so it's a.m.
16 PDU mapping, it indicates a compatibility with a bunch of 16      Q Okay. You're right. It is. So the breakeven
17 different kind of bitcoin mining devices, it indicates a  17 calculation that's being done is being done for that
18 control system that can exchange bitcoin data that can    18 point in time, right?
19 log that data -- the computed data, the simulated data,   19      A It's being done for that five-minute period, I
20 it contains custom PDU and flow control hardware and      20 believe.
21 logic where you have better control over the devices, and 21      Q Well, it's not done every minute. It's done --
22 it contains logic that deals with day-ahead pricing as    22 it's done at this specific time, and then it's done again
23 well as realtime pricing to compute the realtime          23 five minutes later?
24 breakeven monitoring, and it shows simultaneously dollars 24      A Every five minutes for -- yeah, it's a sample
                                                     Page 231                                                          Page 233
 1 and bitcoin. I think it gives the concept -- it gives         1 and hold for that five-minute period.
 2 the overall concept. I think the CSV file gives details       2    Q Yeah. So for -- I don't know how long it takes
 3 that get very directly to the conversion.                     3 to do the calculation, but it's done, and then there's an
 4    Q So the answer to my question was yes, based              4 assumption made that it's -- that's going to hold for the
 5 only on paragraphs -- on documents 91 and 92, your            5 next five minutes, right?
 6 opinion would not change, you still would believe that        6     A I believe the realtime market pricing only
 7 Lancium converted Mr. -- Mr. Storms' breakeven arbitrage      7 comes in five-minute intervals, so --
 8 method -- system?                                             8    Q And the realtime market pricing that's being
 9    A My opinion would not change.                             9 used here is also the realtime for this five minute --
10    Q So coming back out of the hypothetical now.             10 five -- for this particular time, right?
11        Has Lancium done anything to your knowledge           11    A Yeah. I believe that's the data that's driving
12 that would prevent Mr. Storms from utilizing his             12 this cycle. Right. That's the data that's giving you
13 breakeven arbitrage method?                                  13 the minimum cycle time on the process, because the
14    A Well, they filed the patent. That prevents a            14 realtime market price, it changes every five minutes.
15 barrier to entry in the market.                              15    Q And I believe you testified earlier that you
16    Q The patent doesn't cover the breakeven                  16 had a couple of different options here on this system.
17 arbitrage method, or do you believe it does?                 17 You could sell power back at the realtime price, you
18    A If he were to use his system, it might be               18 could sell power back at the day-ahead price, or you
19 infringing the patent anyway. Even if he used his            19 could mine and you would choose which is the most
20 system -- because the arbitrage adds onto the                20 profitable of those three options to do?
21 capabilities disclosed in the patent. It adds some           21    A That's my interpretation of what this data is
22 things onto that aren't specifically disclosed in the        22 doing.
23 patent, but they're hinted at. So I think even if you        23    Q So how -- With those options how could -- how
24 implemented a system like this, you end up -- you may end    24 could you sell power at the day-ahead price in this

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                                                               Page 234                                                       Page 236
 1 context?                                                                1 least that much, regardless of whether they're losing
 2     A    Well --                                                        2 money doing it or not.
 3     Q    You're a bitcoin miner --                                      3     A Well, that's the break -- that comes from the
 4     A    I mentioned earlier that I was a little bit                    4 breakeven mining cost.
 5 fuzzy about what the day-ahead LMP revenue column                       5     Q But that's -- the breakeven mining cost is
 6 actually means. I mean, the other ones jump right out.                  6 telling you whether it makes sense to mine or not mine?
 7 The day-ahead LMP revenue seems to be calculated dollars.               7     A That's where the power threshold comes from.
 8 It's revenue, so it's dollars based on the day-ahead LMP                8     Q Right.
 9 column because it's day-ahead LMP. I'm not exactly sure                 9     A That's the minimum power threshold.
10 how the revenue number is derived from the day-ahead LMP.              10     Q But it -- but is there a requirement that
11 It would take a little bit of reading between the lines                11 regardless of what that breakeven cost is, it could be
12 to figure that out. It's probably -- it's probably based               12 negative, that the system still must use X amount of
13 on some of the characteristics that are contained on 91.               13 power, even if they're losing money mining bitcoin doing
14     Q    So looking back at all of this -- the materials               14 it?
15 here in Exhibit 204, do they teach a person of ordinary                15     A Why would you mine bitcoin to lose money?
16 skill that the bitcoin mine -- that the bitcoin mine must              16     Q I'm asking --
17 utilize a specific amount of power? By utilize I mean                  17     A That doesn't make any sense. This doesn't
18 actually use to mine -- to mine bitcoins.                              18 teach that.
19     A    Well, they say that if you use that power to                  19     Q This does not?
20 mine bitcoin on that date using those mining numbers, you              20     A Because if you're trying to mine bitcoin to
21 would make that much money.                                            21 lose money, why do it this hard way? I can think of
22     Q    But is there a requirement that the bitcoin                   22 easier ways to lose money.
23 mine here that's being depicted and that's being                       23     Q Does the system teach a performance strategy
24 simulated must use a certain amount of power regardless                24 based on that the system must use X amount of power,
                                                               Page 235                                                       Page 237
 1 of what -- whether it's profitable to do so or not?       1 again, regardless of whether it's profitable to do so or
 2     A Well, this system is -- like we discussed           2 not?
 3 previously, this system is set up -- and I believe he's   3     A Must -- Well, that again goes back to the
 4 running this full open. So this is with a fully           4 breakeven mining cost, you must use that much power to
 5 populated system running full open, and if you did that,  5 break even for mining.
 6 based on these power prices and those bitcoin prices,     6     Q Right. But that's -- again, that's calculating
 7 that's how much money you would make. So if you wanted 7 whether you're going to make money or not. I'm saying
 8 to make less money than that, you could run less miners.  8 regardless of profitability, does the system teach a
 9     Q That's not my question. My question is,             9 performance strategy that is based on using at least X
10 regardless of profitability, does this system teach that 10 amount of power, that must be -- that must be utilized by
11 the miners must consume a minimum amount of power, some11 the miners, even it's -- even if they're losing money
12 amount that's more than zero, regardless of whether it's 12 doing it?
13 profitable to do so?                                     13     A The assumption in the simulation here is that
14     MR. RICORDATI: Object to form.                       14 when the miners are operating, they're consuming the
15     THE WITNESS: It appears to teach that if you use     15 amount of power that's contracted.
16 the power that you've pre-purchased you must make at     16     Q But we've talked about -- I don't want to use
17 least that much money that's talked about in the         17 the word consuming because consuming --
18 breakeven mining cost.                                   18     A They're using --
19     MR. NELSON: Q That's not my question. My             19     Q They're using as in mining or --
20 question is, under the system that's discussed --        20     A Yeah. Those systems are using -- well, this is
21 described in Exhibit 204, is there any teaching that the 21 a side-by-side simulation. That's one of the nice things
22 -- the bitcoin mine must use a certain amount of power   22 about simulation. Right. It's as if you did both things
23 for a certain time period? Let's say 50 megawatts as an  23 at the same time, right? So if you were to go down this
24 example. Can you use more? But that it must use at       24 path and use that power to do mining, you would get this

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 1 much money. If you were to stop mining at certain times,   1     Q Do you know what base point information is?
 2 you would get this much money. So which one do I use?      2     A I think -- In terms of a power system?
 3 That's a performance strategy. At this time I turn on      3     Q In terms of your opinions.
 4 the miners, at that time I turn off the miners, and there  4     A In what context? In terms of opinions with
 5 may be areas in between where I modulate how much mining   5 this case?
 6 I do.                                                      6    Q Yes.
 7     Q Okay. That's not my question. My question is,        7     A I don't think -- I don't know if that terms has
 8 does this system contemplate a performance strategy where 8 showed up. It may, but I don't recognize it right
 9 X amount of power must be utilized by the miners, they     9 offhand.
10 must mine and use X amount of power, regardless of        10     Q So go to paragraph 285 of your report.
11 whether or not it's profitable for the miners to do so?   11     A 285?
12     MR. RICORDATI: Object to form.                        12    Q Yes.
13     THE WITNESS: That's the breakeven mining cost.        13    A Yes.
14 That's associated with the breakeven mining cost. The     14     Q So what's a base point?
15 simulation kind of ignores that -- I'm going to say just  15     A It says that the base point is the minimum
16 for a second nonsensical case, right, because why am I    16 required power usage value which corresponds to the
17 mining bitcoin to lose money. So let's call that --       17 claimed minimum power thresholds.
18     MR. NELSON: Q Well, I'm -- that's my --               18     Q And how does that correspond to the claimed
19     A That's the wrong terminology for it. This           19 minimum power threshold?
20 simulation ignores that case, because it's focusing on    20     A That's the amount of power that you need to use
21 ways to make positive dollars by choosing a performance   21 or need to pay for depending on how the contract is
22 strategy that enhances the choice of mining versus sell   22 structured.
23 back.                                                     23     Q So that's what the base point is or that's what
24     Q No. And I understand that, but my question is       24 the minimum power threshold is?
                                                    Page 239                                                      Page 241
 1 focused on what you call the nonsensical strategy, which     1     MR. RICORDATI: Objection. Mischaracterizes the
 2 I think probably answers my question. So the system          2 testimony.
 3 doesn't contemplate a performance strategy where the         3     THE WITNESS: It corresponds to the minimum power
 4 system must run, must consume X amount of power,             4 threshold. So that's the base utilization value.
 5 regardless of whether they're going to make money            5     MR. NELSON: Q That's what I'm trying to figure out
 6 consuming that X amount of power or not consuming it?        6 what you mean. You say it corresponds to it. What does
 7     MR. RICORDATI: Objection to form.                        7 that mean?
 8     THE WITNESS: I believe that's -- I'm sorry. As           8     A Well, I think the power thresholds are power --
 9 I've said, I believe that's built into the breakeven         9 this goes back to the discussion earlier about using
10 mining cost.                                                10 power versus paying for power. You have to pay for the
11     MR. NELSON: Q How?                                      11 power. If you do one of these option agreements, you
12     A That's -- I believe that that's the amount of         12 have to pay for the power whether you use it or not.
13 -- if you use the minimum amount of power, that's the       13 It's not clear to me whether you're required to use it.
14 cost per power unit that you'd have to achieve. Anything    14 It's clear to me that you have to have the capability of
15 below that, you're losing money. Anything above that,       15 using it, otherwise, you couldn't stroke the contract,
16 you're making money. That's why it's break even.            16 but it's not clear to me -- because this is a question
17     Q Let's say that you have -- I'll leave it at           17 for Mr. McCamant, it's not clear to me if you have to
18 that.                                                       18 consume that power because if you didn't consume that
19        So in calculating the breakeven price and the        19 power, that just leaves a little bit of surplus, but
20 respective realized revenues, do you know if that's done    20 that's okay, because they got paid for it.
21 on the power prices being zonal power prices or nodal       21         So it makes me think that the minimum power
22 power prices?                                               22 thresholds are something you commit to pay for and
23     A I don't know. It's a day-ahead LMP. It                23 something that you can use, but not something that you
24 doesn't qualify the day-ahead LMP more than that.           24 must use.

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                                                   Page 242                                                       Page 244
 1     Q My question was relating to base points though.       1    MR. RICORDATI: Objection. Asked and answered.
 2 Does the base point come from the independent system        2    THE WITNESS: I -- I -- I don't know the specifics.
 3 operator?                                                   3 I know that there's a minimum power threshold as we've
 4     A It says it comes from the QSE.                        4 discussed.
 5     Q And does it ultimately come from the                  5    MR. NELSON: Q So go to paragraph 298.
 6 independent system operator? Do you know or not know?       6    A Yeah.
 7     A Well, the QSE is a function of -- is a                7    Q And the second -- the second sentence reads:
 8 marketplace. It's associated with the ISO. So I see         8 The .CSV file also described and/or explained how to
 9 them as kind of the same thing. Again, this is a -- this    9 determine a generated mining revenue figure to be expect
10 is an ERCOT question. I don't know the specifics of        10 from using power to mine bitcoin, a realtime LMP revenue
11 this.                                                      11 figure based on selling energy to the grid at the current
12     Q Okay. Do you know how the base point is              12 realtime energy price, a day-ahead LMP revenue figure
13 determined?                                                13 based on selling energy to the grid in the future at the
14     A Power systems have a base load that they expect      14 day-ahead energy price, and a realized revenue figure
15 to be able to fill, and they have to purchase that         15 that represented the most profitable of the other three
16 power -- at least that much power to service that base     16 revenue figures.
17 load, and if they go -- if they have power requirements    17        Do you see that?
18 that go beyond the base load, then they have to go to      18    A Yes.
19 reserves. I think that the base point is your element of   19    Q So aren't options two or three mutually
20 that base load. Right. If you bid into the marketplace     20 exclusive of each other, that you either sell -- you'd
21 at minimum power thresholds, that's the base -- that's     21 either sell realtime revenue based on selling energy to
22 the element of the base load that you've committed to      22 the grid at the current realtime energy price -- Strike
23 take if you have to.                                       23 that.
24     Q Do you know how it's determined whether a            24        I'm going to ask you the same question I asked
                                                   Page 243                                                       Page 245
 1 company would receive base point information from a QSE? 1 you before. I'm not sure if it's going to be any
 2    A I don't know. I assume that's a -- once you --        2 different. I'm still trying to figure out what option
 3 once you -- once you stroke that contract to be able to    3 the third option means there, a day-ahead LMP revenue
 4 do power options, then you're qualified to soak that load  4 figure based on selling energy to the grid in the future
 5 and you can get the information.                           5 at the day-ahead energy price. Why would you do that?
 6    Q You say assume. Do you know or not?                   6     A That's the column in the table that I think is
 7    A I think that's how it works, but I'm not an           7 confusing. I think that column is kind of -- kind of
 8 expert in this. We have to talk to Mr. McCamant about      8 sets a lower bound that really is kind of not very
 9 that.                                                      9 useful. I think the day-ahead -- the day-ahead column in
10    Q Do you know if Mr. Storms' simulation                10 the table -- Okay. So I bought -- I bought the power
11 contemplating -- contemplated receiving base point        11 day-ahead at this price per kilowatt or per megawatt or
12 information?                                              12 whatever. What if I just turned around and sold it at
13    A I don't know. It talks about day-ahead pricing       13 exactly that price and ignored the realtime price? Oh,
14 and realtime pricing. I mean, it talks about if base      14 that would be -- that would be if I wanted to make zero
15 point is a minimum required power usage, then that        15 money.
16 corresponds to a minimum power thresholds, then we've     16     Q Well, sitting here today, can you explain to me
17 already discussed the fact that you can back into the     17 how the third option here, which is the day-ahead LMP rev
18 minimum power thresholds from his data.                   18 column, how that -- how that's calculated or even what it
19    Q So my question was, do you know if Mr. Storms'       19 means?
20 system received or was -- simulation was capable --       20     A That's using the day-ahead energy price and
21 Strike that.                                              21 multiplying that by the amount of energy -- day-ahead
22        Do you know if Mr. Storms' system contemplated     22 energy price -- Let me look at the table. That's why
23 receiving base point information, yes or no? Do you       23 that table -- that element of the table is confusing to
24 know?                                                     24 me. I don't -- I think that's -- I think the day-ahead

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                                                                  Page 246                                                        Page 248
 1 LMP is the per unit price and the day-ahead LMP revenue                    1 cases there's -- I think it's called a Markman hearing
 2 price is the per unit price multiplied by the number of                    2 where they do claim construction and different elements
 3 units I committed to.                                                      3 of the claim are laid out. I don't believe that happened
 4           All right. So day-ahead LMP is dollars per                       4 in this particular case.
 5 kilowatt, and day-ahead LMP rev is dollars per kilowatt                    5     Q Yet.
 6 multiplied by kilowatt to get my dollars back. So it's                     6     A Yet. Okay. I haven't seen anything to that
 7 kind of a -- That column just doesn't make any sense to                    7 effect.
 8 me.                                                                        8     Q Right. My question is just what is your basis
 9           For example -- To clear this up a little bit,                    9 for believing that Lancium took the position that claim
10 if this -- if this scenario that this simulation was run                  10 construction was not necessary.
11 against had committed to purchase one unit at the                         11     A That's what I was told.
12 day-ahead price, then day-ahead LMP and day-ahead LMP rev                 12     Q Okay. That's all I wanted to know. So in
13 would be the same number, because it would be dollars per                 13 applying your analysis -- so paragraph 10 talks a little
14 kilowatt multiplied by one kilowatt, or dollars per                       14 bit more about legal standards. And my question is in
15 megawatt multiplied by one megawatt. So those two                         15 applying your analysis, did you understand that
16 columns would be the same number. So it's just -- it's                    16 corroborating conception alone is enough for something --
17 just -- it's a volume scaling based on the things that                    17 for someone to be considered a joint inventor?
18 I've committed to buy.                                                    18     MR. RICORDATI: Object to form.
19       Q    Let me hand you what we'll mark as Exhibit 205.                19     THE WITNESS: Say it again.
20           (Exhibit 205 marked as requested)                               20     MR. NELSON: Q So in performing your analysis, did
21       Q    Can you look at Exhibit 205, tell me what it                   21 you understand that corroborating conception by itself is
22 is?                                                                       22 enough for one -- a purported person to be considered --
23       A    Looks like reply report based on a rebuttal of                 23 Let me start over again.
24 the original report.                                                      24        In forming your opinions did you understand
                                                                  Page 247                                                        Page 249
 1     Q Is that your signature on the last page?                             1 that corroborating conception alone is enough for a
 2     A Yes.                                                                 2 would-be inventor to be considered a joint inventor?
 3     Q Did you write this report?                                           3      A Corroborating evidence is required. So
 4     A I provided the input to it and I set up the                          4 corroborating -- You're asking if corroborating evidence
 5 initial draft, and then it got rearranged, and we talked                   5 alone -- in the absence of what else? Right. There's a
 6 about it, and I did the final edits on it and approved                     6 claim that says I'm an inventor and I have conception and
 7 it.                                                                        7 it's obvious that it has the idea, and then you find
 8     Q So on paragraph 9 you state that you understand                      8 corroborating evidence that -- That's my understanding of
 9 that Lancium's taken the position that claim construction                  9 how this works. I don't understand your question.
10 is not necessary. Do you see that?                                        10      Q Let me see if I can ask it differently. So in
11     A Paragraph 9?                                                        11 forming your analysis -- your opinions, did you form your
12     Q Yes.                                                                12 opinions based on the idea if Mr. Storms could
13     A No, I don't see that. Is that on page --                            13 corroborate that he had conceived the different elements
14 paragraph 8?                                                              14 or some of the elements of the '433 patent that that
15     Q Maybe. Maybe I mislabeled it here.                                  15 alone was enough for him to be considered a joint
16     A Yeah. Paragraph 8 talks about plain and                             16 inventor, or did you form your opinion based on that he
17 ordinary meaning. Yeah. Position that claim                               17 must corroborate that the information that he
18 construction is unnecessary, that's paragraph 8.                          18 communicated to Mr. McNamara was information that
19     Q Okay. What is the basis for your opinion or                         19 disclosed aspects -- claimed aspects of the inventions?
20 your understanding there that you believe that Lancium                    20      A An inventor may prove his conception by
21 has taken the position that claim construction is not                     21 testimony, by corroborating evidence, documents, and so
22 necessary?                                                                22 on. Some corroborating evidence is required. So you
23     A That's what I was informed, and I understand                        23 have to prove -- so corroborating evidence is separate
24 that there hasn't been -- normally intellectual property                  24 from conception. Corroborating evidence corroborates

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                                                                Page 250                                                       Page 252
 1 conception.                                                1        So do you have an understanding that the
 2     Q But my question is, in forming your opinions,        2 Bearbox simulation would permit the miners to operate at
 3 did you focus on the corroboration of conception only, or  3 less than 100 percent capacity?
 4 did you focus on corroborating the evidence --             4     A The Bearbox -- the Bearbox simulation that we
 5 corroborating what Mr. Storms communicated to              5 have only operates the miners at 100 percent capacity.
 6 Mr. McNamara and that whatever that was met the elements 6 It seems clear that they could operate at something less
 7 of the claims?                                             7 than 100 percent capacity.
 8     A To establish as evidence of -- as evidence           8     Q You're not aware of any code or anything that
 9 corroborating inventorship by Mr. Storms, the primary      9 was written that would accomplish that?
10 evidence there was documents that were produced that      10     MR. RICORDATI: Object to form.
11 showed the development of the system in various stages,   11     THE WITNESS: Well, making a system operate at less
12 as well as the source code. Right. The evidence that      12 than 100 percent capacity involves interacting with both
13 corroborates the communication is the stuff that was      13 the operating system and the application. And it's
14 exchanged. So evidence -- The evidence that was           14 possible that the mining application can be controlled to
15 exchanged to corroborate the communication plays a double 15 change the amount of CPU time spent on there, so it's
16 role.                                                     16 pretty straightforward to manipulate the Bearbox system
17     Q Okay. Do you have an understanding that             17 to communicate with the miners and slow them down or
18 Mr. Storms worked with Mr. McNamara to develop            18 speed them up. It's built into the open source code.
19 Mr. Storms' systems?                                      19     MR. NELSON: Q So my question was, has Mr. Storms
20     A Storms worked with McNamara?                        20 written any source code that actually accomplished that?
21     Q Yeah, to develop Storms' systems.                   21     MR. RICORDATI: Object to form.
22     MR. RICORDATI: Object to form.                        22     THE WITNESS: I don't recall offhand. We can run
23     THE WITNESS: No. It looked to me based on the text 23 through the code and take a look.
24 messages that we were looking at earlier that Storms had  24     MR. NELSON: Q I don't see it in your report. If
                                                                Page 251                                                       Page 253
 1 a system developed, which is these documents that we've                  1 it was in the code, would it be in your report?
 2 been going over, and he provided that to Mr. McNamara.                   2     A If it's in the code, it should be mentioned in
 3 There wasn't a joint -- there may have been a joint                      3 the appendix in the report.
 4 development after that, but that particular activity was                 4     Q I have not seen it in there either so --
 5 kind of one directional.                                                 5     A Okay. Well, I can look through real quick and
 6    MR. NELSON: Q Do you understand that Mr. McNamara                     6 see if it's there.
 7 worked with Mr. Storms to develop the Lancium system?                    7     Q You make the statement in the reply report.
 8    MR. RICORDATI: Object to form.                                        8 So --
 9    THE WITNESS: McNamara worked with Storms to develop                   9     A Which paragraph we talking about again, 13?
10 the Lancium system?                                                     10     Q I think it's 13. I don't know if you make the
11    MR. NELSON: Q Yes.                                                   11 exact statement. My question was whether or not you're
12    A    No.                                                             12 aware whether -- that Bearbox had written code that would
13    Q    So on paragraph 12 of your report you state                     13 enable the miners to operate at less than 100 percent
14 that you note that Dr. Ehsani does not rely on the                      14 capacity.
15 deposition testimony or any other discussions with either               15     MR. RICORDATI: Object to form.
16 named inventor McNamara or Cline.                                       16     THE WITNESS: I don't recall offhand without looking
17        Do you see that?                                                 17 into the appendix and seeing if there's anything that
18    A    Uh-huh.                                                         18 indicates that and then looking back at the code.
19    Q    On what do you base that?                                       19     MR. NELSON: Q So let me direct your attention to
20    A    I don't recall seeing in Ehsani's report that                   20 paragraphs 28 and 29 of your reply report.
21 he relied on depositions from the inventors.                            21     A Okay.
22    Q    Anything else?                                                  22     Q Really paragraph 29.
23    A    No.                                                             23     A Got it.
24    Q    In paragraph 13 -- Let me -- Strike that.                       24     Q So you disagree that Dr. -- with Dr. Ehsani's

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                                                    Page 254                                                          Page 256
 1 allegation that Mr. McNamara and Cline are the sole          1 intervals, that's information -- that's a statement taken
 2 inventors of limitation 1(d) of Claim 1, at least because    2 from the claim language.
 3 the Lancium system did not consider multiple time            3     Q At least because is not used in this claim
 4 intervals with associated power thresholds until after       4 language?
 5 its communication with Storms. I assume by its you mean      5     A No. The stuff after at least because is.
 6 Mr. McNamara's?                                              6     Q Right. But your opinion -- you give two
 7     A Lancium's communication with Storms, whoever           7 reasons, but you qualify it with at least, and my
 8 was representing Lancium.                                    8 question is are there -- do you have other reasons that
 9     Q Are you aware of any other communications              9 are not in this report that you believe McNamara and
10 between anyone at Lancium and Mr. Storms other than         10 Cline are not the sole inventors?
11 Mr. McNamara's?                                             11     A I don't know why there need to be other reasons
12     A I think McNamara was the only one, but this --        12 because those cover the claim language.
13 the terminology there is focusing on Lancium system and     13     Q That's not my question. My question is, do you
14 Lancium communications.                                     14 have other opinions that aren't in this report that
15     Q Okay. You also state then that the Lancium            15 indicate Mr. McNamara or Cline are not the sole
16 system did not determine a performance strategy             16 inventors, or are all -- or are your opinions connected
17 encompassing multiple time intervals with associated        17 -- are your opinions -- are the opinions contained in the
18 power thresholds prior to its communications with Storms.   18 report complete?
19        Do you see that?                                     19     A The opinions contained in the report are
20     A Uh-huh.                                               20 focused on the specific claim language of the claim
21     Q So other than those two reasons, are there any        21 element. That's why it says at least because, because it
22 other reasons that you disagree with Mr. Ehsani that        22 outlines the elements of the claim.
23 McNamara and Cline are not the sole inventors?              23     Q And for this claim element you give two
24     MR. RICORDATI: Object to form.                          24 reasons, and are those -- is your report complete that
                                                    Page 255                                                          Page 257
 1     THE WITNESS: It seems clear to me that what Storms       1 those are the only reasons you believe that Mr. Storms
 2 conceived of and implemented in simulation filled in some    2 and Mr. McNamara are not the inventors of this element?
 3 gaps in the Lancium strategy as well as extended some        3     A Those are the only reasons necessary to cover
 4 possibilities for the Lancium system.                        4 this claim element.
 5     MR. NELSON: Q Well, your opinion here -- and you         5     Q So is the answer yes?
 6 expressed in your reply report is your disagreements with    6     A The report focuses on the language in the claim
 7 Dr. Ehsani and later on with Dr. Baer -- with Mr. Baer,      7 element, so that's why that's worded that way. So
 8 correct?                                                     8 there's no need to --
 9     A Yeah.                                                  9     Q So you have no other opinions that you're going
10     Q And in paragraph 29 you give two reasons why          10 to offer at trial, for example, that are different than
11 you disagree with Dr. Ehsani's allegation that McNamara     11 what's in paragraph 29 with respect to this claim
12 and Storms were the sole inventors of element 1(d),         12 element?
13 right?                                                      13     A Well, those reasons cover the claim element.
14     A Uh-huh.                                               14     Q So the answer to my question is yes. You have
15     Q And you qualify that with at least because, do        15 no other opinions that you intend to offer at trial that
16 you see that?                                               16 are different than the ones in paragraph 29?
17     A Uh-huh.                                               17     A I wouldn't say it that way. I would say that
18     Q And so my question is does this report contain        18 the reports are always couched with other data may change
19 all of the reasons that you believe McNamara and Storms     19 some of the opinions that are expressed in the report,
20 were not the sole inventors of element 1(d)?                20 but right now the report -- the purpose of the report is
21     A Well, that language is taken directly from the        21 to focus on the elements of the claim, and that's what
22 claim element, and so at least because claim element        22 the report does.
23 considered multiple time intervals, at least because        23     Q And so you used the term -- you used the phrase
24 determine the performance strategy multiple time            24 in paragraph 29 associated power thresholds. That's not

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                                                               Page 258                                                       Page 260
 1 in the claim, is it?                                                    1 language in a lot of places in the report. I'm just
 2     A    Yeah. There's the threshold associated with                    2 focusing on this paragraph. But you say: Dr. Ehsani
 3 each time interval, that's the claim language. Right at                 3 conflates minute details of the simulation Storms built
 4 the end.                                                                4 with the full breadth of the capability at which the
 5     Q    So is that -- Are you referring -- Multiple                    5 system both described in the various documents and
 6 time intervals with associated power threshold, the time                6 embodied in the simulation serve as proof of concepts.
 7 -- the power thresholds that are associated with each                   7        Do you see that?
 8 time interval, the claim language there is referring to                 8     A Yeah.
 9 the minimum power thresholds, isn't it?                                 9     Q So you're criticizing Dr. Ehsani there, but
10     A    Well, that's the power thresholds that it's                   10 does that mean that you're agreeing that Dr. Ehsani's
11 referring to, yeah.                                                    11 paragraph 118 is correct but he's just conflating the
12     Q    So you're -- when you use the word associated                 12 minute details, or do you believe he's not correct?
13 power thresholds here, you mean minimum power thresholds?              13     A This has a quote for part of paragraph 181. Do
14     A    The claim says --                                             14 we need to look at the entire paragraph 181 or are you
15     Q    The claims says: Wherein each power                           15 talking about the quote that's contained in here?
16 consumption target is equal or greater than the minimum                16     Q You can look at the entire paragraph 181 too if
17 power threshold associated with each time interval.                    17 you want.
18     A    Yeah. Those are the time intervals associated                 18     A Well, he says in the quote, for grins, he says
19 with each time interval.                                               19 in the quote: Additionally, I understand that it is not
20     Q    You use the word associated power thresholds.                 20 disputed that Storms' simulation did not communicate with
21     A    Probably would have been clearer to say exact                 21 an ISO or QSE. I mean, that's not in dispute, so I don't
22 -- use exactly the claim language, the minimum power                   22 disagree with him there. The simulation, therefore,
23 threshold associated with each time interval, but it just              23 could not receive power option data, not directly from
24 kind of -- the verbiage is kind of turned around.                      24 the QSE, and not based on a power option agreement. I
                                                               Page 259                                                       Page 261
 1    Q So just to be clear, what you mean to say by                       1 agree with that, because there was no power option data,
 2 associated power thresholds is the minimum power                        2 but it could receive simulated power option data. And it
 3 thresholds associated with each time interval?                          3 could use that simulated power option data to perform --
 4    A Those are the thresholds that are provided in                      4 to create a performance strategy comprising a power
 5 the data, yeah. So it's the minimum power thresholds                    5 consumption target for the set of computing systems for
 6 that are provided in the data.                                          6 the interval that was either equal to or greater.
 7    Q So just to be clear -- Because you use this                        7        The first half of that quote, I agree with.
 8 phrasing throughout your report in connection with                      8 The second half of the quote is predicated on the actual
 9 minimum power threshold, and I just want to understand                  9 connection with the ISO or the QSE, but it's a
10 your opinion. So in paragraph 29, when you're using the                10 simulation. So we all agree that it's a simulation, but
11 word associated power thresholds, you are intending to                 11 a simulation doesn't connect with the QSE. So the
12 refer to the minimum power threshold associated with each              12 simulation can still do the stuff in the later part of
13 time interval?                                                         13 the quote, and that's actually good engineering design.
14    A Yes. It's supposed -- it's supposed to                            14 Before you unleash something on the world you test it in
15 correspond with the claim language. It's just a                        15 isolation. So I agree that -- everybody agrees that the
16 simplification. There's a threshold associated with each               16 simulation did not communicate with the QSE. Yeah. We
17 time interval. The threshold can be changed between time               17 agree with that.
18 intervals. The threshold is -- According to the power                  18        We disagree that it could not compute these
19 agreement, the threshold is a minimum consumption target.              19 other things because that's what the purpose of the
20    Q So let's go to paragraph 76.                                      20 simulation was for, to use simulated QSE data to cause
21    A Of the same report, the reply?                                    21 these performance strategies to be realized.
22    Q Yeah, yeah.                                                       22     Q So turn to paragraph 77, couple paragraphs
23    A Okay.                                                             23 ahead.
24    Q At the very end of that -- and you use this                       24     A Uh-huh.

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                                                   Page 262                                                       Page 264
 1     Q And you have a statement in there about              1 features of the art as supposed contributions by
 2 simulations. Do you see that?                              2 Mr. McNamara and Cline.
 3     A Yeah. It's basically what I just said.               3         Do you see that?
 4     Q So looking at the last sentence, you state:          4     A Yes.
 5 Based on my experience writing software, it's my opinion   5     Q I need to -- Let me hand you Dr. Ehsani's
 6 that a POSA would understand that Mr. Storms' simulation 6 report. I guess -- I'll just mark it.
 7 assumed an unlimited amount of power to test his           7         (Exhibit 206 marked as requested)
 8 profitability determination algorithm, and that any real   8     Q I only have two copies of that, I think.
 9 world system would necessarily need to account for power   9         So go to paragraph 203 of Dr. Ehsani's report.
10 availability, and replacing Mr. Storms' assumed power     10     A Yep.
11 availability with data from an ISO or QSE was well known, 11     Q And so 203 says: It is further my opinion --
12 conventional that would have been required in the         12 this is Dr. Ehsani speaking -- it's further my opinion
13 ordinary skill.                                           13 that Lancium's documentation indicates that
14        Do you see that?                                   14 Messrs. McNamara and Cline -- and/or Cline conceived this
15     A Yes.                                                15 element independently and without utilizing any
16     Q So did Mr. Storms -- Are there any other            16 information or allegedly provided by Mr. Storms as
17 assumptions that you're aware of that Mr. Storms'         17 described above in paragraphs 115 and 116.
18 simulation used?                                          18         Do you see that?
19     A I can't think of any right off the bat. Since       19     A Uh-huh.
20 it was a simulation there were probably a couple of other 20     Q So let's go to paragraphs -- So you make a
21 ones, but the simulation describes the function of the    21 statement with respect to -- in your paragraph 89
22 system with sufficient fidelity for someone to take the   22 Dr. Ehsani mischaracterizing well-known principles. So
23 information that was passed and take the simulation       23 let's go back now to 115 and 116 of Dr. Ehsani's report.
24 output that was passed and understand how the system      24     A Uh-huh.
                                                   Page 263                                                       Page 265
 1 functioned.                                                 1     Q And take a look at those. And my question is,
 2     Q So in paragraph 78 you talk about Dr. Cline,          2 looking at paragraphs 115 and 116, do you believe those
 3 and you basically state right before the quote portions     3 paragraphs describe well-known principles?
 4 of Dr. Cline's deposition that Cline had no issues          4     A Flexible data center, could ramp and absorb and
 5 deciphering the methodology embodied in the spreadsheet.    5 drop power within five-minute windows, operate it
 6 Do you see that?                                            6 remotely, that's fairly straightforward. Respond to
 7     A Uh-huh.                                               7 signals from grid operators, again relatively
 8     Q Do you have an understanding of what                  8 straightforward. Aware of ERCOT and peripherally aware
 9 Mr. Cline's technical background is?                        9 of ancillary services, that's not inventive. McNamara
10     A No.                                                  10 and Cline developed technology, blah, blah, blah.
11     Q Do you know whether Mr. Cline would be               11        Paragraph 116, it was not until 2019 that they
12 considered a person of ordinary skill under your           12 appreciated the benefits of applying their technology to
13 definition?                                                13 ancillary servs, I guess that means services, and that is
14     A I may have looked at his qualifications              14 when they subsequently conceived of using their
15 sometime ago, but I don't recall them right off the bat.   15 technology for receiving power option data based on a
16 I think he would be a person of ordinary skill.            16 power option agreement. That's standard contractual
17     Q Do you think he would be a person of                 17 stuff. Specifying a set of minimum power thresholds and
18 extraordinary skill?                                       18 a set of time intervals, again standard stuff, in
19     A I can't speak to that.                               19 furtherance of performing ancillary services with their
20     MR. RICORDATI: Objection to form.                      20 fast ramping data centers.
21     MR. NELSON: Q So if you go to paragraph 89.            21     Q So if I understand correctly, based on your
22     A Yep.                                                 22 paragraph 89, it's your belief that the information in
23     Q And paragraph 89 says: In paragraph 203,             23 Dr. Ehsani's report in paragraphs 115 and 116 are
24 Dr. Ehsani mischaracterizes well-known principles and      24 well-known principles and features of the art, is that

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 1 fair?                                                                   1 report -- 15 of your reply report?
 2     A Well, further in paragraph 116, it talks about                    2      A Okay.
 3 -- Ehsani says, in my opinion this was the flash of                     3      Q There you're talking about the '632
 4 insight that lead to conception. Because this is when                   4 application, and if you look at the last sentence you
 5 they understood that their system would need to receive                 5 say: The system described in the '632 application,
 6 the award -- that's standard stuff -- which would be sent               6 however, merely responds to current conditions and reacts
 7 to Lancium in response to the accepted prior offer, which               7 when a threshold condition is met, e.g. starting lining
 8 is a power option agreement, and that the award includes                8 when energy producer is selling power to the grid at a
 9 the minimum power thresholds, the awarded offer, this is                9 negative priced, closed paren.
10 open information on ERCOT's stuff, all right.                          10         Do you see that?
11         So they had a flash of insight that was not                    11      A Uh-huh. Yes.
12 inventive. It was a flash of incite that was a                         12      Q What did you mean by?
13 realization they had to enter into a business contract                 13      A The system in the '632 application is purely
14 under certain conditions and they had to comply with that              14 reactive. It doesn't do any proactive estimation, it
15 contract. Now, that flash of insight is not conception.                15 doesn't think about anything, any other options. It just
16 It's realization. So that's what this paragraph 89 says,               16 reacts to the current conditions.
17 well-known principles and features of the art as                       17      Q All right. So '632 then, in your opinion,
18 contributions by McNamara and Cline. McNamara and                      18 doesn't -- doesn't respond to future expected conditions
19 Cline -- he talks about a flash of insight that is not a               19 at all?
20 flash of insight. It's a flash of realization.                         20      A It's -- the '632 application in my opinion and
21     Q So you have -- I won't go through all of them,                   21 from what I recall of it and what I wrote here is that
22 but you have a similar paragraph throughout your reply                 22 it's looking at instantaneous conditions and reacting
23 report referring to different Ehsani paragraphs where you              23 based on that.
24 basically say the same thing. You say Dr. Ehsani                       24      Q And it's making decisions then to mine or not
                                                               Page 267                                                        Page 269
 1 mischaracterizes well-known principles and features of                  1 mine based on those instantaneous decisions?
 2 the art as supposed contributions. So is it fair that                   2    A Yeah, or do something, yeah.
 3 wherever you're using that language referring to                        3    Q In your opinion was Mr. Storms the first person
 4 Dr. Ehsani's report, it's your opinion that what                        4 to conceive of the concept of using a breakeven price for
 5 Dr. Ehsani is referring to was something that was already               5 mining bitcoin to make the decision whether or not to
 6 well-known?                                                             6 mine or not mine at a certain power price?
 7    A    Yeah. I mean -- That's what it says. He                         7    A I've certainly never seen it before.
 8 mischaracterizes well-known principles and features of                  8    Q In your opinion was Mr. Storms the first person
 9 the art as supposed contributions. It might have been                   9 to have the idea of selling power back to the grid if it
10 better to say as supposed conception rather than                       10 was more profitable to sell that power than to use that
11 contributions, because in that paragraph that we just                  11 power?
12 read there was no contribution. That was a realization                 12    A I think that's standard ERCOT business model.
13 they had to enter into a business agreement.                           13    Q So no is the answer?
14    MR. NELSON: Why don't we take about a five-minute                   14    A Yeah.
15 break here.                                                            15    Q In your opinion was Mr. Storms the first person
16    MR. RICORDATI: Okay.                                                16 to have the idea of buying power on the day-ahead market
17    THE VIDEOGRAPHER: The time is 5:07 p.m. We're                       17 and then selling power back to the grid at the realtime
18 going off the video record.                                            18 price if doing so was more profitable than using the
19        (Off the record)                                                19 power?
20    THE VIDEOGRAPHER: The time is 5:24 p.m. and we're                   20    A I don't know if he was the first person to do
21 back on the video record.                                              21 that or not, no. I think that he was the first person to
22    MR. NELSON: Q Good afternoon, Dr. McClellan.                        22 do that in the context of a tradeoff with bitcoin mining,
23    A Yes.                                                              23 but I haven't seen any other systems that do that.
24    Q    So turn to paragraph 6 -- 615 of your reply                    24    Q That do that with respect to bitcoin mining or

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                                                    Page 270                                                        Page 272
 1 that do that generally?                                    1    Q And that is the economic turn down example?
 2     A As I mentioned, I haven't seen anything like         2    A Yeah.
 3 what he had done.                                          3    Q So is it your opinion that the other four
 4     Q Okay. My question though was not specific to         4 things on this -- on page 35855 also relate to
 5 bitcoin mining. So I just want to make sure we're on the   5 Mr. Storms' arbitrage method or something different?
 6 same page with the question and the answer. My question    6    A They're all kind of interrelated, but it's
 7 was, in your opinion was Mr. Storms the first person to    7 primarily economic turn downs thing that's the hash or
 8 have the idea of buying power on the day-ahead market and 8 cache thing is very explicitly related to Storms.
 9 then selling that power back to the grid at realtime       9    Q Well, do you think transmission cost avoidance
10 prices if doing so was more profitable than using the     10 for CP is related to Storms' arbitrage method?
11 power?                                                    11    A No.
12     A I doubt it. That seems like a pretty                12    Q Do you think ancillary services dynamic pricing
13 straightforward strategy. Very dangerous, but             13 and optimization is related to Storms' arbitrage method?
14 straightforward.                                          14    A It's the same general concept with bitcoin
15     Q So look at paragraph 218 of your reply.             15 replaced by something else. So it's not Storms' --
16     A Okay.                                               16 that's not Storms' invention.
17     Q So you make a statement there that Storms'          17    Q Is it Storms' arbitrage method?
18 method of arbitrage as depicted in Bearbox page 97 --     18    A It's -- it seems to be a form of arbitrage
19 Bearbox Bates No. 97 matches Mr. Storms' --               19 method, but that's the only detail we have on it. It
20 Mr. McNamara's Excel spreadsheet, Exhibit 15 to your      20 doesn't seem to be related to Storms directly.
21 report, which is later described in a Lancium             21    Q Selling out the money OTM covered call out
22 presentation for investors.                               22 options, is that related to Storms' arbitrage method or
23        Do you see that?                                   23 Storms' alleged arbitrage method?
24     A Yes.                                                24    A It could be.
                                                    Page 271                                                        Page 273
 1     Q And in the presentation you label it Lancium --        1     Q How?
 2 you identify it Lancium 35852 through 35856. Do you see      2     A Because it involves bitcoin mining versus
 3 that?                                                        3 selling back profit, selling back power, all these ones
 4     A That's the presentation.                               4 under energy and bitcoin hash with the gray bar on the
 5     Q Let me hand you that presentation here.                5 left-hand side, all of those are kind of related.
 6        (Exhibit 207 marked as requested)                     6     Q Do you know how selling out the money OTM
 7     Q I hand you what's been marked as Exhibit 207.          7 covered call out options work?
 8     A Right.                                                 8     A This is the only description I have right here.
 9     Q So you refer to five -- five pages of that             9 Next week power is trading at 35, so we're going to mine,
10 exhibit, Lancium 35852 through 35856. Do you see that?      10 right. That's the same sort of thing as what Storms had.
11     A Yeah. It's Section 5 of that presentation,            11 We can sell calls next week, that's associated with
12 yeah.                                                       12 variability in the market.
13     Q Okay. I want to focus you -- specifically on          13     Q So how does the selling out of the money OTM
14 -- well --                                                  14 covered call out option method work?
15     MR. RICORDATI: What page was that, Counsel?             15     MR. RICORDATI: Objection, asked and answered.
16     MR. NELSON: 35852 through 35856.                        16     THE WITNESS: If you look at the subsequent cell
17     Q You say all of these pages describe Mr. Storms'       17 there, it talks old generation miners which could be
18 arbitrage method, is that right?                            18 viewed as super cheap out of the money option on bitcoin
19     A The original spreadsheet does, and this page --       19 price --
20 this section of this report talks about their growth        20     MR. NELSON: Q Let me stop you for a second.
21 strategy that leverages that arbitrage method. It's         21 Because that's a separate cell and a separate thing,
22 specifically the example on 35855. There's an example in    22 isn't it?
23 one of the cells on 35855 that seems to almost come         23     A Yeah, but it uses the out of the money concept
24 verbatim from that spreadsheet.                             24 so it's related.

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                                                               Page 274                                                        Page 276
 1     Q Okay. So --                                        1 across bitcoin mining installations, you can take
 2     A This says old generation miners can be viewed      2 advantage of that.
 3 as a super cheap out of the money option on bitcoin      3     Q And other than what -- the opinion you just
 4 price. So old generation miners are a cheap out of the   4 gave, do you have any other opinion regarding the
 5 money option because they consume more power versus the 5 relationship or alleged relationship between Mr. Storms'
 6 amount of bitcoin revenue they generate. So that's       6 allegedly converted breakeven arbitrage method and block
 7 related.                                                 7 four on Lancium 35855?
 8     Q So do you know how selling out of the money OTM 8        A No. I'm just reading what's here and trying to
 9 covered call options actually works?                     9 interpret it in the context that you're talking about,
10     MR. RICORDATI: Objection. Asked and answered.       10 but it is clearly related because it's related to energy
11     THE WITNESS: No. I only know what's written right 11 and bitcoin hashing. So it's optimization of profit
12 here, and this is all similar sort of stuff as certain  12 based on trading energy and/or bitcoin futures.
13 types of stock market investing so it's the same        13     Q And do you think that's simply optimizing
14 concepts.                                               14 profit based on energy and bitcoin futures, do you think
15     MR. NELSON: Q You're just making the assumption 15 that would -- that if a company used a system that did
16 based on written -- When you say the same concept, what 16 that or Lancium used a system that did that, that is
17 do you mean?                                            17 utilizing information allegedly converted from
18     A Well, there's a call -- there's covered call      18 Mr. Storms?
19 options in stock market investing. There's calls and    19     A Yeah, the bitcoin break even issue and the
20 puts and different kind of risk investments. Right.     20 tradeoff of using bitcoin versus selling power back.
21 It's the same sort of idea. This is -- this is hedging  21 Right. If you can compute bitcoin break even in the
22 against risk versus taking advantage of risk.           22 future based on different types of bitcoin mining
23     Q So are you saying that Mr. Storms' arbitrage      23 operations, the different costs associated with those,
24 method is the same concept as stock options, calls, and 24 and the different costs and potential profits associated
                                                               Page 275                                                        Page 277
 1 puts except done in the bitcoin context?                                1 with the power, that's exactly what Storms' simulation
 2     MR. RICORDATI: Object to form.                                      2 did.
 3     THE WITNESS: No.                                                    3     Q So is that the crux of the alleged conversion
 4     MR. NELSON: Q So how is selling out the money OTM                   4 in your view is Storms' simulation was able to allegedly
 5 covered call options -- how is that related to Mr.                      5 utilize the ability to sell -- calculate whether it made
 6 Storms' alleged -- allegedly converted breakeven                        6 sense to mine bitcoin and use the power or whether it
 7 arbitrage method?                                                       7 made sense not to mine bitcoin and sell the power back?
 8     A    Well, it has something to do with bitcoin                      8 Is that what is the allegedly converted technology here?
 9 mining because it's in this group of energy and bitcoin                 9     A Storm's simulation is an automated
10 hash. Right. So it's related through the fact that it                  10 cherrypicker, and it's the first time I've seen anybody
11 uses bitcoin miners as some form of hedging or some form               11 do this kind of automated cherrypicking using bitcoin
12 of speculation.                                                        12 versus energy futures.
13     Q    So other than that, do you have any other                     13     Q Have you seen such automated cherrypicking
14 opinion as to how it's related to Mr. Storms' allegedly                14 using other -- in other industries using other things?
15 converted arbitrage method?                                            15     A Yes, yep.
16     A    No, I'm just reading what's here.                             16     Q What industries?
17     Q    The same question with respect to the open                    17     A Computer industry, cost of memory.
18 position management dynamic hedging, how is that, if at                18     Q Anything else?
19 all, related to Mr. Storms' allegedly converted breakeven              19     A I haven't seen it using -- cherrypicking is --
20 arbitrage method?                                                      20 Well, let me phrase it a different way. I've seen things
21     A    Well, this is talking specifically about a                    21 in the computer industry based on things like future cost
22 cheap out of the money option. So it relates to out of                 22 of memory and locking customers in, which is a -- similar
23 money option based on bitcoin miners that are less                     23 to a power option agreement, locking customers into a
24 efficient. Right. So if you have -- if you can compare                 24 price and betting that the memory price will go down and

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                                                               Page 278                                                      Page 280
 1 hedging against the memory price going up. Right. It's                  1     MR. RICORDATI: Objection.
 2 nothing to do with bitcoin because not associated with                  2     THE WITNESS: Go ahead.
 3 bitcoin. Storms did something different where he's                      3     MR. RICORDATI: Objection. Mischaracterized
 4 essentially running two simulations in parallel and                     4 testimony.
 5 cherrypicking between them, or three simulations in                     5     THE WITNESS: No, that's not what I said.
 6 parallel and cherrypicking between them to maximize.                    6     MR. NELSON: Q All right. What did you say with
 7 I've only seen that in an information theory context that               7 respect to what you believe Mr. Storms to be the first
 8 had to do with coding gain for encryption and compression               8 person to accomplish here?
 9 methods.                                                                9     A I said that I hadn't seen anything like what
10    MR. NELSON: Can we go off the record real quick?                    10 he'd done in this context with bitcoin.
11    THE VIDEOGRAPHER: The time is 5:43 p.m. and we're                   11     Q And you say like what he'd done. So what is it
12 going off the video record.                                            12 that you think he's done that is different?
13        (Off the record)                                                13     A The -- I think we've explained that already.
14    THE VIDEOGRAPHER: The time is 5:48 p.m. and we're                   14 This cherrypicking concept I think was -- is -- is
15 back on the video record.                                              15 different. It's not something that I had seen before.
16    MR. NELSON: Q Dr. McClellan, in -- you read                         16     Q And when you say cherrypicking concept, what do
17 Dr. Ehsani's report, correct?                                          17 you mean?
18    A Yes.                                                              18     A Well, if you look at the -- if you look at what
19    Q    And he cites a lot of documents in there,                      19 his simulation does, he's running -- he's racing three
20 correct?                                                               20 horses at the same time and then picking -- picking a
21    A    Correct.                                                       21 different winner at different time points.
22    Q    Deposition testimony, other things?                            22     Q What are those three horses?
23    A    Right.                                                         23     A The three revenue streams that are in the CSV
24    Q    Did you read all the documents that he cited in                24 file.
                                                               Page 279                                                      Page 281
 1 his report?                                                             1    Q And the day-ahead LMP revenue, you can't tell
 2     A Some of them were common between the ones that                    2 me how that is computed, correct?
 3 I had already read. I didn't read all of them.                          3    A I believe it is the day-ahead price multiplied
 4     Q You did not read --                                               4 by the number of units purchased or number of units
 5     A I skimmed through some of the ones that I                         5 committed to. I believe that's what it is.
 6 hadn't seen before.                                                     6    Q Let me mark this as another exhibit here.
 7     Q So you did not read all the documents that                        7        (Exhibit 208 marked as requested)
 8 Dr. Ehsani cited in his report?                                         8    Q Do you recognize what's on the first page of
 9     A Not in great detail, not all of them.                             9 Bearbox 1?
10     Q Did you look at all the documents that                           10    A These look like --
11 Dr. Ehsani cited in his report?                                        11    Q The question is just relating to the first
12     A I think I looked at the vast majority of them,                   12 page. Do you recognize what's on the first page?
13 but I don't recall exactly which ones I looked at and                  13    A Looks like maybe a power device and some
14 which ones I didn't.                                                   14 computing devices and some power distribution devices and
15     Q So sitting here right now, can you tell the                      15 some relays and a Python book.
16 jury whether you actually looked at all of the                         16    Q Do you know if that's Mr. Storms' simulation or
17 information that Dr. Ehsani cited in his report?                       17 not, the -- the miner that was run on his simulation?
18     A I don't think I looked at all of it.                             18    A I don't recall what -- the simulation is a
19     Q I may have misunderstood you earlier. Did you                    19 simulation. It may have some hardware in the loop in
20 say that it's your opinion that Mr. Storms is the first                20 some cases, but I think this was related to him trying to
21 person who considered the price of bitcoin and the price               21 build controllable PDUs if I recall this correctly.
22 of the power that it costs to mine the bitcoin in                      22    Q Look at as many as you need to, Bearbox 3, 4,
23 conjunction in making a decision whether or not to mine                23 5. Do you know what -- do you know what that represents?
24 the bitcoin?                                                           24    A Yeah. That's a GUI that controls relays

                                                                                                           71 (Pages 278 - 281)
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                                                     Page 282                                                        Page 284
 1 with -- the number 3 is GUI -- the control relays with        1     Q Other than that, do you know what it is?
 2 buttons or to show status of relays that have -- 3, 4, 5,     2     A And it's got an ether Internet cable into it.
 3 yeah.                                                         3 It's some sort of network based system that generates
 4     Q Is it to control relays or show status of them?         4 heat. That's why it's vented out. It may be a network
 5     A Well, it looks like those are buttons. So it            5 connected fan assembly, there may be a computer. I don't
 6 may be able to control them with a GUI as well as show        6 know exactly.
 7 status.                                                       7     Q That's my question. You're speculating at what
 8     Q And the buttons here would be that you touch            8 it is. Do you know what it is, yes or no?
 9 them and they're on and you touch them -- you touch the       9     A Not just from the picture.
10 on and it turns on, you touch the off, it turns off, is      10     Q Do you know what it is from other things?
11 that right?                                                  11     A No.
12     A If it's an interface that is reactive to those         12     Q What did you to investigate -- So you indicated
13 kind of inputs. It may also be able to display status        13 what you thought Mr. Storms was the first to develop.
14 from different types of state values.                        14 What did you do to investigate whether he was in fact the
15     Q Look at page 21. Do you know what that is?             15 first to develop what you indicated he was the first to
16     A I got to find 21. Yeah. That looks like                16 develop?
17 experimenting with controlling PDUs or building your own     17     A I didn't indicate he was the first to develop.
18 PDU and trying to control it.                                18 I said I've never seen anything like it before. I can't
19     Q Do you know the physical location where this is        19 say if he's the first anywhere to develop anything like
20 taken?                                                       20 this.
21     A My understanding is that was somewhere Austin          21     Q You said you've never seen anything like it
22 Storms' garage or building or some sort of thing like        22 before. Did you look for -- Have you done any looking
23 that.                                                        23 for anything like what Mr. Storms had done?
24     Q Do you know if the location of 21 is the -- is         24     A Yeah. After I became aware of this case I
                                                     Page 283                                                        Page 285
 1 the same location where the simulation was running?           1 looked around to see if there was any sort of concepts
 2    A I don't know.                                            2 like this, and I haven't seen any. The controllable PDU
 3    Q Do you know if the simulation was ever                   3 stuff, I've seen PDUs that were controllable so I didn't
 4 connected to Mr. Storms' PDUs as partially constructed in     4 pay much attention to that.
 5 picture on page 21?                                           5     Q Okay. So outside of the controllable PDU
 6    A I think at different stages it was connected,            6 stuff, you said you did some looking. What did you do?
 7 but I don't know if the simulation data that was produced     7     A The question is are any of the concepts that
 8 was based on that because I think the simulation was pure     8 Storms had, which is basically the arbitrage method, the
 9 simulation.                                                   9 cherrypicking method, does anything jump up like that.
10    Q You say you think it was connected. My                  10 So I asked some people that I'm familiar with if they're
11 question is, do you know if it was connect the?              11 familiar with different types of arbitrage methods using
12    A I said it may have been connected at some               12 power systems. They were not familiar, and they're very
13 point, but I think -- I'm pretty sure the simulation data    13 knowledgeable.
14 that we've been talking that's in the CSV file was just      14         We talked to Mr. McCamant about it, and he said
15 pure simulation data because there were no miners            15 he had not seen anything like it. I -- you know, you do
16 associated with it. So if there's no miners, why connect     16 the Google, you Google for things like that, and I have
17 PDUs.                                                        17 not seen anything associated with bitcoin mining that was
18    Q And my question is, do you know if multiple             18 energy arbitrage so --
19 miners were ever connected to PDUs in connection with        19     Q Have you read the report of Mr. Shams Siddiqi
20 Mr. Storms' running his simulation?                          20 in this case?
21    A I can't say.                                            21     A I have gone through it, yes.
22    Q Go to page 62. Do you know what that is?                22     Q Do you know Mr. Siddiqi?
23    A Well, it's something that generates heat.               23     A No.
24 Looks like a computer system.                                24     Q Is it your opinion that Mr. Storms' breakeven

                                                                                                   72 (Pages 282 - 285)
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                                                                 Page 286                                                      Page 288
 1 arbitrage method is covered by the claims of the '633                     1 can figure out the minimum power consumption of the load.
 2 patent?                                                                   2 It's hard to hit a specific threshold. It's hard to hit
 3    A      The '433 or the '632?                                           3 a specific power consumption number because you don't
 4    Q      Sorry. Let me try that again.                                   4 control all of the aspects of the system, but it's easy
 5        Is it your opinion that Mr. Storms' arbitrage                      5 to keep it above a threshold.
 6 method is disclosed in the '632 application?                              6     Q When you determined the plain and ordinary
 7    A No.                                                                  7 meaning of the term power option agreement, did you
 8    Q      Is it your opinion that Mr. Storms' breakeven                   8 interpret it to include at least the specific data
 9 arbitrage method is covered by the claims of the '433                     9 elements that are recited in the body of Claim 1 as well
10 patent?                                                                  10 as any other dependent claims referring to the power
11    A      No.                                                            11 option?
12    Q      Why not?                                                       12     MR. NELSON: Objection. Leading.
13    A      Because the '433 patent doesn't really talk                    13     THE WITNESS: Does he have to restate or do I have
14 about breakeven arbitrage.                                               14 to answer?
15    Q      If this case goes to trial, do you intend to                   15     MR. RICORDATI: Q What -- I'll restate it. What --
16 appear on behalf of Bearbox?                                             16 what elements did you include in determining the plain
17    A Yes.                                                                17 and ordinary meaning of the term power option agreement?
18    MR. NELSON: I think with that I'll pass the                           18     MR. NELSON: Objection. Leading.
19 witness.                                                                 19        Go ahead.
20    MR. RICORDATI: Can we take a five-minute break.                       20     THE WITNESS: Well, power option agreement is a
21    THE VIDEOGRAPHER: Okay. The time is 6:00 p.m.                         21 fairly standardized thing. It includes certain items
22 We're going off the video record.                                        22 that are associated with the pre-purchase of units of
23        (Off the record)                                                  23 power. The claims in the patent and the other documents
24    THE VIDEOGRAPHER: The time is 6:09 p.m. We're back                    24 have indicative values that are included in there. They
                                                                 Page 287                                                      Page 289
 1 on the video record.                                      1 might consider it a subset of the values that might be
 2               EXAMINATION                                 2 included in there.
 3             By Mr. Ricordati:                             3     MR. RICORDATI: No further questions.
 4    Q Dr. McClellan, if you could refer to                 4           FURTHER EXAMINATION
 5 Exhibit 202.                                              5             By Mr. Nelson:
 6    A Okay.                                                6     Q So, Dr. McClellan, during the break after I
 7    Q And I'd like to direct your attention to             7 concluded the deposition and you and counsel went outside
 8 page --                                                   8 the room together, did you talk about the substance of
 9    MR. NELSON: Is that his first report?                  9 your testimony?
10    MR. RICORDATI: That's his first report, yes.          10     A No. I asked for feedback on whether I -- what
11    Q We're going to look at page 94, the module          11 I screwed up.
12 descriptions. So in the fifth bullet point on page 94,   12     Q What feedback did you get?
13 you refer to -- you use two words her -- so you refer to 13     A I'll show you the beating later.
14 miner_hash rate and KW -- KW_load. What does KW_load 14         Q Do you remember any feedback you got?
15 refer to in the simulation?                              15     A No. He always says the same thing, it doesn't
16    A In the simulation KW_load is -- KW_load is the      16 help.
17 amount of power to be consumed by the miner which        17     Q Did you --
18 corresponds to the target. It's the target power         18     A He always says he can't tell me that and I keep
19 consumption of the miner which under the simulation      19 asking.
20 can -- corresponds to the minimum threshold.             20     Q Did you discuss -- Have you worked with this
21    Q Earlier you testified that it's tough to            21 counsel before?
22 maintain a load at a certain level. Is it difficult to   22     A No, this is the only case.
23 maintain a load above a certain threshold?               23     Q Did you discuss the questions that counsel just
24    A No. No. If you know what the minimum -- you         24 asked you?

                                                                                                              73 (Pages 286 - 289)
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                                                      Page 290                                                                  Page 292
 1     A We discussed several different points that --            1 STATE OF ILLINOIS )
 2 that I asked about that I thought were potentially needed                     ) SS:
 3 to be cleaned up or needed to be discussed, and then we        2 COUNTY OF C O O K )
 4 discussed those at least those three questions -- those        3
 5 three concepts. We didn't discuss the question. We             4        The within and foregoing deposition of the
 6 discussed the concept.                                         5 aforementioned witness was taken before CAROL CONNOLLY,

 7     Q What did you discuss about the concepts?                 6 CSR, CRR and Notary Public, at the place, date and time

 8     A Well, the first question -- the first question           7 aforementioned.
                                                                  8        There were present during the taking of the
 9 was about the -- What was the question first question
                                                                  9 deposition the previously named counsel.
10 about? It was about the -- the first question was about
                                                                 10        The said witness was first duly sworn and was
11 the report and the appendix, and he said he was going to
                                                                 11 then examined upon oral interrogatories; the questions
12 go back over the minimum power threshold and the load
                                                                 12 and answers were taken down in shorthand by the
13 specification.
                                                                 13 undersigned, acting as stenographer and Notary Public;
14        The second question -- I don't even remember
                                                                 14 and the within and foregoing is a true, accurate and
15 the second question at this point.
                                                                 15 complete record of all of the questions asked of and
16        Can you read it back?
                                                                 16 answers made by the forementioned witness, at the time
17     Q It was a question about being above a                   17 and place hereinabove referred to.
18 threshold.                                                    18        The signature of the witness was not waived,
19     A Yeah. He asked me about -- When I said it was           19 and the deposition was submitted, pursuant to Rule 30 (e)
20 difficult to maintain a computer system at a specific         20 and 32 (d) 4 of the Rules of Civil Procedure for the
21 power threshold, he wanted clarification on that I meant      21 United States District Courts, to the deponent per copy
22 at a specific power threshold rather than above or below      22 of the attached letter.
23 a specific power threshold, and I said I thought that         23
24 that's what I had described earlier.                          24

                                                      Page 291                                                                  Page 293
 1    MR. NELSON: No further questions.                       1        The undersigned is not interested in the within
 2    THE VIDEOGRAPHER: Okay. The time is 6:15 p.m.           2 case, nor of kin or counsel to any of the parties.
                                                              3        Witness my official signature and seal as
 3 This is the end of media unit 4, it's also the end of the
                                                              4 Notary Public in and for Cook County, Illinois on this
 4 deposition of Dr. Stan McClellan. And we're going off      5 6th day of June, A.D. 2022.
 5 the video record.                                          6
 6        Thank you, Dr. McClellan.                           7
 7        (Off the record)                                    8
 8              -------                                                         <%20551,Signature%>
                                                              9                 CAROL CONNOLLY, CSR, CRR
 9
                                                                                CSR No. 084-003113
10                                                           10                 Notary Public
11                                                                              One North Franklin Street
12                                                           11                 Suite 3000
13                                                                              Chicago, Illinois 60606
14                                                           12                 Phone: (312) 386-2000
                                                             13
15
                                                             14
16                                                           15
17                                                           16
18                                                           17
19                                                           18
20                                                           19
                                                             20
21
                                                             21
22                                                           22
23                                                           23
24                                                           24

                                                                                                         74 (Pages 290 - 293)
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                                                                     Page 294                                                                       Page 296
 1                  Veritext Legal Solutions                                     1          DEPOSITION REVIEW
                     1100 Superior Ave                                                     CERTIFICATION OF WITNESS
 2                     Suite 1820                                                2
                    Cleveland, Ohio 44114                                                ASSIGNMENT REFERENCE NO: 5259459
 3                   Phone: 216-523-1313                                         3       CASE NAME: Bearbox, LLC, et al. v. Lancium, LLC, et al.
                                                                                         DATE OF DEPOSITION: 6/3/2022
 4
                                                                                 4       WITNESS' NAME: Stanley A. McLellann, Ph.D.
     June 6, 2022
                                                                                 5       In accordance with the Rules of Civil
 5                                                                                   Procedure, I have read the entire transcript of
     To: RAYMOND R. RICORDATI III                                                6   my testimony or it has been read to me.
 6                                                                               7       I have listed my changes on the attached
     Case Name: Bearbox, LLC, et al. v. Lancium, LLC, et al.                         Errata Sheet, listing page and line numbers as
 7                                                                               8   well as the reason(s) for the change(s).
     Veritext Reference Number: 5259459                                          9       I request that these changes be entered
 8                                                                                   as part of the record of my testimony.
   Witness: Stanley A. McLellann, Ph.D. Deposition Date: 6/3/2022               10
 9                                                                                     I have executed the Errata Sheet, as well
10 Dear Sir/Madam:                                                              11 as this Certificate, and request and authorize
                                                                                   that both be appended to the transcript of my
11
                                                                                12 testimony and be incorporated therein.
   Enclosed please find a deposition transcript. Please have the witness
                                                                                13 _______________           ________________________
12                                                                                 Date              Stanley A. McLellann, Ph.D.
   review the transcript and note any changes or corrections on the             14
13                                                                                     Sworn to and subscribed before me, a
   included errata sheet, indicating the page, line number, change, and         15 Notary Public in and for the State and County,
14                                                                                 the referenced witness did personally appear
   the reason for the change. Have the witness’ signature notarized and         16 and acknowledge that:
15                                                                              17     They have read the transcript;
   forward the completed page(s) back to us at the Production address                  They have listed all of their corrections
16 shown                                                                        18         in the appended Errata Sheet;
17 above, or email to production-midwest@veritext.com.                                 They signed the foregoing Sworn
18                                                                              19         Statement; and
                                                                                       Their execution of this Statement is of
   If the errata is not returned within thirty days of your receipt of
                                                                                20         their free act and deed.
19
                                                                                21     I have affixed my name and official seal
   this letter, the reading and signing will be deemed waived.                  22 this ______ day of_____________________, 20____.
20                                                                              23         ___________________________________
21 Sincerely,                                                                              Notary Public
22 Production Department                                                        24
23                                                                                         ___________________________________
24 NO NOTARY REQUIRED IN CA                                                     25         Commission Expiration Date

                                                                     Page 295                                                      Page 297
 1           DEPOSITION REVIEW                                                   1            ERRATA SHEET
            CERTIFICATION OF WITNESS
 2                                                                                        VERITEXT LEGAL SOLUTIONS MIDWEST
         ASSIGNMENT REFERENCE NO: 5259459                                        2          ASSIGNMENT NO: 5259459
 3       CASE NAME: Bearbox, LLC, et al. v. Lancium, LLC, et al.
                                                                                 3   PAGE/LINE(S) /    CHANGE       /REASON
         DATE OF DEPOSITION: 6/3/2022
 4       WITNESS' NAME: Stanley A. McLellann, Ph.D.                              4   ___________________________________________________
 5       In accordance with the Rules of Civil                                   5   ___________________________________________________
     Procedure, I have read the entire transcript of
 6   my testimony or it has been read to me.                                     6   ___________________________________________________
 7       I have made no changes to the testimony                                 7   ___________________________________________________
     as transcribed by the court reporter.                                       8   ___________________________________________________
 8
   _______________           ________________________                            9   ___________________________________________________
 9 Date              Stanley A. McLellann, Ph.D.                                10   ___________________________________________________
10     Sworn to and subscribed before me, a
   Notary Public in and for the State and County,
                                                                                11   ___________________________________________________
11 the referenced witness did personally appear                                 12   ___________________________________________________
   and acknowledge that:                                                        13   ___________________________________________________
12
       They have read the transcript;                                           14   ___________________________________________________
13     They signed the foregoing Sworn                                          15   ___________________________________________________
           Statement; and                                                       16   ___________________________________________________
14     Their execution of this Statement is of
           their free act and deed.                                             17   ___________________________________________________
15                                                                              18   ___________________________________________________
       I have affixed my name and official seal
16                                                                              19
   this ______ day of_____________________, 20____.                                _______________      ________________________
17                                                                              20 Date          Stanley A. McLellann, Ph.D.
           ___________________________________
18         Notary Public                                                        21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
19         ___________________________________                                  22 DAY OF ________________________, 20______ .
           Commission Expiration Date
                                                                                23       ___________________________________
20
21                                                                                       Notary Public
22                                                                              24
23
24                                                                                       ___________________________________
25                                                                              25       Commission Expiration Date

                                                                                                                                  75 (Pages 294 - 297)
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            Exhibit 2




                         Appx6185
                      Case: 23-1922             Document: 26-2            Page: 442         Filed: 11/20/2023


Kaufmann, Adam

From:                                  John R. Labbe <jlabbe@marshallip.com>
Sent:                                  Friday, November 11, 2022 5:16 PM
To:                                    Nelson, Mark; Stover, Chad; Kaufmann, Adam; Hooker, Darrick; Sarros, Dana; Lisch,
                                       David; Pendroff, Benjamin; Butler, Nell; Lytle, Kathleen
Cc:                                    Benjamin T. Horton; Ray Ricordati; Chelsea M. Murray; John Lucas; Deborah S. Pocius;
                                       Stacey Cummings; Jamie Daly; Heather R Malkowski; amayo@ashbygeddes.com;
                                       Myers, Nikki; Kipp, Michele L.
Subject:                               [EXTERNAL]BearBox v. Lancium - Supplement to Expert Reports of Dr. Stan McClellan
Attachments:                           2022_11_11_Supplement_to_McClellan_reports.pdf


Counsel,

IattachaSupplementtoExpertReportsofDr.StanMcClellan.

John






John R. Labbe
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            Exhibit 3




                         Appx6187
                   Case: 23-1922         Document: 26-2         Page: 444       Filed: 11/20/2023


Kaufmann, Adam

From:                             Benjamin T. Horton <bhorton@marshallip.com>
Sent:                             Friday, November 11, 2022 6:40 PM
To:                               Nelson, Mark; Stover, Chad; Kaufmann, Adam; Hooker, Darrick; Sarros, Dana; Lisch,
                                  David; Pendroff, Benjamin; Butler, Nell; Lytle, Kathleen
Cc:                               Ray Ricordati; Chelsea M. Murray; John Lucas; Deborah S. Pocius; Stacey Cummings;
                                  Jamie Daly; Heather R Malkowski; amayo@ashbygeddes.com; Myers, Nikki; Kipp,
                                  Michele L.; John R. Labbe
Subject:                          [EXTERNAL]RE: BearBox v. Lancium - Supplement to Expert Reports of Dr. Stan
                                  McClellan


Mark,

Followinguponthis,Dr.McClellan’ssupplementconsiderstheCourt’sOctober28,2022MarkmanOrder,sowe’re
supplementingconsistentwithFRCP26(e)(2).ThissupplementaddressesissuesraisedinyourMotioninLimineNo.1
andduringthemeetaconferprocess,atwhichtimeDefendantssaidthatDr.McClellanshouldnotbeallowedtotestify
inconsiderationoftheCourt’sMarkmanOrder.

Weareopentodiscussingascheduleforyourexperttorespondtothissupplement,shouldhewishtodoso.Pleaselet
usknowifyou’dliketotalk;we’regenerallyavailableearlynextweek.

Best,
Ben

From:JohnR.Labbe<jlabbe@marshallip.com>
Sent:Friday,November11,20225:16PM
To:Nelson,Mark<mnelson@btlaw.com>;Stover,Chad<Chad.Stover@btlaw.com>;Kaufmann,Adam
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StaceyCummings<SCummings@marshallip.com>;JamieDaly<jdaly@marshallip.com>;HeatherRMalkowski
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L.<MKipp@ashbygeddes.com>
Subject:BearBoxv.LanciumͲSupplementtoExpertReportsofDr.StanMcClellan

Counsel,

IattachaSupplementtoExpertReportsofDr.StanMcClellan.

John






                                                            1

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                      Case: 23-1922             Document: 26-2            Page: 445         Filed: 11/20/2023




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

BEARBOX LLC and AUSTIN STORMS,                        )
                                                      )
                      Plaintiffs,                     )
                                                      )
       v.                                             )   C.A. No. 21-534-GBW-CJB
                                                      )
LANCIUM LLC, MICHAEL T.                               )
MCNAMARA, and RAYMOND E. CLINE,                       )
JR.                                                   )
                                                      )
                      Defendants.                     )

                                CERTIFICATE OF SERVICE

       I certify that on November 15, 2022, I caused a sealed copy of Defendants’

2SHQLQJ /HWWHU %ULHI LQ 6XSSRUW RI LWV (PHUJHQF\ 0RWLRQ WR 6WULNH 3ODLQWLIIV  1HZO\

'LVFORVHG 8QWLPHO\ ([SHUW 5HSRUW DQG 5HTXHVW IRU ([SHGLWHG %ULHILQJ to be served on

the following counsel of record by electronic mail.

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Dated: November 15, 2022             BARNES & THORNBURG LLP

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                                        2

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                     JOINT PRETRIAL ORDER EXHIBIT 1

            JOINT STATEMENT OF FACTS THAT ARE ADMITTED
                       AND REQUIRE NO PROOF
      Pursuant to Local Rule 16.3(c)(3), the following facts are admitted and require

no proof:

      1.      BearBox LLC is a Louisiana limited liability company with its
              principal place of business at 4422 Highway 22, Mandeville,
              Louisiana 70471.

      2.      At the time this case was filed, Austin Storms was a citizen of
              Louisiana.
      3.      Lancium LLC is a Delaware limited liability company with its
              principal place of business at 6006 Thomas Road, Houston, Texas
              77041.
      4.      Michael T. McNamara is the Chief Executive Officer and a founder of
              Lancium and resides in Newport Beach, California.

      5.      Raymond E. Cline, Jr. is the Chief Technology Officer of Lancium
              and resides in Houston, Texas.
      6.      U.S. Patent No. 10,608,433 (“the ’433 Patent”) is titled “Methods and
              Systems for Adjusting Power Consumption Based on a Fixed-
              Duration Power Option Agreement,” and was issued by the United
              States Patent and Trademark Office (“USPTO”) on March 31, 2020.

      7.      The application that matured into the ’433 Patent, Application No.
              16/702,931, was filed on December 4, 2019.

      8.      The provisional application to which the ’433 Patent claims priority,
              Application No. 62/927,119, was filed on October 28, 2019.

      9.      Austin Storms and Michael McNamara first met the evening of May
              3, 2019 at the Fidelity Center for Advanced Technology Bitcoin
              Mining Conference in Boston, Massachusetts (“Fidelity Conference”).




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       E.      Level of Ordinary Skill in the Art and Claim Construction of the Terms of the
               ’433 Patent

                1.      Level of Ordinary Skill in the Art

       39.     I was asked to form an opinion regarding the level of skill in the art for the purpose

of understanding the ’433 patent. To make this determination, I first considered the relevant art,

and then considered the education and experience of a person of ordinary skill in the field at the

time of the filing of the ’433 patent (a “POSITA”), which I understand to be either October 28,

2019 (the date of the filing of provisional application no. 62/927,119), or December 4, 2019 (the

date application no. 16/702,931 was filed). I note that Dr. McClellan relied on the December 4,

2019 date (McClellan report, at ¶ 45), but my definition of both the field of the relevant art and a

POSITA would be the same regardless of whether the relevant date is October or December 2019.

       40.     In my opinion, the field of the relevant art is power control of flexible data centers

operating in power markets. With respect to the definition of a POSITA, I disagree with Dr.

McClellan. A POSITA should have a Bachelor’s degree in electrical engineering, computer

science, or a similar field, plus at least two years of experience designing and/or implementing

power control systems for datacenters. My opinions would not change if I applied Dr. McClellan’s

definition of a POSITA.

       41.     My qualifications and experience are at least those of a POSITA.

                2.      Claim Construction of the ’433 Patent

       42.     I understand that the court has not yet been asked to construe the claims of the ’433

patent. I further understand the legal principles related to claim construction and recite them

above. I also understand that the words of a claim are generally given their ordinary and customary

meaning as understood by a person of ordinary skill in the art at the time of the purported invention.




                                                 16
                                               Appx6639
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       43.     I note that Dr. McClellan did not perform any claim construction. Instead, he

applied the “plain and ordinary meaning of the claim terms.” (McClellan Report, at ¶ 49). But

Dr. McClellan did not provide his understanding of the “plain and ordinary meaning” for any claim

terms. I understand that Plaintiffs have the burden of proof on the inventorship issue.

       44.     To determine conception, I also apply the plain and ordinary meaning of the claim

terms as would have been understood by a POSITA and, for certain terms, I discuss the

specification’s use of those terms. I reserve the right to supplement my report should Plaintiffs’

or any of Plaintiffs’ experts use a different construction, or provide their understanding of the plain

and ordinary meaning that is different than my understanding of the plain and ordinary meaning.

VII.   LANCIUM INDEPENDENTLY DEVELOPED, CONCEIVED, AND REDUCED
       ITS TECHNOLOGY TO PRACTICE, INCLUDING EACH OF THE
       INVENTIONS CLAIMED IN THE ’433 PATENT

       45.     It is my opinion that Lancium independently developed, conceived, and reduced its

technology to practice, including each of the inventions claimed in the ’433 patent, and that such

development, conception, and reduction to practice did not involve the use of any information

allegedly provided to Mr. McNamara by Mr. Storms. As discussed above, my opinions are based

on, among other things, my review of: (1) pleadings; (2) the ’632 application and the ’433 patent

and its file history; (3) the parties’ Responses to Discovery (including documents cited in those

responses); (4) the deposition testimony from this case and exhibits cited in same; (5) my review

of other documents and materials; (6) the communications between Mr. Storms and Mr.

McNamara; and (7) my education and forty-plus years of experience. I also relied in part on Mr.

Siddiqi’s analysis as set forth in his report, and Mr. Baer’s analysis of the source code produced

by Mr. Storms and relied upon by Dr. McClellan as discussed in Mr. Baer’s report.




                                                  17
                                               Appx6640
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participation.92 Lancium understood that it would have to follow ERCOT signals sent to a

supervisory control and data acquisition (“SCADA”) system (e.g., such as the one installed for its

Load Resource qualification) and use those signals to adjust the load, all of which Lancium

believed it could automate and integrate into its technology. 93

                   3.     United States Patent No. 10,608,433

          102.    Lancium continued the above work in October 2019 and filed U.S. Provisional

Application No. 62/927,117—the application upon which the ’433 patent claims priority—on

October 28, 2019.94 Based upon my review of Lancium’s documents and its SSR to ROG 3, I

concur with Lancium’s understanding that it conceived the full combination of elements claimed

in the ’433 patent between August and October 2019. As Lancium states on page 33 of its SSR to

ROG 3, it conceived of the combination of receiving power option data as recited in, for example,

claim 1, determining a performance strategy for a set of computing systems as recited in, for

example, claim 1, and providing instructions to the computing systems as recited in, for example,

claim 1 around this time.95 I also concur with Lancium’s belief that it conceived of providing




92
     Id. at 31-32 and documents cited therein.
93
  Id. Note, Lancium had developed proposals for wind farm installation of its flexible datacenters
that included SCADA control systems by February 2018. SSR to ROG 3, at 15;
LANCIUM0002779; LANCIUM00027787; LANCIUM00027788.
94
     Id. at 32-33 and documents cited therein.
95
  Id. at 33-34 and documents cited therein, including, but not limited to, LANCIUM00032863;
LANCIUM00032864; LANCIUM00019937; LANCIUM00021608; LANCIUM00030943;
LANCIUM00021609; LANCIUM00021600; LANCIUM00021626; LANCIUM00031222;
LANCIUM00031214; LANCIUM00021624; LANCIUM00021628; LANCIUM00028860;
LANCIUM00030570; and LANCIUM00021964.



                                                  49
                                                 Appx6641
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instructions to the set of computing systems to perform one or more computational operations

based on the foregoing performance strategy around this time as well.96

          103.    It is also my opinion that Lancium constructively reduced the claims to practice by

no later than October 28, 2019—the date U.S. Provisional Application No. 62/927,119 was filed.

          104.    The ’433 patent is titled Methods and Systems for Adjusting Power Consumption

Based on a Fixed-Duration Power Option Agreement. The ’433 patent issued on March 31, 2020

and, as discussed above, claims priority from U.S. Application No. 16/702,931 filed on December

4, 2019, which, in turn, claims priority from Provisional Application No. 62/927,119, filed on

October 28, 2019.

          105.    As discussed above, renewable resources faced several challenges. The inventions

of the ’433 patent were invented to address these challenges. Referring to Figure 2 below, Lancium

developed flexible datacenters (including, but not limited to, cryptocurrency miners) that can be

connected to use power from under certain conditions, for example, when there is an oversupply

of power to the grid and the power price is economically viable. 97 Under such circumstances, the

flexible datacenter may be configured to use load ramping abilities (e.g., to quickly increase or

decrease power usage) to effectively operate during intermittent periods of time when power is

available from the generator.98 The flexible data centers are shown as 220 in Figure 2, and may

be behind the meter or grid connected. 99




96
     SSR to ROG 3, at 34.
97
     See Columns 7-22 for descriptions of various embodiments.
98
     Id. at 12:52-59.
99
     Id. at 16:18-36; 17:41-18:2.



                                                  50
                                               Appx6642
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          106.    The ’433 patent also discloses and claims a control system for controlling the

flexible datacenters. Referring to Figure 11 (below), a system for implementing control strategies

based on a power option agreement is disclosed. The system 1100 is an example arrangement that

includes a control system (e.g., the remote master control system 262 of Figs. 2 and 3), a load (e.g.,

one or more datacenters 1102, 1104, 1106), and a power entity 1140. 100




100
      ’433 patent, at 43:35-45.



                                                 51
                                              Appx6643
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          107.    The ’433 patent specification describes a “power option agreement” as an

agreement between a power entity associated with the delivery of power (e.g., a grid operator,

power generation station, or local control station) and the load (e.g., a datacenter such as 1102).101

As part of the power option agreement, the load provides the power entity with the right, but not

the obligation, to reduce the amount of power delivered (e.g., grid power) to the load up to an

agreed amount of power during an agreed upon time interval. 102 To provide the power entity this

option, the load needs to be using at least the amount of power subject to the option (e.g., the

minimum power threshold),103 and may grant the power entity with this option in exchange for


101
      Id. at 43:46-50.
102
      Id. at 43:50-57.
103
      Id. at 43:57-65.



                                                 52
                                               Appx6644
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monetary consideration.104 The power entity may use the power option agreement to reserve the

right to reduce the amount of grid power delivered to the load during a set time frame such as when

the grid power may be better directed to other loads.105

          108.    The remote master control system can serve as a control system to the load and can

do so by, for example, monitoring conditions106 in concert with the minimum power thresholds

and time intervals set forth in (or derived from) the power option agreement (e.g., power option

data) to determine performance strategies and issue instructions based on those strategies that

enable the load to meet the expectations of the power option agreement while efficiently using

power to accomplish computational operations.107 The patent explains that the power entity may

be a grid operator, local station control system, power generation source, or a qualified scheduling

entity (QSE).108

          109.    The patent explains that power option agreements may be fixed duration power

option agreements or dynamic power option agreements.109 Referring to Figure 12 (below), which

represents power option data based on a fixed duration power option agreement, the dark, multi-

level line distinguishing the more darkly-shaded area represents the minimum power thresholds in




104
      Id. at 43:65-44:2.
105
      Id. at 44:3-35.
106
   The patent provides examples of monitored conditions, including, but not limited to, power
availability, power prices, computing system parameters, cryptocurrency prices, computational
operation parameters, and weather conditions. Id. at 47:57-48:61.
107
      Id. at 45:5-21.
108
      Id. at 45:52-60; 46:20-30.
109
      See generally Columns 46-47; see also 50:53-51:7



                                                  53
                                               Appx6645
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MWs that the load must maintain during the respective time periods per the power option

agreement.110




For example, as shown in Figure 12, the load must utilize 5MW during hours 0-8, must utilize

10MW during hours 8-16, and must utilize 5MW during hours 16-24. 111 The darkly-shaded area

below the graphed line represent the amount of power the load could be directed to reduce power

consumption by per the power option agreement.112 The lighter shaded area above the graph line

represents power levels that the load(s) may consume from the power grid during the 24-hour

duration that would satisfy the requirements (i.e. the minimum power thresholds) set forth by the

power option agreement.113




110
      Id. at 46:31-49; see also 50:55-51:7.
111
      Id.
112
      Id. at 51:19-23.
113
      Id. at 51:12-19.



                                               54
                                              Appx6646
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       C.      Messrs. McNamara and Cline Are the Sole Inventors of the ’433 Patent

       110.    The ’433 patent has 20 claims. Claims 1, 17, and 20 are independent. The

remaining 17 claims are dependent. The ’433 patent’s claims recite certain aspects of the above-

described specific control system. Based on all of the forgoing discussion and evidence, it is my

opinion that Messrs. McNamara and Cline are the sole inventors of each of the inventions claimed

in each of the claims of the ’433 patent. As set forth above, and described in further detail

immediately below, it is well documented that Messrs. McNamara and Cline conceived each of

these inventions with no contribution from Mr. Storms. I note that Dr. McClellan did not address

Lancium’s independent conception, development, or any of this evidence in his report.

                1.       Claim 1

       111.    Claim 1 reads:

               1. A system comprising:

                     [a] a set of computing systems, wherein the set of computing systems is
                     configured to perform computational operations using power from the power
                     grid;

                     [b] a control system configured to:

                        [b1] monitor a set of conditions;

                         [b2] receive power option data based, at least in part, on a power option
                     agreement, wherein the power option data specify: (i) a set of minimum power
                     thresholds, and (ii) a set of time intervals, wherein each minimum power
                     threshold in the set of minimum power thresholds is associated with a time
                     interval in the set of time intervals;

                         [b3] responsive to receiving the power option data, determining a
                     performance strategy for the set of computing systems based on a combination
                     of at least a portion of the power option data and at least one condition in the
                     set of conditions, wherein the performance strategy comprises a power
                     consumption target for the set of computing systems for each time interval in
                     the set of time intervals, wherein each power consumption target is equal to
                     or greater than the minimum power threshold associated with each time
                     interval; and



                                                  55
                                               Appx6647
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                         [b4] provide instructions to the set of computing systems to perform one or
                      more computational operations based on the performance strategy.

                          a) The preamble – “a system comprising”

          112.    I understand that the court has not ruled on whether the preamble “a system

comprising” is limiting. Regardless, however, it is my opinion that Messrs. McNamara and Cline

are the sole inventors of the claimed system as set forth below.

                          b) Element 1[a] – “a set of computing systems, wherein the set of
                             computing systems is configured to perform computational
                             operations using power from a power grid”

          113.    In my opinion, with respect to the specific claims of the ’433 patent, Messrs.

McNamara and Cline conceived this element independently and without utilizing any information

allegedly provided by Mr. Storms.            Prior to May 2019, Messrs. McNamara and/or Cline

understood that flexible datacenters may include bitcoin or other cryptocurrency miners; that

flexible datacenters may perform computational operations, such as block chain hashing

operations; that Bitcoin and other cryptocurrency miners are a set of computing systems; 114 and

that Lancium had been using grid power at its R&D center to perform computational operations

with miners since at least 2018.115

                          c) Elements 1[b] and 1[b][1] – “a control system configured to:
                             monitor a set of conditions”

          114.    In my opinion, with respect to the specific claims of the ’433 patent, Messrs.

McNamara and/or Cline conceived this element independently and without utilization any

information allegedly provided by Mr. Storms. Prior to May 2019, Messrs. McNamara and/or



114
      See e.g., ’632 application, at [0022]; Fig. 2.
115
  See, e.g., LANCIUM00018226; LANCIUM00035637 (Calpine Electricity Sales and Purchase
Agreement, dated June 18, 2018).



                                                       56
                                                  Appx6648
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Cline understood that the datacenter control system may modulate power delivery to a plurality of

computing systems, and monitor unutilized behind-the-meter power availability, for example to

determine when a datacenter ramp-up condition is met.116 Figure 4 of the ’632 application and

associated text, for example, teach that Lancium’s local datacenter control system 220 could

communicate to Lancium’s remote master control system 420 and to the generator’s local station

control system 410, which, in turn, could communicate with the grid operator to “dynamically”

adjust power delivery based on conditions or operational directives. 117 Lancium’s remote master

control system could issue operational directives to Lancium’s local datacenter control system and

the operational directive may be based on, for example, current dispatchability, forward looking

forecasts for when unutilized behind-the-meter power is (or is expected to be) available, economic

considerations, reliability considerations, and/or operational considerations. 118 The monitored

conditions described in the ’433 patent correlate with the conditions monitored by Lancium’s

overall control system described by Messrs. McNamara and/or Cline in the ‘632 application:

power availability (e.g., operational consideration), power prices (e.g., economic consideration),

computing system parameters (e.g., operational consideration), cryptocurrency prices (e.g.,

economic consideration), weather conditions (e.g., economic consideration), etcetera. 119




116
      Id. at [0006-0007].
117
      Id. at [0039].
118
      Id. at [0044].
119
      See, e.g., ‘433 patent, at 47:57-61.



                                                57
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                           d) Element 1[b][2] – “receive power option data based, at least in part,
                              on a power option agreement, wherein the power option data
                              specify: (i) a set of minimum power thresholds, and (ii) a set of time
                              intervals, wherein each minimum power threshold in the set of
                              minimum power thresholds is associated with a time interval in the
                              set of time intervals;”

            115.    In my opinion, with respect to the specific claims of the ’433 patent, Messrs.

McNamara and/or Cline conceived this element independently and without utilization of any

information allegedly provided by Mr. Storms. As described above and in SSR to ROG 3, by

March 2018 McNamara and/or Cline understood that Lancium’s flexible datacenters could ramp

to absorb and drop power within five minute windows and that these datacenters could be operated

remotely via Lancium’s Network Operations Center (“NOC”) that could respond to signals from

grid operators.120 Messrs. McNamara and/or Cline Lancium were, at this time, also aware of

ERCOT and at least peripherally aware of ancillary services. 121 Messrs/ McNamara and/or Cline

continued to develop this technology and by October 2018 had spent more than $1M on R&D

infrastructure, container design, and software development. 122

            116.    Messrs. McNamara, Cline, and Lancium continued to develop their technology

through 2019,123 but it was not until the Summer and Fall of 2019 that Messrs. McNamara and

Cline appreciated the benefits of applying their technology to ancillary serves and that is when

they subsequently conceived of using their technology for receiving power option data based on a

power option agreement specifying a set of minimum power thresholds and a set of time intervals


120
      See, e.g., SSR to ROG 3, at 16 and documents cited therein.
121
      Id.
122
  SSR to ROG 3, at 19 and documents cited therein, including LANCIUM00021489 for R&D
numbers.
123
      See, e.g., SSR to ROG 3, at 19-28 (and documents cited therein).



                                                   58
                                                Appx6650
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in furtherance of performing ancillary services with their fast-ramping datacenters. On August 27,

2019, Mr. Cline sent an email to Mr. McNamara noting an important point that had not come

across in previous conversations with their QSE: the “award” (received after offering into an

ancillary services program and received as part of the establishment of the power option

agreement) is essentially an “obligation on our [Lancium’s] part, that we consume that amount

of power the ERCOT COULD curtail.”124 In my opinion, this was the flash of insight that led to

Messrs. McNamara and Cline conception, at least because this is when they first understood that

their system would need to receive the award (the received set of power option data) which would

be sent to Lancium based on, and in response to, the accepted prior offer by Lancium (which forms

the awarded power option agreement) and the award includes the set of MW (i.e., the set of

minimum power thresholds) corresponding to each hour of the awarded offer (i.e., the set of time

intervals).125 In further support of my opinion, I note that on August 28, 2019, Mr. Cline sends an

email to MP2 confirming on Lancium’s behalf that, “[w]e are adjusting our economic curtailment

plans to assure that we consume the obligated load we have been awarded. If we go below that

level we will coordinate with the operations desk. We understand that we cannot receive an award

for power that could be curtailed, if we are not using the power.” 126 I believe that this

correspondence indicates the approximate date that Mr. Cline and Mr. McNamara formed in their




124
      See LANCIUM00030839; see also SSR to ROG 3, at 29-31 (and documents cited therein).
125
   LANCIUM00030799 and LANCIUM00030801 (examples of awards); see also Siddiqi Report,
Section 6.4 (“No later than 1:30 in the Day-Ahead, ERCOT shall notify the parties to each cleared
DAM transaction (e.g., the buyer and seller) of the results of the DAM including awarded Ancillary
Service Offers, specifying Resource, MW, Ancillary Service type, and price, for each hour of the
awarded offer”).
126
      See LANCIUM00024173; see also SSR to ROG 3, at 29-31 (and documents cited therein).



                                                59
                                             Appx6651
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minds the definite and permanent idea claimed in this limitation and the following limitations of

Claim 1.

                      e) Element 1[b3] – “responsive to receiving the power option data,
                         determining a performance strategy for the set of computing
                         systems based on a combination of at least a portion of the power
                         option data and at least one condition in the set of conditions,
                         wherein the performance strategy comprises a power consumption
                         target for the set of computing systems for each time interval in the
                         set of time intervals, wherein each power consumption target is
                         equal to or greater than the minimum power threshold associated
                         with each time interval; and”

       117.    In my opinion, with respect to the specific claims of the ’433 patent, Messrs.

McNamara and Cline conceived this element independently and without utilization any

information allegedly provided by Mr. Storms. I refer back to my analysis immediately above that

on or about August 28, 2019, Mr. Cline indicated he understood that the award was an obligation

for their Lancium’s flexible datacenter system to operate above a minimum threshold load (e.g.,

the awarded MW) for each time interval (each hour in the award). As described previously and in

other places in my report, Messrs. McNamara and Cline had previously developed control systems

for its flexible datacenters that had long monitored or considered other various conditions and

developed strategies based on those conditions, including economic considerations such as price

response, energy arbitrage, and consideration of the profitability of mining. Following the flash

of insight, it is my opinion that Messrs. Cline and/or McNamara then understood that Lancium’s

control system would need to determine the performance strategy described in this limitation and

now adjust a power consumption target for the load by determining a power consumption target

for the set of computing systems for each time interval that was either equal to or greater than,

the minimum power threshold associated with each time interval in the award. For example, if

economic conditions were favorable for mining, the control system would set the power




                                               60
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consumption target to Lancium’s datacenter’s maximum limit, which, as they understood at the

time, would likely be greater than the awarded MW due to proration of the awards, or if power

prices were high compared to mining revenue per MW, the control system would set the power

consumption target equal to the minimum threshold for the time interval, and then Lancium would

either sell back previously purchased but unused power as previously described or avoid

incremental negative revenue above the minimum required load amount, depending on fixed

power cost, RTM power price, and bitcoin revenues/margins.127 Messrs. Cline and/or McNamara

were also further aware that the control system could already contemplate a strategy that included

adjusting the mix of computing systems acting as the load. 128 Messrs. McNamara and/or Cline

further understood that this strategy could be integrated into Lancium’s already existing fast

ramping technology.129 Based on my review of the materials in this case, and, in particular, the

materials cited in SSR to ROG 3, it is my opinion that on or around August/September 2019,

Messrs. McNamara and Cline formed in their minds the definite and permanent idea claimed in

this limitation.

                          f) Element 1[b][4] – “provide instructions to the set of computing
                             systems to perform one or more computational operations based on
                             the performance strategy.”

          118.     In my opinion, with respect to the specific claims of the ’433 patent, Messrs.

McNamara and/or Cline conceived this limitation independently and without utilization any



127
  See, e.g., LANCIUM00033215; SSR to ROG 3, at 31-32 (e.g. LANCIUM00033143;
LANCIUM00031179; LANCIUM00031180; LANCIUM00033474; LANCIUM00033194;
LANCIUM00018824 at 18828, 18833, 18858, 18867, 18871 (Sep. 1, 2019);
LANCIUM00033158; LANCIUM00024131; LANCIUM00021587).
128
      LANCIUM00018825 at 18828, 18874 (Sep. 1, 2019); LANCIUM00018824.
129
      See, e.g., SSR to ROG 3, at 31-32 (and documents cited therein).



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                                               Appx6653
